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                                      UNITED STATES DISTRICT COURT
                                        DISTRICT OF CONNECTICUT

 STATE OF CONNECTICUT,
                                                                                      Case No. 3:24-cv-00239-SRU
                                      Plaintiff,

                      v.

 EIDP, INC.; DUPONT DE NEMOURS, INC.;
 THE CHEMOURS COMPANY;
 THE CHEMOURS COMPANY FC, LLC;
 CORTEVA, INC.; and 3M COMPANY,                                                       April 8, 2024
                                      Defendants.


            MEMORANDUM OF LAW IN SUPPORT OF PLAINTIFF’S
     MOTION FOR REMAND TO SUPERIOR COURT AND FOR COSTS AND FEES

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I.     INTRODUCTION

       Plaintiff State of Connecticut (“State”) brought this action in Connecticut state court to

address hazardous and costly pollution caused by the use of toxic per- and polyfluoroalkyl

substances (“PFAS”). PFAS have been detected in natural resources and lands throughout the

State of Connecticut, including in drinking water wells, groundwater, rivers, and in the soil of

State-owned lands. This statewide environmental crisis provides the backdrop for the State’s

Complaint (“Compl.”), which exclusively alleges causes of action arising under state law.

Through the Complaint, the State seeks to enforce state environmental and consumer protection

statutes against six corporate defendants. These defendants are the largest historical

manufacturers of PFAS for use in consumer products and industrial processes.

       This action has been inappropriately removed to federal court under a false premise.

Defendant 3M Company’s Notice of Removal (“Notice”) attempts to rewrite the State’s

Complaint into something that it is not – an action to hold Defendant corporations liable for

PFAS-containing aqueous film forming foam (“AFFF”). Lawsuits concerning military designed-

AFFF are potentially removable under the federal officer removal statute, 28 U.S.C. §

1442(a)(1), but this lawsuit, which involves only PFAS for consumer and industrial uses, is not.

The Notice recognizes that the State’s Complaint expressly omits any claims related to AFFF.

Indeed, as Defendant is aware, the State of Connecticut has filed a separate complaint, in a

separate action, to address such claims and that complaint was removed by the Defendant and

transferred out of this District to the AFFF Multidistrict Litigation in South Carolina (“AFFF

MDL”). See In re: Aqueous Film-Forming Foams Prods. Liab. Litig., 2:18-mn-2873-RMG

(MDL No. 2873) (D.S.C.). Conflating the allegations in that complaint with the allegations in

this case is improper and disingenuous.

       Five district courts have considered Defendant’s removal arguments in nearly identical
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PFAS cases; all have found Defendant’s attempts to rewrite those complaints to justify removal

unavailing.1 Defendant cannot overcome the fact that this action — like those cases — is simply

and expressly not about AFFF. Defendant cannot avail itself of federal officer removal nor

federal enclave jurisdiction for its production of products that are outside the scope of this case.

To the extent that Defendant’s Notice details concerns about “commingling” of PFAS with

AFFF, such matters are evidentiary questions for determining the extent of injury at trial and do

not provide a federal defense to the State’s allegations. Defendant is simply pursuing a failed

strategy to frustrate state lawsuits and avoid being held accountable for its actions. This Court

should therefore remand this case to its proper venue – the Connecticut Superior Court.

II.     STATEMENT OF FACTS

        On January 25, 2024, the State filed the Complaint in the instant case in Connecticut

Superior Court for the Judicial District of Hartford. See Compl. The Complaint named six

defendants and alleged sixteen counts of common law and statutory violations related to the

defendants’ production, sale, and contamination of property and the environment by PFAS,

expressly excluding any PFAS used in AFFF. Id. On the same day, the State filed a separate

action in which it alleged twenty counts against twenty-eight defendants specifically for their

role in the production and sale of AFFF. See Connecticut v. 3M Co., No. 3:24-cv-234-JCH (D.

Conn.). That action was removed by the Defendant to this District and was subsequently

transferred to the Federal District Court for the District of South Carolina. See Connecticut v. 3M

Co., No. 2:24-cv-1217-RMG (D.S.C.).

        In the instant action, the State’s Complaint alleges that the Defendants – chemical
1
  See New Hampshire v. 3M Co., 665 F. Supp. 3d 215 (D. N.H. 2023), appeal pending, No. 23-1362 (1st Cir.); Maine
v. 3M Co., No. 2:23-cv-210-JAW, 2023 U.S. Dist. LEXIS 128740 (D. Me. 2023), appeal pending, No. 23-1709 (1st
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2024), appeal pending, No. 24-1218 (4th Cir.); South Carolina v. 3M Co., No. 2:23-cv-05979-RMG (D.S.C. Feb. 29,
2024), appeal pending, No. 24-1270 (4th Cir.).

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manufacturers that produced PFAS chemicals for decades and “concealed their knowledge about

these harmful chemicals from regulators and deceived their customers” – are responsible for

contaminating Connecticut’s environment with PFAS. Compl. ¶¶ 14-15. The scope of the

Complaint is limited by an express disclaimer against any recovery for AFFF.2 The Complaint

exclusively alleges state law causes of action: public nuisance; trespass; negligence; violations of

the Connecticut Environmental Protection Act; violations of the Connecticut Water Pollution

Control Act; violations of the Connecticut Unfair Trade Practices Act; and the Connecticut

Uniform Fraudulent Transfer Act. The Complaint identifies sites that the State alleges to be

contaminated with non-AFFF PFAS. E.g., id. ¶ 89 (“PFAS attributable to Defendants’ PFAS

Products have contaminated and injured the State’s groundwater in locations throughout the

State, including, for example, at the closed landfills in Hartford and Ellington.”); id. ¶ 90 (“PFAS

attributable to Defendants’ PFAS Products have contaminated and injured drinking water that is

drawn from groundwater sources in locations throughout the State, including, for example, in

public water systems in Manchester and Norwalk.”); id. ¶ 99 (listing surface waterbodies where

PFAS compounds were detected in the vicinity of publicly owned treatment works (“POTWs”)

and related release sites). The State alleges that the identified examples, among other sites, were

contaminated with PFAS from “industrial processes and sites and through the normal and

foreseeable use and disposal of consumer, household, and commercial products containing

PFAS.” Id. ¶ 48. The State further alleges that the presence of PFAS contamination is especially

likely at “locations in the vicinity of landfills, POTWs, and operating or closed manufacturing

facilities.” Id. ¶ 84. On February 28, 2024, the Judicial Panel on Multidistrict Litigation declined

to transfer this Complaint to the AFFF Multidistrict Litigation in South Carolina. Order of JPML,

2
  See Compl. ¶ 18 (“The State is not seeking to recover through this Complaint any relief for contamination or injury
related to Aqueous Film Forming Foam, a firefighting material that contains PFAS which the State is addressing
through a separate legal action to hold these and other defendants accountable.”).

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In re: Aqueous Film-Forming Foams Prods. Liab. Litig., MDL No. 2:18-mn-2873-RMG (MDL

No. 2873), ECF 2403 (J.P.M.L. Feb. 28, 2024) (denying transfer to MDL).

III.   LEGAL STANDARD

       As a court of limited jurisdiction, a federal court must presume that a case lies outside of

its jurisdiction unless and until jurisdiction has been shown to be proper. Home Depot U.S.A.,

Inc. v. Jackson, 139 S. Ct. 1743, 1746 (2019) (citing Kokkonen v. Guardian Life Ins. Co. of Am.,

511 U.S. 375, 377 (1994)). Though a defendant can seek removal of a case “brought in a State

court of which the district courts of the United States have original jurisdiction,” 28 U.S.C §

1441 (a), the “defendant has the burden of establishing that removal is proper.” United Food &

Com. Workers Union, Loc. 919 v. CenterMark Props. Meriden Square, Inc., 30 F.3d 298, 301

(2d Cir. 1994). In such instances, federal courts “construe the removal statute narrowly,

resolving any doubts against removability.” Platinum-Montaur Life Scis., LLC v. Navidea

Biopharmaceuticals, Inc., 943 F.3d 613, 617 (2d Cir. 2019) (quoting Somlyo v. J. Lu-Rob

Enters., Inc., 932 F.2d 1043, 1045-46 (2d Cir. 1991)). The presumption against removal, and the

Defendant’s burden, is even greater in actions brought by a State exercising its sovereign

authority to enforce its own laws. Franchise Tax Bd. v. Constr. Laborers Vacation Trust, 463

U.S. 1, 21 n. 22 (1983) (“[C]onsiderations of comity make us reluctant to snatch cases which a

State has brought from the courts of that State, unless some clear rule demands it.”).

IV.    ARGUMENT

       The State of Connecticut filed the Complaint in this action to exercise its sovereign

authority to protect its natural resources from statewide PFAS pollution and it must be remanded

back to Connecticut Superior Court to allow the State to prosecute its claims in the proper venue.

Defendant has removed the Complaint to this Court pursuant to two federal jurisdiction

arguments – removal pursuant to the federal officer removal statute, 28 U.S.C. § 1442, and

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original jurisdiction granted by the federal enclave doctrine, 28 U.S.C. § 1331. Notice ¶¶ 3, 5.

Both of Defendant’s jurisdictional arguments rely, in whole or in part, upon recasting the State’s

Complaint as something other than what it actually is – an enforcement action directed solely at

PFAS unrelated to AFFF.

         This is not Defendant’s first attempt to revise a sovereign’s PFAS action to suit its own

purposes. To date, federal courts in Illinois, Maine, Maryland, New Hampshire, and South

Carolina have rejected substantially identical arguments from the Defendant to recast non-AFFF

complaints as federal AFFF actions. In each of those decisions, the sovereign’s express

disclaimer against seeking recovery for AFFF contamination proved dispositive. See, e.g., New

Hampshire, 665 F. Supp. 3d at 229 (barring federal officer removal when plaintiff expressly

disclaimed claims related to federal activity); Maine, 2023 U.S. Dist. LEXIS 128740, at *28

(same); Illinois, 2023 U.S. Dist. LEXIS 168231, at *19 (same); Maryland, 2024 U.S. Dist.

LEXIS 48428, at *9 (same); South Carolina, No. 2:23-cv-05979-RMG (D.S.C. Feb. 29, 2024), at

*5 (same).

         Here, too, the Defendant argues that all PFAS lawsuits must also be AFFF lawsuits and

consequently subject to federal jurisdiction. That argument is meritless. The State’s Complaint

only alleges claims grounded in state law and makes no reference to AFFF or to federal enclaves,

meaning that Defendant faces a high bar to substantiate its federal jurisdiction arguments. 3

Furthermore, the Complaint has expressly disclaimed any recovery for AFFF, limiting this action

to PFAS products without a federal nexus.




3
  See Order Denying Transfer at 2, In re: Aqueous Film-Forming Foams Product Liability Litigation, MDL No.
2:18-mn-2873-RMG (MDL No. 2873), ECF 620 (J.P.M.L. Mar. 27, 2020) (“Given our continued concern about the
manageability of this litigation, a party seeking transfer of an action that does not on its face raise AFFF claims
bears a significant burden to persuade us that transfer is appropriate and will not undermine the efficient progress of
the AFFF MDL.”).

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       A.      Federal Officer Removal Is Improper For Non-AFFF PFAS Claims.

       Federal officer jurisdiction allows for removal of a civil action commenced against “any

officer (or person acting under that officer) of the United States or of any agency thereof . . . for

or relating to any act under color of such office . . . .” 28 U.S.C. § 1442(a)(1). Federal officer

removal permits federal officers – or those acting under federal officers – to have their federal

defense heard in a federal forum. See Isaacson v. Dow Chem. Co., 517 F.3d 129, 133 (2d Cir.

2008) (describing the federal officer removal statute’s “purpose of protecting persons who,

through contractual relationships with the Government, perform jobs that the Government

otherwise would have performed.”).

       Defendant alleges that it is entitled to remove this action pursuant to the federal officer

removal statute, 28 U.S.C. § 1442, “[b]ecause the alleged PFAS contamination at issue in this

action is (in part) attributable and/or related to MilSpec AFFF use at military or other facilities in

Connecticut . . . .” Notice ¶ 37. MilSpec AFFF refers to AFFF manufactured to conform with

design specifications issued by the Department of Defense. Id. ¶ 2. As an essential element to its

federal officer removal argument, Defendant declares in the Notice its intent to assert a federal

defense, the federal government contractor immunity described in Boyle v. United Technologies

Corp., 487 U.S. 500, 512 (1988), as a defense to liability for its AFFF involvement. Notice ¶ 2.

       To satisfy § 1442(a)(1)’s three-part test, Defendant must “(1) show that it is a person

within the meaning of the statute who acted under a federal officer” and “(2) show that it

performed the actions for which it is being sued under color of federal office . . . .” Connecticut

v. Exxon Mobil Corp., 83 F.4th 122, 142 (2d Cir. 2023) (quoting Isaacson, 517 F.3d at 135)

(cleaned up). In practice, the “first two of these prongs ‘tend to collapse into a single

requirement: that the acts that form the basis for the state civil . . . suit were performed pursuant

to an officer’s direct orders or to comprehensive and detailed regulations.” Connecticut, 83 F.4th

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at 143 (quoting In re: Methyl Tertiary Butyl Ether ("MTBE") Prods. Liab. Litig., 488 F.3d 112,

124 (2d Cir. 2007) (emphasis in original)). Additionally, Defendant is required to “(3) ‘raise a

colorable federal defense.’” Connecticut, 83 F.4th at 142-43 (quoting Isaacson, 517 F.3d at 135).

If Defendant cannot demonstrate all three of these elements, then it cannot remove this case to

federal court under § 1442(a)(1). See Rhode Island v. Shell Oil Prods. Co., 979 F.3d 50, 59 (1st

Cir. 2020) (“Rhode Island I”). Defendant’s Notice fails to satisfy all three elements of federal

officer removal and does not support federal jurisdiction in this matter.

               1.      Defendant’s asserted federal authority bears no relation to its charged
                       conduct.

       Defendant has not satisfied the requirements of § 1442(a)(1) because it bases its entire

federal officer argument on a product that is not at issue in this litigation. The Notice argues that

Defendant meets the first prong of § 1442(a)(1) because it “acted under the direction and control

of federal officers” when “designing, manufacturing, and supplying the MilSpec AFFF at issue .

. . .” Notice ¶ 42. The Notice likewise argues that Defendant meets the second prong because

“the State’s alleged injuries plausibly arise at least in part from MilSpec AFFF.” Id. ¶ 45. The

Notice does not allege that the Defendant meets these two overlapping requirements for any

reason other than its production of MilSpec AFFF.

       To meet the first and second prongs of § 1442(a)(1), Defendant bears the “burden of

providing ‘candid, specific and positive’ allegations . . . that [it was] acting under federal

officers” when it performed the actions for which it has been sued. MTBE, 488 F.3d at 130

(quoting Willingham v. Morgan, 395 U.S. 402, 408 (1969)). Even if Defendant arguably met the

first prong of § 1442(a)(1) solely because it supplied MilSpec AFFF pursuant to military

specifications, see Isaacson, 517 F.3d at 136 (“The words "acting under" are to be interpreted

broadly, and the statute as a whole must be liberally construed.”), Defendant fails to meet the


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second prong because it has not proved that it performed the actions for which it is being used

“under color of federal office.”

         Defendant must prove not only that it has acted under the direction of federal officers, but

that such direction bears a causal nexus to the injuries claimed in the instant complaint. 4 See

Connecticut, 83 F.4th at 144. As the Second Circuit recently explained, “a bona fide federal

officer could not remove a trespass suit that occurred while he was taking out the garbage – there

must be a ‘causal connection between the charged conduct and asserted official authority.’” Id.

(quoting Betzner v. Boeing Co., 910 F.3d 1010, 1015 (7th Cir. 2018)). “Translated to non-

governmental corporate defendants, such entities must demonstrate that the acts for which they

are being sued . . . occurred because of what they were asked to do by the Government.”

Isaacson, 517 F.3d at 137 (emphasis in original).

         Defendant’s federal officer argument fails because it attempts to avail itself of protections

afforded to federal officers based on actions which are not subject to the State’s Complaint.

Defendant claims federal officer jurisdiction premised solely on its production of MilSpec AFFF.

However, Defendant will not and cannot be held liable for its production of MilSpec AFFF in

this matter. As Defendant conceded in its Notice for Removal, the State has excluded all forms

of AFFF from the allegations in its Complaint. Notice ¶¶ 4, 10, 27. Indeed, Defendant must make

that concession because the Complaint expressly disclaims “any relief for contamination or

injury related to Aqueous Film Forming Foam,” Compl. ¶ 18 (emphasis added), and alleges

4
  Defendant’s Notice misstates the applicable legal threshold for meeting the “under color of federal office”
requirement. Notice ¶ 43 (“To meet this requirement, ‘there need be only a connection or association between the
act in question and the federal office.’” Sawyer v. Foster Wheeler LLC, 860 F.3d 249, 258 (4th Cir. 2017) (internal
quotation marks omitted) (explaining that 28 U.S.C. § 1442 permits removal of actions “for or relating to any act
under color of [federal] office”)) (emphasis in original). That language reflects a lower threshold for federal officer
removal which has been rejected by the Second Circuit in favor of requiring a “causal nexus.” See Sawyer, 860 F.3d
at 258 (describing a lower standard to meet “under color of federal office” following the Removal Clarification Act
of 2011, Pub. L. No. 112-51, 125 Stat. 545); but see Connecticut, 83 F.4th at 145 n. 7; see also Agyin v. Razmzan,
986 F.3d 168, 179 (2d Cir. 2021) (finding sufficient nexus where defendant's "challenged conduct was directed by
federal regulation and he was acting under a federal officer.").

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liability solely for non-AFFF PFAS contamination. Nowhere in Defendant’s Notice are the

products actually at issue – any PFAS compounds or PFAS-containing products other than AFFF

– alleged to have been produced “under color of federal office.”

       The State’s disclaimer is dispositive because it severs any potential relationship between

this action and Defendant’s federal activities. “’[F]ederal courts have consistently granted

motions to remand’ based on a plaintiff ‘expressly disclaim[ing] the claims upon which federal

officer removal was based.’” Batchelor v. Am. Optical Corp., 185 F. Supp. 3d 1358, 1363 (S.D.

Fla. 2016) (quoting Dougherty v. A.O. Smith Corp., No. 13-1972-SLR-SRF, 2014 U.S. Dist.

LEXIS 96290, at *35 (D. Del. July 16, 2014)); see, e.g., Kelleher v. A.W. Chesterton Co., No.

15-CV-893-SMY-SCW, 2015 U.S. Dist. LEXIS 159783, at *13 (S.D. Ill. Nov. 23, 2015)

(remanding asbestos case where "[i]n the complaint and the notice of disclaimer, Plaintiff has

made clear statements that his claims [based on asbestos exposure] do not include any work

performed while in the military or on military machinery."); Hayden v. 3M Co., Civil Action No.

15-2275, 2015 U.S. Dist. LEXIS 104534, at *22 (E.D. La. Aug. 10, 2015) (remanding asbestos

case because plaintiff's "disclaimer eliminates any cause of action related to exposure while [the

plaintiff] was in the Navy and the only valid grounds for removal relate to that specific time

period."); Phillips v. Asbestos Corp. Ltd., No. C 13-5655 CW, 2014 U.S. Dist. LEXIS 24792, at

*5 (N.D. Cal. Feb. 26, 2014) (remanding asbestos case because plaintiff "expressly disclaimed

and waived any claim arising out of or related to any asbestos exposure aboard federal jobsites

and navy vessels," as this "removes any claims to which military contractor immunity might act

as a defense."); Schulz v. Crane Co., No. 2:13-cv-02370-KJM-AC, 2014 U.S. Dist. LEXIS 9198,

at *5 (E.D. Cal. Jan. 23, 2014) ("The court agrees with the several district courts that have found

similar waivers in asbestos cases sufficient to justify remand."); Madden v. A.H. Voss Co., No. C



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09-03786 JSW, 2009 U.S. Dist. LEXIS 101680, at *7 (N.D. Cal. Oct. 21, 2009) (disclaimer

defeated removal jurisdiction where the disclaimer stated that the "[p]laintiff's claims against [a

specific defendant] exclude plaintiff's asbestos exposure at military and federal government

jobsites and aboard U.S. Navy vessels").

       This well-established means by which a plaintiff can accurately define and limit the

scope of its case has been recognized in this exact context by five other district courts in granting

remand of a state’s non-AFFF PFAS lawsuit. In each of the five cases where courts have

addressed motions to remand in similar PFAS lawsuits, the court has found federal officer

removal to be improper in the presence of a disclaimer against AFFF recovery – including the

very judge who oversees the AFFF MDL. See South Carolina, No. 2:23-cv-05979-RMG (D.S.C.

Feb. 29, 2024), at 5 (“Because it does not matter that 3M acted in accordance with federal

authority, the charged conduct here is not connected to the alleged federal authority.”); see also

Maryland, 2024 U.S. Dist. LEXIS 48428, at *11 (“Because the State has expressly disclaimed

any AFFF-related claims, 3M cannot establish the requisite nexus between charged conduct and

asserted official authority.”); Illinois, 2023 U.S. Dist. LEXIS 168231, at *19 (finding the

exclusion of AFFF frustrates federal officer removal); Maine, 2023 U.S. Dist. LEXIS 128740, at

*28 (same); New Hampshire, 665 F. Supp. 3d at 229 (same). In each of these matters, the

plaintiff provided an express disclaimer identical or nearly identical to the one provided in the

Complaint, and the court found each disclaimer to void federal officer removal.

       The State’s express disclaimer is dispositive and anything but illusory. It is an express,

unambiguous, and plain disclaimer “which eliminates any connection between the State’s claims

in this suit and 3M’s production of MilSpec AFFF.” New Hampshire, 665 F. Supp. 3d at 220.

Simply put, this case does not seek relief for AFFF-related PFAS pollution and therefore, there is



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no basis for removal under the federal officer removal statute.

                2.      Defendant’s federal defense does not apply to the State’s claims.

        Federal officer removal requires the moving party to raise a “colorable” federal defense,

meaning one which is “legitimate and [could] reasonably be asserted, given the facts presented

and the current law.” Papp v. Fore-Kast Sales Co., 842 F.3d 805, 815 (3d Cir. 2016) (alteration

in original) (citation omitted). Defendant has declared its intention to raise the federal

government contractor defense described by the Supreme Court in Boyle v. United Technologies

Corporation to defend its production of MilSpec AFFF. 487 U.S. at 512. Notice ¶ 2. The federal

government contractor defense protects military suppliers from liability when “(1) the United

States approved reasonably precise specifications; (2) the equipment conformed to those

specifications; and (3) the supplier warned the United States about the dangers in the use of the

equipment that were known to the supplier but not to the United States.” Boyle, 487 U.S. at 512.

        The threshold issue for whether Defendant has claimed a “colorable” federal defense is

not whether the defense would succeed on the merits, but whether it could reasonably be raised

as a defense to liability. See Isaacson, 517 F.3d at 139 (the purpose of the federal officer removal

statute is to “secure that the validity of the defense will be tried in federal court.”). Here, again,

the State’s AFFF disclaimer proves to be dispositive. If the purpose of the government contractor

defense is to protect military contractors from “[l]iability for design defects in military

equipment,” Boyle, 487 U.S. at 512, then Defendant must raise its federal defense in relation to

its supply of military equipment, instead of the consumer and industrial products at issue in the

Complaint. Yet, Defendant has premised its intention to raise the government contractor defense

only upon its provision of MilSpec AFFF – a product which is outside the scope of this case and

not at issue for liability. Notice ¶¶ 46-55.

        If Defendant cannot be held liable for AFFF in this case, then it cannot raise a defense to

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liability for AFFF. By definition, a defense which cannot be raised is not “colorable.” To suggest

that Defendant has a potential government contractor defense and to allow removal of this case

on federal officer grounds “would affirm [the] right to assert a defense against a claim that does

not exist.” Kelleher, 2015 U.S. Dist. LEXIS 159783, at *11.

       Although the New Hampshire, Maine, Illinois, and Maryland decisions pre-dated the

Notice of Removal in this action, Defendant never mentions its attempts to remove these cases,

nor does it attempt to distinguish the resulting decisions. Instead, Defendant heavily relies upon a

wholly distinguishable case from the Western District of Michigan to suggest it has an

inalienable right to raise the government contractor defense. See, e.g., Notice ¶ 21 (“Plaintiffs

cannot decide what defense Defendants might present.”) (citing Nessel v. Chemguard, Inc., No.

1:20-cv-1080, 2021 U.S. Dist. LEXIS 39175, at *10 (W.D. Mich. Jan. 6, 2021)). In Nessel, the

State of Michigan sued AFFF manufacturers for the provision of commercially available AFFF

and attempted to exclude MilSpec AFFF from its lawsuit. Nessel, 2021 U.S. Dist. LEXIS 39175,

at *3-4. The AFFF manufacturer defendants removed the case to federal district court, arguing

that the claimed AFFF injuries were “indivisible” and subject to a purported government

contractor defense. Id. at 4. The Nessel court declined to remand the case, noting that “while

Plaintiffs attempt to surgically divide their complaints between Commercial and MilSpec AFFF,

they cannot prevent Defendants from raising the production of MilSpec AFFF as a defense or an

alternate theory, particularly when Plaintiffs admit that Defendants produced MilSpec AFFF and

that PFAS from AFFF spread contamination throughout the state.” Id. at 10 (emphasis omitted).

       Defendant’s reliance on Nessel is misplaced. The Nessel court’s decision to not remand is

a clear outlier – subsequent cases have expressly declined to extend the reasoning in Nessel to

non-AFFF PFAS lawsuits. See, e.g., Illinois, 2023 U.S. Dist. LEXIS 168231, at *17-18



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(explaining why the Nessel court’s reasoning is not dispositive); Maine, 2023 U.S. Dist. LEXIS

128740, at *27 (explaining why “the Court concludes that New Hampshire is more persuasive”

than Nessel); New Hampshire, 665 F. Supp. 3d at 229 (explaining why “the court does not find

the reasoning of Nessel persuasive”). The court in Nessel never engaged with the line of cases

providing that a defendant cannot assert federal officer removal where (as here) a plaintiff has

expressly limited its claims to injuries from products not made at the direction of a federal

officer. Nor did Nessel address the fact – highlighted in the New Hampshire case – that the

limited scope of the commercial AFFF case meant that “there is no scenario under which [the

defendants] could be found liable for any damages caused by AFFF . . . regardless of whether” it

was supplied under federal authority. New Hampshire, 665 F. Supp. 3d at 227-28.

       Furthermore, Nessel is plainly distinguishable from the instant action because the State’s

Complaint expressly disclaims any relief for AFFF. That distinction is important, as the liability

of the defendants in Nessel for any alleged AFFF contamination was subject to a factfinder

determining whether it was produced under a military specification. Id. at 228-29. In the instant

action and as a result of the State’s express disclaimer, “whether an alternate source of

contamination was MilSpec AFFF is irrelevant because this suit does not involve AFFF,

regardless of whether it is MilSpec or another version of AFFF.” Id. at 229.

       Defendant relies on additional AFFF cases in its Notice that are similarly plainly

distinguishable. In one decision, the AFFF MDL court declined to remand a case that disclaimed

relief for “any injuries traceable to federally mandated MilSpec AFFF” but not to “commercial

AFFF use by non-federal consumers at fire readiness and suppression sites in Northern Bergen

County, New Jersey.” In re: Aqueous Film-Forming Foams Prods. Liab. Litig., MDL No. 2:18-

mn-2873-RMG (MDL No. 2873), ECF 325 (D.S.C. Oct. 1, 2019) (“Ridgewood Water”)



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(emphasis in original). The AFFF MDL court concluded that “civilian” AFFF was effectively a

federal product just as much as “MilSpec AFFF,” because both were designed under “the

military’s guidance” and based on “MilSpec standards,” and so determined that the defendants

could reasonably raise a government contractor defense. Id. at 4-5. Like Nessel, this case is

distinguishable because it still concerned AFFF. Defendant also makes passing citation to three

other decisions, but these cases are not even superficially on point. Notice ¶ 19. One is

essentially identical to Ridgewood Water. In re: Aqueous Film-Forming Foams Prods. Liab.

Litig., MDL No. 2:18-mn-2873-RMG (MDL No. 2873), ECF 320 (D.S.C. Sept. 27, 2019)

(treating civilian AFFF as a federal product). Two others merely assert jurisdiction over claims

for contamination from MilSpec AFFF. Ayo v. 3M Co., No. 18-cv-0373(JS)(AYS), 2018 U.S.

Dist. LEXIS 170996 (E.D.N.Y. Sept. 30, 2018); In re: Aqueous Film-Forming Foams Prods.

Liab. Litig., MDL No. 2:18-mn-2873-RMG (MDL No. 2873), ECF 103 (D.S.C. May 24, 2019).

Each of the cases cited by the Defendant is premised on seeking relief for some form of AFFF

and not the non-AFFF PFAS at issue here.

       Additionally, Defendant devotes much of the Notice of Removal to arguing that the

State’s Complaint has been filed under a false premise. See, e.g., Notice ¶ 1 (describing the

defining distinction between the Complaint and the State’s separate AFFF lawsuit as “illusory”

and “one without a meaningful difference”). Defendant makes a “commingling” argument

throughout its Notice of Removal that suggests this case really is about MilSpec AFFF because

the State may not be able to definitively distinguish AFFF-related PFAS and non-AFFF PFAS.

See id. ¶ 10 (alleging that the State has not excluded MilSpec AFFF from this case because its

Complaint did not explain how it will factually and scientifically differentiate sources of PFAS).

Much of the Notice supports this “commingling” argument using allegations drawn from



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complaints outside of this action. See, e.g., id. ¶¶ 27-31, 33-36 (citing similarities in the State’s

separate AFFF complaint to suggest that “PFAS from MilSpec AFFF plausibly has commingled

with PFAS from non-AFFF sources in Connecticut”); id. ¶ 32 (citing a conflicting allegation

from the complaint filed in First Taxing Dist. of City of Norwalk Connecticut v. 3M Co., et al.,

No. 2:23-cv-02268 (D.S.C.), ECF No. 1).

       Nothing cited by the Defendant suggests it can raise the government contractor defense

here. What defendant has done, in raising the issue of the possible commingling of AFFF and

non-AFFF PFAS, is not to raise a colorable federal defense that it cannot be held liable for the

non-AFFF PFAS, but rather raise an ordinary defense that it is impossible to discern between

those two types of PFAS. This is clear because a federal defense would rely on Defendant’s

production – pursuant to federal direction or military specifications – of the PFAS at issue in this

case. For reasons previously explained, this defense fails because Defendant was not acting as a

federal officer with regard to the PFAS actually at issue in this case, which are exclusively those

PFAS unrelated to AFFF. Instead, the argument Defendant raises is simply that the PFAS for

which it faces liability in this case (non-AFFF) is too commingled with PFAS for which it does

not face liability (AFFF) so that either liability or damages cannot be proven. But a defense –

even a likely defense that raises a federal issue – cannot form the basis for removal. Caterpillar,

Inc. v. Williams, 482 U.S. 386, 393 (1987).

       The State’s express disclaimer against recovering for AFFF renders any defense related

to MilSpec AFFF entirely moot. New Hampshire, 665 F. Supp. 3d at 228 (“Because the State is

not making any claims here for injuries from the only product that 3M asserts it supplied at the

direction of a federal officer, the validity of that assertion will simply not be tested in this

action.”). Consistent with the decisions that have considered Nessel in other PFAS cases, this



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action’s Complaint is distinguishable by virtue of its express disclaimer. Likewise, any attempt

to raise a government contractor defense by alleging that MilSpec AFFF is part of this action,

commingled or not, falls flat.

       B.      The State’s Claims Are Not Subject to Federal Enclave Jurisdiction.

       In its Notice of Removal, Defendant raises the Federal Enclave Doctrine as a second

justification for federal jurisdiction – “[b]ecause the State’s claims arose in part on federal

enclaves, such as the Naval Submarine Base New London (see AFFF Complaint ¶ 125), the

claims involve a federal question, and Defendant is entitled to remove the action to federal court

under 28 U.S.C. §§ 1331 and 1441 (a).” Notice ¶ 5.

       The Constitution’s Enclave Clause grants Congress the power to exercise legislative

authority “over all Places purchased by the Consent of the Legislature of the State in which the

Same shall be, for the Erection of Forts, Magazines, Arsenals, dock-Yards, and other needful

Buildings.” U.S. Const. art. I, § 8, cl. 17. Such “federal enclaves” are generally governed by

federal law and, under certain circumstances, claims which arise there might be removable under

28 U.S.C. § 1441(a). In order to remove a complaint brought in state court, all of the pertinent

events must have occurred on the federal enclave. See, e.g., Bd. of Cnty. Comm'rs of Boulder

Cnty. v. Suncor Energy (U.S.A.) Inc., 25 F.4th 1238, 1271 (10th Cir. 2022), cert. denied, 143 S.

Ct. 1795, 215 L. Ed. 2d 678 (2023); see Mayor & City Council of Baltimore v. BP P.L.C., 31

F.4th 178, 217-19 (4th Cir. 2022); Rhode Island v. Shell Oil Prods. Co., L.L.C., 35 F.4th 44, 58

(1st Cir. 2022) (“Rhode Island II”). There is no federal enclave jurisdiction in this action because

the events giving rise to the State’s claims did not arise on a federal enclave.

       Federal enclave jurisdiction confers original federal jurisdiction under 28 U.S.C. § 1331,

which therefore would allow removal under 28 U.S.C. § 1441(a). Maryland, 2024 U.S. Dist.

LEXIS 48428, at *11. The “well-pleaded complaint rule” applies when interpreting jurisdiction

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under § 1331 claims, which states that “federal question jurisdiction exists only when a federal

question is presented on the face of the plaintiff’s properly pleaded complaint.” Caterpillar, Inc.,

482 U.S. at 392. This rule enables a plaintiff, as the State did here, to be the “master of the

claim” and “avoid federal jurisdiction by exclusive reliance on state law.” Id.

       Federal enclave removal is appropriate only where “the complaint reveal[s]” that a

plaintiff’s claims arose on federal enclaves. Durham v. Lockheed Martin Corp., 445 F.3d 1247,

1250 (9th Cir. 2006). Federal enclave jurisdiction is to be interpreted narrowly. City & Cnty. Of

Honolulu v. Sunoco LP, 39 F.4th 1101, 1111 (9th Cir. 2022). The complaint “must allege that an

injury occurred on a federal enclave or that an injury stemmed from conduct on a federal

enclave” and “the connection between injuries and conduct must not be ‘too attenuated and

remote.’” Id. (quoting Cnty. Of San Mateo v. Chevron Corp., 32 F.4th 733, 750 (9th Cir. 2022)).

“[A] defendant cannot use activities on federal enclaves to create instant jurisdiction for a state-

law claim.” Honolulu, 39 F.4th at 1111.

       To make its federal enclave argument, Defendant attempts to attribute the State’s injuries

to federal enclaves in two ways. Defendant first claims this Court has federal enclave jurisdiction

through AFFF contamination from the federal facilities cited in the State’s AFFF complaint,

specifically citing the New London Naval Submarine Base. Notice ¶ 59. This argument is

unpersuasive. To make this argument, relies on allegations from a different action – the State’s

AFFF complaint – but, under Durham and Honolulu, Defendant cannot establish federal enclave

jurisdiction by looking beyond this Complaint. Durham, 445 F.3d, at 1250; Honolulu, 39 F.4th,

at 1111. Allegations relating to MilSpec AFFF are also inapplicable, and consequently cannot

confer federal enclave jurisdiction, as a result of the State’s express disclaimer. See Compl. ¶ 18.

       Defendant makes a second attempt to establish federal enclave jurisdiction by alleging



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non-AFFF PFAS contamination from activities at the New London Naval Submarine Base.

Notice ¶ 60 (“For instance, the use of PFAS in metal plating operations at the Naval Submarine

Base plausibly has contributed to PFAS contamination at that site that is encompassed within the

‘non-AFFF’ PFAS contamination for which the State is seeking to recover in this case.”). This

argument fails because Defendant has neither argued nor offered evidence that all of the

pertinent events concerning the PFAS subject to this Complaint originated on the New London

Submarine Base. The fact that a case could “plausibly” overlap with some activity on a federal

enclave is not sufficient to recast it as a federal matter. Maryland, 2024 U.S. Dist. LEXIS 48428,

at *12 (“The fact some of the State's claims may have arisen in part from some federal enclaves

is insufficient to grant federal enclave jurisdiction.”).

        Federal courts across the country have consistently held that "[t]he doctrine of federal

enclave jurisdiction generally requires ‘that all pertinent events t[ake] place on a federal

enclave.’" Boulder, 25 F.4th at 1271 (second alteration in original) (citation omitted); see also

Mayor & City Council of Balt. v. BP P.L.C., 388 F. Supp. 3d 538, 565 (D. Md. 2019) ("[C]ourts have

only found that claims arise on federal enclaves, and thus fall within federal question jurisdiction, when

all or most of the pertinent events occurred there."); see also In re: High-Tech Emp. Antitrust Litig.,

856 F. Supp. 2d 1103, 1125 (N.D. Cal. 2012) (“[T]he federal enclave doctrine only applies when

the locus in which the claim arose is the federal enclave itself.”). Even if Defendant could

establish that some small quantity of non-AFFF PFAS contamination in Connecticut was

contributed from or to a federal enclave, such contribution was not exclusive to the enclave, nor

was the production, distribution, or marketing of PFAS. “While the various injuries alleged in [a]

complaint may be felt on federal enclaves as much as they are felt anywhere, the Court requires a

more substantive and explicit relationship between the actual claims alleged and a specific

federal enclave to exercise jurisdiction.” Connecticut v. Exxon Mobil Corp., No. 3:20-cv-1555,

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2021 U.S. Dist. LEXIS 111334 at *35 n.13 (D. Conn. Jun. 2, 2021) (quoting Minnesota v. API,

Civil No. 20-1636 (JRT/HB), 2021 U.S. Dist. LEXIS 62653 at *11 (D. Minn. Mar. 31, 2021)).

       Recent jurisprudence on federal enclave jurisdiction has reinforced this narrow

application in the context of widespread impacts. See, e.g., Baltimore, 31 F.4th at 217-18

(explaining that "federal-question jurisdiction is not conferred merely because some of

Defendants' activities occurred on military installations.") (emphasis in original); see also

Honolulu, 39 F.4th at 1111 (no federal enclave jurisdiction because “Plaintiffs' claims are not

about Defendants' [federal activities], and Defendants' activities on federal enclaves are too

remote and attenuated from Plaintiffs' injuries.”). In Rhode Island II, the State sought damages

for defendant energy companies’ knowing production of climate-warming fossil fuels. 35 F.4th,

at 50. Defendants removed the case to federal court and attempted to justify federal enclave

jurisdiction by claiming that “a big chunk of their ‘operative activities occurred on federal land . .

. .’” Id. at 58. The First Circuit concluded that “some of the pertinent events . . . occurred outside

federal enclaves” and rejected federal enclave jurisdiction as it “generally requires that all

pertinent events t[ake] place on a federal enclave." Id. at 58 (emphasis in original) (alteration in

original) (citing Boulder, 25 F.4th at 1271).

       Defendant has made similar federal enclave arguments before three other district courts,

each of which rejected the argument and remanded the case before it. Maryland, 2024 U.S. Dist.

LEXIS 48428, at *12 (“Quite simply, 3M's allegations are insufficient to meet the requirements

for federal enclave jurisdiction.”); Maine, 2023 U.S. Dist. LEXIS 128740, at *28-29; South

Carolina, No. 2:23-cv-05979-RMG (D.S.C. Feb. 29, 2024), at *5-6. Here, too, Defendant has

provided an insufficient basis for federal enclave jurisdiction, offering only one plausible

example of PFAS pollution originating from a federal enclave. In contrast, the State’s Complaint



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alleged statewide PFAS pollution with examples of examples of non-AFFF sources, including

landfills and POTWs. Compl. ¶¶ 70, 72. To recognize federal enclave jurisdiction on so slight a

basis would, as this Court recognized of the defendant’s argument in Connecticut v. Exxon Mobil

Corp., “give rise to federal jurisdiction in any case involving injuries that occur throughout a

state, no matter how minor the injuries occurring on federal enclaves are in relation to the claims

at issue.” 2021 U.S. Dist. LEXIS 111334, at *35. Such an expansive reinterpretation of the

federal enclave doctrine would amount to a sea change in jurisdiction, undermining the ability of

states to enforce their own laws, and has been expressly rejected by this District. Id.

       The Defendant’s reliance on the federal enclave doctrine is inconsistent with applicable

law and not a basis for removal of this action.

       C.      Defendant’s Objectively Unreasonable Removal Justifies Awarding
               Attorneys’ Fees to The State.

       The State respectfully requests this Court award costs and expenses incurred by the State

in responding to Defendant’s Notice of Removal. See 28 U.S.C. § 1447(c) (“An order remanding

the case may require payment of just costs and any actual expenses, including attorney fees,

incurred as a result of the removal.”). Recognizing that unjustified removal “delays resolution of

the case, imposes additional costs on both parties, and wastes judicial resources,” Congress

promulgated Code section 1447(c) to “deter removals sought for the purpose of prolonging

litigation and imposing costs on the opposing party . . . .” Martin v. Franklin Capital Corp., 546

U.S. 132, 140 (2005). In determining whether to award costs and fees, courts consider whether

the removing party had an objectively reasonable basis for removal. Id. at 141 (“[T]he standard

for awarding fees should turn on the reasonableness of the removal. Absent unusual

circumstances, courts may award attorney's fees under § 1447(c) only where the removing party

lacked an objectively reasonable basis for seeking removal.”). District courts have discretion in


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determining whether to award attorneys’ fees, id. at 139, and a “great deal of discretion and

flexibility . . . in fashioning awards of costs and fees.” Morgan Guaranty Trust Co. v. Republic of

Palau, 971 F.2d 917, 924 (2d Cir. 1992).

       Defendant’s retread Notice is objectively unreasonable for two reasons. First, Defendant

has advanced these same arguments in jurisdictions across the country without success. See, e.g.,

New Hampshire, 665 F. Supp. 3d at 220 (rejecting Defendant’s argument that the PFAS lawsuit

was removable under the federal officer doctrine); Illinois, 2023 U.S. Dist. LEXIS 168231, at

*19 (same); Maine, 2023 U.S. Dist. LEXIS 128740, at *28-29 (rejecting Defendant’s argument

that the PFAS lawsuit was removable under either the federal officer doctrine or the federal

enclave doctrine); Maryland, 2024 U.S. Dist. LEXIS 48428, at *11-13 (same); South Carolina,

No. 2:23-cv-05979-RMG (D.S.C. Feb. 29, 2024), at *5-6 (same). Defendant has received

multiple decisions from district courts stating that removal is baseless when plaintiffs explicitly

disclaim liability and remedies for AFFF, yet they continue to advance the same arguments

without regard to prior judicial decisions. See Robinson v. Pfizer Inc., No. 4:16-CV-439 (CEJ),

2016 U.S. Dist. LEXIS 57174, at *12 (E.D. Mo. Apr. 29, 2016) (awarding attorneys’ fees

because defendant had no objectively reasonable basis for removal after multiple courts had

remanded cases removed on same basis), vacated as moot, 855 F.3d 893 (8th Cir. 2017).

Defendant did not inform this Court that the arguments it advanced had been rejected by various

district courts, nor did it otherwise acknowledge these adverse rulings.

       Second, Defendant continues to assert the same arguments regardless of the specific

allegations plead. The State explicitly stated that AFFF was excluded from this suit, yet

Defendant ignored the well-pleaded complaint rule to shoehorn MilSpec AFFF into this case.

Both of Defendant’s removal arguments are based upon conduct that is clearly not part of this



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lawsuit. That alone is grounds for an award of attorneys’ fees. See Savino v. Savino, 590 F.

Appx. 80, 81 (2d Cir. 2015) (affirming award of attorneys’ fees when removal did not follow

well-pleaded complaint rule).

V.     CONCLUSION

       For the foregoing reasons, the State respectfully requests that this Court remand the

Complaint to Connecticut Superior Court and award attorney’s fees to the State for time spent

litigating Defendant’s objectively unreasonable removal of this action.




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                                 Respectfully submitted,

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  Civil/Family
  Housing                                 Prefix: HD6             Case Type: M90          File Date: 01/25/2024          Return Date: 03/05/2024
  Small Claims                            Case Detail Notices History Scheduled Court Dates E-Services Login Screen Section Help
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 Attorney/Firm Juris Number Look-up                                         To receive an email when there is activity on this case, click here.
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 Case Look-up
  By Party Name
  By Docket Number
  By Attorney/Firm Juris Number            Information Updated as of: 02/21/2024
  By Property Address
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 Short Calendar Look-up                                  Case Type: M90 - Misc - All other
  By Court Location                                 Court Location: HARTFORD JD
  By Attorney/Firm Juris Number                            List Type: No List Type
  Motion to Seal or Close
                                                    Trial List Claim:
  Calendar Notices
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 Court Events Look-up                                                 the system)
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 Legal Notices                                         Disposition:
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 Display of Case Information
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 Contact Us                                Party                                                                                           Fee Category
                                                                                                                                          Party
                                           P-01 STATE OF CONNECTICUT                                                                         Y     Plaintiff
                                                Attorney:   CHRISTOPHER PATRICK KELLY (444375) File Date: 01/25/2024
                                                          AG-ENVIRONMENT
                                                          165 CAPITOL AVE 5TH FLR
                                                          HARTFORD , CT 06106
                                                Attorney:   JULIA ROSE SUESSER (445210)        File Date: 02/05/2024
               Comments                                   AG-ENVIRONMENT
                                                          165 CAPITOL AVE 5TH FLR
                                                          HARTFORD , CT 06106
                                           D-01 EIDP, INC.                                                                                        Defendant
                                                Non-Appearing
                                           D-02 THE CHEMOURS COMPANY                                                                              Defendant
                                                Non-Appearing
                                           D-03 THE CHEMOURS COMPANY FC, LLC                                                                      Defendant
                                                Non-Appearing
                                           D-04 DUPONT DE NEMOURS, INC.                                                                           Defendant
                                                Non-Appearing
                                           D-05 CORTEVA, INC.                                                                                     Defendant
                                                Non-Appearing
                                           D-06 3M COMPANY                                                                                        Defendant
                                                Non-Appearing


                                            Viewing Documents on Civil, Housing and Small Claims Cases:

                                            If there is an   in front of the docket number at the top of this page, then the file is electronic
                                            (paperless).


                                                    Documents, court orders and judicial notices in electronic (paperless) civil, housing and small
                                                    claims cases with a return date on or after January 1, 2014 are available publicly over the
                                                    internet.* For more information on what you can view in all cases, view the Electronic Access
                                                    to Court Documents Quick Card.


https://civilinquiry.jud.ct.gov/CaseDetail/PublicCaseDetail.aspx?DocketNo=HHDCV246179556S                                                                      1/3
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                                                    For civil cases filed prior to 2014, court orders and judicial notices that are electronic are
                                                    available publicly over the internet. Orders can be viewed by selecting the link to the order
                                                    from the list below. Notices can be viewed by clicking the Notices tab above and selecting
                                                    the link.*

                                                    Documents, court orders and judicial notices in an electronic (paperless) file can be viewed at
                                                    any judicial district courthouse during normal business hours.*

                                                    Pleadings or other documents that are not electronic (paperless) can be viewed only during
                                                    normal business hours at the Clerk’s Office in the Judicial District where the case is located.*

                                                    An Affidavit of Debt is not available publicly over the internet on small claims cases filed
                                                    before October 16, 2017.*

                                            *Any documents protected by law Or by court order that are Not open to the public cannot be viewed
                                            by the public online And can only be viewed in person at the clerk’s office where the file is located by
                                            those authorized by law or court order to see them.

                                                                        Motions / Pleadings / Documents / Case Status
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                                                    File Date          Description                                                                 Arguable
                                           No                     By
                                                    02/05/2024       P APPEARANCE
                                                                        Appearance
                                           100.30 01/25/2024         P SUMMONS                                                                       No

                                           100.31 01/25/2024         P COMPLAINT                                                                     No

                                           100.32 01/25/2024         P CONTINUATION OF PARTIES                                                       No

                                           100.33 01/25/2024         P RETURN OF SERVICE                                                             No


                                                                            Scheduled Court Dates as of 02/20/2024
                                                             HHD-CV24-6179556-S - STATE OF CONNECTICUT v. EIDP, INC. Et Al
                                             #     Date          Time            Event Description                                      Status
                                                                                 No Events Scheduled


                                           Judicial ADR events may be heard in a court that is different from the court where the case is
                                           filed. To check location information about an ADR event, select the Notices tab on the top of the
                                           case detail page.

                                           Matters that appear on the Short Calendar are shown as scheduled court events on this page.
                                           The date displayed on this page is the date of the calendar.

                                           The status of a Short Calendar matter is not displayed because it is determined by markings
                                           made by the parties as required by the calendar notices and the civil standing orders. Markings
                                           made electronically can be viewed by those who have electronic access through the Markings
                                           History link on the Civil/Family Menu in E-Services. Markings made by telephone can only be
                                           obtained through the clerk’s office. If more than one motion is on a single short calendar, the
                                           calendar will be listed once on this page. You can see more information on matters appearing on
                                           Short Calendars by going to the Civil/Family Case Look-Up page and Short Calendars By Juris
                                           Number or By Court Location .

                                          Periodic changes to terminology that do not affect the status of the case may be made.

                                          This list does not constitute or replace official notice of scheduled court events.

                                          Disclaimer: For civil and family cases statewide, case information is displayed and is available
                                          for inquiry on this website for a period of time, one year to a maximum period of ten years, after
                                          the disposition date. To the extent that Connecticut Practice Book Sections 7-10 and 7-11 provide
                                          for a shorter period of time, this information will be displayed for the shorter period.

                                          In accordance with the Federal Violence Against Women Act of 2005, cases involving relief from
                                          physical abuse (restraining order­s), civil protection orders, foreign protective orders, and motions
                                          that would be likely to publicly reveal the identity or location of a protected party may not be
                                          displayed and may be available only at the courts.



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SUMMONS - CIVIL                                                                       For information on                                  STATE OF CONNECTICUT
JD-CV-1 Rev. 2-22                                                                     ADA accommodations,                                        SUPERIOR COURT
C.G.S . §§ 51 -346 , 51 -347, 51-349 , 51-350, 52-45a, 52-48 , 52-259;                contact a court clerk or
P B§§ 3-1 through 3-21 , 8-1, 10-13                                                                                                                            www.jud.ct.gov
                                                                                      go to: www.jud.ct.gov/ADA.
Instructions are on page 2.
D Select if amount, legal interest, or property in demand , not including interest and costs , is LESS than $2 ,500 .
[El Select if amount, legal interest, or property in demand, not including interest and costs, is $2,500 or MORE.
[El Select if claiming other relief in addition to, or in place of, money or damages.
TO: Any proper officer
By authority of the State of Connecticut, you are hereby commanded to make due and legal service of this summons and attached complaint
Address of court clerk (Number, street, town and zip code)                                                 Tel ephone number of clerk                   Return Date (Mu st be a Tuesday)
95 Washington Street, Hartford 06106                                                                       ( 860 ) 548 - 2700                           03/05/2024
[R] Judicial District   GA                                At (City/Town)                                                                      Case type code (See list on page 2)

D Housing Session D Number                                    Hartford                                                                         Major M                  Minor 90
For the plaintiff(s) enter the appearance of:
Name and address of attorney, law firm or plaintiff if self-represented (Number, street, town and zip code)                                       Juris number (if attorney or law firm)

William M. Tong, AG, Office of the Attorney General, 165 Capitol Avenue, Hartford, CT 06106                                                        440323
Telephone number                              Signature of plaintiff (if self-represented)
( 860 ) 808 - 5280
The attorney or law firm appearing for the plaintiff, or the plaintiff if                                         E-mail address for del ivery of papers un der Section 10-13 of the
                                                                                                                  Connecticut Practice Book (if agreed)
self-represented, agrees to accept papers (service) electronically
in this case under Section 10-13 of the Connecticut Practice Book.                      [El Yes       D No        christopher.kelly@ct.gov

       Parties             Name (Last, First, Middle Initial) and address of each party (Number; street; P.O. Box; town; state; zip; country, if not USA)
     First            Name:       State of Connecticut
                                                                                                                                                                                           P-01
    plaintiff         Address:    Office of the Attorney General, 165 Capitol Avenue, Hartford, CT 06106
  Additional          Name:
                                                                                                                                                                                           P-02
   plaintiff          Address:

    First             Name:       EIDP, Inc.
                                                                                                                                                                                           D-01
  defendant           Address : 974 Centre Rd, Wilmington, DE 19805

  Additional          Name:                                   Agent for Service: CT Corporation System, 67 Burnside Ave, East Hartford, CT 06108 0 _02
  defendant           Address:

  Additional          Name:       The Chemours Company
                                                                                                                                      D-03
  defendant           Address:    1007 Market Street, Wilmington, DE 19801
  Additional          Name:                        Agent for Service: CT Corporation System, 67 Burnside Ave, East Hartford, CT 06108
                                                                                                                                      D-04
  defendant           Address :

Total number of plaintiffs: 1                             J   Total number of defendants: 6                               J   [El Form JD-CV-2 attached for additional parties
Notice to each defendant
   You are being sued . This is a summons in a lawsuit The complaint attached states the claims the plaintiff is making against you .
2. To receive further notices, you or your attorney must file an Appearance (form JD-CL-12 ) with the clerk at the address above . Generally ,
   it must be filed on or before the second day after the Return Date . The Return Date is not a hearing date. You do not have to come to
   court on the Return Date unless you receive a separate notice telling you to appear.
3. If you or your attorney do not file an Appearance on time, a default judgment may be entered against you. You can get an Appearance
   form at the court address above, or on-line at https //jud .ctgov/webforms/.
4. If you believe that you have insurance that may cover the claim being made against you in this lawsuit, you should immediately contact
   your insurance representative . Other actions you may take are described in the Connecticut Practice Book, whi ch may be found in a
   superior court law library or on-line at https //www.jud ctgov/pb.htm .
5. If you have questions about the summons and complaint, you should talk to an attorney
   The court staff is ot allow        • gi               le
Date                                                                                            [EJ Commissioner of Superior Court      Name of person sign ing
 01/23/2024
                                                                                                □                              Clerk    William M. Tong
If this summons is signed by a Clerk                                                                                                                           For Court Use Only
                                                                                                                                                   File Date
a. The signing has been done so that the plain ff(s) will not be denied access to the courts.
b. It is the responsibility of the plaintiff(s) to ensure that service is made in the manner provided by law.
c. The court staff is not permitted to give any legal advice in connection with any lawsuit
d. The Clerk signing this summons at the request of the plaintiff(s) is not responsible in any way for any
     errors or omissions in the summons , any allegations contained in the complaint, or the service of the
     summons or complaint
I certify I have read and           Signed (Self-represented plaintiff)                                                 Date                       Docket Number

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RETURN DATE: MARCH 5, 2024                                    SUPERIOR COURT

STATE OF CONNECTICUT                                          JUDICIAL DISTRICT
                                                              OF HARTFORD
v.

EIDP, INC.; DUPONT DE NEMOURS,                                AT HARTFORD
INC.; THE CHEMOURS COMPANY; THE
CHEMOURS COMPANY FC, LLC;
CORTEVA, INC.; and 3M COMPANY                                 JANUARY 23, 2024


                                           COMPLAINT

          The State of Connecticut, by its Attorney General William Tong, brings this action to

obtain injunctive, monetary, and other equitable relief, and complains and alleges as follows:



I.        NATURE OF THE ACTION

     1.       The State of Connecticut brings this action against the above-named Defendants to

protect and restore lands, waters, and wildlife, among other natural resources and property,

which are contaminated with toxic chemicals known as per- and polyfluoroalkyl substances

(“PFAS”).

     2.       Defendants are among the world’s largest chemical manufacturers and have been the

primary historical manufacturers of PFAS and PFAS-containing chemicals and related products

(herein collectively referred to as “PFAS Products”) since the 1940s.

     3.       Defendants’ PFAS Products have been used in Connecticut and throughout the

country in industrial processes and in consumer products. PFAS are typically added to make

products, including those under Defendants’ brand names Teflon and Scotchgard, resistant to

stains, water, and heat. Among the items where Defendants’ PFAS Products have been widely

used are food packaging, cookware, carpeting, upholstery, clothing, and cosmetics.
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   4.       PFAS do not exist naturally in the environment. They are synthetic chemicals which

enter the environment through the normal and foreseeable disposal of consumer and commercial

products and from industrial releases into the air, water, and soil.

   5.       PFAS do not break down in the environment. Once released into the world, PFAS

will migrate through the environment and accumulate in living organisms.

   6.       Due to their longevity in the environment, PFAS are known as “Forever Chemicals.”

   7.       PFAS are toxic at extremely low concentrations. Scientific studies have linked the

accumulation of PFAS in humans with harmful – and potentially lethal – conditions, including

cancer and liver disease, as well as with adverse effects on pregnancies and child development.

   8.       The manufacturers of PFAS Products have known about the harmful and persistent

characteristics of PFAS for decades, but concealed material information about these

characteristics to preserve their product lines.

   9.       As early as the 1950s, substantial resources were devoted to toxicity testing on

numerous animal species, which demonstrated incredibly dangerous impacts upon an array of

mammals, birds, and fish. Human health studies demonstrated significantly increased cancer

risks from PFAS exposure, as well as increased occurrence of birth defects and other health

impacts. Defendants shared with each other their research and serious safety concerns but not

with the public, even as they continued to produce these toxins.

   10.      Defendants developed extensive research programs to study their chemicals and

determined that their PFAS Products were polluting drinking water supplies, groundwater,

surface waterbodies, soils, sediments, and wildlife.

   11.      Since the 1970s, these manufacturers have also known that there is a “universal

presence” of their PFAS in human blood.




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   12.     Despite legal obligations to report their knowledge, these risks were concealed from

regulators and the public for decades.

   13.     The Environmental Protection Agency (“EPA”) only learned in 1998 that PFAS was

in the blood of the general human population. Under pressure from the EPA, one Defendant, the

3M Company, then produced over 1,200 studies it had withheld from regulators for decades.

   14.     With utter disregard for human health and the environment, Defendants had

concealed their knowledge about these harmful chemicals from regulators and deceived their

customers. Even after the EPA was alerted to the PFAS threat, manufacturers of PFAS Products

labored to undermine regulatory efforts and scientific inquiry.

   15.     Defendants concealed critical information in order to perpetuate their toxic trade,

delaying any regulatory response to the PFAS threat for decades. As scientific awareness of the

dangers of PFAS have grown, recent investigations have revealed widespread PFAS

contamination across Connecticut, including in waterways and drinking water wells.

   16.     The State, as parens patriae and trustee of natural resources, has an obligation to

protect its citizens and environment from the ongoing PFAS threat and to restore Connecticut’s

environment for the benefit of future generations.

   17.     Connecticut state agencies estimate that the State and its taxpayers will likely need to

expend billions of dollars to mitigate PFAS contamination, remediate Connecticut’s natural

resources and property, and ensure the health and safety of Connecticut’s residents.

   18.     The State is not seeking to recover through this Complaint any relief for

contamination or injury related to Aqueous Film Forming Foam, a firefighting material that

contains PFAS which the State is addressing through a separate legal action to hold these and

other defendants accountable.




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II.         THE PARTIES

      A.       The Plaintiff

      19.      The State of Connecticut brings this action by and through William Tong, Attorney

General of the State of Connecticut, with his principal office at 165 Capitol Avenue, Hartford,

Connecticut 06106.

      20.      The State of Connecticut is a sovereign state and brings this action in its capacity as

sovereign, on behalf of its commissioners and agencies, as trustee of State natural resources and

owner of substantial interests in property contaminated and injured by Defendants, and pursuant

to its parens patriae authority on behalf of the citizens of Connecticut.

      21.      This action is brought at the request of and pursuant to the authority granted to the

Governor of the State of Connecticut, Ned Lamont, by Conn. Gen. Stat. § 3-5, as well as, by

Connecticut common law, Conn. Gen. Stat. §§ 3-125, 22a-16, 22a-416 to 22a-599, 42-110m, and

52-552 to 52-552l. The State brings this action based upon its statutory enforcement authority to

protect State natural resources and substantial interests in property and its common law police

power. This power includes its authority to prevent pollution of the State’s natural resources and

State property, to prevent nuisances, to protect consumers and ensure fair trade practices, and to

prevent and abate hazards to public health, safety, welfare, and the environment.

      22.      The State of Connecticut brings this action to obtain injunctive, monetary, and other

equitable relief. The State of Connecticut seeks to prevent continued violations of law and duties

by Defendants, to compel investigation and remediation of environmental pollution, to obtain

civil penalties for Defendants’ violations of law, and to recover actual and punitive damages.

These damages include, without limitation, past and future expenditures to identify and respond




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to PFAS contamination of natural resources and property, including treating, monitoring, and

remediating drinking water, as well as natural resource damages.

   23.        In this Complaint, the term “State’s natural resources and property” refers to all

natural resources or property for which the State of Connecticut seeks damages, including

without limitation fish, wildlife, biota, air, surface water, groundwater, wetlands, drinking water

supplies, soil, sediment, public lands the State holds in trust, and where the State is an owner of

substantial interests in property.

   B.         The Defendants

   24.        Defendants at all times relevant to this Complaint were and are designers,

manufacturers, marketers, distributors, and/or sellers of PFAS Products. The following

Defendants, at times relevant to this Complaint, designed, manufactured, marketed, distributed,

and/or otherwise sold (directly or indirectly) PFAS Products that each such Defendant knew or

should have known would be delivered into areas affecting the State’s natural resources and

property.

         1.      DuPont Defendants

   25.        This Complaint refers to EIDP, Inc., DuPont de Nemours, Inc., The Chemours

Company, The Chemours Company FC, LLC, and Corteva, Inc., collectively, as the “DuPont

Defendants.”

   26.        Defendant EIDP, Inc. (“Old DuPont”), formerly known as E.I. du Pont de Nemours

and Company, is a Delaware corporation with its principal place of business at 974 Centre Road,

Wilmington, Delaware 19805. Old Dupont has designed, manufactured, marketed, distributed,

and/or sold PFAS Products throughout the United States. Since at least the 1940s, Old DuPont

sold its trademarked PFAS Product “Teflon” for industrial uses and, since at least the 1960s, for




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use in consumer products. As alleged herein, Old DuPont engaged in a multi-year scheme to

insulate its assets and defraud its creditors. Old DuPont is registered to do business in

Connecticut.

    27.     Defendant DuPont de Nemours, Inc. (“New DuPont”), formerly known as

DowDuPont, Inc., is a Delaware corporation with its principal place of business at 974 Centre

Road, Wilmington, Delaware 19805. In 2015, after Old DuPont spun off The Chemours

Company, Old DuPont and The Dow Chemical Company (“Old Dow”) merged as subsidiaries of

a newly created entity, DowDuPont, Inc. Subsequently, DowDuPont, Inc. spun off both Corteva,

Inc. and Dow, Inc. (“New Dow”) and transferred Old DuPont’s historical assets and liabilities,

retaining the specialty products business. In connection with these transfers, the surviving entity

of the spin-offs, now known as DuPont de Nemours, Inc., assumed certain Old DuPont assets

and liabilities, which likely includes business lines and liabilities relating to the design,

manufacture, marketing, distribution, and/or sale of PFAS Products. New DuPont does business

throughout the United States.

    28.     Defendant The Chemours Company (“Chemours”) is a Delaware corporation with

its principal place of business at 1007 Market Street, Wilmington, Delaware 19801. In 2015, Old

DuPont spun off Chemours as an independent company, along with Old DuPont’s performance

chemicals business and vast environmental liabilities, including those related to PFAS.

Chemours has designed, manufactured, marketed, distributed, and/or sold PFAS Products

throughout the United States. Chemours is registered to do business in Connecticut.

    29.     Defendant The Chemours Company FC, LLC (“Chemours FC”) is a Delaware

corporation with its principal place of business at 1007 Market Street, Wilmington, Delaware




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19801. Chemours FC operates as a subsidiary of Chemours and manufactures fluoropolymer

resins. Chemours FC is registered to do business in Connecticut.

       30.        Defendant Corteva, Inc. (“Corteva”) is a Delaware corporation with its principal

place of business at 974 Centre Road, Wilmington, Delaware 19805. In 2019, New DuPont spun

off its agricultural business as a new, publicly traded company, Corteva, which currently holds

Old DuPont as a subsidiary. In connection with these transfers, Corteva assumed certain Old

DuPont assets and liabilities, which likely includes business lines and liabilities relating to the

design, manufacture, marketing, distribution, and/or sale of PFAS Products. Corteva is registered

to do business in Connecticut.

             2.      3M Company

       31.        Defendant 3M Company (“3M”), formerly known as Minnesota Mining and

Manufacturing Company, is a Delaware corporation with its principal place of business at 3M

Center, St. Paul, Minnesota 55144. Since at least the 1950s, 3M has designed, manufactured,

marketed, distributed, and/or sold PFAS Products throughout the United States. Beginning in

1956, 3M sold many of those PFAS Products under the brand name “Scotchgard.” 3M is

registered to do business in Connecticut.

       32.        The Court has jurisdiction over Defendants under Connecticut’s corporate long-arm

statute, Conn. Gen. Stat. § 33-929, and individual long-arm statute, Conn. Gen. Stat. § 52-59b,

owing to Defendants’ transaction of business, tortious conduct, and injuries inflicted in the State.

III.         FACTUAL ALLEGATIONS

       A.         PFAS Products Harm the Environment, Animals, and Human Health

       33.        PFAS are a group of thousands of human-made chemical compounds containing

bonds of fluorine and carbon atoms. The fluorine-carbon bond is one of the strongest bonds in




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chemistry. Due to their unique chemical structure, PFAS are extremely stable and repel oil,

grease, water, and heat. They do not naturally occur in the environment.

   34.     For purposes of this Complaint, “PFAS” includes, but is not limited to, the following

ten PFAS compounds, including their precursors, acids, salts, ionic forms, and byproducts, for

which the Connecticut Department of Public Health (“CT DPH”) has developed drinking water

“Action Levels” for specified concentrations:

           a.     PFOS (Perfluorooctanesulfonic acid)

           b.     PFOA (Perfluorooctanoic acid)

           c.     6:2 Cl-PFESA (6:2 chloropolyfluoroether sulfonic acid)

           d.     8:2 Cl-PFESA (8:2 chloropolyfluoroether sulfonic acid)

           e.     HFPO-DA (also known as GenX) (Hexafluoropropylene oxide dimer acid)

           f.     PFBS (Perfluorobutanesulfonic acid)

           g.     PFBA (perfluorobutanoic acid)

           h.     PFHxS (Perfluorohexanesulfonic acid)

           i.     PFHxA (Perfluorohexanoic acid)

           j.     PFNA (Perfluorononanoic acid)

   35.     The unique chemical structure of PFAS make them (1) persistent, (2) mobile, (3)

bioaccumulative and biomagnifying, and (4) toxic.

   36.     PFAS are extremely persistent. PFAS do not break down or biodegrade in the

environment or in living organisms. Once released into the environment, they will endure

indefinitely until they are consumed by living organisms or are contained and removed. This

extreme persistence has given them the nickname “Forever Chemicals.”




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   37.     PFAS are highly mobile. They easily dissolve and spread through water. Once

released into the environment, they can migrate long distances through a variety of media,

including surface water, groundwater, soils, sediment, and air. Due to the mobility and

persistence of PFAS, even releases of modest quantities can cause significant pollution of State

natural resources and property.

   38.     PFAS bioaccumulate in humans and in wildlife such as fish. PFAS are purged from

individual organisms very slowly – over many years for humans and other large organisms –

which leads to a buildup of PFAS within the body, even when exposure continues at extremely

low levels. Thus, PFAS also can biomagnify, meaning that their concentration in organic tissue

increases as they are consumed up the food chain.

   39.     As humans are exposed to PFAS, whether through consumption of contaminated food

or water, inhalation of contaminated air, or absorption through skin, the concentration of PFAS

in their blood and organs increases.

   40.     According to the CDC, the elimination half-lives of PFOA and PFOS, or the length of

time for the concentration of those substances in the human body to decrease by one-half, are

estimated to be 3.5 years and 4.8 years, respectively. For comparison, the half-lives of arsenic,

lead (in human blood), and radioactive polonium are ten hours, thirty-two days, and forty days.

   41.     PFAS also spread through humans and other mammals by crossing the placenta from

mother to fetus and by passing to infants through breast milk.

   42.     PFAS are toxic and cause significant adverse effects to human and animal health.

Toxicology and human epidemiology studies by independent researchers, as well as decades of

studies and lab animal testing by the Defendants, have demonstrated the unreasonable risk to

human and animal health from PFAS.




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    43.      Federal government agencies, including the Center for Disease Control’s Agency for

Toxic Substances and Disease Registry, have concluded there are adverse human health effects

associated with PFAS exposure, including kidney and testicular cancer; liver damage or changes

in liver function; delayed growth and development (including decreased infant birth weight);

decreased vaccine response; and increased cholesterol.

    44.      Additional adverse human health effects associated with PFAS exposure include, but

are not limited to, cancers of the liver, breasts, pancreas, and prostate; diabetes; fatty liver

disease; adverse pregnancy outcomes; and infertility.

    45.      Contamination from PFAS is a serious threat to human health and the environment,

including to the State’s natural resources and property.

    46.      The presence of these chemicals in drinking water presents a serious threat to public

health.

    47.      Removal of PFAS from drinking water sources requires specialized and expensive

drinking water treatment systems. Additionally, once PFAS are removed from drinking water

through filtration media, they must be disposed of in a safe manner, which is costly and creates

new risks.

    48.      Known pathways for PFAS to enter the environment include releases to air, waters,

and soil from industrial processes and sites and through the normal and foreseeable use and

disposal of consumer, household, and commercial products containing PFAS.

    49.      Once released into the environment, PFAS resist natural degradation, migrate through

and contaminate State natural resources and property, harm human and animal life, and are

difficult and costly to remove.




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   B.         The State is Uncovering and Responding to PFAS Contamination in Connecticut

         1.      Federal Investigations and Changing Regulations Have Brought Attention to
                 PFAS

   50.        Federal and state regulators began to learn of the substantial risks associated with

PFAS exposure in the late 1990s, when the EPA received disclosures about two types of PFAS –

PFOS and PFOA – and subsequently filed enforcement actions under the Toxic Substances

Control Act (TSCA).

   51.        Section 8(e) of TSCA requires chemical manufacturers and distributors to

immediately notify the EPA if they have information that “reasonably supports the conclusion

that such substance or mixture presents a substantial risk of injury to health or the environment.”

TSCA § 8(e), 15 U.S.C. § 2607(e). This reporting requirement has been included in TSCA since

its enactment in 1976. See Pub. L. 94-469, Title I, § 8, Oct. 11, 1976, 90 Stat. 2027.

   52.        In December 2005, the EPA reached a settlement with Old DuPont related to

violations of TSCA for concealing the environmental and health effects of PFOA. The settlement

included the largest civil administrative penalty the EPA had ever obtained under any

environmental statute, $10.25 million, and further required Old DuPont to perform Supplemental

Environmental Projects worth $6.25 million.

   53.        In April 2006, 3M agreed to pay the EPA a penalty of more than $1.5 million after

being cited for 244 violations of TSCA, which included violations dating back decades for

failing to disclose studies regarding PFOS, PFOA, and other fluorinated compounds.

   54.        Concurrently with those enforcement actions, EPA sought to phase out the production

of PFOS and PFOA. As the only known manufacturer of PFOS in the United States, 3M’s

phaseout of PFOS ceased all known domestic PFOS manufacturing. In 2006, EPA launched the

PFOA Stewardship Program to coordinate the phaseout of intentional domestic PFOA



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production by 2015, which the participants reported to have been achieved. The eight

participating companies were Arkema, Asahi, BASF, Clariant, Daikin, 3M/Dyneon, Old DuPont,

and Solvay Solexis.

   55.     Since EPA learned of the substantial risks associated with PFAS exposure through its

investigations and Defendants’ overdue disclosures, it has recognized the threat presented to

human health and the environment and has proposed regulations with considerable implications

for State regulators and their drinking water providers.

   56.     In 2016, the EPA established a health advisory level (“HAL”) for combined PFOS

and PFOA in drinking water at seventy parts per trillion (ppt). In June 2022, the EPA lowered the

HALs for PFOA and PFOS to .004 ppt and .02 ppt, respectively. One ppt is analogous to one

drop in twenty Olympic-sized swimming pools. In setting these new interim HALs, the EPA

relied on “data and draft analyses that indicate that the levels at which negative health effects

could occur are much lower than previously understood when the agency issued its 2016 health

advisories for PFOA and PFOS.”

   57.     In March 2023, the EPA proposed a new National Primary Drinking Water

Regulation for six PFAS, including PFOA, PFOS, PFNA, HFPO-DA/GenX, PFHxS, and PFBS.

The regulation establishes legally enforceable levels, called Maximum Contaminant Levels

(MCLs), for the six aforementioned PFAS, as well as health-based, non-enforceable Maximum

Contaminant Level Goals (MCLGs). If promulgated, water providers and their state regulators

will be required to monitor for these PFAS, notify the public of the levels of these PFAS, and

reduce the levels of these PFAS in drinking water if they exceed the proposed MCL standards.

   58.     The proposed regulation would set the MCLs for PFOA and PFOS in drinking water

at 4.0 ppt, which is the lowest concentration that can be reliably quantified within specific limits




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of precision and accuracy during routine laboratory operating conditions. The proposed

regulation would set the MCLGs for PFOA and PFOS at zero because the EPA has determined

that the chemicals “are likely to cause cancer (e.g., kidney and liver cancer) and that there is no

dose below which either chemical is considered safe.”

   59.        Currently, the EPA is monitoring twenty-nine PFAS compounds under the fifth

Unregulated Contaminant Monitoring Rule (UCMR 5). The UCMR 5 requires drinking water

systems across the country to collect samples between 2023 and 2025 to test for the presence of

twenty-nine PFAS (and lithium). The UCMR 5 requires monitoring of the contaminants from

Public Water Systems (“PWS”) that serve at least 3,300 people, as well as a randomly selected

sampling of smaller PWS.

   60.        In September 2022, the EPA also initiated a proposed rulemaking to designate PFOA

and PFOS as hazardous substances under the Comprehensive Environmental Response,

Compensation, and Liability Act (“CERCLA”). In support of this rulemaking, the EPA stated

that “evidence indicates that these chemicals may present substantial danger to public health or

welfare or the environment when released into the environment.” Once promulgated, States and

publicly owned treatment works (“POTWs”) will be responsible for monitoring and treating

PFAS in wastewater, controlling the discharge of PFAS, and monitoring, treating, and managing

the disposal of PFAS-contaminated biosolids.

         2.      PFAS Investigations and Response Measures Are Underway in Connecticut

   61.        As a consequence of the Defendants’ design, manufacturing, marketing, distribution,

and sale of PFAS Products, the natural resources and lands of the State of Connecticut are

contaminated with PFAS.




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   62.      In July 2019, Governor Ned Lamont established the Interagency PFAS Task Force,

led by the Connecticut Department of Energy and Environmental Protection (“CT DEEP”) and

CT DPH, to develop a statewide PFAS strategy across eighteen State agencies and entities. The

PFAS Action Plan, released on November 1, 2019, recommended thirty-four agency actions

across four strategic focus areas: (1) protecting human health; (2) pollution prevention; (3)

remediation; and (4) education, outreach, and communication. State agencies and other entities

are uncovering the breadth of the State’s toxic contamination by sampling environmental media,

testing drinking water sources, and investigating sites of likely PFAS discharge.

   63.      Two years later, the Connecticut General Assembly passed Public Act 21-191, which

banned the sale of food packaging containing intentionally added PFAS as of December 31,

2023.

   64.      The State has expended substantial resources to uncover and address the extensive

PFAS contamination in Connecticut, including millions of dollars of state bond funds, clean

water and drinking water loan funds, and brownfield grants. New staff have been hired to

perform PFAS analysis and the CT DPH Laboratory has been outfitted with analytical equipment

to perform testing, for example, of drinking water samples.

   65.      Connecticut agencies developed PFAS testing programs as early as 2013, with the

advent of the Unregulated Contaminant Monitoring Rule 3. As the primacy agency with

responsibility for implementing the Safe Drinking Water Act, CT DPH is tasked with regulating

nearly 2,400 public water systems serving over 2.7 million residents.

   66.      Beginning in 2018, CT DPH established a drinking water Action Level – the

concentration of a contaminant at which CT DPH recommends action be taken to reduce health

risks – for a sum of five PFAS compounds. Based on evolving science and updated research, CT




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DPH established individual Action Levels for four PFAS (PFOA, PFOS, PFNA, PFHxS) in June

2022 and for another six PFAS (GenX, PFHxA, PFBS, PFBA, 6:2 Cl-PFESA, 8:2 Cl-PFESA) in

June 2023. The ten PFAS compounds for which Action Levels were established are among the

most widely studied PFAS that have also been detected in human blood more frequently and at

higher concentrations than other PFAS. With the establishment of Action Levels, CT DPH

mandated PFAS testing for all new wells and recommended testing for all PWS.

   67.     Building on past testing requirements and voluntary testing, testing of drinking water

sources is ongoing under the UCMR 5 regime with support from CT DPH. The first quarterly

results were released in August 2023. Of the Connecticut PWS that reported results for the first

quarter disclosure, fourteen water sources operated by nine PWS reported detections of various

PFAS compounds, with detection levels as high as 44.3 ppt.

   68.     State agencies have also lent technical assistance and engaged in private well

sampling in communities known to be affected by PFAS contamination from nearby sources.

Connecticut has over 320,000 private residential wells serving more than 820,000 residents.

Because PFAS does not biodegrade, CT DEEP expects private wells polluted with PFAS may

require treatment in perpetuity, unless active remedial measures are implemented to isolate or

remove the source of PFAS pollution to groundwater. During the State’s PFAS investigations

conducted to date, contaminated private wells have been found in the vicinity of PFAS sources,

and additional contaminated wells are expected to be identified as environmental investigations

of known or presumed PFAS sources continue.

   69.     Site investigations are ongoing among the thousands of identified sites in Connecticut

suspected of being contaminated with PFAS.




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   70.       Among those sites of known or suspected contamination are five closed landfills

managed by the State. Bond funds have been allocated to address identified PFAS contamination

associated with landfills in Hartford and Ellington, while testing is underway at landfills in

Shelton, Wallingford, and Waterbury.

   71.       In addition to its site investigations, the State has retained experts to conduct

environmental contamination studies.

   72.       In 2021, CT DEEP retained consultants to characterize PFAS levels in environmental

media entering and discharging from POTWs in Connecticut. The study tested influent, effluent,

and sludge from thirty-five POTWs. Additionally, incinerator sludge and incinerator scrubber

water samples were collected from four biosolid incinerators, and surface water and fish tissue

samples were collected near ten POTWs. The data collected indicated PFAS were present in all

samples analyzed. Of the thirty-four individual PFAS tested, twenty-nine were detected in at

least one sample. The identified PFAS included all PFAS compounds for which CT DPH has

enacted drinking water Action Levels. The data on PFAS concentrations in fish tissue prompted

CT DEEP and CT DPH to issue a consumption advisory for specific sections of the Hockanum

River.

   73.       Defendants’ acts and omissions have caused or contributed to PFAS contamination in

Connecticut. Defendants failed to disclose to their customers and the users of PFAS Products the

environmental and health risks of PFAS that were known or should have been known to them,

resulting in the release and proliferation of PFAS. As a result, the risks associated with PFAS

were unknown to the users of PFAS Products; were unknown to the State; and were generally

unknown to those other than Defendants who could have reduced or limited the PFAS

contamination and injury described above. As designers, manufacturers, marketers, distributors,




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and sellers of PFAS Products, Defendants were in the best position to mitigate the risk of harm

of their products.

   74.      As a consequence of Defendants’ acts and omissions, the State is expending

substantial resources to identify, contain, remediate, or otherwise mitigate the effects of PFAS

contamination across Connecticut.

   C.       There is Widespread PFAS Contamination of Connecticut’s Natural Resources

   75.      PFAS contamination from Defendants’ PFAS Products has injured and continues to

injure the natural resources and property of the State and the property, health, safety, and welfare

of Connecticut’s citizens.

   76.      Since 1971, the State of Connecticut has declared that “[t]he air, water, land and other

natural resources, taken for granted since the settlement of the state, are now recognized as finite

and precious” and that it is the policy of the State “to manage the basic resources of air, land and

water to the end that the state may fulfill its responsibility as trustee of the environment for the

present and future generations.” Conn. Gen. Stat. § 22a-1.

   77.      It is the policy of the State of Connecticut that “carefully selected areas of land and

water of outstanding scientific, educational, biological, geological, paleontological or scenic

value be preserved.” Conn. Gen. Stat. § 23-5a.

   78.      It is also the policy of the State of Connecticut that “there is a public trust in the air,

water and other natural resources of the state of Connecticut and that each person is entitled to

the protection, preservation and enhancement of the same.” Conn. Gen. Stat. § 22a-15.

   79.      The State owns lands throughout Connecticut that it maintains for the benefit of the

public, such as State Forests, State Parks, and wildlife management areas.




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    80.     The State holds its natural resources in trust for the State’s citizens and has an

obligation to protect public interests in these resources through, among other things, maintaining

the environmental quality of its air, lands, and waters. The State’s natural resources include,

without limitation, its air; its waters, such as groundwater, springs, streams, wetlands, ocean

waters, and estuaries; certain lands and the resources found on them, such as forests and the trees

within; and its wildlife, such as birds and fish, within its boundaries or otherwise subject to its

jurisdiction.

    81.     PFAS attributable to Defendants’ PFAS Products have been found in groundwater,

surface water, sediments, soils, and biota in the State where PFAS Products were used, stored,

disposed of, or otherwise discharged. Furthermore, the State anticipates that additional

contamination of natural resources from PFAS attributable to Defendants’ PFAS Products will

be uncovered as its investigation continues.

    82.     Contamination from PFAS Products persists in the State’s natural resources, damages

their intrinsic value, and impairs the public benefits derived from access to, use, and enjoyment

of the State’s natural resources.

    83.     The current and future residents of the State have a substantial interest in natural

resources free of PFAS contamination, as do the tourism, recreation, fishing, and other industries

that rely on maintaining a clean and safe environment for their businesses, patrons, and tourists

to visit and enjoy.

    84.     Defendants’ PFAS Products are major sources of PFAS contamination in

Connecticut. Numerous locations in Connecticut are known to be contaminated and injured by

Defendants’ PFAS Products, including locations in the vicinity of landfills, POTWs, and

operating or closed manufacturing facilities.




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   85.        Releases of PFAS directly to soil or water allow PFAS to spread through the

environment. PFAS on contaminated sites, such as those named above, have migrated between

soils, groundwater, and surface water, which threaten human health and contaminate the

sediments and biota found within those environments. A healthy and functioning ecosystem

depends upon the interplay between non-impaired waters, soils, sediments, and wildlife.

         1.      Groundwater

   86.        Groundwater is a precious, limited, and invaluable natural resource that is used for

drinking water, irrigation, and other important purposes.

   87.        A majority of Connecticut residents rely on groundwater for drinking water, including

the twenty-three percent of residents who rely solely on private residential wells.

   88.        The people of Connecticut also use groundwater to irrigate agricultural crops and to

provide drinking water to animals raised for human consumption in the State.

   89.        PFAS attributable to Defendants’ PFAS Products have contaminated and injured the

State’s groundwater in locations throughout the State, including, for example, at the closed

landfills in Hartford and Ellington.

   90.        PFAS attributable to Defendants’ PFAS Products have contaminated and injured

drinking water that is drawn from groundwater sources in locations throughout the State,

including, for example, in public water systems in Manchester and Norwalk.

   91.        Defendants have caused PFAS contamination of groundwater at these and a myriad of

other locations in Connecticut by designing, manufacturing, marketing, distributing, and/or

selling PFAS Products – all while knowingly concealing and misrepresenting the dangers posed

by those products to groundwater.




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   92.        Ongoing additional testing continues to reveal further PFAS contamination and injury

of groundwater in locations throughout Connecticut.

   93.        It is virtually certain that additional testing will reveal further PFAS contamination

and injury of groundwater in locations throughout Connecticut.

         2.        Surface Waters

   94.        Surface waters are precious, limited, and invaluable State natural resources that are

used for drinking water, recreation, fishing, and ecological and other important purposes.

   95.        Connecticut has 618 miles of shoreline on the Long Island Sound. The State contains

6,000 miles of streams and rivers, and over 2,000 lakes and reservoirs.

   96.        Surface waters are sources of drinking water. Approximately seventy-six percent of

Connecticut’s population is served by water systems with the capability to supply both ground

and surface water supplies – twenty-one percent of large water systems in Connecticut rely

exclusively on surface supplies.

   97.        Connecticut’s surface waterbodies are central to its economic wellbeing. The State’s

tourism and recreation industries are dependent upon clean water that is safe for recreation and

capable of supporting aquatic life, including a recreational boating sector worth $3.6 billion each

year and a sportfishing sector worth over $650 million each year.

   98.        Significant releases of PFAS have created ecological and public health crises in

Connecticut rivers.

   99.        Defendants’ PFAS Products have contaminated Connecticut surface waterbodies in

the vicinity of POTWs and other release sites, including, but not limited to, the following

waterbodies, each of which has tested and detected PFAS compounds:

              a.      Connecticut River, Hartford




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             b.      Farmington River, Farmington and Windsor

             c.      Hockanum River, Vernon

             d.      Naugatuck River, Beacon Falls

             e.      Pequabuck River, Bristol

             f.      Quinnipiac River, Wallingford

             g.      Scantic River, Somers

    100.     Ongoing additional testing continues to reveal further PFAS contamination and injury

of surface waters in locations throughout Connecticut.

    101.     It is virtually certain that additional testing will reveal further PFAS contamination

and injury of surface waters in locations throughout Connecticut.

        3.        Fish and Wildlife

    102.     The State’s biota – including both flora and fauna – are critical ecological resources.

Wildlife, including birds and fish, are held in trust by the State for the benefit of its citizens.

    103.     The State’s biodiversity provides a wealth of ecological, social, and economic goods

and services that are an integral part of cultural and economic activity in Connecticut. Hunting,

fishing, and wildlife watching, for example, generate hundreds of millions of dollars each year

through tourism and recreation. Connecticut’s fish, marine resources, and wild game also

provide important sources of food.

    104.     Injuries to Connecticut’s biota impact not only the individual species, but also the

entire ecosystem of which they are a part.

    105.     The State has identified PFAS compounds attributable to the Defendants’ PFAS

Products in its public trust fish. Since 2016, Connecticut state agencies have tested finfish tissue

for the presence of PFAS.




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   106.    PFAS attributable to Defendants’ PFAS Products have contaminated and injured fish

in waterbodies across Connecticut, leading CT DPH to issue consumption advisories against

consuming fish caught in certain waterbodies. Those advisories recommend limiting

consumption of these fish to one meal per month or warn against any consumption at all.

   107.    For example, solely in response to detected PFOS levels, CT DPH has issued

consumption advisories concerning fish caught throughout or in portions of the following rivers:

           a.     Connecticut River

           b.     Farmington River

           c.     Hockanum River

           d.     Housatonic River

           e.     Natchaug River

           f.     Naugatuck River

           g.     Pequabuck River

           h.     Quinnipiac River

           i.     Scantic River

           j.     Shetucket River

           k.     Still River

           l.     Tankerhoosen River

           m.     Willimantic River

   108.    Connecticut state agencies, including the Department of Agriculture and the

University of Connecticut, are also investigating PFAS contamination of shellfish beds in Long

Island Sound.




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   109.      Connecticut state agencies have expended substantial resources to conduct PFAS

testing in finfish and shellfish. This testing will need to continue to update fish consumption

guidance.

   110.      In addition to fish testing, Connecticut state agencies are also preparing to test raptor

blood and tissue, including those of bald eagles, for PFAS and other compounds.

   111.      Ongoing additional testing continues to reveal further PFAS contamination and injury

of wildlife in locations throughout Connecticut.

   112.      It is virtually certain that additional testing will reveal further PFAS contamination

and injury of wildlife in locations throughout Connecticut.

   D.        The Defendants Knew or Should Have Known of the Dangers of PFAS

        1.      3M Has Known for Decades of Health and Environmental Risks from PFAS

   113.      3M was the largest manufacturer of PFAS chemicals in the United States from the

1940s through the early 2000s.

   114.      3M manufactured PFAS by electrochemical fluorination beginning in the 1940s.

   115.      3M was the only known manufacturer of PFOS and PFHxS in the United States.

   116.      3M knew for decades that its PFAS Products were toxic and would adversely affect

the environment and human health.

   117.      3M began testing the physiological and toxicological properties of PFAS compounds

as early as 1950. Based on these internal studies, 3M knew that PFOA and PFOS were harmful

to humans and the environment as early as the 1950s.

   118.      In 1950, 3M documented that PFAS accumulate in the blood of mice when exposed

to the chemicals in laboratory tests.




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   119.    By 1956, studies showed that 3M’s PFAS were found to bind to proteins in human

blood, resulting in bioaccumulation of those compounds in the human body.

   120.    By 1960, 3M knew that its waste PFAS could leach into groundwater and otherwise

enter the environment. An internal 3M memorandum from 1960 described 3M’s understanding

that such wastes “[would] eventually reach the water table and pollute domestic wells.” Later

that year, 3M confirmed that PFAS had already polluted the wells.

   121.    As early as 1963, 3M knew that its PFAS were highly stable in the environment and

did not degrade after disposal. A 1963 3M report described PFAS as being stable in the

environment and “completely resistant to biological attack.” The same report also confirmed that

3M knew the chemicals to be “toxic.”

   122.    By the mid-1960s, it already considered PFAS to be “toxic” and persistent and it

understood the propensity of these chemicals to spread and pollute the environment. 3M chose to

withhold its knowledge from its customers and the public, even as its knowledge of the dangers

of PFAS continued to grow.

   123.    By the 1970s, 3M researchers had documented PFAS in fish and were aware that its

PFAS Products were hazardous to marine life.

   124.    In 1970, outside researchers conducted toxicity testing of 3M’s Light Water line of

PFAS-containing firefighting foam and found it to be "highly derogatory to marine life and the

entire test program had to be abandoned to avoid severe local stream pollution."

   125.    In 1972, toxicity tests conducted with 3M's Light Water foam on bluegill, grass

shrimp, fiddler crab, and mummichog further confirmed PFAS's toxicity. After exposure to a

33.4 mg/l concentration of Light Water foam, 100 percent of bluegills died.




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   126.    By the 1970s, 3M was concerned about the risks posed to the general population by

exposure to its fluorochemicals.

   127.    In 1975, 3M learned there was a “universal presence” of PFAS in human blood

samples taken from across the United States. After reporting organic fluorine compounds in

blood bank samples taken from around the United States at levels corresponding to

approximately forty-five ppb, one of the researchers who made this discovery contacted the

company to see if it knew of “possible sources” of the chemicals, inquiring about consumer

products like Teflon and Scotchgard. 3M’s scientists concluded internally that the fluorine

compounds resembled 3M’s own PFAS, but “plead ignorance” to the researcher, misled him by

“advis[ing] him that ‘Scotchgard’ was a polymeric material not a [fluorochemical],” and did not

share this information outside the company.

   128.    In 1976, 3M began monitoring the blood of its employees for the presence of PFAS

because the company was concerned about potential health effects. For example, workers at

3M’s Chemolite plant in Cottage Grove, Minnesota, were found in June 1976 to have blood

PFAS levels at “1,000 times normal.”

   129.    During the late 1970s, 3M’s internal studies continued to demonstrate the

environmental persistence and severe toxicity of the company’s chemicals.

   130.    In 1978, a 3M study warned that PFAS “are likely to persist in the environment for

extended periods” and that they were “shown to be completely resistant to biodegradation.”

   131.    In 1978, 3M conducted multiple PFOS and PFOA studies in monkeys and rats. The

studies showed that PFOS and PFOA affected the liver and gastrointestinal tract of the species

tested. Results of a ninety-day animal study conducted by 3M in 1978 indicated that PFAS

“should be regarded as toxic.”




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    132.     In 1978, 3M had to abort a study when all of the test monkeys died within the first

few days or weeks after being given food contaminated with PFOS. The deaths were attributed to

the “compound effect” of the chemical.

    133.     In 1979, an internal 3M report discussing the studies on PFOS and PFOA toxicity to

animals stated that the compounds were “more toxic than anticipated” and recommended that

“lifetime rodent studies should be undertaken as soon as possible.”

    134.     In 1979, a 3M study reported that one of 3M’s fluorosurfactants was found to be

completely resistant to biological test conditions and that it appeared waterways were the

“environmental sink” for the fluorosurfactants.

    135.     In 1979, 3M studies documented PFAS in fish taken from the Tennessee River in the

proximity of 3M’s plant in Decatur, Alabama, with the “definite conclusion” that PFAS “do

appear to bioaccumulate in river fish under natural conditions.”

    136.     With mounting evidence that its PFAS were toxic, persistent, and mobile in the

environment, concerns were growing internally at 3M about the possible risks to its employees.

    137.     A 1979 memo from an employee in 3M’s medical department concluded that it was

“paramount to begin now an assessment of the potential (if any) of long term (carcinogenic)

effects for these compounds which are known to persist for a long time in the body and thereby

give long term chronic exposure.” That same year, an outside researcher recommended

additional testing and told 3M that reducing employees’ exposure to PFAS “should have top

priority.”

    138.     By 1979, Old DuPont and 3M were sharing research on the effects of PFAS to

determine the risk to their employees.




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   139.     In 1981, 3M moved twenty-five female employees “of childbearing potential” off

production lines at its Decatur, Alabama plant “[a]s a precautionary measure.” This was based on

internal research showing that PFAS compounds were causing birth defects in rats.

   140.     In 1983, 3M Environmental Laboratory scientists advocated for funding to perform

an ecological risk assessment of fluorochemicals and argued that concerns about PFAS give rise

to “legitimate questions about the persistence, accumulation potential, and ecotoxicity of

fluorochemicals in the environment.” No testing was authorized in response to the proposed

plan.

   141.     In 1984, 3M’s internal analyses documented increasing levels of fluorochemicals in

3M workers, concluding that potential uptake of fluorochemicals was exceeding excretion

capabilities of the body. The bioaccumulation of fluorochemicals in 3M’s employees was

occurring despite the protective measures already taken.

   142.     In 1987, 3M shared with Old DuPont the results of a two-year study where rats were

fed a diet with added fluorochemicals, resulting in the growth of cancerous tumors. The data

from the study spurred subsequent discussions where Old DuPont scientists questioned whether

they were required to label the fluorochemicals as carcinogens in animals. Old DuPont would

perform its own follow-up study and summarized the results in a TSCA 8(e) letter to the EPA,

which was also sent to 3M.

   143.     In 1989, a review of mortality data among 3M’s chemical division workers found,

compared to Minnesota death rates, a “statistically significant excess” of deaths by “cancer of the

digestive organs and peritoneum.”




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   144.    In 1996, 3M employees visited Washington Works in Parkersburg, West Virginia for

discussions with Old DuPont about finding replacements for their fluorochemicals. At a prior

meeting in May 1995, the companies had set a goal of finding a replacement by 2000.

   145.    In 1998, a 3M environmental specialist prepared an ecological risk assessment which

evaluated whether PFOS concentrations accumulating up the food chain were similar to

concentrations that cause adverse effects, determining that ambient environmental levels of

PFOS posed a substantial risk to marine mammals.

   146.    By the late 1990s, 3M’s own toxicologist had calculated a “safe” level for PFOS in

human blood to be 1.05 ppb, at a time when 3M was well aware that the average level of PFOS

found in the blood of the general population of the United States was approximately thirty times

higher than this “safe” blood level. 3M did not disclose this information for more than two

decades.

   147.    Despite decades of knowledge about the ubiquity and toxicity of its PFAS, 3M only

shared its concerns with EPA beginning in May 1998, with the submission of a TSCA 8(e) letter

for PFOS. However, that submission downplayed concerns about the environmental impacts of

PFAS, as described by a 3M employee:

   Just before that submission we found PFOS in the blood of eaglets – eaglets still young
   enough that their only food consisted of fish caught in remote lakes by their parents. This
   finding indicates a widespread environmental contamination and food chain transfer and
   probably bioaccumulation and bio-magnification. This is a very significant finding that
   the 8e reporting rule was created to collect. 3M chose to report simply that PFOS had
   been found in the blood of animals, which is true but omits the most significant
   information.

   148.    The same 3M employee, environmental specialist Dr. Rich Purdy, in his resignation

letter in 1999 called PFOS “the most insidious pollutant since PCB [polychlorinated biphenyl]. It

is probably more damaging than PCB because it does not degrade, whereas PCB does; it is more




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toxic to wildlife; and its sink in the environment appears to be biota and not soil and sediment, as

is the case with PCB.” Dr. Purdy sent his resignation letter to the EPA, effectively blowing the

whistle on 3M’s harmful and illegal activities.

   149.     In 2000, under pressure from the EPA, 3M announced that it would phase out

production of PFOS, PFOA, and certain related products. The press release stated that “our

products are safe” and cited the company’s “principles of responsible environmental

management” as the reason to cease production.

   150.     The same day as 3M’s announcement, the EPA issued a press release about 3M’s

phaseout stating “3M data supplied to EPA indicated that these chemicals are very persistent in

the environment, have a strong tendency to accumulate in human and animal tissues and could

potentially pose a risk to human health and the environment over the long term.”

   151.     In 2006, EPA cited 3M for 244 violations of the Toxic Substances Control Act,

accusing 3M of failing to notify the agency about new chemicals and of late reporting of

“substantial risk information.” 3M was fined $1.52 million for these violations.

       2.      DuPont Defendants Have Known for Decades of PFAS’s Health and
               Environmental Risks

   152.     In the 1950s, Old DuPont began using PFOA and other PFAS in its specialty

chemical applications, including household products like Teflon, and supplied PFAS Products to

third parties for use in manufacturing.

   153.     Old DuPont quickly thereafter developed an understanding of the dangers of using

these chemicals. Rather than warn the public or its consumers about these risks, Old DuPont

covered up this information and promoted its PFAS-related products as safe.

   154.     During this time, Old DuPont was aware that PFOA was toxic to animals and humans

and that it bioaccumulates and persists in the environment. Old DuPont also knew that the PFAS



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present in Teflon and its other specialty chemical products would proliferate and contaminate the

environment. Old DuPont was further aware that industrial facilities related to products like

Teflon emitted and discharged PFOA and other PFAS into the environment in large quantities

and that scores of people had been exposed to its PFAS, including via public and private

drinking water supplies.

   155.    In approximately 1951, Old DuPont started using PFOA in making Teflon for

industrial uses at its Washington Works manufacturing plant in Parkersburg, West Virginia. As

early as 1954, employees at Old DuPont’s Washington Works plant reported that PFOA might

be toxic. In 1961, seven years later, Teflon-coated consumer products hit the marketplace.

   156.    By 1961, Old DuPont scientists were issuing internal warnings about the toxicity

associated with PFOA, after testing with PFOA led to enlarged livers – “the most sensitive sign

of toxicity” – in rats, rabbits, and dogs. Old DuPont’s Toxicology Section Chief cautioned that

such products should be “handled with extreme care” and that contact with the skin should be

“strictly avoided.”

   157.    In 1964, a group of Old DuPont employees working in Teflon manufacturing became

sick after their department was moved to a more enclosed workspace. They experienced chills,

fever, difficulty breathing, and a tightness in the chest – symptoms referred to variously as

“polymer-fume fever,” “Teflon flu,” or simply, “the shakes.” Polymer-fume fever was first

reported in the medical literature in 1951.

   158.    In 1965, Old DuPont sponsored a study where rats were fed a PFAS compound over a

ninety-day period. Necropsies revealed discoloration of the liver, increased liver and kidney

weight, and increased spleen size.

   159.    As early as 1966, Old DuPont was aware that PFOA could leach into groundwater.




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   160.     In 1970, an internal memo stated that Old DuPont’s internal laboratory had found

PFOA to be “highly toxic when inhaled and moderately toxic when injected.”

   161.     In 1973, Old DuPont scientists issued results from a study showing that PFOA caused

adverse liver reactions in rats and dogs.

   162.     In 1975, Old DuPont toxicologists met with 3M employees to discuss the possible

toxic effects of PFAS in food products. 3M provided Old DuPont with the results of its toxicity

testing on rats and the companies discussed continued sharing of research.

   163.     By 1976, Old DuPont knew about research showing detections of organic fluorine in

blood bank samples in the United States, which the researchers believed could be a potential

result of human exposure to PFAS.

   164.     In 1978, based on information it received from 3M about elevated and persistent

organic fluorine levels in workers exposed to PFAS, Old DuPont initiated a plan to review and

monitor the health conditions of potentially exposed workers in order to assess whether any

negative health effects were attributable to PFOA exposure. This monitoring plan involved

obtaining blood samples from the workers and analyzing the samples for the presence of

fluorine.

   165.     In 1979, Old DuPont scientists issued an internal summary of PFOA toxicity testing

conducted on various animal species; PFAS-exposed rats showed liver enlargement at low doses,

and some were observed to have “corneal opacity and ulceration” that remained for up to forty-

two days after. The scientists reported these chemicals to be “highly toxic when inhaled.” The

chemical was also administered in a single dose of 450 mg to two dogs, who died within two

days after ingestion and who showed increased plasma enzyme levels “indicative of cellular

damage.”




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   166.       By 1979, Old DuPont had data indicating that, not only was organic fluorine/PFAS

building up in the blood of its exposed workers, but those workers exposed to PFAS had a

significantly higher incidence of health issues than did unexposed workers.

   167.       In 1980, Old DuPont internally confirmed, but did not make public, that PFOA “is

toxic,” that “people accumulate [PFOA]” in their tissues, and that “continued exposure is not

tolerable.”

   168.       By the 1980s, Old DuPont not only knew that PFAS accumulated in humans, but it

was also aware that PFAS could cross the placenta from an exposed woman to her fetus. Old

DuPont concealed its knowledge of the connection between PFAS and birth defects and chose to

mislead its employees about the risks they faced.

   169.       By 1981, Old DuPont had obtained a 3M internal study that documented birth defects

in the eyes of unborn rats exposed to PFAS in utero and urged female workers who came into

contact with PFAS to consult their doctors “prior to contemplating pregnancy.”

Contemporaneously with 3M, Old DuPont reassigned “female employees of childbearing

capability” from jobs where they would be in direct contact with PFAS.

   170.       In 1981, Old DuPont began secretly monitoring female employees who had been

exposed to PFOA and conducted blood sampling of those who were pregnant or recently

pregnant. Of the eight women who gave birth during this time period, two of the eight gave birth

to children with birth defects in their eyes or face, and a third child had PFOA in the umbilical

cord. As Old DuPont’s medical director Bruce Karrh explained in a memo, this monitoring was

undertaken to “answer a single question – does [PFOA] cause abnormal children?” The results of

the research were described as “statistically significant.” Old DuPont abandoned the study

without informing regulators or employees.




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   171.    The observations in the pregnancy monitoring were consistent with 3M’s rat study,

and in March 1981 Old DuPont had a pathologist and a birth defects expert review the 3M study.

They concluded that “the study was valid” and that “the observed fetal eye defects were due to

[PFOA].”

   172.    Later in 1981, Old DuPont informed their employees “based on our review of the

results of the further studies, it does not seem that the observed effects on the eyes of the unborn

rats were due to [PFOA].”

   173.    Old DuPont reported to EPA in March 1982 that results from a rat study showed

PFOA crossing the placenta if present in maternal blood, but Old DuPont concealed its data

confirming the transplacental movement of PFOA in humans.

   174.    In 1982, Old DuPont’s medical director warned in a confidential memo about

employees being exposed to potentially dangerous levels of PFOA. He recommended that

“available practical steps be taken to reduce this exposure.”

   175.    In addition to its knowledge of PFOA’s toxicity dating back to the 1960s, Old DuPont

was also aware that PFAS were capable of contaminating the surrounding environment, leading

to human exposure. In 1984, Old DuPont secretly sent employees to obtain drinking water

samples from surrounding communities. The results showed that PFOA released from its

manufacturing operations was contaminating local drinking water supplies in Lubeck, West

Virginia and Little Hocking, Ohio, but Old DuPont said nothing to regulators or the affected

communities.

   176.    In 1984, after obtaining data on these releases and the consequent contamination near

Old DuPont’s Washington Works plant in West Virginia, Old DuPont held an internal meeting at

its corporate headquarters in Wilmington, Delaware to discuss health and environmental issues




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related to PFOA. Old DuPont’s management was concerned about “[PFOA] exposures off plant

as well as to our customers and the communities in which they operate.” Old DuPont employees

in attendance spoke of the PFOA issue as “one of corporate image, and corporate liability.” They

were resigned to Old DuPont’s “incremental liability from this point on if we do nothing”

because Old DuPont was “already liable for the past 32 years of operation.” They also stated that

the “legal and medical [departments within Old DuPont] will most likely take a position of total

elimination” of PFOA use in Old DuPont’s business and that these departments had “no

incentive to take any other position.”

   177.    Nevertheless, Old DuPont not only decided to keep using and releasing PFOA, but

affirmatively misrepresented to regulators, the scientific community, and the public that its

PFOA releases presented no risks to human health or the environment. Old DuPont continued to

use PFOA for almost thirty years after the meeting.

   178.    In an October 20, 1986, memorandum, an Old DuPont employee stated that Old

DuPont’s management in Wilmington, Delaware, was “concerned about the possible liability

resulting from long-term [PFOA] exposure to our employees and to the population in the

surrounding communities and those downriver from the [Washington Works] plant.”

   179.    In 1988, Old DuPont began treating PFOA internally as a possible human carcinogen.

   180.    In 1999, Old DuPont received preliminary results from a study showing that PFOA

caused monkeys to lose weight and increased their liver size. Even monkeys given the lowest

doses suffered liver enlargement, and one became so ill it had to be euthanized.

   181.    After being sued by a West Virginia farmer in 1999, an internal Old DuPont

memorandum regarding its litigation strategy shows that Old DuPont sought to “not create [the]




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impression that DuPont did harm to the environment” and wanted to “keep [the] issue out of the

press as much as possible.”

   182.    In 2000, John R. Bowman, an in-house counsel for PFOA issues, wrote an email to

several colleagues: “I think we need to make more of an effort to get [Old DuPont] to look into

what we can do to get the Lubeck community a clean source of water or filter the [PFOA] out of

the water.” He continued:

   I think we are more vulnerable than the MTBE defendants [manufacturers of another
   notorious groundwater contaminant, MTBE] because many states have adopted a
   drinking water guideline for MTBE and it is not biopersistent. My gut tells me the
   biopersistence issue will kill us because of an overwhelming public attitude that anything
   biopersistent is harmful.

   We are going to spend millions to defend these lawsuits and have the additional threat of
   punitive damages hanging over our head. Getting out in front and acting responsibly can
   undercut and reduce the potential for punitives. [Bernard Reilly, another DuPont
   attorney] and I have been unsuccessful in even engaging the clients in any meaningful
   discussion of the subject. Our story is not a good one, we continued to increase our
   emissions into the river in spite of internal commitments to reduce or eliminate the
   release of this chemical into the community and the environment because of our concern
   about the bio-persistence of this chemical.

   183.    In a 2001 email, in-house lawyer Bernard Reilly described Old DuPont’s response to

the [PFOA] issue as “a debacle at best.” Reflecting on a late 2001 meeting with EPA concerning

PFAS contamination in Parkersburg, West Virginia, Mr. Reilly wrote, “[t]he business did not

want to deal with this issue in the 1990s, and now it is in their face, and some still are clueless.

Very poor leadership, the worst I have seen in the face of a serious issue since I have been with

DuPont.”

   184.    Notwithstanding its internal knowledge of PFOA’s health and environmental risks

from as early as the 1950s, Old DuPont publicly stated in 2003 that “[w]e are confident that there

are no health effects associated with [PFOA] exposure,” and that “[PFOA] is not a human health

issue.”



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   185.     Old DuPont’s own Epidemiology Review Board (“ERB”) repeatedly raised concerns

about Old DuPont’s statements to the public that there were no adverse health effects associated

with human exposure to PFOA. An ERB member called such statements “[s]omewhere between

misleading and disingenuous.” For example, in February 2006, the ERB “strongly advise[d]

against any public statements asserting that PFOA does not pose any risk to health” and

questioned “the evidential basis of [Old DuPont’s] public expression asserting, with what

appears to be great confidence, that PFOA does not pose a risk to health.”

   186.     In October 2006, contrary to ERB’s advice, Old DuPont’s chief medical officer

issued a press release stating that “there are no health effects known to be caused by PFOA.” An

ERB member criticized the press release because it “appear[ed] written to leave the impression

‘don’t worry.’”

   187.     In 2004, EPA filed an administrative enforcement action against Old DuPont for its

failure to disclose toxicity and exposure information for PFOA, in violation of TSCA and the

Resource Conservation and Recovery Act (“RCRA”). Old DuPont eventually settled the lawsuit

by agreeing to pay over $16 million in civil administrative penalties and undertake supplemental

environmental projects. EPA called the settlement the “largest civil administrative penalty EPA

has ever obtained under any federal environmental statute.”

   188.     At about the time this penalty was issued, Old DuPont was making approximately $1

billion a year in revenue from products containing PFOA.

       3.      Defendants Suppressed Information about the Risks of PFAS, Deceived
               Consumers and Regulators, and Failed to Act on their Knowledge

   189.     Despite their knowledge of the harms of their products, Defendants actively sought to

suppress scientific research on the hazards associated with PFAS and mounted a campaign to

control the scientific dialogue on the risks of PFAS.



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   190.    Through their roles as the designers, manufacturers, marketers, distributors, and

sellers of PFAS Products, Defendants had considerable influence over the information available

to their customers, environmental regulators, and the general public. Defendants had a vested

financial interest in exercising this influence to conceal the true harmful nature of PFAS, in spite

of their obligations to provide this information and to be truthful in advertising.

   191.    In internal documents and testimony made public, Defendants evidenced an

intentional corporate strategy to “shape the debate at all levels.” One consultant retained by Old

DuPont to work on PFAS issues outlined the company’s goal in a 2003 proposal to:

   [C]reate the climate and conditions that will obviate, or at the very least, minimize
   ongoing litigation and contemplated regulation relating to PFOA. This would include
   facilitating the publication of papers and articles dispelling the alleged nexus between
   PFOA and teratogenicity as well as other claimed harm. We would also lay the
   foundation for creating Daubert precedent to discourage additional lawsuits . . . . This
   battle must be won in the minds of the regulators, judges, potential jurors, and the
   plaintiff’s bar . . . . Manufacturers must be the aggressors.

   192.    Defendants’ efforts to suppress knowledge of the harms of PFAS began as soon as

evidence of its toxicity began to emerge, when the Defendants marked scientific studies and

related documents as “confidential,” withholding their disclosure in spite of the obvious public

interest and evidencing an awareness of legal liability. As 3M’s Dr. Rich Purdy wrote:

   3M told those of us working on the fluorochemical project not to write down our
   thoughts or have email discussions on issues because of how our speculations could be
   viewed in a legal discovery process. This has stymied intellectual development on the
   issue, and stifled discussion on the serious ethical implications of decisions.

   193.    3M used a variety of tactics to deceive others and to hide the negative effects of

PFAS. In Dr. Rich Purdy’s letter of resignation from 3M, he detailed, among other things: 3M’s

tactics to prevent research into the adverse effects of its PFOS; 3M’s submission of

misinformation about its PFOS to EPA; 3M’s failure to disclose substantial risks associated with

its PFOS to EPA; 3M’s failure to inform the public of the widespread dispersal of its PFOS in



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the environment and population; 3M’s production of chemicals it knew posed an ecological risk

and a danger to the food chain; and 3M’s attempts to keep its workers from discussing the

problems with the company’s fluorochemical projects to prevent their discussions from being

used in the legal process.

   194.    3M intentionally withheld scientific information about the material risks of its PFAS

Products. When researchers Guy and Taves contacted 3M in 1975 about the “universal presence”

of organic fluorine in compounds in blood among the general population, 3M “plead ignorance,”

misled them by “advis[ing] him that ‘Scotchgard’ was a polymeric material not a

[fluorochemical],” and took a position of “scientific curiosity and desire to assist in any way

possible.” 3M directed its Central Analytical Laboratory (CAL) to conduct similar sampling

from blood banks, from which an internal report concluded that the organic fluorine compounds

“resembled most closely” PFOS, confirming the suspicions held by the 3M researchers.

Subsequent 3M research in 1976 confirmed that the compounds found in human blood by Guy

and Taves were PFOS manufactured by 3M.

   195.    Guy and Taves proceeded to author a paper in 1979 speculating that the detected

compounds were POAA (an ammonium salt of PFOA) and sent the paper to CAL for review.

Despite its internal knowledge that the compounds were PFOS and its pledge to “assist in any

way possible,” 3M withheld the identity of the compound at the urging of its lawyers. 3M

facilitated the misdirection through two studies authored by the same CAL scientists who

internally identified PFOS in the blood bank samples; one study published in 1979 “suggest[ed]

the accuracy of Guy and Taves’ conclusions about the identity of the [organic fluorine] found in

blood,” and a second in 1981 stated that the detected compounds were instead a naturally

occurring substance.




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   196.    3M withheld material scientific information from government agencies as well. From

the 1970s, 3M conducted over a thousand studies related to the properties of PFAS and its effects

on human health and the environment. These studies should have been disclosed to the EPA,

pursuant to TSCA Section 8(e), but from 1980 to 1993, 3M submitted only eighty-four studies or

reports to the EPA. From 1998 to 2000, 3M submitted over 1,218 studies or reports, many of

which had been prepared decades earlier.

   197.    Even after 3M’s phaseout, the company worked to control and to distort the science

on PFAS. When 3M revealed in 1998 that PFOS was in the blood of the general population, it

developed a “Science Publication Strategy” to simultaneously publish select studies in academic

journals to create a “context which demonstrates that there is no medical or scientific basis to

attribute any adverse health effects to 3M products." Meanwhile, Dr. John Butenhoff, 3M’s

Manager of Corporate Toxicology, had already calculated a “safe” level of PFOS in human

blood of 1.05 ppb and he reported internally that 3M needed to replace “PFOS-based chemistry

as these compounds [are] VERY persistent and thus insidiously toxic.”

   198.    3M’s PFAS strategy included providing “[s]elective funding of outside research

through 3M ‘grant’ money,” including millions of dollars to a professor, John Giesy, who

publicly presented himself as an independent expert but behind the scenes worked for 3M by

reviewing articles submitted to academic journals for publishing. Dr. Giesy’s goal, as expressed

in a March 25, 2008, email, was to “keep ‘bad’ papers [regarding PFAS] out of the literature”

because “in litigation situations they can be a large obstacle to refute.” The deceptive intentions

of 3M and Dr. Giesy were further evidenced by his assurances to his benefactor that he acted to

ensure “there was no paper trail to 3M.”




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    199.    Similarly, Old DuPont conducted its own studies of the toxicity of PFOA but did not

communicate the results to the public or to regulators. Old DuPont understood the nature of

PFAS, the significance of its concentrations, and the hazards it presented to the company’s

employees, the public, and the environment.

    200.    Despite its knowledge, Old DuPont continued to manufacture PFAS while it actively

suppressed scientific awareness of the hazards of its products.

    201.    By the late 1990s, Old DuPont understood its substantial liability exposure from its

decades of releasing toxic PFAS into the environment. Internally, its employees expressed

concerns that “toxicity issues associated with [PFOA] exposure could turn it into the #1 DuPont

torte [sic] issue.”

    202.    These liability concerns extended to their interactions with regulators and their

misleading disclosures. Old DuPont lawyer Bernard Reilly said in 2001:

    [O]ur analytical technique [for measuring PFOA in water] has very poor recovery, often
    25%, so any results we get should be multiplied by a factor of 4 or 5. However, that has
    not been the practice, so we have been telling the agencies results that surely are low. Not
    a pretty situation, especially since we have been telling the drinking water folks not to
    worry, results have been under the level we deem “safe” of 1 ppb.

    [W]e are exceeding the levels we say we set as our own guideline, mostly because no one
    bothered to do the air modeling until now, and our water test has [been] completely
    inadequate . . . . I have been telling the business to get out all the bad news . . . . Too bad
    the business wants to hunker down as though everything will not come out in the
    litigation, god knows how they could be so clueless.

    203.    After EPA learned of the hazards of PFAS, the agency filed administrative actions

against 3M and Old DuPont for concealing their knowledge in violation of federal law.

    204.    In December 2005, Old DuPont settled with the EPA to pay approximately $16.5

million to resolve TSCA and RCRA claims alleged in two complaints filed by the agency in July

2004 and December 2004. Those claims included “multiple failures to report information to EPA




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about substantial risk of injury to human health or the environment from a chemical during a

period beginning in June of 1981 through March of 2001.”

   205.     In April 2006, 3M settled with the EPA to pay approximately $1.5 million to resolve

244 separate counts under TSCA related to PFOS and PFOA, following a company-wide audit.

   206.     Once EPA was first alerted to the health hazards of PFAS in 1998 and received a late

disclosure of over 1,200 reports and studies, the EPA and the general scientific community

commenced significant scientific inquiries into the nature of these chemicals. Since then, the

scientific community has produced a substantial body of research, with some years exceeding

1,000 published studies on PFAS. The extraordinary number of studies which have been

conducted in the last two decades reflect the profound lack of knowledge held by the government

and the general scientific community about the properties and risks of PFAS, as a consequence

of Defendants concealing and suppressing knowledge and research for decades. Defendants

sought to exploit that lack of knowledge to preserve their PFAS and related business lines.

   207.     Acting for commercial gain, Defendants manipulated, obfuscated, and failed to

disclose scientific studies and results relating to the persistence, bioaccumulation, and toxicity of

their PFAS Products. Defendants deceptively sought to mislead their customers about the safety

of their PFAS Products for environmental and human health and thereby delay the adoption of

safe or safer alternatives to PFAS Products.

   208.     Consequently, PFAS Products are still being released into the sediments, soils, and

waters of the State, harming the environment and endangering human health.

   E.       DuPont Defendants Executed a Fraudulent Scheme to Isolate Their Assets from
            Their PFAS Liabilities and Hinder Creditors

   209.     As regulators and the public became aware of the hazards presented by PFAS, Old

DuPont planned and executed a series of corporate restructurings, beginning in or about 2013



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and continuing through at least June 2019, designed to shield its assets from its substantial

environmental liabilities, especially those arising from PFOA and other PFAS contamination.

   210.    By 2013, Old DuPont knew, or reasonably should have known, that it had a potential

cumulative liability of billions of dollars arising from its PFAS-related activities.

   211.    Since at least 1999, when members of the Tennant family sued Old DuPont in West

Virginia federal court for contaminating their property with PFOA wastes from a landfill, Old

DuPont has been subject to mounting litigation arising from its half-century of designing,

manufacturing, marketing, distributing, and/or selling of PFAS.

   212.    In 2005, a West Virginia court approved a settlement from a class action lawsuit filed

against Old DuPont on behalf of 70,000 Ohio and West Virginia residents who were exposed to

PFOA discharged by Old DuPont from Washington Works.

   213.    Under the terms of the settlement, which provided class benefits in excess of $300

million, Old DuPont agreed to fund a panel of scientists (the “Science Panel”) to confirm which

diseases were linked to PFOA exposure; to filter local water from impacted public and private

drinking water supplies; and to pay up to $235 million for medical monitoring of the affected

community for any diseases that the Science Panel linked to PFOA exposure. The settlement also

provided that any class members who developed the diseases linked by the Science Panel would

be entitled to sue for personal injury, and Old DuPont agreed not to contest whether the class

members’ exposure to PFOA could have caused each of the linked diseases.

   214.    By 2012, after seven years of analysis, the Science Panel confirmed “probable links”

between exposure to PFOA and the following serious human diseases: medically diagnosed high

cholesterol; ulcerative colitis; pregnancy induced hypertension; thyroid disease; testicular cancer;

and kidney cancer.




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    215.    After the Science Panel confirmed such probable links with human disease, more than

3,500 personal injury claims were filed against Old DuPont in Ohio and West Virginia by class

members with one or more of those linked diseases under the terms of the 2005 class settlement.

In 2013, these claims were consolidated in federal multidistrict litigation styled In Re: E. I. du

Pont de Nemours and Company C-8 Personal Injury Litigation (MDL No. 2433) in the U.S.

District Court for the Southern District of Ohio (“Ohio MDL”). Forty bellwether trials were

scheduled to take place in 2015 and 2016.

    216.    The first three trials in the Ohio MDL ended in verdicts for the plaintiffs. Each jury

awarded damages in a larger amount than the one before it—the first awarded $1.6 million, the

second awarded $5.6 million, and the third awarded $12.5 million. The second and third jury

awards included punitive damages. Old DuPont then settled the remaining, pending claims for

$670.7 million.

    217.    Old DuPont knew, or should have known, prior to and following the Ohio MDL

trials, that it faced substantial liability for personal injury and environmental claims related to

PFOA and other toxic PFAS contamination caused by its manufacturing operations and that its

liability likely measured in the billions of dollars.

    218.    On information and belief, including but not limited to a complaint filed by Chemours

in Delaware, Old DuPont commenced an internal initiative, in or about 2013, where Old

DuPont’s management would restructure the company to evade responsibility for the widespread

environmental harm that Old DuPont’s actions had caused and shield billions of dollars in assets

from those liabilities. This initiative was referred to internally as “Project Beta.”

    219.    In furtherance of possible restructuring opportunities, including potential mergers,

Old DuPont and Old Dow began to discuss a possible “merger of equals” in or about 2013.




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   220.    On information and belief, including but not limited to a complaint filed by Chemours

in Delaware, Old DuPont recognized that Old Dow or any other rational merger partner would

never agree to a transaction that would expose it to the substantial PFAS and other

environmental liabilities held by Old DuPont.

   221.    Accordingly, Old DuPont’s management executed a three-step corporate restructuring

specifically orchestrated to shield Old DuPont’s valuable tangible assets from creditors of its

substantial environmental liabilities and to convince Old Dow to accept the proposed merger.

   222.    Old DuPont’s restructuring plan consisted of (1) Old DuPont’s attempt to cast off its

massive environmental liabilities onto Chemours and spinning off Chemours as a separate

publicly traded company; (2) the creation of New DuPont to facilitate a purported merger with

Old Dow; and (3) a series of internal restructurings and divestitures that culminated with the

spin-off of Old DuPont to its newly formed parent, Corteva.

   223.    The first step (the “Chemours Spin-off”) in Old DuPont’s fraudulent scheme was to

transfer its performance chemicals business, which included Teflon and other products

(“Performance Chemicals Business”), into its wholly owned subsidiary, Chemours. Then, in July

2015, Old DuPont saddled Chemours with Old DuPont’s massive environmental liabilities and

“spun off” Chemours as a separate, publicly traded entity.

   224.    On information and belief, Old DuPont knew that Chemours was undercapitalized

and could not satisfy the massive liabilities that it had forced upon Chemours. Old DuPont also

knew that the Chemours Spin-off alone would not fully insulate its assets from PFAS liability

because Old DuPont still faced direct liability for its own conduct.

   225.    The second step (the “DowDuPont Merger”) involved Old DuPont and Old Dow

entering into an “Agreement and Plan of Merger” in December 2015, pursuant to which Old




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DuPont and Old Dow merged with subsidiaries of a newly formed holding company,

DowDuPont, Inc. (“DowDuPont”), which was created for the sole purpose of effectuating the

merger. Old DuPont and Old Dow became subsidiaries of DowDuPont.

   226.     In the third step (the “DowDuPont Separation”), DowDuPont engaged in numerous

business segment and product line “realignments” and “divestitures,” which transferred, either

directly or indirectly, a substantial portion of Old DuPont’s assets to DowDuPont and culminated

in DowDuPont spinning off two new publicly traded companies: Corteva, which currently holds

Old DuPont as a subsidiary, and New Dow, which currently holds Old Dow as a subsidiary.

DowDuPont was then renamed DuPont de Nemours, Inc. (i.e., New DuPont).

   227.     As a result of this restructuring, between December 2014 (before the Chemours Spin-

off) and December 2019 (after the DowDuPont Separation), the value of Old DuPont’s tangible

assets decreased by $20.85 billion, or by approximately one-half.

   228.     New DuPont, New Dow, and Corteva now hold a significant portion of the tangible

assets that Old DuPont formerly owned.

   229.     Many of the details about these transactions are hidden from the public in confidential

schedules and exhibits to the various restructuring agreements. On information and belief, Old

DuPont, New DuPont, New Dow, and Corteva are concealing from creditors, such as the State,

the details of where Old DuPont’s valuable assets were transferred and of the inadequate

consideration that Old DuPont received in return.

   230.     In greater detail, the restructuring scheme was implemented as follows.

       1.      Step One: The Chemours Spin-off

   231.     In February 2014, Old DuPont formed Chemours as a wholly owned subsidiary.




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   232.    In April 2015, Chemours was converted from a limited liability company to a

corporation named “The Chemours Company,” in preparation for the July 2015 Spin-Off.

   233.    At the time of the Spin-off, the Performance Chemicals Business consisted of Old

DuPont’s Titanium Technologies, Chemical Solutions, and Fluoroproducts segments, including

business units that had manufactured, used, and discharged PFOA into the environment.

   234.    During the Spin-Off preparations, the Chemours Board consisted exclusively of three

Old DuPont employees who would not remain with Chemours following the Spin-off – DuPont’s

M&A Counsel, Nigel Pond; DuPont’s Treasury Manager, Michael Heffernan; and DuPont’s

M&A Manager, Steven Zelac. A fourth board member was appointed on June 19, 2015, who had

served on Old DuPont’s board of directors for the prior seventeen years.

   235.    During the Spin-off preparations, Chemours did not have procedural protections to

effectuate a meaningful, arm’s-length negotiation of the Spin-off, such as a Board or

management independent of Old DuPont. Old DuPont also did not allow Chemours or its

DuPont-selected prospective management team to have independent counsel to represent

Chemours’s interests in structuring the Chemours Spin-off – all documents for the Chemours

Spin-off were prepared by Old DuPont and its outside counsel.

   236.    To effectuate the Chemours Spin-off, a separation agreement (the “Chemours

Separation Agreement”) between Old DuPont and Chemours was executed on June 26, 2015, by

Nigel Pond on Chemours’s behalf, acting in the temporary role of “Vice President” of Chemours.

   237.    Pursuant to the Chemours Separation Agreement, Old DuPont agreed to transfer to

Chemours all businesses and assets related to the Performance Chemicals Business, including

thirty-seven active chemical plants.




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   238.    At the same time, Chemours accepted a broad assumption of Old DuPont’s massive

liabilities relating to Old DuPont’s Performance Chemicals Business. The specific details

regarding the nature, value of probable maximum loss, and anticipated timing of the liabilities

that Chemours assumed are not publicly available.

   239.    The Chemours Separation Agreement requires Chemours to indemnify Old DuPont

against, and assume for itself, all “Chemours Liabilities,” which are defined broadly to include,

among other things, “[a]ny and all Liabilities relating to, arising primarily out of or resulting

primarily from, the operation or conduct of the [Performance Chemicals] Business, as conducted

at any time,” including “any and all Chemours Assumed Environmental Liabilities,” which

includes Old DuPont’s historical liabilities relating to and arising from its decades of emitting

PFAS and related products into the environment. The indemnification provision is uncapped and

does not have a survival period.

   240.    Under the Chemours Separation Agreement, Chemours must indemnify Old DuPont

against and assume for itself the Chemours Liabilities regardless of (1) when or where such

liabilities arose; (2) whether the facts upon which they are based occurred prior to, on, or

subsequent to the effective date of the Spin-off; (3) where or against whom such liabilities are

asserted or determined; (4) whether such liabilities arise from or are alleged to arise from

negligence, gross negligence, recklessness, violation of law, fraud, or misrepresentation by any

member of the Old DuPont group or the Chemours group; (5) the accuracy of the maximum

probable loss values assigned to such liabilities; and (6) which entity is named in any action

associated with any liability.




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   241.    In addition, Chemours agreed to use its best efforts to be fully substituted for Old

DuPont with respect to “any order, decree, judgment, agreement or Action with respect to

Chemours Assumed Environmental Liabilities.”

   242.    Notwithstanding the billions of dollars in environmental and PFAS liabilities that

Chemours would assume, Old DuPont also caused Chemours to transfer to Old DuPont on July

1, 2015, a “dividend” of $3.9 billion – approximately $3.4 billion in cash, along with a

“distribution in kind” of promissory notes with an aggregate principal amount of $507 million.

   243.    Old DuPont required Chemours to fund the dividend through financing transactions,

including senior secured term loans and senior unsecured notes, totaling approximately $3.995

billion, entered into on May 12, 2015.

   244.    Chemours distributed approximately $3 billion in common stock to Old DuPont’s

shareholders on July 1, 2015 (181 million shares at $16.51 per share price).

   245.    Accordingly, most of the valuable assets that Chemours may have had at the time of

the Chemours Spin-off were unavailable to creditors with current or future PFAS claims, like

those of the State, and Old DuPont stripped Chemours’s value for itself and its shareholders. In

total, Chemours transferred almost $7 billion in stock, cash, and notes to Old DuPont and its

shareholders. Old DuPont, however, transferred only $4.1 billion in net assets to Chemours and

saddled the fledgling company with many billions of dollars in PFAS and other liabilities.

   246.    On July 1, 2015, Old DuPont completed the spin-off of Chemours, and Chemours

became a separate, publicly traded entity.

   247.    Shortly after the Chemours Spin-off, market analysts described Chemours as “a

bankruptcy waiting to happen” and a company “purposely designed for bankruptcy.”




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   248.       Not surprisingly, given Old DuPont’s extraction of nearly $4 billion from Chemours

immediately prior to the Chemours Spin-off, Chemours was thinly capitalized and unable to

satisfy the substantial liabilities it had assumed from Old DuPont. Indeed, Chemours disclosed in

public filings with the U.S. Securities and Exchange Commission (“SEC”) that its “significant

indebtedness” arising from its separation from Old DuPont restricted its current and future

operations.

   249.       The Chemours Spin-off was so one-sided that in May 2019, Chemours sued Old

DuPont, New DuPont, and Corteva in Delaware Chancery Court. See Chemours Company v.

DowDuPont, C.A. No. 2019-0351 (Del. Ch. Ct., filed May 13, 2019).

   250.       In its Amended Complaint Chemours alleged that the primary motivation for the

Chemours Spin-off, the subsequent creation of New DuPont, and the final separation of Corteva

was to enable Old DuPont to “wash its hands of its environmental liabilities.”

   251.       Chemours also alleged, among other things, that if the full value of Old DuPont’s

PFAS and environmental liabilities were properly estimated, and if the Delaware court did not

limit the liability that the Chemours Separation Agreement imposed on it, then Chemours would

have been insolvent at the time it was spun off from Old DuPont.

   252.       At the end of December 2014, Chemours reported it had total assets of $5.959 billion

and total liabilities of $2.286 billion. Following the Spin-off, Chemours reported in its 2015

Annual Report that it had total assets of $6.298 billion and total liabilities of $6.168 billion,

yielding a total net worth of $130 million.

   253.       In the 2015 Annual Report, removing Chemours’s goodwill and other intangibles of

$176 million yields tangible net worth of negative $46 million (that is, Chemours’s liabilities

were greater than its tangible assets).




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   254.     Chemours reported that these liabilities included $454 million in “other accrued

liabilities,” which included $11 million for accrued litigation and $68 million for environmental

remediation. Chemours had $553 million in “other liabilities,” which included $223 million for

environmental remediation and $58 million for accrued litigation.

   255.     This report significantly underestimated its liabilities, including the liabilities that it

had assumed from Old DuPont with respect to PFAS contamination, which Old DuPont and

Chemours knew or should have known would be billions of dollars.

   256.     For example, in 2017, Chemours and Old DuPont amended the Chemours Separation

Agreement in connection with the settlement of the Ohio MDL brought by thousands of residents

who had been exposed to PFOA from Old DuPont’s Washington Works plant. Per the

amendment, Chemours paid $320.35 million to the plaintiffs in the settlement on August 21,

2017, and Old DuPont paid an additional $320.35 million on September 1, 2017.

   257.     Had Chemours accounted for the full extent of Old DuPont’s legacy liabilities, as it

should have done, Chemours would have had negative equity (that is, total liabilities greater than

total assets), not only on a tangible basis, but also on a total equity basis, and Chemours would

have been rendered insolvent at the time of the Chemours Spin-off.

       2.       Step Two: The DowDuPont Merger

   258.     After the Chemours Spin-off, Old DuPont took the position that it was no longer

responsible for the widespread PFAS contamination that it had caused. Old DuPont publicly

claimed that the PFAS liabilities associated with the Performance Chemicals Business rested

solely with Chemours, not Old DuPont.




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   259.    Old DuPont could not contractually discharge all of its historical liabilities through

the Chemours Spin-off. On information and belief, Old DuPont knew that it could still face

exposure for PFAS liabilities. So Old DuPont moved to the next phase of its fraudulent scheme.

   260.    On December 11, 2015, less than six months after the Chemours Spin-off, Old

DuPont and Old Dow announced that their respective boards had approved an agreement “under

which the companies [would] combine in an all-stock merger of equals” and that the combined

company would be named DowDuPont, Inc. The companies disclosed that they intended to

subsequently separate the combined companies’ businesses into three publicly traded companies

through further spin-offs, each of which would occur eighteen to twenty-four months following

the closing of the merger.

   261.    To effectuate the transaction, Old DuPont and Old Dow entered into an Agreement

and Plan of Merger (the “Dow-DuPont Merger Agreement”) that provided for the formation of a

new holding company – Diamond-Orion HoldCo, Inc., later named DowDuPont, and then

renamed DuPont de Nemours, Inc. (i.e., New DuPont) – and the creation of two new merger

subsidiaries into which Old Dow and Old DuPont each would merge.

   262.    Thus, as a result of the merger, and in accordance with the Dow-DuPont Merger

Agreement, Old Dow and Old DuPont each became wholly owned subsidiaries of DowDuPont.

   263.    Although Old DuPont and Old Dow referred to the transaction as a “merger of

equals,” the two companies did not actually merge at all, likely because doing so would have

infected Old Dow with all of Old DuPont’s historical PFAS liabilities. Rather, Old DuPont and

Old Dow became affiliated sister companies that were each owned by the newly formed

DowDuPont.




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       3.      Step Three: The DowDuPont Separation

   264.     Following the merger, New DuPont (DowDuPont) underwent a significant internal

reorganization and engaged in numerous business segment and product line “realignments” and

“divestitures.” The net effect of these transactions has been the transfer, either directly or

indirectly, of a substantial portion of Old DuPont’s assets out of the company.

   265.     While much of the details of these transactions were hidden from the State and other

creditors, it is apparent that the transactions were intended to further frustrate and hinder

creditors with claims against Old DuPont, including with respect to its substantial environmental

and PFAS liabilities.

   266.     Old DuPont’s assets, including its remaining business segments and product lines,

were transferred either directly or indirectly to New DuPont, which reshuffled the assets and

combined them with the assets of Old Dow, and then reorganized the combined assets into three

distinct divisions: the “Agriculture Business”; the “Specialty Products Business”; and the

“Materials Science Business.”

   267.     While the precise composition of these divisions, including many details of the

specific transactions, the transfer of business segments, and the divestiture of product lines

during this time, are not publicly available, it is apparent that Old DuPont transferred a

substantial portion of its valuable assets to New DuPont for less than the assets were worth.

   268.     Once the assets of Old DuPont and Old Dow were combined and reorganized, New

DuPont incorporated two new companies to hold two of the three newly formed business lines.

Corteva became the parent holding company of Old DuPont, which in turn holds the Agriculture

Business. New Dow became the parent holding company of Old Dow and holds the Materials




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Science Business. New DuPont retained the Specialty Products Business and prepared to spin off

Corteva and New Dow into separate, publicly traded companies.

   269.    The mechanics of the separations are governed by the April 1, 2019, Separation and

Distribution Agreement among Corteva, New Dow, and New DuPont (the “DowDuPont

Separation Agreement”).

   270.    The DowDuPont Separation Agreement generally allocates the assets primarily

related to the respective business divisions of Corteva (Agriculture Business), New Dow

(Materials Science Business), and New DuPont (Specialty Products Business). New DuPont also

retained several “non-core” business segments and product lines that once belonged to Old

DuPont.

   271.    Corteva, New Dow, and New DuPont likewise retained the liabilities primarily

related to the business divisions that they retained. In particular, Corteva retained and assumed

the liabilities related to the Agriculture Business, New DuPont retained and assumed the

liabilities related to the Specialty Products Business, and New Dow retained and assumed the

liabilities related to the Materials Science Business.

   272.    Corteva and New DuPont also assumed direct financial liability of Old DuPont that

was not related to the Agriculture, Materials Science, or Specialty Products Businesses,

including, on information and belief, the PFAS liabilities. These assumed PFAS liabilities are

allocated between Corteva and New DuPont pursuant to the DowDuPont Separation Agreement.

These assumed PFAS liabilities are allocated on a pro rata basis between Corteva and New

DuPont pursuant to the DowDuPont Separation Agreement, such that, after both companies have

satisfied certain conditions, future liabilities are allocated seventy-one percent to New DuPont

and twenty-nine percent to Corteva.




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   273.     This “allocation” applies to Old DuPont’s legacy liabilities for PFAS contamination

and its former Performance Chemicals Business, including the State’s claims in this case.

   274.     The separation of New Dow was completed on or about April 1, 2019, when New

DuPont distributed all of New Dow’s common stock to New DuPont stockholders as a pro rata

dividend.

   275.     New DuPont then consolidated the Agricultural Business line into Old DuPont and

“contributed” Old DuPont to Corteva.

   276.     On June 1, 2019, New DuPont spun off Corteva as an independent public company,

when New DuPont distributed all of Corteva’s common stock to New DuPont stockholders as a

pro rata dividend.

   277.     Corteva now holds 100 percent of the outstanding common stock of Old DuPont.

   278.     Also, on or about June 1, 2019, DowDuPont changed its registered name to DuPont

de Nemours, Inc. (i.e., New DuPont).

   279.     On or about January 1, 2023, Old DuPont changed its registered name to EIDP, Inc.

   F.       The Effect of the Years-Long Conspiracy to Defraud the State and Other
            Creditors and Avoid Financial Responsibility for Legacy Liabilities

   280.     The net result of these transactions was to strip away valuable tangible assets from

Old DuPont and transfer those assets to New DuPont, New Dow, and Corteva for far less than

the assets are worth.

   281.     Old DuPont estimated that the DowDuPont Merger created “goodwill” worth billions

of dollars. When the Corteva separation was complete, a portion of this “goodwill” was assigned

to Old DuPont in order to prop up its balance sheet. But, in reality, Old DuPont was left with

substantially fewer tangible assets than it had prior to the restructuring.




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   282.    SEC filings demonstrate the substantial deterioration of Old DuPont’s finances and

the drastic change in its financial condition before and after the above transactions.

   283.    For example, for the 2014 fiscal year, prior to the Chemours Spin-off, Old DuPont

reported $3.6 billion in net income and $3.7 billion in cash provided by operating activities. For

the 2019 fiscal year, just months after the Corteva separation, Old DuPont reported a net loss of

$1 billion and only $996 million in cash provided by operating activities. That is a decrease of

128 percent in net income and a decrease of seventy-three percent in annual operating cash flow.

   284.    Old DuPont reported a significant decrease in Income from Continuing Operations

Before Income Taxes (a/k/a Earnings Before Tax, or “EBT”). Old DuPont reported $4.9 billion

in EBT for the period ending December 31, 2014. For the period ending December 31, 2019, Old

DuPont reported EBT of negative $422 million.

   285.    The value of Old DuPont’s tangible assets further underscores Old DuPont’s

precarious financial situation. For the 2014 fiscal year, prior to the Chemours Spin-off, Old

DuPont owned nearly $41 billion in tangible assets. For the 2019 fiscal year, Old DuPont owned

just under $21 billion in tangible assets.

   286.    That means in the five-year period over which the restructuring occurred, when Old

DuPont knew that it faced billions of dollars in environmental and PFAS liabilities, Old DuPont

transferred or divested approximately half of its tangible assets, totaling $20 billion.

   287.    As of September 2019, just after the Corteva separation, Old DuPont reported

$43.251 billion in assets. But almost $21.835 billion of these assets were composed of intangible

assets, including “goodwill” from its successive restructuring activities.




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   288.    At the same time, Old DuPont reported liabilities totaling $22.060 billion. Thus, when

the Corteva separation was complete, Old DuPont’s tangible net worth (excluding its intangible

assets) was negative $644 million.

   289.    Old DuPont’s tangible net worth between September 30 and December 31, 2019,

declined even further, whereby Old DuPont ended fiscal year 2019 with tangible net worth of

negative $1.125 billion.

   290.    Neither New DuPont, New Dow, nor Corteva have publicly conceded that they

assumed Old DuPont’s historical environmental and PFAS liabilities. And it is far from clear that

any of those entities will be able to satisfy future judgments.

   291.    Indeed, New DuPont—to which seventy-one percent of Old DuPont’s liabilities are

allocated under the DowDuPont Separation Agreement once certain conditions are satisfied—has

divested numerous business segments and product lines, including tangible assets that it received

from Old DuPont and for which Old DuPont has received less than reasonably equivalent value.

   292.    In September 2019, New DuPont sold the Sustainable Solutions business for $28

million to Gyrus Capital.

   293.    On or about December 15, 2019, New DuPont agreed to sell the Nutrition and

Biosciences business to International Flavors & Fragrances for $26.2 billion.

   294.    In March 2020, New DuPont completed the sale of Compound Semiconductor

Solutions for $450 million to SK Siltron.

   295.    The Chemours Spin-off, the DowDuPont Merger, and the DowDuPont Separation

were part of a single coordinated fraudulent scheme to hinder, delay, and defraud Old DuPont’s

creditors. The Chemours Spin-off constitutes a fraudulent transfer, which entitles the State to,

among other things, void the transaction and recover property or value transferred from




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Chemours in the transaction. The DowDuPont Merger and DowDuPont Separation likewise

constitute fraudulent transfers that entitle the State to, among other things, recover property and

value transferred to New DuPont, New Dow, and Corteva.

                                            COUNT I
                                       (PUBLIC NUISANCE)

    1-295. Paragraphs 1 through 295 of the Complaint are hereby repeated and realleged as

    Paragraphs 1 through 295 of this Count I as if fully set forth herein.

    296.     The Connecticut General Assembly has declared “that the pollution of the waters of

the state is inimical to the public health, safety and welfare of the inhabitants of the state, is a

public nuisance and is harmful to wildlife, fish and aquatic life and impairs domestic,

agricultural, industrial, recreational and other legitimate beneficial uses of water.” Conn. Gen.

Stat. § 22a-422.

    297.     The health, safety, and welfare of the citizens of Connecticut, including those affected

by the contamination of Connecticut drinking water, groundwater, surface water, fish, soil,

sediment, and other natural resources is a matter of great public interest to the State.

    298.     By their acts and omissions, Defendants have created a public nuisance which

unreasonably and substantially interferes with public health, safety, and welfare and the

environment and which obstructs the public’s free use and comfortable enjoyment of

Connecticut’s natural resources for commerce, navigation, fishing, recreation, and aesthetic

enjoyment.

    299.     Defendants designed, manufactured, marketed, distributed, and/or sold PFAS

Products in a manner which created a public nuisance that is harmful to public health and

obstructs the free use and enjoyment of Connecticut’s natural resources.




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   300.    Defendants knew or should have known that their PFAS Products, as ordinarily used,

were likely to end up contaminating drinking water, groundwater, surface water, fish, soil,

sediment, and other natural resources.

   301.    Defendants’ conduct and the release of their PFAS Products onto State natural

resources and property has a natural tendency to create danger and inflict injury upon persons

and property.

   302.    Defendants’ conduct created and maintained, and continues to create and maintain, a

public nuisance which interferes with public rights and with public health and safety.

   303.    By their acts and omissions, Defendants’ creation of the public nuisance was

unreasonable and/or unlawful.

                                             COUNT II
                                            (TRESPASS)

   1-295. Paragraphs 1 through 295 of the Complaint are hereby repeated and realleged as

   Paragraphs 1 through 295 of this Count II as if fully set forth herein.

   296.    The State has significant property interests in its natural resources and property,

including its role as trustee of certain public trust resources which authorizes the State to take

action to protect such natural resources from contamination and injury.

   297.    The State owns in fee certain property within the State, including lands and some

drinking water wells.

   298.    The State also brings this action in its parens patriae capacity on behalf of its citizens

to protect quasi-sovereign interests, including the integrity of the State’s natural resources held in

trust on behalf of its citizens. The State in its parens patriae capacity seeks relief for the invasion

of these possessory interests by PFAS Products.




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    299.      Defendants’ acts and omissions directly and proximately caused PFAS Products to

intrude onto and contaminate State natural resources and property, including groundwater,

surface waters, soils, sediments, and other natural resources and property.

    300.      At the time of Defendants’ acts and omissions, Defendants knew and understood, or

should have known and understood, the properties of their PFAS Products, including through

their knowledge and experience regarding contamination at their own facilities where they

manufactured and/or used the PFAS Products. Defendants knew with substantial certainty that

PFAS Products would intrude onto and contaminate State natural resources and property,

including groundwater, surface waters, soils, sediments, and other natural resources and

property. Despite this knowledge, Defendants designed, manufactured, marketed, distributed,

and/or sold PFAS Products to the detriment of the State.

    301.      Defendants actively concealed material information about the harms they were

inflicting.

    302.      The State never authorized Defendants’ invasion of its natural resources and property

with the PFAS Products.

    303.      As a direct and proximate result of Defendants’ acts and omissions, the State’s natural

resources and property are contaminated with PFAS Products and as a result the State’s damages

include without limitation damages to natural resources, wildlife, and property in Connecticut.

The State has incurred and will continue to incur investigation, remediation, cleanup, restoration,

removal, treatment, monitoring, and other costs and expenses related to contamination of the

State’s natural resources and property, for which Defendants are jointly and severally liable.




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                                          COUNT III
                                        (NEGLIGENCE)

   1-295. Paragraphs 1 through 295 of the Complaint are hereby repeated and realleged as

   Paragraphs 1 through 295 of this Count III as if fully set forth herein.

   296.     Defendants owed a duty of care to the State of Connecticut and to all parties

foreseeably injured by their PFAS Products, including, but not limited to, the exercise of

reasonable care in the design, manufacture, marketing, distribution, and sale of their PFAS

Products.

   297.     Defendants breached that duty of care in the course of designing, manufacturing,

marketing, distributing, and/or selling their PFAS Products because they knew or should have

known that the PFAS Products are hazardous to State natural resources and property, including

groundwater, surface waters, soils, sediments, and other natural resources and property, and

would cause the State and other injured parties to suffer substantial damages and incur

substantial expenditures.

   298.     Defendants knew or should have known that: the use of PFAS Products in their

intended manner would result in the discharge, disposal, or release of PFAS into the

environment; PFAS are extremely persistent in the environment, very mobile, and highly soluble

in water; when released, PFAS would contaminate property and natural resources located

throughout Connecticut, including soils, sediments, groundwater, surface waters, wildlife, and

drinking water supplies; PFAS posed substantial risks to human health and the environment; and

ultimately, PFAS would be difficult and costly to remove.

   299.     Defendants were untruthful about their products, hid relevant information, and failed

to disclose or were otherwise unforthcoming with relevant information about the characteristics

and dangers of their PFAS Products.



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    300.    Despite the fact that Defendants knew or should have known that PFAS are toxic,

persistent, mobile in the environment, and cause injury to human health and the environment,

Defendants negligently designed, manufactured, marketed, distributed, and/or sold PFAS

Products.

    301.    These and other negligent acts by Defendants were a direct and proximate cause of

widespread PFAS contamination in Connecticut and as a result the State’s damages include

without limitation damages to natural resources, wildlife, and property in Connecticut.

Additionally, the State has incurred and will continue to incur investigation, remediation,

cleanup, restoration, removal, treatment, monitoring, and other costs and expenses related to

contamination of the State’s natural resources and property, for which Defendants are jointly and

severally liable.

                                   COUNT IV
(Conn. Gen. Stat. § 22a-16 – CONNECTICUT ENVIRONMENTAL PROTECTION ACT)

    1-295. Paragraphs 1 through 295 of the Complaint are hereby repeated and realleged as

    Paragraphs 1 through 295 of this Count IV as if fully set forth herein.

    296.    The General Assembly has found and declared that “there is a public trust in the air,

water and other natural resources of the state of Connecticut and that each person is entitled to

the protection, preservation and enhancement of the same” and further “that it is in the public

interest to provide all persons with an adequate remedy to protect the air, water and other natural

resources from unreasonable pollution, impairment or destruction.” Conn. Gen. Stat. § 22a-15.

    297.    The Attorney General may “maintain an action in the superior court . . . for

declaratory and equitable relief . . . for the protection of the public trust in the air, water and

other natural resources of the state from unreasonable pollution, impairment or destruction.”

Conn. Gen. Stat. § 22a-16.



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    298.     In such an action maintained by the Attorney General, the court may also order

defendants to: “provide for the restoration of any natural resource or the investigation,

remediation or mitigation of any environmental pollution on or at any real property which

resource or property are unrelated to such action”; “provide for any other project approved by the

Commissioner of Energy and Environmental Protection for the enhancement of environmental

protection or conservation of natural resources”; or make a financial contribution to an

environmental research project or to a State remediation fund. Conn. Gen. Stat. § 22a-16a.

    299.     The natural resources of the State of Connection have been polluted and impaired

with PFAS, including but not limited to, its air, soils, sediments, biota, surface water, estuaries,

submerged lands, wetlands, groundwater, and drinking water.

    300.     Defendants, through their acts and omissions as alleged herein, have unreasonably

polluted, impaired, and/or destroyed the State’s air, soil, sediment, biota, surface water, estuaries,

submerged lands, wetlands, groundwater, drinking water, and other natural resources by

releasing PFAS into the environment and allowing them to bioaccumulate, biomagnify, and

persist in the State’s natural resources.

    301.     As a direct and proximate result of Defendants’ acts and omissions as described

herein, the State’s natural resources have been unreasonably polluted, impaired, and/or

destroyed.

    302.     As a direct and proximate result of Defendants’ acts and omissions as described

herein, the State of Connecticut has incurred and will continue to incur substantial expenses and

damages as set forth herein.

    303.     The acts and omissions of the Defendants have caused PFAS contamination which

amounts to unreasonable pollution, impairment, and/or destruction of the State’s natural




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resources, necessitating declaratory and equitable relief to protect the public trust under Conn.

Gen. Stat. § 22a-16.

                                          COUNT V
             (Conn. Gen. Stat. § 22a-430 – DISCHARGE WITHOUT A PERMIT)

    1-295. Paragraphs 1 through 295 of the Complaint are hereby repeated and realleged as

    Paragraphs 1 through 295 of this Count V as if fully set forth herein.

    296.     Under Conn. Gen. Stat. § 22a-430, “[n]o person or municipality shall initiate, create,

originate or maintain any discharge of water, substance or material into the waters of the state

without a permit for such discharge issued by the [CT DEEP] commissioner.”

    297.     “Waters” means “all tidal waters, harbors, estuaries, rivers, brooks, watercourses,

waterways, wells, springs, lakes, ponds, marshes, drainage systems and all other surface or

underground streams, bodies or accumulations of water, natural or artificial, public or private,

which are contained within, flow through or border upon this state or any portion thereof.” Conn.

Gen. Stat. § 22a-423.

    298.     Defendants, through their acts and omissions as alleged herein, have caused the

discharge of PFAS into the waters of the state without a permit.

    299.     As a result of Defendants’ design, manufacturing, marketing, distribution, and/or sale

of PFAS Products, highly mobile and polluting PFAS have been discharged into the waters of

the State.

    300.     As a result of Defendants’ omissions, representations, and deceptions, highly mobile

and polluting PFAS have been and continue to be discharged in the State of Connecticut either

directly or indirectly into the waters of the state.

    301.     As alleged herein, numerous waters of the state have been polluted and impaired by

Defendants’ PFAS.



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   302.    Pursuant to Conn. Gen. Stat. § 22a-430(d), “[i]f the [CT DEEP] commissioner finds

that any person or municipality has initiated, created or originated or is maintaining any

discharge into the waters of the state without a permit . . . the commissioner may request the

Attorney General to bring an action . . . to enjoin such discharge by such person or municipality

until the person or municipality has received a permit from the commissioner or has complied

with a permit which the commissioner has issued pursuant to this section, or for injunctive relief

to remediate the effects of such discharge.”

   303.    The Defendants have initiated, created, originated, or maintained a discharge to the

waters of the State without a permit in violation of Conn. Gen. Stat. § 22a-430.

   304.    Pursuant to Conn. Gen. Stat. § 22a-438, any person who violates any provision of this

chapter shall be assessed a civil penalty not to exceed twenty-five thousand dollars per day per

violation to be fixed by the court, for each offense.

                                       COUNT VI
       (Conn. Gen. Stat. § 22a-427 – POLLUTION OR DISCHARGE OF WASTES
                                      PROHIBITED)

   1-295. Paragraphs 1 through 295 of the Complaint are hereby repeated and realleged as

   Paragraphs 1 through 295 of this Count VI as if fully set forth herein.

   296.    Under Conn. Gen. Stat. § 22a-427, “[n]o person or municipality shall cause pollution

of any of the waters of the state or maintain a discharge of any treated or untreated wastes in

violation of any provision of this chapter.”

   297.    “Pollution” means “harmful thermal effect or the contamination or rendering unclean

or impure or prejudicial to public health of any waters of the state by reason of any wastes or

other material discharged or deposited therein by any public or private sewer or otherwise so as

directly or indirectly to come in contact with any waters.” Conn. Gen. Stat. § 22a-423.




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    298.     “Wastes” means “sewage or any substance, liquid, gaseous, solid or radioactive,

which may pollute or tend to pollute any of the waters of the state.” Conn. Gen. Stat. § 22a-423.

    299.     “Waters” means “all tidal waters, harbors, estuaries, rivers, brooks, watercourses,

waterways, wells, springs, lakes, ponds, marshes, drainage systems and all other surface or

underground streams, bodies or accumulations of water, natural or artificial, public or private,

which are contained within, flow through or border upon this state or any portion thereof.” Conn.

Gen. Stat. § 22a-423.

    300.     Defendants, through their acts and omissions as alleged herein, have caused pollution

of the waters of the state with PFAS from their PFAS Products.

    301.     As a result of Defendants’ design, manufacturing, marketing, distribution, and/or sale

of PFAS Products, highly mobile and polluting PFAS have been discharged into the waters of

the State.

    302.     As a result of Defendants’ omissions, representations, and deceptions, highly mobile

and polluting PFAS have been and continue to be discharged in the State of Connecticut either

directly or indirectly into the waters of the state.

    303.     The discharge of PFAS into the waters of the state, or onto the lands of the state and

from which the PFAS have traveled to the waters of the state, has contaminated and rendered

various waters unclean and prejudicial to public health.

    304.     As alleged herein, numerous waters of the state have been contaminated with PFAS.

    305.     Pursuant to Conn. Gen. Stat. § 22a-438, any person who violates any provision of this

chapter shall be assessed a civil penalty not to exceed twenty-five thousand dollars per day per

violation, to be fixed by the court, for each offense.




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                                     COUNT VII
 (Conn. Gen. Stat. § 22a-451 – LIABILITY FOR POLLUTION, CONTAMINATION, OR
                                    EMERGENCY)

   1-295. Paragraphs 1 through 295 of the Complaint are hereby repeated and realleged as

   Paragraphs 1 through 295 of this Count VII as if fully set forth herein.

   296.    Under Conn. Gen. Stat. § 22a-451, “[a]ny person, firm, or corporation which directly

or indirectly causes pollution and contamination of any land or waters of the state or indirectly

causes an emergency through the maintenance, discharge, spillage, uncontrolled loss, seepage or

filtration of . . . chemical liquids or solid, liquid or gaseous products or hazardous wastes or

which owns any hazardous wastes deemed by the [CT DEEP] commissioner to be a potential

threat to human health or the environment and removed by the commissioner shall be liable for

all costs and expenses incurred in investigating, containing, removing, monitoring or mitigating

such pollution and contamination, emergency or hazardous waste, and legal expenses and court

costs incurred in such recovery.”

   297.    The cost and expenses which may be recovered under this section include “the

administrative cost of such action calculated at ten per cent of the actual cost plus the interest on

the actual cost at a rate of ten per cent per year thirty days from the date such costs and expenses

were sought.”

   298.    Conn. Gen. Stat. § 22a-451 further provides that “if such pollution or contamination

or emergency was negligently caused, such person, firm or corporation may, at the discretion of

the court, be liable for damages equal to one-half times the cost and expenses incurred and

provided further if such pollution or contamination or emergency was wilfully caused, such

person, firm or corporation may, at the discretion of the court, be liable for damages equal to two

times the cost and expenses incurred.”




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   299.    As alleged herein, Defendants have caused pollution and contamination of the lands

and waters of the State of Connecticut by PFAS.

   300.    Defendants have created an emergency by directly and/or indirectly causing the

maintenance, discharge, spillage, uncontrolled loss, seepage, or filtration of PFAS into or onto

the lands and waters of the State of Connecticut.

   301.    As alleged herein, there is widespread pollution and contamination of lands and water

in the State by PFAS.

   302.    The State has incurred and will continue to incur investigation, remediation, cleanup,

restoration, removal, treatment, monitoring, and other costs and expenses related to

contamination of the State’s natural resources and property, as well as costs and expenses

incurred responding to the PFAS pollution of non-State lands and waters.

   303.    Defendants, through their acts and omissions, willfully caused the PFAS pollution

and contamination and emergency. As alleged herein, Defendants had knowledge of the

characteristics of PFAS and their PFAS Products and knew or reasonably should have known

that the use of such products would injure the State and its citizens. Despite their knowledge,

Defendants chose to conceal and misrepresent material facts about their PFAS Products and

continued to supply those products to the State and others.

   304.    As a consequence of Defendants’ acts and omissions, Defendants are liable to the

State under Conn. Gen. Stat. § 22a-451 for two times the cost and expenses incurred by the State

responding to PFAS water pollution.




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                                       COUNT VIII
     (Conn. Gen. Stat. § 22a-471(b)(4)B) – REIMBURSEMENT FOR PROVISION OF
                             POTABLE DRINKING WATER)

   1-295. Paragraphs 1 through 295 of the Complaint are hereby repeated and realleged as

   Paragraphs 1 through 295 of this Count VIII as if fully set forth herein.

   296.     Under Conn. Gen. Stat. § 22a-471(b)(4)(B), “any person or municipality responsible

for pollution of the groundwaters” may be required to reimburse “the state, a water company,

and any municipality” for “the expenses each incurred in providing potable drinking water to any

person affected by such pollution.”

   297.     The cost and expenses which may be recovered under this section include “(i) the

expenses each incurred in providing potable drinking water to any person affected by such

pollution, provided the required reimbursement for such expenses shall not exceed the actual cost

of short-term provision of potable drinking water and an amount equal to the reasonable cost of

planning and implementing the most cost-effective long-term method of providing potable

drinking water as determined by the [CT DEEP] commissioner and the Commissioner of Public

Health; (ii) costs for recovering such reimbursement; (iii) interest on the expenses specified in (i)

at a rate of ten per cent a year from the date such expenses were paid; and (iv) reasonable

attorney's fees.”

   298.     Conn. Gen. Stat. § 22a-471(b)(5) further provides that “[f]or purposes of this section

except . . . subparagraph (B)(ii) of subdivision (4) of this subsection, ‘cost’ includes only those

costs that the [CT DEEP] commissioner determines are necessary and reasonable, including, but

not limited to, the cost of plans and specifications, construction or installation and supervision

thereof.”




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   299.    As alleged herein, Defendants have caused pollution and contamination of

groundwaters of the State of Connecticut by PFAS.

   300.    Defendants have caused the incurrence, and continued incurrence, of costs for

providing potable drinking water to persons affected by groundwater pollution, including but not

limited to the short-term provision of potable drinking water, the planning and implementation of

long-term methods of providing potable drinking water, and the construction or installation and

supervision of methods for providing potable drinking water.

   301.    As a consequence of Defendants’ acts and omissions, Defendants are liable under

Conn. Gen. Stat. § 22a-471 for all expenses of providing potable drinking water in response to

polluted groundwater, including interest on those costs and attorney’s fees.

                                        COUNT IX
               (Conn. Gen. Stat. § 42-110b – UNFAIR TRADE PRACTICES)

   1-295. Paragraphs 1 through 295 of the Complaint are hereby repeated and realleged as

   Paragraphs 1 through 295 of this Count IX as if fully set forth herein.

   296.    Defendants’ unfair acts and practices were in contravention of Connecticut’s public

policy, including but not limited to the policy set forth in Conn. Gen. Stat. § 22a-1, which states

that “the policy of the state of Connecticut is to conserve, improve and protect its natural

resources and environment and to control air, land, and water pollution in order to enhance the

health, safety and welfare of the people of the state.”

   297.    Furthermore, Defendants’ unfair acts and practices were in contravention of the

State’s public policy set forth in Conn. Gen. Stat. § 22a-15, which states “that there is a public

trust in the air, water and other natural resources of the state of Connecticut and that each person

is entitled to the protection, preservation and enhancement of the same.”




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   298.    Furthermore, Defendants’ unfair acts and practices were in contravention of the

State’s public policy set forth in Conn. Gen. Stat. § 23-5a, which states that “carefully selected

areas of land and water of outstanding scientific, educational, biological, geological,

paleontological or scenic value be preserved.”

   299.    Furthermore, Defendants’ unfair acts and practices were in contravention of the

State’s public policy, including but not limited to, as set forth in Conn. Gen. Stat. §§ 22a-16,

22a-427, 22a-430, 22a-451, and 22a-471.

   300.    Defendants’ unfair acts and practices – including, but not limited to, the following –

were immoral, unethical, oppressive, and/or unscrupulous:

           a.      deceiving and concealing material information from Connecticut consumers

                   about the health, safety, economic, and environmental effects of using PFAS

                   Products; and

           b.      undermining and delaying the adoption of alternative products, driven by

                   informed consumer choice, which could have avoided the most devastating

                   effects of PFAS.

   301.    Defendants’ unfair acts and practices have directly and proximately caused

substantial injury to consumers within the State of Connecticut by causing harmful pollutants to

contaminate the lands, waters, and other natural resources of the State.

   302.    The substantial injury to consumers by Defendants’ unfair acts and practices is not

outweighed by any countervailing benefits, but rather resulted in the stifling of an open

marketplace for alternative products, thereby leaving consumers unable to reasonably avoid the

detrimental consequences of using PFAS Products.




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   303.    Defendants’ deceptive acts and concealment of material information about their

business practices and their environmental impact constitute an unfair trade practice in violation

of Conn. Gen. Stat. § 42-110b.

                                         COUNT X
          (Conn. Gen. Stat. § 42-110o – WILLFUL UNFAIR TRADE PRACTICES)

   1-303. Paragraphs 1 through 303 of the Complaint are hereby repeated and realleged as

   Paragraphs 1 through 303 of this Count X as if fully set forth herein.

   304.    Defendants engaged in the acts and practices alleged herein when they knew or

should have known that their conduct was unfair, in violation of Conn. Gen. Stat. § 42-110b(a)

and, therefore, are liable for civil penalties of up to $5,000 per willful violation pursuant to Conn.

Gen. Stat. § 42-110o(b).

                                        COUNT XI
 (Conn. Gen. Stat. § 52-552e(a)(1) – Actual Fraudulent Transfer Related to the Chemours
                                         Spin-off)
                             (Against the DuPont Defendants)

   1-295. Paragraphs 1 through 295 of the Complaint are hereby repeated and realleged as

   Paragraphs 1 through 295 of this Count XI as if fully set forth herein.

   296.    Under Conn. Gen. Stat. § 52-552e(a)(1), a transaction is fraudulent if made by a

debtor with “actual intent to hinder, delay, or defraud any creditor of the debtor.”

   297.    The actual intent of the debtor may be determined by considering statutorily

enumerated badges of fraud, including, whether: (1) “[t]he transfer or obligation was to an

insider”; (2) “[t]he transfer or obligation was disclosed or concealed”; (3) “[b]efore the transfer

was made or obligation was incurred, the debtor had been sued or threatened with suit”; (4)

“[t]he value of the consideration received by the debtor was reasonably equivalent to the value of

the asset transferred or the amount of the obligation incurred”; (5) “[t]he debtor was insolvent or




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became insolvent shortly after the transfer was made or the obligation was incurred”; and (6)

“[t]he transfer occurred shortly before or after a substantial debt was incurred.”

   298.    Under Conn. Gen. Stat. § 52-552b, a “creditor” means “a person who has a claim.”

§52-552b(4). A “claim” is “a right to payment, whether or not the right is reduced to judgment,

liquidated, unliquidated, fixed, contingent, matured, unmatured, disputed, undisputed, legal,

equitable, secured or unsecured.” §52-552b(3).

   299.    Where a transfer is found to have been fraudulent, a creditor may bring an action to:

(1) avoid the transfer as to the creditor’s claim; (2) to attach the creditor’s claim against assets

transferred or other property of the transferee; or (3) after obtaining judgment on a claim against

the debtor, and if the court orders, levy execution on the asset transferred or its proceeds.

   300.    The State is and was a creditor of Old DuPont at all relevant times. After the 2015

Chemours Spin-off, the State became a creditor of Chemours.

   301.    Old Dupont transferred the Performance Chemicals Business to Chemours in 2015

and executed the Chemours Spin-off with the intent to hinder, delay, or defraud creditors that

held claims related to environmental and human health damages from Old DuPont’s PFAS-

containing fluorochemical products.

   302.    During the Chemours Spin-off, Chemours assumed $4 billion of debt and significant

liabilities under the Separation Agreement, while simultaneously transferring valuable assets to

Old DuPont, including the $3.9 billion dividend.

   303.    Through the transfer of assets and liabilities as part of the Chemours Spin-off, Old

DuPont limited the availability of assets to cover its PFAS liabilities, to the detriment of existing

creditors, such as the State of Connecticut.




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   304.    The exchange of assets and liabilities in the Chemours Spin-off was made to benefit,

or for the benefit of, Old DuPont.

   305.    At the time of the Chemours Spin-off, Old DuPont was in a position to control, and

did control, Chemours.

   306.    Old DuPont and Chemours acted with the actual intent to hinder, delay, and defraud

creditors such as the State.

   307.    The actual fraudulent intent of the Defendants is evidenced by statutorily enumerated

badges of fraud present in the Chemours Spin-off. See Conn. Gen. Stat. § 52-552e(b).

   308.    At the time of the Chemours Spin-off, Old DuPont and Chemours were mutual

insiders. See Conn. Gen. Stat. § 52-552e(b)(1). The assumption of PFAS liabilities by Chemours,

the transfer of the dividend to Old DuPont, and the approval of the Chemours Spin-off occurred

while Chemours was under the control of Old Dupont, through its ownership and agents.

   309.    The Chemours Spin-off concealed the liabilities actually assumed by Chemours. See

Conn. Gen. Stat. § 52-552e(b)(3). Old DuPont and Chemours acted to conceal information about

the 2015 Spin-off, including withholding information from Chemours management designees,

withholding the schedules to the Chemours Separation Agreement from the public, and requiring

confidential mediation of all disputes related to the transaction, under terms that favored Old

DuPont.

   310.    The Chemours Spin-off occurred at a time when Old DuPont and the business line

that Chemours would come to own had been sued or threatened with suit related to

environmental liabilities. See Conn. Gen. Stat. § 52-552e(b)(4). By the 2015 Spin-off, Old

DuPont had been sued, threatened with suit, and had knowledge of the likelihood of future

litigation regarding Old DuPont’s liabilities for PFAS contamination.




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   311.    Chemours did not receive reasonably equivalent consideration in the Spin-off. See

Conn. Gen. Stat. § 52-552e(b)(8). Chemours received consideration which was not reasonably

equivalent to the actual obligations incurred by Chemours under the Separation Agreement and

the transfer of the dividend to Old Dupont.

   312.    Chemours was insolvent or became insolvent shortly after the Chemours Spin-off.

See Conn. Gen. Stat. § 52-552e(b)(9). The Connecticut Uniform Fraudulent Transfer Act

(UFTA) recognizes "[i]nsolvency" where the sum of the debtor's debts is greater than all of the

debtor's assets, at a fair valuation, or when a debtor is generally not paying debts as they become

due. See Conn. Gen. Stat. § 52-552c(a), (b). Chemours was balance-sheet insolvent at the time of

the Chemours Spin-off. Additionally, the trading prices for Chemours's debt reflect insolvency as

of the date the Chemours Spin-off closed and spiraled downhill in the immediate aftermath of the

Chemours Spin-off. Further, as a result of the Chemours Spin-off, Chemours could not pay its

debts as they became due.

   313.    The Chemours Spin-off occurred shortly before or shortly after a substantial debt was

incurred. See Conn. Gen. Stat. § 52-552e(b)(10). As part of the Chemours Spin-off, Chemours

incurred significant obligations, including the Chemours Assumed Environmental Liabilities (as

defined in the Chemours Separation Agreement) and the indemnification obligations under

Section 6.3 of the Chemours Separation Agreement. Additionally, Chemours incurred a $4

billion loan to transfer the dividend to Old DuPont.

   314.    The State has been harmed by this transaction, which was designed to shield assets

from creditors, such as the State, that have been damaged by Old DuPont’s conduct.

   315.    Under Conn. Gen. Stat. § 52-552, the State is entitled to void the Chemours Spin-off

and to recover property or value transferred to Old DuPont.




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   316.    Pursuant to Conn. Gen. Stat. § 52-552h(a)(2), the State also seeks, to the extent

necessary to satisfy the State’s claims in this Complaint, the attachment or other provisional

remedy (including levy) against the assets transferred to Old Dupont and the incurrence of

obligations to Old DuPont in the Chemours Spin-off, or the proceeds of such assets now held by

New DuPont, New Dow, and Corteva, or other property of Old DuPont, New DuPont, New

Dow, and Corteva, and/or to hold the DuPont Defendants liable for any damages or other

remedies that may be awarded through this lawsuit.

   317.    Upon information and belief, New DuPont, New Dow, and Corteva have assumed

Old DuPont’s liability described above.

   318.    New DuPont, New Dow, and Corteva are not good-faith transferees of the assets

initially transferred, including the dividend, to Old DuPont in the Chemours Spin-off, and later to

New DuPont, New Dow, and Corteva because each of Old DuPont, New DuPont, New Dow, and

Corteva knew or should have known of the fraudulent intent underlying the dividend, the

fraudulent intent underlying the Chemours Spin-off, and/or Chemours’s insolvency.

                                         Count XII
    (Conn. Gen. Stat. § 52-552e(a)(2) – Constructive Fraudulent Transfer Related to the
                                    Chemours Spin-off)
                             (Against the DuPont Defendants)

   1-295. Paragraphs 1 through 295 of the Complaint are hereby repeated and realleged as

   Paragraphs 1 through 295 of this Count XII as if fully set forth herein.

   296.    Under UFTA’s constructive fraudulent transfer provisions, a transaction made by a

debtor is fraudulent as to a creditor if the debtor made the transfer:

   [W]ithout receiving a reasonably equivalent value in exchange for the transfer or
   obligation, and the debtor…was engaged or was about to engage in a business or a
   transaction for which the remaining assets of the debtor were unreasonably small in
   relation to the business or transaction; or…intended to incur, or believed or reasonably
   should have believed that [the debtor] would incur, debts beyond [the debtor’s] ability to



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   pay as they became due. Conn. Gen. Stat. § 52-552e(a)(2).

   297.    At all relevant times, the State is and was a creditor of Old DuPont. After the 2015

Spin-off, the State became a creditor of Chemours.

   298.    The exchange of assets and liabilities in the Chemours Spin-off was made to benefit,

or for the benefit of, Old DuPont.

   299.    At the time this transaction was made, Old DuPont was in a position to, and in fact

did, control and dominate Chemours.

   300.    Chemours did not receive reasonably equivalent value in return for the assumption of

Chemours Spin-off related obligations, including the transfer of the dividend. Old DuPont and

Chemours acted without providing a reasonably equivalent value in exchange for the transfer or

obligation, and Old DuPont believed or reasonably should have believed that Chemours would

incur debts beyond its ability to pay as they became due.

   301.    At the time of the Chemours Spin-off, Chemours was engaged or was about to engage

in a business for which its remaining assets were unreasonably small in relation to its business,

and/or intended to incur or believed or reasonably should have believed that it would incur debts

beyond its ability to pay as they became due.

   302.    At the time of the Chemours Spin-off, Old DuPont and the business line that

Chemours would come to own had been sued, threatened with suit, and/or had knowledge of the

likelihood of litigation to be filed regarding Old DuPont’s liability for damages and injuries from

Old DuPont’s design, manufacturing, marketing, distribution, and/or sale of PFAS Products and

other PFAS, including those damages and injuries caused by the business line that Chemours

would come to own.




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   303.    At the time of the Chemours Spin-off, and at all times relevant to this Complaint,

Chemours has been balance-sheet insolvent.

   304.    On information and belief, New DuPont, New Dow, and Corteva have assumed Old

DuPont’s liability described above.

   305.    The State has been harmed by this transaction, which was designed to shield assets

from creditors, such as the State, that have been damaged by Old DuPont’s conduct.

   306.    Under Conn. Gen. Stat. § 52-552, the State is entitled to void the Chemours Transfers

and to recover property or value transferred to Old DuPont.

   307.    Pursuant to Conn. Gen. Stat. § 52-552h(a)(2), the State also seeks, to the extent

necessary to satisfy the State’s claims in this Complaint, the attachment or other provisional

remedy (including levy) against the assets transferred to Old Dupont and the incurrence of

obligations to Old DuPont in the Chemours Spin-off, or the proceeds of such assets now held by

New DuPont, New Dow, and Corteva, or other property of Old DuPont, New DuPont, New

Dow, and Corteva, and/or to hold the DuPont Defendants liable for any damages or other

remedies that may be awarded through this lawsuit.

   308.    New DuPont, New Dow, and Corteva are not good-faith transferees of the assets

initially transferred, including the dividend, to Old DuPont in the Chemours Spin-off, and later to

New DuPont, New Dow, and Corteva because each of Old DuPont, New DuPont, New Dow, and

Corteva knew or should have known of the fraudulent intent underlying the dividend, the

fraudulent intent underlying the Chemours Spin-off, and/or Chemours’s insolvency.




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                                       COUNT XIII
     (Conn. Gen. Stat. § 52-552f(a) – Constructive Fraudulent Transfer Related to the
                                    Chemours Spin-off)
                             (Against the DuPont Defendants)

   1-295. Paragraphs 1 through 295 of the Complaint are hereby repeated and realleged as

   Paragraphs 1 through 295 of this Count XIII as if fully set forth herein.

   296.    Under UFTA’s constructive fraudulent transfer provisions, a transaction made by a

debtor is fraudulent as to a creditor if the debtor made the transfer “without receiving a

reasonably equivalent value” and if “the debtor was insolvent at that time or the debtor became

insolvent as a result of the transfer or obligation.” Conn. Gen. Stat. §52-552f(a).

   297.    At all relevant times, the State is and was a creditor of Old DuPont. After the 2015

Spin-off, the State became a creditor of Chemours.

   298.    The exchange of assets and liabilities in the Chemours Spin-off was made to benefit,

or for the benefit of, Old DuPont.

   299.    At the time this transaction was made, Old DuPont was in a position to, and in fact

did, control and dominate Chemours.

   300.    Chemours did not receive reasonably equivalent value in return for the assumption of

Chemours Spin-off related obligations, including the transfer of the dividend.

   301.    Chemours was insolvent as a result of the Chemours Spin-off. Chemours was

balance-sheet insolvent at the time of the Chemours Spin-off. Additionally, debt trading prices

reflected insolvency as of the date the Chemours Spin-off closed and spiraled downhill in the

immediate aftermath of the Chemours Spin-off. Further, as a result of the Chemours Spin-off,

Chemours could not pay its debts as they became due.

   302.    On information and belief, New DuPont, New Dow, and Corteva have assumed Old

DuPont’s liability described above.



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   303.    The State has been harmed by this transaction, which was designed to shield assets

from creditors, such as the State, that have been damaged by Old DuPont’s conduct.

   304.    Under Conn. Gen. Stat. § 52-552, the State is entitled to void the Chemours Transfers

and to recover property or value transferred to Old DuPont.

   305.    Pursuant to Conn. Gen. Stat. § 52-552h(a)(2), the State also seeks, to the extent

necessary to satisfy the State’s claims in this Complaint, the attachment or other provisional

remedy (including levy) against the assets transferred to Old Dupont and the incurrence of

obligations to Old DuPont in the Chemours Spin-off, or the proceeds of such assets now held by

New DuPont, New Dow, and Corteva, or other property of Old DuPont, New DuPont, New

Dow, and Corteva, and/or to hold the DuPont Defendants liable for any damages or other

remedies that may be awarded through this lawsuit.

   306.    New DuPont, New Dow, and Corteva are not good-faith transferees of the assets

initially transferred, including the dividend, to Old DuPont in the Chemours Spin-off, and later to

New DuPont, New Dow, and Corteva because each of Old DuPont, New DuPont, New Dow, and

Corteva knew or should have known of the fraudulent intent underlying the dividend, the

fraudulent intent underlying the Chemours Spin-off, and/or Chemours’s insolvency.

                                       COUNT XIV
(Conn. Gen. Stat. § 52-552e(a)(1) – Actual Fraudulent Transfer Related to the DowDuPont
                         Merger and the DowDuPont Separation)
              (Against Old DuPont, New DuPont, New Dow, and Corteva)

   1-295. Paragraphs 1 through 295 of the Complaint are hereby repeated and realleged as

   Paragraphs 1 through 295 of this Count XIV as if fully set forth herein.

   296.    Under Conn. Gen. Stat. § 52-552e(a)(1), a transaction is fraudulent if made by a

debtor with “actual intent to hinder, delay, or defraud any creditor of the debtor.”




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   297.    The actual intent of the debtor may be determined by considering statutorily

enumerated badges of fraud, including, whether: (1) “[t]he transfer or obligation was to an

insider”; (2) “[t]he transfer or obligation was disclosed or concealed”; (3) “[b]efore the transfer

was made or obligation was incurred, the debtor had been sued or threatened with suit”; (4)

“[t]he value of the consideration received by the debtor was reasonably equivalent to the value of

the asset transferred or the amount of the obligation incurred”; (5) “[t]he debtor was insolvent or

became insolvent shortly after the transfer was made or the obligation was incurred”; and (6)

“[t]he transfer occurred shortly before or after a substantial debt was incurred.”

   298.    Under Conn. Gen. Stat. § 52-552b, a “creditor” means “a person who has a claim.”

§52-552b(4). A “claim” is “a right to payment, whether or not the right is reduced to judgment,

liquidated, unliquidated, fixed, contingent, matured, unmatured, disputed, undisputed, legal,

equitable, secured or unsecured.” §52-552b(3).

   299.    Where a transfer is found to have been fraudulent, a creditor may bring an action to:

(1) avoid the transfer as to the creditor’s claim; (2) to attach the creditor’s claim against assets

transferred or other property of the transferee; or (3) after obtaining judgment on a claim against

the debtor, and if the court orders, levy execution on the asset transferred or its proceeds. The

Court may also appoint a receiver to take charge of the assets transferred or other property, issue

an injunction against further disposition of the assets, or provide such other relief as the

circumstances may require. See Conn. Gen. Stat. § 52-552h.

   300.    At all relevant times, the State is and was a creditor of Old DuPont and New DuPont.

   301.    Through its participation in the DowDuPont Merger and the DowDuPont Separation,

Old DuPont transferred valuable assets and business lines to New DuPont, New Dow, and

Corteva.




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   302.    The DowDuPont Merger and DowDuPont Separation were for the benefit of New

DuPont, New Dow, and/or Corteva and were made to the detriment of Old DuPont’s creditors.

   303.    The transactions resulted in Old DuPont transferring significant assets to New

DuPont, New Dow, and Corteva, totaling roughly $20 billion.

   304.    At the time the sales and transfers were made, New DuPont was in a position to

control, and did control, Old DuPont, New Dow, and Corteva.

   305.    At the time of these transactions, Old DuPont, New DuPont, New Dow, and Corteva

intended and expected Old DuPont to incur debts beyond its ability to pay as they became due or

should reasonably have expected that Old DuPont would incur debts beyond its ability to pay as

they became due.

   306.    Old DuPont, New DuPont, New Dow, and Corteva acted with the actual intent to

hinder, delay, and defraud current and future creditors of Old DuPont, including the State.

   307.    The actual fraudulent intent of the Defendants is evidenced by statutorily enumerated

badges of fraud present in the Separation Transfers. See Conn. Gen. Stat. § 52-552e(b).

   308.    In connection with the DowDuPont Separation, New DuPont divided up Old

DuPont’s assets and obligations among entities it controlled, namely New DuPont, New Dow,

and Corteva. See Conn. Gen. Stat. § 52-552e(b)(1). Upon information and belief, certain

obligations were assumed by New DuPont, New Dow, and Corteva, including Old DuPont’s

PFAS-related liabilities, as well as the indemnification obligations under Article VIII of the

DowDuPont Separation Agreement. The transfer of these obligations from Old DuPont to New

DuPont, then certain of them from New DuPont to New Dow and Corteva, occurred at a time

that New DuPont controlled New Dow and Corteva through New DuPont’s Board members,

New DuPont employees, and New DuPont agents. New DuPont was an insider of Old DuPont,




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New Dow, and Corteva, throughout the DowDuPont Separation. See Conn. Gen. Stat. § 52-

552b(1).

   309.    The DowDuPont Separation concealed the liabilities actually assumed by New

DuPont, New Dow, and Corteva. See Conn. Gen. Stat. § 52-552e(b)(3). The true scope of the

obligations that were to be assumed by New DuPont, New Dow, and Corteva in the DowDuPont

Separation Agreement were concealed and the schedules to the DowDuPont Separation

Agreement were not publicly filed.

   310.    The DowDuPont Separation occurred at a time when Old DuPont and New DuPont

had been sued or threatened with suit related to environmental liabilities. See Conn. Gen. Stat. §

52-552e(b)(4). Prior to and throughout the DowDuPont Separation, Old DuPont and New

DuPont had been sued, had been threatened with suit, and had knowledge of the likelihood of

future litigation regarding Old DuPont’s and New DuPont’s liabilities for PFAS contamination.

   311.    Old DuPont did not receive consideration from New DuPont, New Dow, and Corteva

reasonably equivalent to the value of the assets exchanged. See Conn. Gen. Stat. § 52-552e(b)(8).

After the transactions, Old DuPont was left with assets that Old DuPont, New DuPont, New

Dow, and Corteva knew were insufficient to pay its extensive environmental liabilities, including

the State’s claims.

   312.    Old DuPont was insolvent or became insolvent shortly after the DowDuPont

Separation. See Conn. Gen. Stat. § 52-552e(b)(9). UFTA recognizes "[i]nsolvency" where the

sum of the debtor's debts is greater than all of the debtor's assets at a fair valuation. See Conn.

Gen. Stat. § 52-552c(a). Old DuPont was balance-sheet insolvent at the time of the DowDuPont

Separation.




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   313.    Finally, the DowDuPont Separation occurred shortly before or shortly after a

substantial debt was incurred. See Conn. Gen. Stat. § 52-552e(b)(10). As part of the DowDuPont

Separation, Old DuPont incurred $4 billion in indebtedness to Corteva.

   314.    The State has been harmed by these transactions, which were designed to shield

assets from creditors, such as the State, that have been damaged by Old DuPont’s conduct.

   315.    Under Conn. Gen. Stat. § 52-552, the State is entitled to void these transactions and to

recover property or value transferred from Old DuPont to New DuPont, New Dow, and Corteva.

   316.    Pursuant to Conn. Gen. Stat. § 52-552h(a)(2), the State also seeks, to the extent

necessary to satisfy the State’s claims in this Complaint, the attachment or other provisional

remedy (including levy) against the assets transferred to New DuPont, New Dow, and Corteva

and the incurrence of obligations to New DuPont, New Dow, and Corteva in the DowDuPont

Merger and DowDuPont Separation, or the proceeds of such assets now held by New DuPont,

New Dow, and Corteva, or other property of Old DuPont, New DuPont, New Dow, and Corteva,

and/or to hold Old DuPont, New DuPont, New Dow, and Corteva liable for any damages or

other remedies that may be awarded through this lawsuit.

   317.    New DuPont, New Dow, and Corteva are not good-faith transferees of the assets

transferred through the DowDuPont Merger and DowDuPont Separation to New DuPont, New

Dow, and Corteva because each of Old DuPont, New DuPont, New Dow, and Corteva knew or

should have known of the fraudulent intent underlying the DowDuPont Merger and DowDuPont

Separation and/or the insolvency of Old DuPont.




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                                        COUNT XV
    (Conn. Gen. Stat. § 52-552e(a)(2) – Constructive Fraudulent Transfer Related to the
                  DowDuPont Merger and the DowDuPont Separation)
               (Against Old DuPont, New DuPont, New Dow, and Corteva)

   1-295. Paragraphs 1 through 295 of the Complaint are hereby repeated and realleged as

   Paragraphs 1 through 295 of this Count XV as if fully set forth herein.

   296.     Under UFTA’s constructive fraudulent transfer provisions, a transaction made by a

debtor is fraudulent as to a creditor if the debtor made the transfer:

   [W]ithout receiving a reasonably equivalent value in exchange for the transfer or
   obligation, and the debtor…was engaged or was about to engage in a business or a
   transaction for which the remaining assets of the debtor were unreasonably small in
   relation to the business or transaction; or…intended to incur, or believed or reasonably
   should have believed that [the debtor] would incur, debts beyond [the debtor’s] ability to
   pay as they became due. Conn. Gen. Stat. § 52-552e(a)(2).

   297.     At all relevant times, the State is and was a creditor of Old DuPont and New DuPont.

   298.     The exchange of assets and liabilities in the DowDuPont Separation were made to

benefit, or for the benefit of, New DuPont, New Dow, and/or Corteva.

   299.     At the time these transactions were made, New DuPont was in a position to control,

and did control, Old DuPont, New Dow, and Corteva.

   300.     Old DuPont did not receive consideration from New DuPont, New Dow, and Corteva

reasonably equivalent to the value of the assets exchanged. After the transactions, Old DuPont

was left with assets that Old DuPont, New DuPont, New Dow, and Corteva knew or should have

known were insufficient to pay its extensive environmental liabilities, including the State’s

claims.

   301.     At the time of the DowDuPont Separation, Old DuPont was engaged or was about to

engage in a business for which its remaining assets were unreasonably small in relation to its

business.




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   302.    At the time of the DowDuPont Separation, Old DuPont, New DuPont, New Dow, and

Corteva believed or reasonably should have believed that Old DuPont would incur debts beyond

its ability to pay as they became due.

   303.    At the time of the DowDuPont Separation, Old DuPont and New DuPont had been

sued, threatened with suit, and had knowledge of the likelihood of litigation to be filed regarding

Old DuPont’s and New DuPont’s liability for damages and injuries from Old DuPont’s design,

manufacturing, marketing, distribution, and sale of PFAS Products.

   304.    At the time of the DowDuPont Separation, and at all times relevant to this Complaint,

Old DuPont has been insolvent because its debts were greater than the fair valuation of its assets.

   305.    The State has been harmed by these transactions, which were designed to shield

assets from creditors, such as the State, that have been damaged by Old DuPont’s conduct.

   306.    Under Conn. Gen. Stat. § 52-552, the State is entitled to void these transactions and to

recover property or value transferred from Old DuPont to New DuPont, New Dow, and Corteva.

   307.    Pursuant to Conn. Gen. Stat. § 52-552h(a)(2), the State also seeks, to the extent

necessary to satisfy the State’s claims in this Complaint, the attachment or other provisional

remedy (including levy) against the assets transferred to New DuPont, New Dow, and Corteva

and the incurrence of obligations to New DuPont, New Dow, and Corteva in the DowDuPont

Merger and DowDuPont Separation, or the proceeds of such assets now held by New DuPont,

New Dow, and Corteva, or other property of Old DuPont, New DuPont, New Dow, and Corteva,

and/or to hold Old DuPont, New DuPont, New Dow, and Corteva liable for any damages or

other remedies that may be awarded through this lawsuit.

   308.    New DuPont, New Dow, and Corteva are not good-faith transferees of the assets

transferred through the DowDuPont Merger and DowDuPont Separation to New DuPont, New




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Dow, and Corteva because each of Old DuPont, New DuPont, New Dow, and Corteva knew or

should have known of the fraudulent intent underlying the DowDuPont Merger and DowDuPont

Separation and/or the insolvency of Old DuPont.

                                       COUNT XVI
     (Conn. Gen. Stat. § 52-552f(a) – Constructive Fraudulent Transfer Related to the
                  DowDuPont Merger and the DowDuPont Separation)
              (Against Old DuPont, New DuPont, New Dow, and Corteva)

   1-295. Paragraphs 1 through 295 of the Complaint are hereby repeated and realleged as

   Paragraphs 1 through 295 of this Count XVI as if fully set forth herein.

   296.    Under UFTA’s constructive fraudulent transfer provisions, a transaction made by a

debtor is fraudulent as to a creditor if the debtor made the transfer “without receiving a

reasonably equivalent value” and if “the debtor was insolvent at that time or the debtor became

insolvent as a result of the transfer or obligation.” Conn. Gen. Stat. §52-552f(a).

   297.    At all relevant times, the State is and was a creditor of Old DuPont and New DuPont.

   298.    The exchange of assets and liabilities in the DowDuPont Separation was made to

benefit, or for the benefit of, New DuPont, New Dow, and/or Corteva.

   299.    At the time these transactions were made, New DuPont was in a position to control,

and did control, Old DuPont, New Dow, and Corteva.

   300.    Old DuPont did not receive consideration from New DuPont, New Dow, and Corteva

reasonably equivalent to the value of the assets exchanged.

   301.    Old DuPont was insolvent as a result of the DowDuPont Separation. Old DuPont was

balance-sheet insolvent at the time of the DowDuPont Separation. Further, as a result of the

DowDuPont Separation, Old DuPont could not pay its debts as they became due.

   302.    The State has been harmed by this transaction, which was designed to shield assets

from creditors, such as the State, that have been damaged by Old DuPont’s conduct.



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   303.    Under Conn. Gen. Stat. § 52-552, the State is entitled to void these transactions and to

recover property or value transferred from Old DuPont to New DuPont, New Dow, and Corteva.

   304.    Pursuant to Conn. Gen. Stat. § 52-552h(a)(2), the State also seeks, to the extent

necessary to satisfy the State’s claims in this Complaint, the attachment or other provisional

remedy (including levy) against the assets transferred to New DuPont, New Dow, and Corteva

and the incurrence of obligations to New DuPont, New Dow, and Corteva in the DowDuPont

Merger and DowDuPont Separation, or the proceeds of such assets now held by New DuPont,

New Dow, and Corteva, or other property of Old DuPont, New DuPont, New Dow, and Corteva,

and/or to hold Old DuPont, New DuPont, New Dow, and Corteva liable for any damages or

other remedies that may be awarded through this lawsuit.

   305.    New DuPont, New Dow, and Corteva are not good-faith transferees of the assets

transferred through the DowDuPont Merger and DowDuPont Separation to New DuPont, New

Dow, and Corteva because each of Old DuPont, New DuPont, New Dow, and Corteva knew or

should have known of the fraudulent intent underlying the DowDuPont Merger and DowDuPont

Separation and/or the insolvency of Old DuPont.




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PRAYER FOR RELIEF

WHEREFORE, in accordance with applicable law, including but not limited to Conn. Gen. Stat.

§§ 22a-16, 22a-438, 22a-451, 22a-471, 42-110m, 42-110o, and 52-552h, the State of Connecticut

requests the following relief:

   1. Injunctive relief to address past, present, and future PFAS pollution, including, without

       limitation:

           a. an order compelling Defendants to abate all PFAS pollution in the State of

               Connecticut;

           b. an order compelling Defendants to implement a program of public outreach with

               information about the harms of PFAS, the status of investigation and remediation

               activities, and resources available to assist with abatement and remediation;

           c. an order compelling Defendants to implement a program of information sharing

               with local and state government agencies concerning investigation and

               remediation activities; and

           d. an order compelling Defendants to disclose all research and studies in their

               possession, including such research and studies previously conducted directly or

               indirectly by them, their respective agents, affiliates, servants, officers, directors,

               employees, and all persons acting in concert with them, that relates to the human

               health and environmental effects of PFAS;

   2. Compensatory damages arising from PFAS pollution of State natural resources and

       property, including surface waters, groundwaters, public and private drinking water

       supply wells, soils and sediments, biota, wildlife including fish, and all other public trust

       resources and State property, according to proof, including, without limitation:




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       a. past and future costs of investigation, testing, and monitoring;

       b. past and future costs of providing water from alternate sources;

       c. past and future costs of installing and maintaining wellhead treatment;

       d. past and future costs of installing and maintaining a wellhead protection program;

       e. past and future costs of installing and maintaining early warning systems to detect

           PFAS before it reaches wells;

       f. past and future costs of implementing biomonitoring programs;

       g. past and future costs of remediating PFAS from natural resources, including

           groundwater, surface waters, soils, sediments, and other natural resources;

       h. past and future costs of implementing educational outreach in communities where

           natural resources have become contaminated with PFAS;

       i. past and future costs of collecting, replacing, and safely disposing of PFAS;

       j. past and future costs of remediating PFAS contamination at release sites; and

       k. natural resource damages;

3. An order compelling Defendants to pay all other damages sustained by the State in its

   public trustee, parens patriae, and regulatory capacities as a direct and proximate result

   of Defendants’ acts and omissions alleged herein with respect to PFAS Products;

4. Any and all temporary and permanent equitable relief and such conditions upon

   Defendants as are needed to prevent further pollution, impairment, and destruction of the

   natural resources and property of Connecticut;

5. A finding that by the acts alleged herein, Defendants have unreasonably polluted,

   impaired, and destroyed public trust resources in the State of Connecticut in violation of

   the Connecticut Environmental Protection Act, Conn. Gen. Stat. § 22a-16;




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6. Equitable relief pursuant to Conn. Gen. Stat. § 22a-16a for past, present, and future

   pollution, impairment, and/or destruction of public trust resources;

7. An order pursuant to Conn. Gen. Stat. § 22a-438 directing Defendants to pay a civil

   penalty of $25,000 per day per violation of Conn. Gen. Stat. § 22a-430;

8. An order pursuant to Conn. Gen. Stat. § 22a-438 directing Defendants to pay a civil

   penalty of $25,000 per day per violation of Conn. Gen. Stat. § 22a-427;

9. An order pursuant to Conn. Gen. Stat. § 22a-451 directing Defendants to pay the State

   two times the costs and expenses incurred in responding to PFAS water pollution;

10. An order pursuant to Conn. Gen. Stat. § 22a-471 directing Defendants to pay the State for

   all expenses incurred in providing potable drinking water in response to groundwater

   pollution;

11. A finding that by the acts alleged herein, Defendants engaged in unfair acts and practices

   in the course of engaging in trade or commerce within the State of Connecticut in

   violation of the Connecticut Unfair Trade Practices Act;

12. An injunction pursuant to Conn. Gen. Stat. § 42-110m permanently enjoining Defendants

   from engaging in any acts that violate the Connecticut Unfair Trade Practices Act,

   including, but not limited to, the unfair acts and practices alleged herein;

13. An order pursuant to Conn. Gen. Stat. § 42-110o directing Defendants to pay a civil

   penalty of $5,000 for each and every willful violation of the Connecticut Unfair Trade

   Practices Act;

14. An order for equitable relief pursuant to Conn. Gen. Stat. § 42-110m for past and ongoing

   unfair acts and practices associated with PFAS, including but not limited to relief for

   remediation and mitigation;




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15. An order for any and all other equitable relief authorized under Conn. Gen. Stat. § 42-

   110m, including but not limited to restitution and disgorgement, that is appropriate to

   rectify the unlawful behavior complained of herein;

16. An order voiding the fraudulent transfers of assets among the DuPont Defendants and

   recovering the property or value fraudulently transferred among these Defendants to put

   the State in the position in which it would have been had these fraudulent transfers not

   occurred;

17. An order enjoining the DuPont Defendants from distributing, transferring, capitalizing, or

   otherwise disposing of any proceeds from the sale of any business lines, segments,

   divisions, or other assets that formerly belonged to Old DuPont and/or impose a

   constructive trust over any proceeds from the sale of Old DuPont assets for the benefit of

   the State;

18. Costs (including reasonable attorney fees, court costs, and other expenses of litigation);

19. Punitive damages;

20. Prejudgment interest; and

21. Such other relief as the Court may deem just and equitable.




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                                   PLAINTIFF
                                   STATE OF CONNECTICUT




                                   Juris No. 440323
                                   Attorney General
                                   MATTHEW I. LEVINE
                                   Juris No. 414845
                                   Deputy Associate Attorney General
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RETURN DATE: MARCH 5, 2024                           SUPERIOR COURT

STATE OF CONNECTICUT                                 JUDICIAL DISTRICT
                                                     OF HARTFORD
V.

EIDP, INC.; DUPONT DE NEMOURS,                       AT HARTFORD
INC.; THE CHEMOURS COMPANY; THE
CHEM OURS COMP ANY FC, LLC;
CORTEVA, INC.; and 3M COMPANY                        JANUARY 23, 2024


                          STATEMENT OF AMOUNT IN DEMAND
       The Plaintiff states that the amount in demand is greater than Fifteen Thousand Dollars

($15,000), exclusive of interest and costs.


                                                PLAINTIFF
                                                STATE OF CONNECTICUT

                                                                      >
                                          By:   --ta
                                                WILLIAM M. TokG-::-
                                                Juris No. 440323
                                                Attorney General
                                                MATTHEW I. LEVINE
                                                Juris No. 414845
                                                Deputy Associate Attorney General
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CIVIL SUMMONS                                                       STATE OF CONNECTICUT
CONTINUATION OF PARTIES                                                SUPERIOR COURT
JD-CV-2     Rev. 9-12

First named Plaintiff (Last, First, Middle Initial)

State of Connecticut
First named Defendant (Last, First, Middle Initial)

EIDP, Inc.
Additional Plaintiffs
Name (Last, First, Middle Initial, if individual)                            Address (Number, Street, Town and Zip Code)                                COOE

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Additional Defendants
Name (Last, First, Middle Initial, if individual)                            Address (Number, Street, Town and Zip Code)                                CODE

The Chemours Company FC, LLC                                               1007 Market Street, Wilmington, DE 19801                                      05
                                                      Agent for Service: CT Corporation System, 67 Burnside Ave, East Hartford, CT 06108                 06
DuPont de Nemours, Inc.                                                     974 Centre Road, Wilmington, DE 18805                                        07
                                                      Agent for Service: Corporation Trust Center, 1209 Orange Street, Wilmington, DE 19801              08

Corteva, Inc.                                                               974 Centre Road, Wilmington, DE 18805                                        09
                                                      Agent for Service: CT Corporation System, 67 Burnside Ave, East Hartford, CT 06108                 10

 3M Company                                                                3M Center, Saint Paul, MN 55144                                               11
                                                                                                                             FOR COURT USE ONLY - File Date
                                                      Agent for Service: Corporation Service Company, 225
                                                      Asylum Street, 20th Floor, Hartford, CT 06103                    12



                                                                                                                       13



                                                                                                                       14   Docket number



                                                                                                                              CIVIL SUMMONS-Continuation
  Case
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STATE OF CONN ECTICUT}
                     } SS: GLASTONBURY,                       JANUARY 23, 2024
COUNTY OF HARTFORD }

    Then and by virtue hereof, on the 23" day of January, 2024, I made due and legal
service on the within named Defendant, EIDP, INC., by depositing at the Post Office in
Glastonbury, postage paid and certified, return receipt requested, a verified true and
attested copy of the within original, Summons, Complaint, and Statement of Amount
In Demand, with my doings thereon endorsed, addressed to the within named Defendant,
EIDP, Inc. C/O The Secretary, 974 Centre Road, Wilmington, DE 19805.

     Also, on the 23"° day of January, 2024, I made due and legal service on the within
named Defendant, THE CHEM OURS COMP ANY, by depositing at the Post Office in
Glastonbury, postage paid and certified, return receipt requested, a verified true and
attested copy of the within original, Summons, Complaint, and Statement of Amount
In Demand, with my doings thereon endorsed, addressed to the within named Defendant,
The Chemours Company, C/O The Secretary, 1007 Market Street, Wilmington, DE
19801.

    Also, on the 23" day of January, 2024, I made due and legal service on the within
named Defendant, THE CHEM OURS COMP ANY FC, LLC, by depositing at the Post
Office in Glastonbury, postage paid and certified, return receipt requested, a verified true
and attested copy of the within original, Summons, Complaint, and Statement of
Amount In Demand, with my doings thereon endorsed, addressed to the within named
Defendant, The Chemours Company FC, LLC, C/O The Secretary, 1007 Market
Street, Wilmington, DE 19801.

     Also, on the 23"° day of January, 2024, I made due and legal service on the within
named Defendant, DUPONT DE NEMOURS, INC., by depositing at the Post Office in
Glastonbury, postage paid and certified, return receipt requested, a verified true and
attested copy of the within original, Summons, Complaint, and Statement of Amount
In Demand, with my doings thereon endorsed, addressed to the within named Defendant,
DuPont De Nemours, Inc, C/O The Secretary, 974 Centre Road, Wilmington, DE
19805.

     Also, on the 23"° day of January, 2024, I made due and legal service on the within
named Defendant, DUPONT DE NEMOURS, INC., by depositing at the Post Office in
Glastonbury, postage paid and certified, return receipt requested, a verified true and
attested copy of the within original, Summons, Complaint, and Statement of Amount
In Demand, with my doings thereon endorsed, addressed to the within named Defendant,
DuPont De Nemours, Inc, C/O The Corporation Trust Company, Corporation
Trust Center, 1209 Orange Street, Wilmington, DE 19801.

    Also, on the 23"° day of January, 2024, I made due and legal service on the within
named Defendant, CORTEVA, INC., by depositing at the Post Office in Glastonbury,
postage paid and certified, return receipt requested, a verified true and attested copy of
the within original, Summons, Complaint, and Statement of Amount In Demand,
with my doings thereon endorsed, addressed to the within named Defendant, Corteva,
Inc, C/O The Secretary, 974 Centre Road, Wilmington, DE 19805.
  Case
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   Also, on the 23"° day of January, 2024, I made due and legal service on the within
named Defendant, 3M COMPANY, by depositing at the Post Office in Glastonbury,
postage paid and certified, return receipt requested, a verified true and attested copy of
the within original, Summons, Complaint, and Statement of Amount In Demand,
with my doings thereon endorsed, addressed to the within named Defendant, 3M
Company, C/O The Secretary, 3M Center, Saint Paul, MN 55144.

    Afterwards on the 23" day of January, 2024, I made due and legal service on the
within named Defendant, EIDP, INC., by leaving a verified true and attested copy of the
within Summons, Complaint, and Statement of Amount in Demand, with and in the
hands of Gary Scappini, duly authorized to accept service for CT Corporation System,
Agent For Service for said Defendant, at 67 Burnside Avenue, in the Town of East
Hartford.

     Also on the 23"° day of January, 2024, I made due and legal service on the within
named Defendant, THE CHEM OURS COMP ANY, by leaving a verified true and
attested copy of the within Summons, Complaint, and Statement of Amount in
Demand, with and in the hands of Gary Scappini, duly authorized to accept service for
CT Corporation System, Agent For Service for said Defendant, at 67 Burnside Avenue,
in the Town of East Hartford.

     Also on the 23" day of January, 2024, I made due and legal service on the within
named Defendant, THE CHEM OURS COMP ANY FC, LLC, by leaving a verified true
and attested copy of the within Summons, Complaint, and Statement of Amount in
Demand, with and in the hands of Gary Scappini, duly authorized to accept service for
CT Corporation System, Agent For Service for said Defendant, at 67 Burnside Avenue,
in the Town of East Hartford.

    Also on the 23" day of January, 2024, I made due and legal service on the within
named Defendant, CORTEVA, INC., by leaving a verified true and attested copy of the
within Summons, Complaint, and Statement of Amount in Demand, with and in the
hands of Gary Scappini, duly authorized to accept service for CT Corporation System,
Agent For Service for said Defendant, at 67 Burnside Avenue, in the Town of East
Hartford.

    Afterwards on the 23"° day of January, 2024, I made due and legal service on the
within named Defendant, 3M COMP ANY, I left a verified true and attested copy of the
within original Summons, Complaint, and Statement of Amount in Demand, with and
in the hands of Shelley Kurpaska, duly authorized to accept for Corporation Service
Company, Agent For Service for said Defendant, at 225 Asylum Street, 20th Floor, in the
City of Hartford.
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                   SUPPLEMENT AL RETURN TO FOLLOW




   The within is the original Summons, Complaint, and Statement of Amount in
Demand, with my doings hereon endorsed.


FEES:

Pages       $ 900.00
Endorsements 18.50                            .CX J. RODRIGUEZ
Service       330.00                          STATE MARS
Travel         12.00                          HARTFORD COUNTY
Postage        66.00

Total      $ 1326.50
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                  EXHIBIT 2
            Case 3:24-cv-00239-SRU Document 41-1 Filed 04/08/24 Page 132 of 277


     Caution
As of: April 8, 2024 8:59 PM Z


                                                  Ayo v. 3M Co.
                             United States District Court for the Eastern District of New York
                                 September 30, 2018, Decided; September 30, 2018, Filed
                                                 18-CV-0373(JS)(AYS)

Reporter
2018 U.S. Dist. LEXIS 170996 *

BARBARA AYO and SOLOMON AYO; BETTY
GORDON and GEORGE GORDON; DIANNE LOFTON                       Core Terms
and DUKE LOFTON; ERIN ROCHA and ANTONIO
ROCHA; JAMES GREEN, as proposed administrator of              Manufacturing, products, specifications, military, Foam,
the estate of HATTIE GREEN; JANET CELIK and AVNI              Defendants', federal official, chemical, contractor,
CELIK; CONSTANCE BATTS, as proposed                           colorable, Plaintiffs', Removal, contamination,
administrator of the estate of JULIUS BROOKS; KAREN           formulations, fluorinated, conform, warn, removal
MORENCY; LISA TERRY and ANDREW TERRY;                         statute, surfactants, Sur-Reply, firefighting, government
JAMES GREEN, as proposed administrator of the                 contractor, design defect, fire fighting, regulations,
estate of MAMIE GREEN; MELVIN KENNEDY;                        compliance, discretionary, qualification, inspection, Air
THERESA RIVERA and VINCENT RIVERA; WENDY
GREEN and JAMES GREEN; ALAN PATTERSON;                        Counsel: [*1] For Plaintiffs: Frederick Eisenbud, Esq.,
ALAN PATTERSON, as proposed administrator of the              Scott D. Middleton, Esq., Campolo, Middleton &
estate of MARION PATTERSON; CHESTER MORRIS;                   McCormick, LLP, Ronkonkoma, NY; Hunter J. Shkolnik,
CHESTER MORRIS, as proposed administrator of the              Esq., Paul J. Napoli, Esq., Tate J. Kunkle, Esq., Napoli
                                                              Shkolnik PLLC, New York, NY.
estate of OLIVER MORRIS; and CHESTER MORRIS,
as proposed administrator of the estate of SERA               For The 3M Company, Defendants: Andrew J. Calica,
MORRIS, Plaintiffs, -against- THE 3M COMPANY, f/k/a           Esq., Jordan D. Sagalowsky, Esq., Michael A. Olsen,
Minnesota Mining and Manufacturing, Co.; TYCO FIRE            Esq., Richard F. Bulger, Esq., Mayer Brown LLP, New
PRODUCTS L.P., successor in interest to the Ansul             York, NY.
Company; BUCKEYE FIRE PROTECTION CO.;
                                                              For Tyco Fire Products, L.P. and Chemguard,
CHEMGUARD; NATIONAL FOAM, INC.; KIDDE FIRE
                                                              Defendants: David S. Weinraub, Esq., Katherine A.
FIGHTING, INC., f/k/a Chubb National Foam, Inc., f/k/a
                                                              Armstrong, Esq., Douglas E. Fleming, Esq., Dechert
National Foam, Inc., individually and as successor in
                                                              LLP, New York, NY.
interest to National Foam, Inc.; KIDDE PLC, INC., f/k/a
Williams US Inc., f/k/a Williams Holdings, Inc.,              For Buckeye Fire Protection Co., Defendants: Ellen
individually and as successor in interest to National         Nunno Corbo, Esq., Taylor Colicchio LLP, Princeton,
Foam, Inc.; KIDDE-FENWAL, INC., individually and as           NJ; Lisa A. Pieroni, Esq., Kirschstein, Israel, Schiffmiller
successor in interest to National Foam, Inc.; UTC FIRE        & Pieroni, P.C., New York, NY; Michael L. Carpenter,
& SECURITY AMERICAS CORPORATION, INC., f/k/a                  Esq., Gray, Layton, Kersh, Solomon, Furr & Smith, P.A.,
GE Interlogix, Inc.; ENTERRA CORPORATION; and                 Gastonia, NC.
COUNTY OF SUFFOLK, Defendants.
                                                              For National Foam, Inc., Defendants: Keith E. Smith,
                                                              Esq., Greenberg Traurig, LLP, Philadelphia, PA.
Subsequent History: Transferred by In re Aqueous
Film-Forming Foams Prods. Liab. Litig., 357 F. Supp. 3d       For Kidde Fire Fighting, Inc., Defendants: No
1391, 2018 U.S. Dist. LEXIS 206582, 2018 WL 6427189           appearances.
(J.P.M.L., Dec. 7, 2018)
                                                              For Kidde PLC, Inc., Kidde-Fenwal, Inc., and UTC Fire
                                                              & Security Americas Corporation, Inc., Defendants:
Related proceeding at In re Aqueous Film-Forming
                                                              Jonathan S. Zelig, Esq., John W. Cerretta, Esq.,
Foams Prods. Liab. Litig., 2022 U.S. Dist. LEXIS 47146
                                                              Jonathan I. Handler, Esq., Day Pitney LLP, Boston, [*2]
(D.S.C., Feb. 17, 2022)
                                                              MA.

                                                    Kelly Christopher
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                                          2018 U.S. Dist. LEXIS 170996, *2

For Enterra Corporation, Defendants: No appearances.         Entry 31).1 For the reasons that follow, Plaintiffs' motion
                                                             to remand is DENIED and Manufacturing Defendants'
For County of Suffolk, Defendants: Andrew Scott Kazin,
                                                             motion for leave to file a sur-reply is DENIED.
Esq., Brian A. Lacoff, Esq., David R. Ehrlich, Esq.,
Thomas E. Stagg, Esq., Stagg, Terenzi, Confusione &
Wabnik LLP, Garden City, NY.
                                                             BACKGROUND2
Judges: Joanna Seybert, United States District Judge.        I. The Alleged Contamination of Plaintiffs' Water

Opinion by: Joanna Seybert                                   Plaintiffs are current and former residents of
                                                             communities in the Westhampton, Westhampton Beach,
Opinion                                                      and Quiogue areas of eastern Suffolk County, Long
                                                             Island, New York (the "Communities"). [*4] (Compl. ¶
                                                             40.) According to the Complaint, a sole source aquifer3
                                                             supplies water to the Communities (the "Aquifer").
MEMORANDUM & ORDER                                           (Compl. ¶ 1.)

SEYBERT, District Judge:                                     The Communities are close to and downgradient of the
                                                             Gabreski Air National Guard Base (the "Base"), which is
On December 11, 2017, Plaintiffs filed this action           part of the Francis S. Gabreski Airport (the "Airport," and
against defendants The 3M Company, f/k/a Minnesota           together with the Base, "Gabreski") owned and operated
Mining and Manufacturing, Co. ("3M"); Tyco Fire              by the County. (Compl. ¶¶ 2, 33.) Plaintiffs allege that
Products L.P., successor in interest to the Ansul            the County leases 88.5 acres of the Airport to the New
Company ("Tyco"); Buckeye Fire Protection Co.                York Air National Guard ("NYANG"),4 and that for
("Buckeye"); Chemguard; National Foam, Inc. ("National       decades, the NYANG has used a half-acre Airport Fire
Foam"); Kidde PLC, Inc., f/k/a Williams US Inc., f/k/a       Training Area located at the Airport. (Compl. ¶¶ 34-35.)
Williams Holdings, Inc., individually and as successor in
interest to National Foam, Inc. ("Kidde PLC"); Kidde-        Plaintiffs aver that aqueous film-forming foam ("AFFF")--
Fenwal, Inc., individually and as successor in interest to   "a Class-B fire-fighting foam that is mixed with water
National Foam, Inc. ("Kidde-Fenwal"); UTC Fire &             and used to extinguish fires that are difficult to fight,
Security Americas Corporation, Inc., f/k/a GE Interlogix,    including those involving hydrocarbon fuels such as
Inc. ("UTC"); Kidde Fire Fighting, Inc., f/k/a Chubb         petroleum or other flammable liquids"--has been used at
National Foam, Inc., f/k/a National Foam, Inc.,
individually and as successor in interest to National
Foam, Inc. ("Kidde Fire Fighting"); Enterra Corporation      1 Two  Manufacturing Defendants--Enterra and Kidde Fire
("Enterra," [*3]    and     collectively,  "Manufacturing    Fighting--have not appeared or participated in this action. For
Defendants"); and the County of Suffolk (the "County,"       ease of reference, the Court will not distinguish between those
and     together    with    Manufacturing    Defendants,     Manufacturing Defendants that have appeared and those that
"Defendants") in the Supreme Court of the State of New       have not.
York, County of Suffolk ("State Court"), claiming injuries   2 The following facts are drawn from the Complaint, Tyco's
stemming from the alleged contamination of their water       Notice of Removal and the exhibits attached thereto, and
supply by Manufacturing Defendants' products. (Compl.,       materials the parties submitted with their briefs.
Docket Entry 1-1, at ECF pp. 6-72.) On January 18,           3 According   to the U.S. Environmental Protection Agency
2018, Tyco removed the action to this Court pursuant to      ("EPA"), a sole source aquifer is one that "supplies at least 50
the federal officer removal statute, 28 U.S.C. §§            percent of the drinking water for its service area" where
1442(a)(1). (Notice of Removal, Docket Entry 1.)             "[t]here are no reasonably available alternative drinking water
                                                             sources should the aquifer become contaminated." U.S. EPA,
Currently pending before the Court is Plaintiffs' motion     Overview of the Drinking Water Sole Source Aquifer Program,
to remand the case to State Court, (Remand Mot.,             https://www.epa.gov/dwssa/overview-drinking-water-sole-
Docket Entry 16), and Manufacturing Defendants'              source-aquifer-program.
motion for leave to file a sur-reply in opposition to        4 The  Air National Guard is the Reserve Component of the
Plaintiff's motion to remand, (Sur-Reply Mot., Docket        U.S. Air Force. National Guard, How We Began,
                                                             http://www.nationalguard.mil/About-the-Guard/How-We-
                                                             Began/.

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Gabreski since 1970.5 (Compl. ¶¶ 37, 152.) AFFF                    Plaintiffs claim that Manufacturing Defendants knew or
products are created synthetically by combining fluorine-          should have known that PFCs are highly soluble in
free hydrocarbon foaming agents with highly fluorinated            water, highly mobile, highly persistent in the
surfactants--agents that lower water's surface tension.            environment, and highly likely to contaminate water
(Aug. 2004 Report, Fleming Decl. Ex. D-7, Docket Entry             supplies if released into the environment, and that using
22-8, at 2; Compl. ¶ 154.) The [*5] fluorinated                    PFCs in AFFF "presented an unreasonable risk to
surfactants, or fluorosurfactants, in AFFF at issue in this        human health, ground and surface water, and the
case are perfluorinated chemicals ("PFCs"),6 including             environment." (Compl. ¶¶ 23, 27.) According to
specifically perfluorooctanesulfonic acid ("PFOS") and             Plaintiffs, Manufacturing Defendants marketed and sold
perfluorooctanoic acid ("PFOA"). (Compl. ¶¶ 4, 5, 10,              their AFFF products knowing that they would be used at
165, 170, 220.)                                                    airports and bases, including Gabreski, in a way that
                                                                   would release PFCs into the environment and
According to Plaintiffs, PFOA and PFOS are resistant to            contaminate the air, soil, and groundwater. (Compl. ¶¶
breakdown and can move through air and soil and into               24-29.) Plaintiffs allege that Manufacturing Defendants
groundwater. (Compl. ¶¶ 171, 174.) Additionally,                   failed to warn the U.S. Department of Defense ("DoD"),
Plaintiffs allege that PFCs, including PFOA and PFOS,              the U.S. Air Force, Gabreski, municipal water suppliers,
are toxic and that they bioaccumulate in humans and                and residents of the Communities of the dangers posed
animals. (Compl. ¶¶ 172, 175-76.) Specifically, Plaintiffs         by their AFFF products. (Compl. ¶ 30.)
claim that studies concerning PFOA and PFOS have
shown that exposure to the chemicals is associated with            Plaintiffs aver that the decades of use, storage, and
the development of serious medical conditions,                     disposal of Manufacturing Defendants' PFC-based
including kidney and testicular cancer, ulcerative colitis,        AFFF products at Gabreski have caused the chemicals
and thyroid disease, among others. (Compl. ¶¶ 9, 12,               to enter the groundwater and contaminate the Aquifer.
195.) Further, Plaintiffs allege that PFOA and PFOS are            (Compl. ¶¶ 6, 8, 198-203, 206-209.) [*7] They claim
"presumed to be an immune hazard to humans."                       that PFOA has been detected in the Communities and
(Compl. ¶ 18 (internal quotations marks omitted).)                 Aquifer in levels exceeding the EPA's current health
                                                                   advisory limit of seventy parts per trillion for the
Plaintiffs aver that Manufacturing Defendants designed,            combined concentrations of PFOA and PFOS.9 (Compl.
manufactured, and sold AFFF that was used at                       ¶¶ 7, 14.) For instance, Plaintiffs allege that a
Gabreski. (Compl. ¶ 160.) They allege that the AFFF                groundwater-monitoring well near Gabreski was found
products contained PFOS, PFOA, and/or other PFCs                   to contain PFOS at a concentration of 14,300 parts per
that degrade [*6] into PFOS or PFOA.7 (Compl. ¶ 23.)8              trillion. (Compl. ¶ 208.) Plaintiffs allege that because of
                                                                   the contamination, they have suffered personal injury,
                                                                   bioaccumulation of PFOA and other PFCs, increased
5 AFFF is more effective than ordinary water at extinguishing      risk and fear of developing health conditions, and
hydrocarbon-fuel fires because it forms an aqueous film that       property damage. (Compl. ¶¶ 39-41, 210-213; see
spreads along the surface of hydrocarbon fuels, "essentially       Compl. ¶¶ 51-116.)
smothering the fire." (See Compl. ¶¶ 153-54.)
                                                                   II. AFFF and PFCs
6 A perfluorinated chemical is "fully fluorinated," meaning that

"all the carbon-hydrogen bonds in a chain have been replaced       The U.S. Naval Research Laboratory ("NRL") developed
by carbon-fluorine ones." (Cheremisinoff Aff., Kunkle Decl. Ex.    aqueous film-forming firefighting foams in the 1960s.
B, Docket Entry 16-5, at 3 ¶ 5.)                                   (Oct. 2009 NRL Press Release, Notice of Removal Ex.
7 According to Plaintiffs, 3M produced the fluorosurfactants for   D, Docket Entry 1-4, at 3.) However, a 2006 NRL
its AFFF by a patented process called electrochemical
fluorination, which resulted in a PFOS-based AFFF product          and Enterra from the definition. (Compl. ¶ 23.) Though
(though some PFOS degrades into PFOA). (Compl. ¶ 164.)             Plaintiffs later define National Foam to include these
Plaintiffs allege that 3M was the only company to synthesize       Defendants, (Compl. ¶ 150), they have not named Angus Fire
PFOS-based AFFF and that the other Manufacturing                   as a defendant. The Court assumes that the reference to
Defendants produced AFFF using PFOA. (Compl. ¶¶ 165,               Angus Fire was in error.
170.)                                                              9 According    to Plaintiffs, the EPA's health advisory limit
8 Plaintiffs
           name 3M, Tyco, National Foam, Buckeye,                  identifies the concentration of PFOA or PFOS in drinking water
Chemguard, and Angus Fire as "Manufacturing Defendants,"           at or below which health effects are not expected to occur over
and omit Kidde Fire Fighting, Kidde PLC, Kidde-Fenwal, UTC,        a lifetime of exposure. (Compl. ¶ 192.)

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Memorandum Report recognizes the private sector's              compel AFFF manufacturers to use PFOA or PFOS, but
contribution to the development of AFFF, providing that        requires that AFFF concentrate "consist of fluorocarbon
while "NRL was responsible for the original concepts           surfactants plus other compounds as required to
and formulations, it was necessary to elicit the aid of the    conform to the requirements specified hereinafter."
chemical industry to synthesize the fluorinated                (Compl. ¶ 158; Notice of Removal [*10] ¶ 8; MIL-F-
intermediates and agents to achieve improvements               24385(NAVY) § 3.2.). The Mil-Spec has since been
in [*8] formulations." (NRL Mem. Report, Fleming Decl.         amended and revised, most recently on September 7,
Ex. D-2, Docket Entry 22-3, at 37.) NRL acknowledges           2017.       (See     Mil-Spec      24385      Revisions,
3M specifically, stating that it "contributed considerably     http://quicksearch.dla.mil/qsDocDetails.aspx?ident_num
to the success of the development of AFFF." (NRL               ber=17270.)      The    current    revision,   MIL-PRF-
Mem. Report at 37.)                                            24385F(SH), like the 1969 version, requires that AFFF
                                                               products include fluorocarbon surfactants. (MIL-PRF-
According to Plaintiffs, AFFF was introduced                   24385F(SH), Notice of Removal Ex. H, Docket Entry 1-
commercially in the mid-1960s, but "AFFF sold to the           8, § 3.2.) Unlike the 1969 version, however, it
United States military"--"[u]nlike commercial AFFF             specifically sets maximum limits on PFOS and PFOA
formulations"--"must conform to the military-specific          content and explains that "[i]n the short term, the DoD
performance and quality control measurements as                intends to acquire and use AFFF with the lowest
prescribed by the military specification ("Mil-Spec") Mil-     demonstrable concentrations of . . . PFOS and PFOA."
F-24385." (Compl. ¶¶ 156-57.) As explained in a 2004           (See MIL-PRF-24385F(SH) §§ 3.3, 6.6 and Table I.)
report prepared for the Fire Fighting Foam Coalition, the
general difference between Mil-Spec and non-Mil-Spec           The Mil-Spec provides that AFFF furnished to the
AFFF is as follows: "Essentially all AFFF procured in the      military must be "qualified for listing on the applicable
U.S. is specified to conform to either a foam standard of      Qualified Products List" ("QPL") and calls for
Underwriters Laboratory (UL) or a more stringent               "qualification" and "quality conformance" inspections
military specification (MilSpec). Generally speaking,          with respect to a number of product characteristics.
MilSpec AFFFs contain more fluorosurfactant and more           (E.g., MIL-PRF-24385F(SH) §§ 3.1, 3.3, 4 and Tables I,
fluorine than UL agents." (Aug. 2004 Report, Fleming           II, and III.) While "the contractor is responsible for the
Decl. Ex. D-7, Docket Entry 22-8, at 2.) However,              performance of all inspection requirements," "[t]he
Plaintiffs highlight an affidavit prepared by their putative   Government reserves the right to perform any of the
expert, Nicholas P. Cheremisinoff ("Cheremisinoff"),           inspections set forth in the specification where [*11]
which provides [*9] that AFFF sold commercially often          such inspections are deemed necessary to ensure
conforms to the Mil-Spec:                                      supplies and services conform to prescribed
     AFFF products that were marketed and sold into            requirements."       (MIL-PRF-24385F(SH)       §     4.1.)
     non-military and other non-federal agencies were          Manufacturing Defendants submitted with their
     identical to those sold to the U.S. Military. It is       opposition the Declaration of Philip Novac, who served
     wrong to assert or assume that AFFF products              as Global Director of Foam Systems for Tyco or its
     were made exclusively for and under the direction         affiliates. (Novac Decl., Docket Entry 22-21, ¶¶ 1-2.)
     of the U.S. Military or that these products were any      According to Novac, DoD "has tested military
     different or made to any different specifications for     specification AFFF products of Tyco [ ] and other
     other customers. Most if not all AFFF                     military specification AFFF manufacturers." (Novac
     manufacturer[]s['] Material Safety Data Sheets            Decl. ¶ 10.)
     (MSDSs) carry a claim that their product meets the
     U.S. Mil Specs in terms of fire fighting performance      The Mil-Spec refers to DoD document SD-6, "Provisions
     ....                                                      Governing Qualification," which provides that generally,
(Cheremisinoff Aff., Kunkle Decl. Ex. B, Docket Entry          the agency that prepared the specification--here,
16-5, at 6 ¶ 12.)                                              NAVSEA--"is responsible for qualification." (SD-6,
                                                               Notice of Removal Ex. G, Docket Entry 1-7, at 3; Mil-
A. Military Specification for AFFF Products                    Spec 24385 Revisions ("Preparing Activity: SH Naval
                                                               Sea Systems Command (Ship Systems)"); e.g., MIL-
MIL-F-24385(NAVY), which was promulgated by the
                                                               PRF-24385F(SH) § 6.4.) SD-6 defines "qualification" as
U.S. Navy's Naval Sea Systems Command ("NAVSEA")
                                                               the process of "examin[ing], test[ing], and approv[ing]"
on November 21, 1969, addresses the military's
                                                               products "to be in conformance with specification
requirements for AFFF. (MIL-F-24385(NAVY), Notice of
                                                               requirements" and approving them for inclusion on the
Removal Ex. F, Docket Entry 1-6, § 1.1.) It does not

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QPL. (SD-6 at 1.) All products on the AFFF QPL must               remaining Defendants came to know what 3M knew:
be compatible with one another. (E.g., MIL-PRF-                   that their own AFFF did not biodegrade, persisted in the
24385F(SH) § 3.3.3.) At various times [*12] from 1976             environment, and bioaccumulated in human blood."
through 2017, all Manufacturing Defendants were on the            (Compl. ¶ 239.)
QPL as manufacturers certified to sell AFFF under the
Mil-Spec. (Compl. ¶ 159.)                                         According to Plaintiffs, "[i]n an attempt to limit liability,"
                                                                  3M stopped producing PFOS in 2002 "because it was
B. Awareness of Issues with PFCs                                  aware of the widespread contamination and the [*14]
1. Manufacturing Defendants                                       health effects on the American public associated with
                                                                  exposure to the contamination." (Compl. ¶ 166.)
According to Plaintiffs, 3M began producing PFOA in               Plaintiffs aver that in 2006, in light of PFOA's toxicity,
1947 and began researching the toxicity of PFCs in                eight major PFOA producers agreed to participate in the
1950. (Compl. ¶¶ 168, 234.) Plaintiffs aver that as early         EPA's "PFOA Stewardship Program," pursuant to which
as the mid-1950s, 3M knew that PFCs accumulate in                 the companies voluntarily committed to reduce product
humans and animals. (Compl. ¶ 235.) Plaintiffs claim              content and facility emissions of PFOA and related
that by the early 1960s, 3M knew that PFOS and PFOA               chemicals by ninety-five percent by no later than 2010.
were "stable, persistent in the environment, and did not          (Compl. ¶ 180.)
degrade," and "that PFCs were potentially toxic to
                                                                  2. The U.S. Government
humans and the environment." (Compl. ¶¶ 173, 233.)
Further, Plaintiffs aver that 3M studies from the 1970s           Manufacturing Defendants highlight several documents
concluded that PFCs were "even more toxic" than                   evidencing the government's awareness of risks posed
previously believed. (Compl. ¶¶ 176.) They allege that            by fluorocarbon surfactants in AFFF products. (Mfg.
3M knew that after consumption or inhalation, PFOA is             Def.s' Opp., Docket Entry 22, at 20-22.) For example,
absorbed by and accumulates in the body--primarily in             they point to a 1980 report prepared with the support of
the blood stream, kidneys, and liver. (Compl. ¶ 177.)             components of the U.S. Navy, Air Force, and Army,
Plaintiffs claim that by the 1970s, 3M knew that PFOA             which provides that "[a]ll of the constituents resulting
and PFOS were "widely present in the blood of the                 from fire fighting exercises [using fluorocarbon-based
general U.S. population" and that 3M concealed that               AFFF] are considered to have adverse effects
knowledge        from      the     public,    government          environmentally." (Oct. 1980 Report, Fleming Decl. Ex.
regulators, [*13] and the officials responsible for buying        D-12, Docket Entry 22-13, at 1.) Additionally, the report
AFFF and supplying it to Gabreski. (Compl. ¶ 178.) For            notes that "[f]ire fighting training exercises at military
example, Plaintiffs claim that internal 3M documents              installation[s] consume large quantities of water and fire
disclosed by a whistleblower to the EPA in 1998                   fighting chemical agents," [*15] which "results in
revealed that 3M was "perpetuating the myth" to                   intermittent discharges of waste streams containing high
regulators     and     customers     that  PFCs      were         strength of potentially toxic pollutants." (Oct. 1980
biodegradable, when 3M knew that they were not.                   Report at 17.) The 1980 report also states that
(Compl. ¶ 232.) Further, Plaintiffs claim that 3M began           "[w]astewater generated from fire fighting exercises
monitoring its employees' blood for PFCs as early as              ha[s] an adverse effect upon the receiving stream and
1976 and confirmed that they bioaccumulate: PFC                   resist[s] biodegradation." (Oct. 1980 Report at 3.)
levels were found to increase over time and remain in             Further, according to a 2001 letter from the DoD's
blood for long periods. (Compl. ¶ 238.) Additionally,             Assistant Deputy Under Secretary of Defense,
Plaintiffs allege that in approximately 1977, Tyco was                 The application of AFFF in firefighting is inherently
aware of the environmental and toxic effects of AFFF                   dispersive and results in the distribution of AFFF's
and studied whether it could create an AFFF product                    chemical components on the surface and in the
that had a less substantial impact on the environment.10               groundwater. Concern about this distribution
(Compl. ¶ 179.) Plaintiffs allege that "[t]hereafter[,] all            prompted Military Service Departments to
                                                                       investigate       the    biodegradation,     possible
10 The
                                                                       remediation, toxicity, fate and transport of many of
        Cheremisinoff Affidavit contains a number of specific
                                                                       AFFF's components. These studies date back to
allegations with respect to 3M's and Tyco's claimed knowledge
and concealment of the properties and effects of PFCs in               1983 or earlier and are on going. . . . My assertion
AFFF. (Cheremisinoff Aff., at 9-14, ¶¶ 1-24.) Because they             that PFOA is more toxic than PFOS is based on
largely overlap with or elaborate on the allegations above, the        these data. . . .
Court does not discuss them here.                                 (2001 Letter, Fleming Decl. Ex. D-16, Docket Entry 22-

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17, at 1.)                                                    On February 20, 2018, Plaintiffs filed a motion to
                                                              remand, which Defendants opposed on March 6, 2018.
According to documents submitted by Manufacturing             (See Remand Mot.; Mfg. Def.s' Opp.; County's Opp.,
Defendants, DoD views PFCs as necessary                       Docket Entry 23). Plaintiffs filed a reply brief on March
components of AFFF. As described in a 2017 U.S.               13, 2018, (Pl.s' Reply, Docket Entry 24), and on March
Government Accountability Office ("GAO") Report to            20, 2018, Manufacturing Defendants filed a motion for
Congressional Committees [*16] on DoD's handling of           leave to file a sur-reply, which they attached to their
emerging drinking-water contaminants, the AFFF Mil-           motion. (Sur-Reply [*18] Mot.; Sur-Reply Br., Docket
Spec requires the use "of 'fluorocarbon surfactants,'         Entry 31-1.) On March 27, 2018, Plaintiffs filed an
which the Navy interprets as synonymous with PFCs."           opposition to Manufacturing Defendants' request. (Sur-
(2017 GAO Report, Fleming Decl. Ex. D-10, Docket              Reply Opp., Docket Entry 37.)
Entry 22-11, at 1-4, 17 n.46.) Additionally, the report
provides that "[a]ccording to DOD, at present there is no     Defendants' time to answer or otherwise respond to the
PFC-free firefighting foam that meets DOD's                   Complaint has been extended to thirty days after the
performance and compatibility requirements. As a              Court rules on Plaintiffs' motion to remand. (See Feb. 2,
result, the Navy has no plans to remove the requirement       2018 Elec. Order; Consent Mot., Docket Entry 11.)
for firefighting foam to contain PFCs at this time." (2017
GAO Report at 19.) Thus, the current AFFF Mil-Spec
explains:                                                     DISCUSSION
      The DoD's goal is to acquire and use a non-
                                                              I. Plaintiffs' Motion to Remand
      fluorinated AFFF formulation or equivalent
      firefighting agent to meet the performance              Tyco removed this action from State Court pursuant to
      requirements for DoD critical firefighting needs. The   the federal officer removal statute, 28 U.S.C. §
      DoD is funding research to this end, but a viable       1442(a)(1), to have its federal government contractor
      solution may not be found for several years. In the     defense adjudicated in a federal forum. (Not. of
      short term, the DoD intends to acquire and use          Removal ¶ 1.) Plaintiffs ask the Court to remand this
      AFFF with the lowest demonstrable concentrations        case to State Court pursuant to 28 U.S.C. § 1447,
      of two particular per- and PFAS; specifically PFOS      arguing that Manufacturing Defendants do not satisfy
      and PFOA.                                               the elements of the federal officer removal statute and
(MIL-PRF-24385F(SH) § 6.6.)                                   are not entitled to the government contractor defense.
                                                              (Pl.s' Br., Docket Entry 16-1, at 1-2.)

PROCEDURAL HISTORY                                            The federal officer removal statute allows a case to be
                                                              removed from state court to federal court when it was
On December 11, 2017, Plaintiffs filed this action in
                                                              commenced against "[t]he United States or any agency
State Court, and on January 18, 2018, Tyco removed it
                                                              thereof or any officer (or any person acting under that
to [*17] this Court. Plaintiffs assert claims for (1)
                                                              officer) of the United States or of any agency thereof . . .
Negligence, (Compl. ¶¶ 243-62); (2) "Failure to Warn
                                                              for or relating to any act [*19] under color of such
(as against [the County])," (Compl. ¶¶ 263-78); (3)
                                                              office." 28 U.S.C. § 1442(a)(1). The statute insulates the
"Products Liability, Failure to Warn (as against the
                                                              U.S. Government and its agents from state "interference
Manufacturing Defendants)," (Compl. ¶¶ 279-96); (4)
                                                              with its 'operations'" by shielding it from "'local
"Strict Product Liability - Defective Design (as against
                                                              prejudice'" and providing "a federal forum in which to
the Manufacturing Defendants)," (Compl. ¶¶ 297-315);
                                                              assert federal immunity defenses." Watson v. Philip
(5) "Trespass (as against [the County])," (Compl. ¶¶
                                                              Morris Companies, Inc., 551 U.S. 142, 150, 127 S. Ct.
316-26); and (6) "Private Nuisance ([b]y Plaintiffs Betty
                                                              2301, 2306, 168 L. Ed. 2d 42 (2007) (quoting
Gordon, George Gordon, Lisa Terry, Andrew Terry,
                                                              Willingham v. Morgan, 395 U.S. 402, 406, 89 S. Ct.
Theresa Rivera, Vincent Rivera, and Alan Patterson),"
                                                              1813, 1815, 23 L. Ed. 2d 396 (1969); Maryland v.
(Compl. ¶¶ 327-44). Plaintiffs seek declaratory and
                                                              Soper, 270 U.S. 9, 32, 46 S. Ct. 185, 190, 70 L. Ed. 449
injunctive relief; "general, compensatory, exemplary,
                                                              (1926)) (citations omitted). The burden to show that
consequential, nominal, and punitive damages";
                                                              removal is proper rests with the removing defendant.
attorneys' fees and costs; and pre- and post-judgment
                                                              Veneruso v. Mount Vernon Neighborhood Health Ctr.,
interest. (Compl. at 60-66.)
                                                              586 F. App'x 604, 607 (2d Cir. 2014) (citing United Food
                                                              & Comm. Workers Union v. CenterMark Props. Meriden

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Square, Inc., 30 F.3d 298, 301 (2d Cir. 1994)).                     authority"12; and (3) it "must raise a colorable federal
However, the federal officer removal statute "must be               defense." Veneruso, 586 F. App'x at 607 (citing In re
liberally construed."11 Isaacson v. Dow Chemical Co,                Methyl Tertiary Butyl Ether Prods. Liab. Litig., 488 F.3d
517 F.3d 129, 136 (2d Cir. 2008) (citing Watson, 551                112, 124 (2d Cir. 2007) ("In re MTBE Prods. Liab.
U.S. at 147, 127 S. Ct. at 2304-05). Therefore, while               Litig."); Isaacson, 517 F.3d at 135. Plaintiffs do not
removal under the general removal statute, 28 U.S.C. §              dispute that Manufacturing Defendants are "person[s]"
1441, is generally disfavored, removal under the federal            for purposes of 28 U.S.C. § 1442, (Pl.s' Br. at 6), but
officer removal statute "is favored in the interest of              they argue that Manufacturing Defendants were not
public policy." Albrecht v. A.O. Smith Water Prods., No.            "acting under" an officer of the United States in
11-CV-5990, 2011 U.S. Dist. LEXIS 125100, 2011 WL                   producing AFFF with PFCs, (Pl.s' Br. at 7-10), and that
5109532, at *3 (S.D.N.Y. Oct. 21, 2011) (citing Jefferson           they have no colorable federal defense, (Pl.s' Br. at 10-
Cty. v. Acker, 527 U.S. 423, 431, 119 S. Ct. 2069, 2075,            15).
144 L. Ed. 2d 408 (1999)); see also Gordon v. Air &
                                                                    A. "Acting Under" a Federal Officer and Causal
Liquid Sys. Corp., 990 F. Supp. 2d 311, 316 (E.D.N.Y.
                                                                    Connection
2014) (quoting Willingham, 395 U.S. at 407, 89 S. Ct. at
1816) (explaining that characterization of defendant's
                                                                    For a private entity to show that it is "acting under" a
burden as "heavy" "misse[d] the distinction between the
                                                                    federal officer, it must "demonstrate that the assistance
general removal statutes, which are to be strictly
                                                                    it provides to a federal officer 'goes beyond simple
construed, and federal-officer removal, which 'should
                                                                    compliance with the law and helps officers fulfill other
not be frustrated by a narrow, grudging interpretation.'").         basic governmental tasks.'" Veneruso, 586 F. App'x at
Accordingly, the Court views the facts in the light most            607 (quoting Watson, 551 U.S. at 153, 127 S. Ct. at
favorable to the defendants. Albrecht, 2011 U.S. Dist.              2308); see also Isaacson, 517 F.3d at 137 ("'[A]n entity
LEXIS 125100, 2011 WL 5109532, at *3 (citing Hagen                  'act[s] under' a federal officer when it 'assist[s], or . . .
v. Benjamin Foster Co., 739 F. Supp. 2d 770, 783 (E.D.              help[s] carry out, the duties or tasks of the federal
Pa. 2010); Durham v. Lockheed Martin Corp., 445 F.3d                superior.'") (quoting [*21] Watson, 551 U.S. at 152, 127
1247, 1249 (9th Cir. 2006)).                                        S. Ct. at 2307) (emphasis, ellipsis, and second, third,
                                                                    and fourth alterations in original). "The words 'acting
A defendant other than the United States or a federal
                                                                    under' are to be interpreted broadly, and the statute as a
agency or officer must satisfy three elements to effect
                                                                    whole must be liberally construed." Isaacson, 517 F.3d
removal [*20] under the statute: (1) "[I]t must show that
                                                                    at 136 (citing Watson, 551 U.S. at 147, 127 S. Ct. at
it is a 'person' within the meaning of the statute"; (2) "it
                                                                    2304-05). However, "compliance (or noncompliance)
must establish that it was 'acting under' a federal officer,
                                                                    with federal laws, rules, and regulations" is not enough,
which subsumes the existence of a 'causal connection'
                                                                    "'even if the regulation is highly detailed and even if the
between the charged conduct and asserted official
                                                                    private firm's activities are highly supervised and
                                                                    monitored.'" Veneruso, 586 F. App'x at 607 (quoting
                                                                    Watson, 551 U.S. at 153, 127 S. Ct. at 2308).

11 Citing  two out-of-circuit cases, Freiberg v. Swinerton &        The additional need for a "causal connection" between
Walberg Property Services, Inc., 245 F. Supp. 2d 1144, 1152         the charged conduct and the purported official action is
n.6 (D. Colo. 2002), and Weese v. Union Carbide Corp., No.          satisfied if "the act that is the subject of [the p]laintiffs'
07-CV-0581, 2007 U.S. Dist. LEXIS 73970, 2007 WL                    attack . . . occurred while [d]efendants were performing
2908014, at *3 (S.D. Ill. Oct. 3, 2007), Plaintiffs contend that
                                                                    their official duties." Isaacson, 517 F.3d at 137-38
the statute must be read narrowly when the liability of private
                                                                    (citations omitted) (emphasis in original). "'Critical under
companies, rather than that of the U.S. Government or its
                                                                    the statute is to what extent defendants acted under
agencies or officers, is at stake. (Pl.s' Br. at 5.) However, the
Second Circuit drew no such distinction when discussing the         federal direction at the time they were engaged in
statute's application to private chemical companies in              conduct now being sued upon.'" Veneruso, 586 F. App'x
Isaacson, 517 F.3d at 136 (noting that "the statute as a whole
must be liberally construed"), nor did the Supreme Court when
discussing its applicability to a private cigarette manufacturer    12 InIsaacson, the Second Circuit noted that the statutory
in Watson, 551 U.S. at 147, 127 S. Ct. at 2304-05 (noting that      requirement that the defendants' actions were taken "'under
the Supreme Court "has made clear that the statute must be          color of [federal] office'" "has come to be known as the
'liberally construed.'"). The Court declines to adopt a narrow      causation requirement." Isaacson, 517 F.3d at 137 (quoting 28
reading of the statute here.                                        U.S.C. § 1442(a)(1)) (alteration in original) (citation omitted).

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at 607 (quoting In re MTBE Prods. Liab. Litig., 488 F.3d             Defendants, the Government would have had to
at 124-25). The Court must "credit [d]efendants' theory              produce itself." Id. at 137. The defendants "received
of the case" in resolving this inquiry. Isaacson, 517 F.3d           delegated authority" and had a "special relationship"
at 137 (citing Acker, 527 U.S. at 432, 119 S. Ct. at                 with the government; they were not merely "regulated by
2075). Several cases illustrate these principles.                    federal law." Id. Additionally, the Second Circuit found
                                                                     that the statute's causation requirement was met
In Watson, the Supreme Court held that the defendant                 because the defendants' production of the toxic
Philip Morris Companies did not properly effect removal              chemical dioxin "occurred because of what they were
under the statute because it was not "acting                         asked to do by the Government." Id. at 137-38
under" [*22] a federal officer or agency when                        (emphasis in original). Specifically, under the
advertising and testing its cigarettes pursuant to the               defendants' theory of the case, the government dictated
Federal Trade Commission's ("FTC") detailed rules and                Agent Orange's method of formulation and knew that it
regulations. Watson, 551 U.S. at 157, 127 S. Ct. at                  contained dioxin, so the production of dioxin "naturally
2310. Distinguishing private contractors that assist the             would have occurred during the performance of these
government from entities subject to detailed regulation,             government-specified duties." Id.
the Supreme Court explained:
                                                                     Similarly, in Gordon, Judge Bianco of this [*24] Court
     [A] private contractor . . . is helping the Government          denied the plaintiff's motion to remand a case removed
     to produce an item that it needs. The assistance                pursuant to 28 U.S.C. § 1442(a)(1). Gordon, 990 F.
     that private contractors provide federal officers               Supp. 2d at 314. Judge Bianco found that defendants,
     goes beyond simple compliance with the law and                  manufacturers of asbestos-containing products used
     helps officers fulfill other basic governmental tasks.          aboard U.S. Navy vessels, were "acting under" a federal
     In the context of Winters,13 for example, Dow                   officer in building "Navy ship components that are of the
     Chemical fulfilled the terms of a contractual                   same necessary character [as the Agent Orange in
     agreement by providing the Government with a                    Isaacson], especially when considering the vital role of
     product that it used to help conduct a war.                     warships in our nation's defense." Id. at 317. The Court
     Moreover, at least arguably, Dow performed a job                found there to be colorable evidence that the
     that, in the absence of a contract with a private firm,         defendants acted under the U.S. Navy "by working
     the Government itself would have had to perform.                hand-in-hand with naval authorities to ensure
                                                                     compliance with exacting technical demands." Id.
Id. at 153-54, 127 S. Ct. at 2308. The Supreme Court                 Further, Judge Bianco held that by introducing evidence
concluded that Philip Morris' compliance with FTC's                  that they "made their products because the Navy agreed
detailed regulations did not establish the "special                  to procure them," the defendants cleared the low hurdle
relationship" required by the "acting under" prong. Id. at           erected by the causation requirement. Id. at 318.
157, S. Ct. at 2310 (emphasis in original).
                                                                     Here, for purposes of Plaintiffs' motion to remand, there
In Isaacson, the Second Circuit affirmed the district
                                                                     is evidence that Manufacturing Defendants were "acting
court's denial of plaintiffs' motion to remand after the
                                                                     under" the DoD when producing Mil-Spec AFFF. First,
defendants--chemical [*23] companies that contracted
                                                                     an NRL document shows that the government asked the
with the United States to manufacture Agent Orange for
                                                                     chemical industry to help it produce and improve AFFF,
military use in the Vietnam War--removed the case
                                                                     specifically,    by    "synthesiz[ing]  the    fluorinated
pursuant to the federal officer removal statute. Isaacson,
                                                                     intermediates" in the products. (NRL Mem. Report
517 F.3d at 133. Distinguishing Watson, the Isaacson
                                                                     at [*25] 37 ("Although NRL was responsible for the
Court found that defendants were "acting under" a
                                                                     original concepts and formulations, it was necessary to
federal officer when they "contracted with the
                                                                     elicit the aid of the chemical industry to synthesize the
Government to provide a product that the Government
                                                                     fluorinated intermediates and agents to achieve
was using during war--a product that, in the absence of
                                                                     improvements in formulations. . . . 3M [ ] contributed
                                                                     considerably to the success of the development of
                                                                     AFFF.").) A firm that helps the government develop a
13 In Winters v. Diamond Shamrock Chem. Co., 149 F.3d 387
                                                                     product at the government's request does more than
                                                                     "simply comply[ ] with the law." Cf. Watson, 551 U.S. at
(5th Cir. 1998), the Fifth Circuit held that private manufacturers
of Agent Orange were entitled to removal under the federal           152-53, 127 S. Ct. at 2307-08 (emphasis in original).
officer removal statute. Id. at 396-401.

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Second, AFFF is a "mission-critical" and life-saving              551 U.S. at 152, S. Ct. at 2307).
product that--like the Agent Orange in Isaacson or the
ship components in Gordon--"the Government would                  Additionally, there is evidence of a "causal connection"
have had to produce itself" in the absence of private             between the use of PFCs in AFFF and [*27] the design
contractors. See Isaacson, 517 F.3d at 137; Gordon,               and manufacture of AFFF for the government. See
990 F. Supp. 2d at 317; (Nov. 2017 DoD Report to                  Isaacson, 517 F.3d at 137-38. To satisfy the causation
Congress, Fleming Decl. Ex. D-5, Docket Entry 22-6, at            requirement, Manufacturing Defendants need only show
1 (describing AFFF as a "mission critical product [that]          that the conduct at issue occurred during their
saves lives and protects assets"); Oct. 2009 NRL Press            performance of the government-directed action, even if
Release at 3 ("Following the destructive fires aboard the         the government did not call for the complained-of act.
USS Forrestal and USS Enterprise, the Navy pursued                See id. ("[E]ven if Plaintiffs were to prove that the dioxin
new firefighting agents. NRL responded to this need by            contamination occurred because of an act not
developing AFFF. In the military, AFFF is now on all              specifically contemplated by the government contract, it
Navy ships and submarines, and is used by all branches            is enough that the contracts gave rise to the
of the U.S. armed forces and NATO [*26] members.");               contamination."). Despite Plaintiffs' argument to the
NRL Mem. Report at 37 (describing the development of              contrary, Manufacturing Defendants need not show that
AFFF as "one of the most far-reaching benefits to                 there is a "link between the Defendants choosing PFOA
worldwide aviation safety")). Through contracts with the          and PFOS as their preferred fluorinated surfactant, of
government, Manufacturing Defendants formulated,                  which there are thousands, in their AFFF and any
produced, and supplied these essential AFFF products              federal officer ordering those chemicals to be added."
to the military. See Isaacson, 517 F.3d at 137; (Compl. ¶         (Pl.s' Br. at 9.) Crediting Manufacturing Defendants'
215 (alleging that Manufacturing Defendants "regularly            theory of the case, the use of PFCs "occurred because
contract with . . . the DOD, the [U.S. Air Force], specific       of what they were asked to do by the Government"--to
installations, and/or third-party logistic intermediaries, to     design and manufacture Mil-Spec AFFF products--and
sell and deliver AFFF to bases throughout the country,            that is enough regardless of whether the Mil-Spec or
including to Gabreski"); MIL-PRF-24385F(SH) § 6.4                 any contract called for the use of PFCs. See Isaacson,
("[M]anufacturers are urged to arrange to have the                517 F.3d at 137-38 (emphasis in original) (citations
products that they propose to offer to the Federal                omitted).
Government tested for qualification in order that they            B. Colorable Federal [*28] Defense
may be eligible to be awarded contracts or orders for
the products covered by this specification."). Thus,              Having found that the "acting under" and causation
Manufacturing Defendants "'assist[ed]' and 'help[ed]              requirements are satisfied, the Court turns to the
carry out[ ] the duties or tasks of' officers at the" DoD         remaining prong of the federal officer removal statute,
and "had the 'special relationship' with the Government           whether Manufacturing Defendants have raised a
required by the 'acting under' prong."14 See Isaacson,            colorable federal defense. At this stage of the litigation,
517 F.3d at 137 (alterations in original) (quoting Watson,        Manufacturing Defendants need only show that their
                                                                  defense is "colorable." Willingham, 395 U.S. at 406-07,
                                                                  89 S. Ct. at 1816. "Because a core purpose of the
14 Plaintiffs also maintain that since Manufacturing Defendants
                                                                  statute is to let the 'validity of the [federal] defense' be
"were free to develop their own products with their own           'tried in federal court,' a defendant seeking removal
chemical manufacturing specifications, utilizing whatever         need not 'virtually . . . win his case,' nor must his
chemicals and ingredients it or they desired," they were not      defense even be 'clearly sustainable' on the facts."
"acting under" a federal officer when manufacturing Mil-Spec
                                                                  Cuomo v. Crane Co., 771 F.3d 113, 115-16 (2d Cir.
AFFF products. (Pl.s' Br. at 8.) Additionally, they argue that
                                                                  2014) (internal citations omitted) (alterations in original).
Mil-Spec AFFF is a "stock" or "off-the-shelf" product that
                                                                  "[T]he district court's role . . . is not to resolve whether
cannot have been made "under" a federal officer for purposes
of the federal officer removal statute. (Pl.s' Br. at 8-9.) The   the defendant has established the federal [ ] defense or
Court addresses these arguments infra, within the context of      to resolve factual disputes, but only to ensure the
whether Manufacturing Defendants have asserted a colorable        existence of some competent evidence supporting a
federal defense. See Albrecht, 2011 U.S. Dist. LEXIS 125100,      'colorable' federal defense." Id. at 117. Like the
2011 WL 5109532, at *5 ("The acting under and causal              threshold for asserting a colorable defense at this stage,
connection prongs of § 1442 . . . often turn on much of the       Manufacturing Defendants' burdens of production and
same evidence as the colorable federal defense prong.")           persuasion are low. Id.; Gordon, 990 F. Supp. 2d at 318.
(citations omitted).

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Here, Manufacturing Defendants intend to assert the            exercises adequate discretion over the contract
government contractor defense, which was recognized            specifications to invoke the defense if it independently
by the Supreme Court in Boyle v. United Techs. Corp.,          and meaningfully reviews the specifications." See id. at
487 U.S. 500, 108 S. Ct. 2510, 101 L. Ed. 2d 442               91 (citing Harduvel v. Gen. Dynamics Corp., 878 F.2d
(1988). This defense [*29] provides that a contractor          1311, 1320 (11th Cir. 1989) (citations omitted)).
may not be held liable under state law for design defects      Similarly, the Eleventh Circuit has held that the
in equipment produced for the government "when: (1)            requirement is satisfied where "the contractor
the United States approved reasonably precise                  incorporated government performance specifications
specifications; (2) the equipment conformed to those           into a design that the government subsequently
specifications; and (3) the supplier warned the United         reviewed and approved" and the design was the result
States about the dangers in the use of the equipment           of a "continuous back and forth" between the
that were known to the supplier but not to the United          government and the contractor. Harduvel, 878 F.2d at
States." Boyle, 487 U.S. at 512, 108 S. Ct. at 2518; see       1320 (citations [*31] and internal quotation marks
In re "Agent Orange" Prod. Liab. Litig., 517 F.3d 76, 88       omitted). A party may also meet this requirement by
(2d Cir. 2008). The defense overrides duties imposed by        demonstrating that the government reordered the
state law to protect "the government's discretionary           product with knowledge of the alleged design defect. In
authority over areas of significant federal interest such      re "Agent Orange" Prod. Liab. Litig., 517 F.3d at 95-96.
as military procurement." In re "Agent Orange" Prod.           Additionally, the Seventh Circuit has held that the
Liab. Litig., 517 F.3d at 90-91; Boyle, 487 U.S. at 511,       government approves reasonably precise specifications
108 S. Ct. at 2518 ("We think that the selection of the        when it, among other things, issues performance
appropriate design for military equipment to be used by        requirements that significantly constrain the contractor's
our Armed Forces is assuredly a discretionary function .       design choices. Oliver v. Oshkosh Truck Corp., 96 F.3d
. . ."); see also Gordon, 990 F. Supp. 2d at 318 (noting       992, 999 (7th Cir. 1996). However, "[w]here the
that the defense is not meant "'to protect the contractor      government 'merely rubber stamps a design, . . . or
as a contractor'") (quoting McCue v. City of New York,         where the [g]overnment merely orders a product from
521 F.3d 169, 194 (2d Cir. 2008) (internal quotation           stock without a significant interest in the alleged design
marks omitted)).                                               defect,' the government has not made a discretionary
                                                               decision in need of protection, and the defense is
1. Approval of Reasonably Precise Specifications
                                                               therefore inapplicable." In re "Agent Orange" Prod. Liab.
Key to the determination of whether the government has         Litig., 517 F.3d at 90 (alteration and ellipsis in original)
approved reasonably precise specifications is whether it       (quoting Lewis v. Babcock Indus., Inc., 985 F.2d 83, 87
"made a discretionary determination about the material         (2d Cir. 1993)).
it obtained that relates to the defective design feature at    Plaintiffs contend that the government never approved
issue" such that the government [*30] is the "'agent[ ] of
                                                               "reasonably precise specifications" since the AFFF Mil-
decision.'" In re "Agent Orange" Prod. Liab. Litig., 517
                                                               Spec sets out only "performance specifications," not
F.3d at 90-91 (quoting In re Joint E. & S. Dist. New York
                                                               "manufacturing or product specifications." (Pl.s' Br. at
Asbestos Litig., 897 F.2d 626, 630 (2d Cir. 1990)). For        11-13.) Specifically, Plaintiffs argue that though the
this requirement to be satisfied, "the government's            AFFF Mil-Spec calls for a "fluorinated surfactant," there
discretionary actions with respect to the allegedly            are thousands of such ingredients, and each
defective design and the alleged state law tort duty           manufacturer was free to choose which of them [*32] it
[must] conflict." Id. at 92-93 (emphasis removed).             would use in its AFFF formulation. (Pl.s' Br. at 11-12;
                                                               see Cheremisinoff Aff. at 4, ¶ 3.) They cite Trevino v.
Defendants may establish that the government
                                                               General Dynamics Corp., 865 F.2d 1474 (5th Cir. 1989),
approved reasonably precise specifications in several
                                                               (Pl.'s Br. at 12), for the proposition that there is no
ways short of showing that the government
                                                               government       approval    of    reasonably    precise
independently prepared them. See id. at 91 ("'[I]t is
                                                               specifications when a contractor follows general
necessary only that the government approve, rather
                                                               performance standards that leave the design at issue to
than create, the specifications. . . .'") (quoting Carley v.
                                                               the contractor's discretion and there is no meaningful
Wheeled Coach, 991 F.2d 1117, 1125, 28 V.I. 310 (3d
                                                               review of the design by the government. Id. at 1486.
Cir. 1993) (alteration and ellipsis in original)). For
instance, even if the defendants contributed significantly
                                                               For purposes of Plaintiffs' motion to remand, this
"in suggesting specifications," "[t]he government
                                                               argument fails. "Although the evidence provided by

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[Manufacturing Defendants] may ultimately prove                no role in the development of these products. For
insufficient to support its defense on the merits, the         instance, according to the 2004 Fire Fighting Foam
Court finds that [p]laintiffs overestimate the demands of      Coalition report, "[b]ecause of the quantities of
§ 1442 at this stage of the proceedings." Albrecht, 2011       flammable liquids and the unique hazard of military
U.S. Dist. LEXIS 125100, 2011 WL 5109532, at *4. That          operations, DOD agencies have always played a major
is, while a fully developed record may reveal that the         role in the development and deployment of fire fighting
Mil-Spec left all design decisions--including the selection    foams." (See Aug. 2004 Report at 5.)
of fluorocarbon surfactants other than PFCs--to
Manufacturing Defendants' discretion, or that the              Significantly, viewing the facts in the light most favorable
government merely "rubber stamped" Manufacturing               to Manufacturing Defendants, the Mil-Spec compels
Defendants' formulations, Manufacturing Defendants             manufacturers to include PFCs in their formulations,
have submitted colorable evidence to the contrary.             which is the alleged design [*35] defect at the heart of
                                                               this case. See In re "Agent Orange" Prod. Liab. Litig.,
Under the Mil-Spec, to be eligible to sell AFFF products       517 F.3d at 90 ("Defendants asserting the defense must
to the military, Manufacturing Defendants not only have        demonstrate that the government made a discretionary
to design and [*33] produce them in compliance with            determination about the material it obtained that relates
standards regarding materials, compatibility with other        to the defective design feature at issue."). For example,
AFFF formulations, and chemical, physical, and                 a 2017 GAO Report provides that the Mil-Spec calls for
performance characteristics, but also need to have their       fluorocarbon surfactants, which the U.S. Navy interprets
products tested, qualified, and placed on the QPL by the       as requiring "PFCs." (2017 GAO Report at 17 n.46.) In
DoD. (E.g., MIL-PRF-24385F(SH) §§ 3.1, 3.3-3.4, 4, 6.4         fact, the GAO Report states that "at present there is no
and Tables I, II, and III.) Similarly, Novac--Global           PFC-free firefighting foam that meets DOD's
Director of Foam Systems for Tyco or its affiliates--          performance and compatibility requirements. As a
stated in his declaration that "[t]he military sets detailed   result, the Navy has no plans to remove the requirement
specifications for [Mil-Spec AFFF] . . . products" related     for firefighting foam to contain PFCs at this time." (2017
to AFFF's "performance, . . . quality, physical properties,    GAO Report at 19.) In line with that report, the current
labeling, and content," and that DoD "has tested military      revision of the Mil-Spec expressly contemplates the use
specification AFFF products of Tyco [ ] and other              of PFOS and PFOA in AFFF, setting maximum content
military specification AFFF manufacturers." (Novac             levels for the chemicals. (MIL-PRF-24385F(SH) §§ 3.2,
Decl. ¶¶ 2-5, 10.) Novac also explains that the Mil-           3.3, 6.6, and Table I.) And according to Novac's
Spec's requirement that AFFF products on the QPL be            Declaration, to his knowledge, Mil-Spec-compliant AFFF
compatible with one another "necessarily limits the            products must contain PFCs, "including those that either
design and content" of Mil-Spec AFFF formulations.             contain or may break down to at least some level of
(Novac Decl. ¶ 8); see Oliver, 96 F.3d at 999 (finding         PFOA and/or PFOS." (Novac Decl. ¶¶ 6-8.) That the
that the Marine Corps approved reasonably precise              DoD knows of the alleged risks of PFC-based AFFF
specifications      where,     inter  alia,    performance     products [*36] but continues to purchase them supports
requirements "cabined significantly" the design feature        the position that the government approved reasonably
at issue). Additionally, a Federal Aviation Administration     precise specifications for the claimed defective design.
Report on AFFF suggests [*34] that the Mil-Spec is             See In re "Agent Orange" Prod. Liab. Litig., 517 F.3d at
more than solely a performance specification.                  95-96 (2d Cir. 2008) ("Although the [Boyle] Court used
Specifically, it provides that the AFFF Mil-Spec               the term 'reasonably precise specifications,' we think
     is a procurement specification as well as a               that . . . reordering the same product with knowledge of
     performance specification. As a result, there are         its relevant defects plays the identical role in the
     also requirements for packaging, initial qualification    defense as listing specific ingredients, processes, or the
     inspection, and quality conformance inspection.           like."); (2017 GAO Report at 19 (noting that the Navy
     Equipment designs unique to the military . . . also       currently requires PFCs but that DoD has also been
     impact on the specification requirements. . . . [The      working to address "PFOS and PFOA levels that
     Mil-Spec] addresses . . . important chemical and          exceeded EPA's health advisory levels for drinking
     physical properties as well.                              water"). Therefore, the evidence before the Court
                                                               suggests that the DoD "made a discretionary
(1994 FAA Report, Fleming Decl. Ex. D-9, Docket Entry          determination about the material it obtained"--AFFF--
22-10, at 23.) Moreover, there is evidence rebutting           "that relates to the defective design feature at issue"--
Plaintiffs' contention that the government played little or    the use of PFCs--and that as a result, DoD is the

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"'agent[ ] of decision.'" In re "Agent Orange" Prod. Liab.         majority of AFFF in the federal sector is Mil-Spec AFFF
Litig., 517 F.3d at 90-91 (quoting In re Joint E. & S. Dist.       and that "UL listed AFFFs would be in the majority in all
New York Asbestos Litig., 897 F.2d at 630).                        other use sectors." (Aug. 2004 Report at 25.) Given that
                                                                   Plaintiffs seek to hold Manufacturing Defendants
Plaintiffs also argue that Manufacturing Defendants                responsible for their use of fully fluorinated chemicals,
were simply selling "stock," "off-the-shelf" AFFF                  the differences in fluorosurfactant and fluorine content
products, and that as a result, Manufacturing                      are significant. See In re "Agent Orange" Prod. Liab.
Defendants may not avail themselves of the government              Litig., 517 F.3d at 90-91 (finding that Agent Orange was
contractor defense.15 (Pl.s' Br. at 13.) According to              not a "stock" product even though it incorporated
Plaintiffs, Manufacturing Defendants used [*37] the                commercially available elements because the finished
same formulation for products sold to private companies            product was the result of government discretion,
and the DoD. (Pl.s' Br. at 9.) Plaintiffs also highlight the       evidenced in part by higher concentration of chemical at
Cheremisinoff     Affidavit,   which       provides     that       issue).
approximately fifty-five percent of AFFF products that
contained fluorinated surfactants were sold to agencies            Second, that Manufacturing Defendants may have sold
outside of the federal government. (Pl.s' Br. at 13;               Mil-Spec AFFF to non-federal agencies is not
Cheremisinoff Aff. at 6 ¶ 11.)                                     determinative; the critical question is whether the
                                                                   government exercised discretion with respect to the
"If the government buys a product 'off-the-shelf'--'as-is'--       allegedly defective [*39] design element. See id. at 90.
the seller of that product cannot be heard to assert that          Viewing the facts in the light most favorable to
it is protected from the tort-law consequences of the              Manufacturing Defendants, the government required the
product's defects." In re "Agent Orange" Prod. Liab.               use of PFCs in Mil-Spec AFFF products, which are
Litig., 517 F.3d at 90. However, that a government-                commercialized only after qualification and approval for
procured product incorporates commercially available               listing on the QPL. (E.g., MIL-PRF-24385F(SH) §§ 3.1,
elements "says nothing about whether the finished                  3.2.) Because the government contractor defense
product resulted from the exercise of governmental                 "protects government contractors from the specter of
discretion as to its design." Id.                                  liability when the operation of state tort law would
                                                                   significantly conflict with the government's contracting
At this stage of the litigation, there is colorable evidence       interest," it follows that PFC-based AFFF sold to the
that Mil-Spec AFFF is not a stock product. First, the              government pursuant to the Mil-Spec fits within the
allegations and evidence suggest that AFFF produced                defense even if it is also later sold to non-governmental
for commercial purposes is not identical to that                   entities. See In re "Agent Orange" Prod. Liab. Litig., 517
produced pursuant to the Mil-Spec. Plaintiffs' Complaint           F.3d at 88 (citing Boyle, 487 U.S. at 507, 108 S. Ct. at
distinguishes between the two: "Unlike commercial                  2515-16); Boyle, 487 U.S. at 509, 108 S. Ct. at 2517
AFFF formulations, AFFF sold to the United States                  ("Here the state-imposed duty of care that is the
military must conform to the military-specific [*38]               asserted basis of the contractor's liability . . . is precisely
performance and quality control measurements as                    contrary to the duty imposed by the Government
prescribed by the military specification ('Mil-Spec') Mil-F-       contract . . . ."). Concerns over interference with the
24385." (Compl. ¶ 157.) Additionally, according to                 government's ability to contract for products it needs
evidence submitted by Manufacturing Defendants, Mil-               remain even if private parties later purchase those
Spec AFFF generally "contain[s] more fluorosurfactant              products. The examples of stock products that Plaintiffs
and more fluorine than [non-Mil-Spec] UL agents." (Aug.            cite in support of their argument--readily available
2004 Report at 2.) Further, there is evidence that the             helicopters ordered by the military "by model number,"
                                                                   Boyle, 487 U.S. at 509, 108 S. Ct. at 2517, and ordinary
                                                                   toothpaste in its [*40] usual commercial packaging sold
15 While Plaintiffs raise this argument within the context of      to the government, In re "Agent Orange" Prod. Liab.
whether Manufacturing Defendants have complied with                Litig., 304 F. Supp. 2d 404, 434 (E.D.N.Y. 2004), aff'd
reasonably precise specifications, the Court addresses it as       sub nom. In re "Agent Orange" Prod. Liab. Litig., 517
part of whether the government has approved such                   F.3d 76 (2d Cir. 2008)--do not compel a different result:
specifications. See In re "Agent Orange" Prod. Liab. Litig., 517
                                                                   Both examples contemplate the government's
F.3d at 90-91 (holding that use of commercially available
                                                                   procurement of a product that already existed, the
components in Agent Orange did not preclude conclusion that
                                                                   design of which the government did not influence. (See
the government approved reasonably precise specifications
for it).                                                           Pl.s' Br. at 13.)

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In sum, there is colorable evidence that Manufacturing        Novac Decl. ¶ 10 ("I am aware that the [DoD] has tested
Defendants' Mil-Spec AFFF is not a stock product and          [Mil-Spec] AFFF products of Tyco [ ] and other [Mil-
that the government approved reasonably precise               Spec] AFFF manufacturers, including with regard to
specifications requiring them to use PFCs, including          among other things, PFOA and/or PFOS content and
PFOS and PFOA, in their products. Because Plaintiffs          levels.").) Thus, the evidence suggests that the
allege that the inclusion of these chemicals in AFFF          government "would not have accepted [their products]
violates state law and the government views AFFF as           had [they] not conformed to th[e] specifications." See
essential to its military mission, the precise conflict       Cuomo, 771 F.3d at 117.
contemplated by the government contractor defense
                                                              3. Warning the Government of Unknown Dangers
exists:
                                                              Defendants can satisfy the third government contractor
    The first Boyle requirement is designed to ensure
                                                              defense requirement—that they warned the government
    that "a conflict with state law exists." We have
                                                              of unknown dangers--by showing either that (1) they
    observed that, therefore, "answering the question
                                                              informed the government of known, relevant dangers
    whether the [g]overnment approved reasonably
                                                              that are "'substantial enough to influence the military
    precise specifications for the design feature in
                                                              decision' made," or (2) they did not need to warn the
    question necessarily answers the question whether
                                                              government because it was already aware of the
    the federal contract conflicts with state law." If such
                                                              information, In re "Agent Orange" Prod. Liab. Litig., 517
    specifications are present, the contractor's federal
                                                              F.3d at 99 (quoting In re "Agent Orange" Prod. Liab.
    contractual duties will inevitably [*41] conflict with
                                                              Litig. MDL No. 381, 818 F.2d 187, 193 (2d Cir. 1987))
    alleged state tort duties to the contrary because
                                                              (citation omitted).
    complying with the federal contract will prevent
    compliance with state tort law as the plaintiffs have
                                                              Plaintiffs argue that "[Manufacturing] Defendants did not
    alleged that it exists.
                                                              inform the DOD that purchased their products of their
                                                              understanding [*43] of the contaminating nature of their
In re "Agent Orange" Prod. Liab. Litig., 517 F.3d at 93
                                                              surfactant ingredients (PFOA and PFOS), extreme
(internal citations omitted) (alterations in original); see
                                                              solubility, persistence in the environment, mobility
also id. at 96-97 ("[T]he federal interest implicated by
                                                              through soil, and mobility through groundwater." (Pl.s'
the lawsuits here is . . . the ability to pursue American
                                                              Br. at 14.) Moreover, they maintain that "[Manufacturing]
military objectives--in this case, protection of American
                                                              Defendants took affirmative steps to mislead the DOD
troops against hostile fire."). Thus, at this stage of the
                                                              and ignore the risks created from the normal handling
litigation, sufficient evidence supports that the
                                                              and use of their products." (Pl.s' Br. at 15.) Specifically,
government approved reasonably precise specifications
                                                              Plaintiffs aver that since as early as the 1960s, 3M and
for Manufacturing Defendants' AFFF products.
                                                              Tyco concealed or failed to inform the government of
2. Compliance with Specifications                             the known dangers of their PFC-based AFFF products.
                                                              (See Compl. ¶¶ 173-79; Cheremisinoff Aff. at 9-14, ¶¶ 1-
There is also colorable evidence supporting the second        24.)
requirement of the government contractor defense--that
Manufacturing Defendants' AFFF products conformed to          In response, Manufacturing Defendants contend that
the government's reasonably precise specifications.           they submitted colorable evidence supporting the fact
They submitted evidence that pursuant to the Mil-Spec,        that "[t]he United States has long understood that AFFF
the government inspected and approved their AFFF              may contain or break down into PFOS and/or PFOA,
formulations for listing on the QPL. (See, e.g., MIL-PRF-     that AFFF constituents can migrate through the soil and
24385F(SH) §§ 3.1, 6.4; Mil-F-24385 QPL/QPD History           potentially reach groundwater, and that this may raise
for Type 3 AFFF, Fleming Decl. Ex. D-3, Docket Entry          environmental or health issues." (Mfg. Def.s' Opp. at
22-4 (listing Manufacturing Defendants' AFFF products         20.) In support, they point to seven government
on QPL); Mil-F-24385 QPL/QPD [*42] History for Type           documents prepared between 1980 and 2002, which
6 AFFF, Fleming Decl. Ex. D-4, Docket Entry 22-5              suggest that the government was aware of various risks
(same); Compl. ¶ 159 (alleging that Manufacturing             posed by PFC-containing AFFF. (Mfg. Def.s' Opp. at 20-
Defendants "were all on the DOD [QPL] as                      22.)
manufacturers certified to sell AFFF under Mil-F-24385
at various times from 1976 through 2017"); see also           Plaintiffs point out that while Manufacturing [*44]
                                                              Defendants were able to find instances, beginning in

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1980,      where   the   government        acknowledged              colorable evidence sufficient to support its government
environmental    issues      with      AFFF     products,            contractor defense at this stage, which says nothing of
Manufacturing Defendants began selling AFFF to the                   whether the defense will succeed. See Cuomo, 771
government in 1967. (Pl.s' Reply at 4.) Thus, they                   F.3d at 117.
argue, the evidence shows that Manufacturing
                                                                     II. Manufacturing Defendants' Motion for Leave to File a
Defendants should have warned the government prior to
                                                                     Sur-Reply
1980. (See Pl.s' Reply at 4.) However, Manufacturing
Defendants note that Plaintiffs' allegations concern only            In light of the resolution of Plaintiffs' motion to remand,
a subset of Manufacturing Defendants. (Mfg. Def.s' Opp.              Manufacturing Defendants' motion for leave to file a sur-
at 22-24.) They underscore the fact that Chemguard's                 reply is DENIED AS MOOT. In any event, the Court
AFFF products were first listed on an AFFF QPL in                    notes that Manufacturing Defendants' proposed sur-
1998. (Mfg. Def.s' Opp. at 24; Mil-F-24385 QPL/QPD                   reply is an unhelpful rehash of the arguments in their
History for Type 3 AFFF.) Therefore, Manufacturing                   opposition.
Defendants contend, Chemguard was not required to
warn the government of risks known to the military since
1980. (See Mfg. Def.s' Opp. at 20-24; Oct. 1980 Report               CONCLUSION
at 1, 3, 17.)
                                                                     For the foregoing reasons, Plaintiffs' Motion to Remand
The Court agrees that there is colorable evidence that               (Docket Entry 16) and Manufacturing [*46] Defendants'
Chemguard, at least, was not required to warn the                    Motion to Leave to File Sur-Reply (Docket Entry 31) are
government of the alleged defects of PFC-based AFFF                  DENIED. Defendants shall answer or otherwise respond
products. Specifically, evidence suggests that the DoD               to the Complaint within thirty (30) days of the date of this
was aware of PFCs' potential hazards before                          Memorandum and Order. Pursuant to the Court's July
Chemguard began selling AFFF to the government, and                  30, 2018 Electronic Order, should Defendants wish to
"the government did not need the warnings because it                 move to dismiss the Complaint, they are not required to
already possessed the information." (Mfg. Def.s' Opp. at             submit pre-motion conference requests, but may file
20-24); see In re "Agent Orange" Prod. Liab. Litig., 517             their motions within the thirty-day (30) period. Plaintiffs'
F.3d at 99; see also [*45] Gordon, 990 F. Supp. 2d at                opposition shall be filed within thirty (30) days thereafter,
319 (citations omitted) ("Where the government has an                and Defendants shall have fourteen (14) days from the
informational advantage, Boyle's third prong does not                date of the opposition to file reply briefs.
require evidence that defendants warned the
government."). Thus, Manufacturing Defendants have                   SO ORDERED.
supported this requirement with evidence sufficient to
                                                                     /s/ JOANNA SEYBERT
prevent remand. See Richard Breaux Gulf Stream
Coach, Inc., No. 08-CV-0893, 2009 U.S. Dist. LEXIS                   Joanna Seybert, U.S.D.J.
6807, 2009 WL 152109, at *2 (citation omitted) (E.D. La.
Jan. 21, 2009) ("The federal officer removal statute                 Dated: September 30, 2018
confers jurisdiction only if at least one of the
[d]efendants" satisfies its requirements.); see also                 Central Islip, New York
Albrecht, 2011 U.S. Dist. LEXIS 125100, 2011 WL
5109532, at *3.
                                                                       End of Document
In light of the foregoing, Plaintiff's motion to remand is
DENIED.16       However,     the      Court   notes   that
Manufacturing Defendants have merely provided



16 In light of Magistrate Judge Anne Y. Shields' September 12,

2018 Electronic Scheduling Order, which provides that "all
discovery will go forward in its entirety," (see, Sept. 2018 Elec.
Sched. Order), the Court declines Plaintiffs' alternative request
for "a short period of discovery limited to the issue of the
government contractor defense," (see Pl.'s Br. at 17).

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                                    Connecticut v. Exxon Mobil Corp.
                                 United States District Court for the District of Connecticut
                                        June 2, 2021, Decided; June 2, 2021, Filed
                                           CIVIL CASE NO. 3:20-cv-1555 (JCH)

Reporter
2021 U.S. Dist. LEXIS 111334 *; 51 ELR 20098; 2021 WL 2389739

STATE OF CONNECTICUT, Plaintiff, v. EXXON MOBIL
CORPORATION, Defendant.

Subsequent History: Affirmed by Connecticut v. Exxon
                                                                    Civil Procedure > ... > Removal > Specific Cases
Mobil Corp., 83 F.4th 122, 2023 U.S. App. LEXIS 25513
                                                                    Removed > Federal Questions
(2d Cir. Conn., Sept. 27, 2023)
                                                                    Evidence > Burdens of Proof > Allocation
Core Terms
                                                                HN1[ ]    Specific       Cases     Removed,      Federal
removal, federal common law, preemption, fossil, fuels,         Questions
federal court, federal law, well-pleaded, courts,
deceptive, federal issue, consumers, argues, state              The federal removal statute permits removal of any civil
claims, cases, cause of action, state law, federal statute,     action that includes a claim arising under the
climate, costs, court concludes, district court, federal        Constitution, laws, or treaties of the United States. 28
enclaves, unfair practice, decisions, parties, Notice,          U.S.C.S. § 1441(c). Defendants bear the burden of
doctrine of preemption, federal jurisdiction, consumer          proving that removal is proper. The right of removal is
protection                                                      entirely a creature of statute and a suit commenced in
                                                                state court must remain there until cause is shown for its
Case Summary                                                    transfer under some act of the United States Congress.


Overview
                                                                    Civil Procedure > ... > Removal > Specific Cases
HOLDINGS: [1]-In an unfair trade practices suit brought             Removed > Diversity of Citizenship
by the State of Connecticut against an oil company,
                                                                    Civil Procedure > ... > Subject Matter
Connecticut's motion to remand was granted because it
                                                                    Jurisdiction > Federal Questions > Well Pleaded
only asserted claims under the Connecticut Unfair Trade
                                                                    Complaint Rule
Practices Act (CUTPA), Conn. Gen. Stat. § 42-110b,
and the court had no power to rewrite the complaint to
                                                                    Civil Procedure > ... > Removal > Elements for
substitute other claims other than those asserted under
                                                                    Removal > Removability
CUTPA; [2]-Ultimately, the court found that
Connecticut's claims did not necessarily raise a federal
                                                                    Civil Procedure > ... > Removal > Specific Cases
issue.
                                                                    Removed > Federal Questions
Outcome
                                                                    Civil Procedure > ... > Diversity
Connecticut's motion to remand granted; Connecticut's
                                                                    Jurisdiction > Citizenship > Individuals
request for costs and fees denied.
                                                                HN2[ ] Specific Cases Removed, Diversity of
LexisNexis® Headnotes                                           Citizenship

                                                                28 U.S.C.S. § 1441(a) authorizes removal of a civil

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action brought in a State court of which the district              Torts > Business Torts > Unfair Business
courts of the United States have original jurisdiction. 28         Practices > Elements
U.S.C.S. § 1441(a). The Supreme Court has described
this provision as limiting removal to state-court actions          Antitrust & Trade Law > Consumer
that originally could have been filed in federal court.            Protection > Deceptive & Unfair Trade
Thus, according to the Court, in the absence of diversity          Practices > State Regulation
jurisdiction federal jurisdiction exists only when a federal
question is presented on the face of the plaintiff's               Antitrust & Trade Law > ... > Trade Practices &
properly pleaded complaint. This rule is known as the              Unfair Competition > State Regulation > Scope
well-pleaded complaint rule.
                                                               HN4[     ] State Regulation, Claims

                                                               A deceptive practice claim under the Connecticut Unfair
    Civil Procedure > ... > Removal > Specific Cases           Trade Practices Act, Conn. Gen. Stat. § 42-110b,
    Removed > Federal Questions                                requires a plaintiff to allege (1) a representation,
                                                               omission, or other practice likely to mislead consumers;
    Civil Procedure > ... > Subject Matter                     (2) that is interpreted reasonably under the
    Jurisdiction > Federal Questions > Well Pleaded            circumstances by a consumer; (3) and that is material,
    Complaint Rule                                             i.e., likely to affect consumer decisions or conduct.
                                                               Under this approach, a plaintiff must allege that a
    Civil Procedure > ... > Removal > Elements for
                                                               practice (1) offends public policy as it has been
    Removal > Removability
                                                               established by statutes, the common law, or otherwise;
                                                               (2) is immoral, unethical, oppressive, or unscrupulous:
    Civil Procedure > ... > Removal > Elements for
                                                               (3) or causes substantial injury to consumers. As the
    Removal > Federal Venue
                                                               Connecticut Supreme Court has explained, a practice
                                                               may be unfair because of the degree to which it meets
HN3[ ]    Specific       Cases      Removed,       Federal
                                                               one of these criteria or because to a lesser extent it
Questions
                                                               meets all three.
As the United States Supreme Court has explained, it is
settled law that a case may not be removed to federal
court on the basis of a federal defense, including the             Civil Procedure > ... > Federal & State
defense of pre-emption, even if the defense is                     Interrelationships > Federal Common
anticipated by the plaintiff's complaint, and even if both         Law > Preemption
parties concede that the federal defense is the only
question truly at issue. Thus, unless a defendant can              Constitutional Law > Supremacy Clause > Federal
show that a recognized exception to the well-pleaded               Preemption
complaint rule applies, a defendant's argument that a
case involves an issue of federal law--even a dispositive          Civil Procedure > ... > Subject Matter
issue of federal law--is not sufficient to remove a case           Jurisdiction > Federal Questions > Well Pleaded
under 28 U.S.C.S. § 1441(a). Second, it also well                  Complaint Rule
settled that the well-pleaded complaint rule makes the
plaintiff the master of the claim. This principle is no mere   HN5[     ] Federal Common Law, Preemption
abstraction: the Supreme Court has expressly observed
that a plaintiff may avoid federal jurisdiction by exclusive   Under the complete pre-emption doctrine, the
reliance on state law. In other words, section 1441(a)         preemptive force of a federal statute can be so
afford plaintiffs a degree of strategic control over           extraordinary that it converts an ordinary state common-
whether a case will be litigated in state or federal court.    law complaint into one stating a federal claim for
                                                               purposes of the well-pleaded complaint rule. In other
                                                               words, once an area of state law has been completely
                                                               pre-empted, any claim purportedly based on that
    Antitrust & Trade Law > ... > Trade Practices &            preempted state law is considered, from its inception, a
    Unfair Competition > State Regulation > Claims             federal claim, and therefore arises under federal law.


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                                                                 The well-pleaded complaint rule does in fact exist.
                                                                 Through this rule, the United States Supreme Court has
    Civil Procedure > ... > Federal & State                      given substantial weight to the principle that the plaintiff
    Interrelationships > Federal Common                          is the master of the claim.
    Law > Applicability

    Civil Procedure > ... > Subject Matter
                                                                     Civil Procedure > ... > Federal & State
    Jurisdiction > Federal Questions > Well Pleaded
                                                                     Interrelationships > Federal Common
    Complaint Rule
                                                                     Law > Preemption
HN6[    ] Federal Common Law, Applicability
                                                                     Constitutional Law > Supremacy Clause > Federal
In Sam L. Majors Jewelers v. ABX, Inc., the Fifth Circuit            Preemption
states that, notwithstanding the well-pleaded complaint
                                                                     Civil Procedure > ... > Jurisdiction on
rule, removal is proper if a cause of action arises under
                                                                     Certiorari > Considerations Governing
federal common law principles.
                                                                     Review > State Court Decisions

                                                                     Civil Procedure > ... > Subject Matter
    Civil Procedure > ... > Subject Matter                           Jurisdiction > Federal Questions > Well Pleaded
    Jurisdiction > Federal Questions > Well Pleaded                  Complaint Rule
    Complaint Rule
                                                                 HN9[     ] Federal Common Law, Preemption
    Constitutional Law > Supremacy Clause > Federal
    Preemption                                                   Given the availability of a petition for a writ of certiorari
                                                                 from a state court of last resort, a defendant's ability to
HN7[    ] Federal Questions, Well Pleaded Complaint              have a federal defense reviewed by a federal court is
Rule                                                             narrowed, but it is not extinguished. 28 U.S.C.S. §
                                                                 1257(a). The complete preemption doctrine bypasses
This power of federal courts to convert a claim pleaded          this arrangement, but only when the pre-emptive force
under state law into a federal claim is the essence of the       of a federal statute is extraordinary. A different system
complete preemption exception to the well-pleaded                would be constitutionally permissible, but this court must
complaint rule. Extraordinary preemptive power is                respect and enforce the federal-state balance approved
required to convert an ordinary state common law                 by the United States Congress. Although the Supreme
complaint into one stating a federal claim for the               Court has not expressly addressed whether a defendant
purposes of the well-pleaded complaint rule. In other            may remove a case on the ground that purported state
words, the complete preemption doctrine permits courts           claims actually arise under federal common law, the
to look past a plaintiff's labeling of a claim only in limited   Supreme Court's articulation of the complete preemption
circumstances; it is a narrow exception to the general           standard suggests that the Court views congressional
rule that the plaintiff--and not the defendant or the court-     intent, in relation to the text of a specific federal statute,
-is the master of the claim.                                     as an essential prerequisite for overcoming the principle
                                                                 that a plaintiff is the master of a complaint.


    Civil
    Procedure > ... > Pleadings > Complaints > Require               Civil Procedure > ... > Removal > Specific Cases
    ments for Complaint                                              Removed > Federal Questions

    Civil Procedure > ... > Subject Matter                           Constitutional Law > Supremacy Clause > Federal
    Jurisdiction > Federal Questions > Well Pleaded                  Preemption
    Complaint Rule
                                                                     Civil Procedure > ... > Subject Matter
HN8[    ] Complaints, Requirements for Complaint                     Jurisdiction > Federal Questions > Well Pleaded
                                                                     Complaint Rule


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HN10[ ]   Specific        Cases     Removed,       Federal         s Act
Questions
                                                                   Communications Law > Federal
The United States Supreme Court in Beneficial National             Acts > Telecommunications Act > Federal
Bank v. Anderson provides the following formulation: A             Preemption
state claim may be removed to federal court in only two
circumstances--when Congress expressly so provides,                Constitutional Law > Supremacy Clause > Federal
such as in the Price-Anderson Act, or when a federal               Preemption
statute wholly displaces the state-law cause of action
through complete pre-emption. When the federal statute             Civil Procedure > ... > Federal & State
completely pre-empts the state-law cause of action, a              Interrelationships > Federal Common
claim which comes within the scope of that cause of                Law > Preemption
action, even if pleaded in terms of state law, is in reality
based on federal law.                                              Civil Procedure > ... > Subject Matter
                                                                   Jurisdiction > Federal Questions > Well Pleaded
                                                                   Complaint Rule

    Banking Law > Bank Activities > Loans > Interest on        HN12[    ]   Communications,      Telecommunications
    Loans                                                      Act

    Contracts Law > Defenses > Usury                           The Second Circuit concludes: Thus, after Metropolitan
                                                               Life, it is clear that the complete preemption doctrine
    Banking Law > ... > National Banks > Interest &            applies only where Congress has clearly manifested an
    Usury > Usury Litigation                                   intent to disallow state law claims in a particular field.
    Business & Corporate Compliance > Banking &                Given the narrow scope of the complete preemption
    Finance > National Banks > Usury Litigation                doctrine after Metropolitan Life, absent some express
                                                               statement or other clear manifestation from Congress
    Business & Corporate Compliance > Banking &
                                                               that it intends the complete preemption doctrine to
    Finance > Federal Acts > National Bank Act
                                                               apply, we believe that federal common law does not
    Banking Law > Federal Acts > National Bank Act
                                                               completely preempt state law claims in the area of
                                                               interstate telecommunications.
    Banking Law > ... > National Banks > Interest &
    Usury > Rate & Recovery of Interest

HN11[    ] Loans, Interest on Loans                                Civil Procedure > ... > Removal > Specific Cases
                                                                   Removed > Federal Questions
The National Bank Act, 12 U.S.C.S. § 85, caps the rates
of interest that banks with national operations may                Constitutional Law > Supremacy Clause > Federal
charge. 12 U.S.C.S. § 85. 12 U.S.C.S. § 86 of the                  Preemption
National Bank Act goes beyond capping interest rates.
This provision establishes a private cause of action on            Civil Procedure > ... > Federal & State
the part of any person who pays a rate of interest                 Interrelationships > Federal Common
greater than is allowed by section 85. 12 U.S.C.S. § 86.           Law > Preemption
The Supreme Court held that sections 85 and 86
together permit removal because they evidenced                 HN13[ ]   Specific       Cases     Removed,      Federal
congressional intent to supersede both the substantive         Questions
and remedial provisions of state usury laws. As a result,
there is, in short, no such thing a state-law claim of         For the purposes of removal, there is a material
usury against a national bank.                                 difference between a state claim that a federal
                                                               preemption defense unquestionably defeats and a state
                                                               claim that has been replaced by a federal cause of
                                                               action with extraordinary preemptive force: only the
    Antitrust & Trade Law > Regulated                          latter suffices for removal. The United States Supreme
    Industries > Communications > Telecommunication            Court has directed courts to scrutinize congressional

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intent and statutory text to distinguish between these            Civil Procedure > ... > Removal > Specific Cases
two situations. Federal common law provides no criteria           Removed > Federal Questions
by which a court can discern whether a federal cause of
action carries the extraordinary, degree of preemption            Civil Procedure > ... > Subject Matter
needed for removal.                                               Jurisdiction > Federal Questions > Well Pleaded
                                                                  Complaint Rule

                                                                  Civil Procedure > ... > Removal > Elements for
    Civil Procedure > ... > Subject Matter
                                                                  Removal > Removability
    Jurisdiction > Federal Questions > Well Pleaded
    Complaint Rule                                            HN16[ ]   Specific       Cases     Removed,      Federal
                                                              Questions
    Constitutional Law > Supremacy Clause > Federal
    Preemption                                                Under the so-called Grable doctrine, removal is proper if
                                                              a federal issue is embedded within a state law claim.
HN14[ ]    Federal       Questions,      Well    Pleaded
                                                              The embedded federal issue must be (1) necessarily
Complaint Rule
                                                              raised, (2) actually disputed, (3) substantial, and (4)
                                                              capable of resolution in federal court without disrupting
The United States Supreme Court has held that a mere
                                                              the federal-state balance approved by Congress. All
complete federal defense, as contrasted with complete
                                                              four of these elements must be met in order to establish
preemption, does not justify removal.
                                                              federal jurisdiction. The Second Circuit has also referred
                                                              to this doctrine as the substantial federal question
                                                              exception to the well-pleaded complaint rule.
    Civil Procedure > ... > Federal & State
    Interrelationships > Federal Common
    Law > Applicability
                                                                  Civil Procedure > ... > Removal > Specific Cases
                                                                  Removed > Federal Questions
    Civil Procedure > ... > Subject Matter
    Jurisdiction > Federal Questions > Well Pleaded
                                                                  Governments > Courts > Authority to Adjudicate
    Complaint Rule
                                                              HN17[ ]   Specific       Cases     Removed,      Federal
HN15[    ] Federal Common Law, Applicability
                                                              Questions
The strongest argument for altering this framework in
                                                              Federal jurisdiction only exists under the Grable doctrine
the context of federal common law is the principle that
                                                              if all four requirements are met.
defendants should be able to receive prompt review of
dispositive issues of federal law, but the Supreme Court
has made quite clear that the well-pleaded complaint
rule can frustrate this principle. It is settled law that a       Antitrust & Trade Law > ... > Trade Practices &
case may not be removed to federal court on the basis             Unfair Competition > State Regulation > Scope
of a federal defense, including the defense of pre-
emption, even if the defense is anticipated by the                Antitrust & Trade Law > Consumer
plaintiff's complaint, and even if both parties concede           Protection > Deceptive & Unfair Trade
that the federal defense is the only question truly at            Practices > State Regulation
issue. Thus, although the Supreme Court's decisions
pertaining to the well-pleaded complaint rule have not            Antitrust & Trade Law > Regulated
squarely addressed federal common law, the approach               Practices > Private Actions > State Regulation
it has crafted in cases involving federal statutes is
inconsistent with removal of purported state claims           HN18[ ] Trade Practices & Unfair Competition,
merely on the ground that federal common law has              State Regulation
displaced such claims.
                                                              With respect to the Connecticut Unfair Trade Practices
                                                              Act, Conn. Gen. Stat. Ann. § 42-110b(b), to be guided
                                                              by interpretations is not the same as being bound by

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them. Conn. Gen. Stat. § 42-110b(b).

                                                                  Civil Procedure > ... > Removal > Specific Cases
                                                                  Removed > Cases Involving Federal Officers
    Civil Procedure > ... > Subject Matter
    Jurisdiction > Federal Questions > Well Pleaded
                                                              HN22[ ] Specific Cases Removed, Cases Involving
    Complaint Rule
                                                              Federal Officers
HN19[ ]    Federal       Questions,      Well    Pleaded
                                                              A party must show not merely that it has acted under a
Complaint Rule
                                                              federal agency or officer but also that it performed the
                                                              actions for which it is being sued under color of federal
This court understands the artful pleading doctrine as
                                                              office. The Second Circuit has observed the hurdle
coextensive with Grable, i.e., the artful pleading doctrine
                                                              erected by this requirement is quite low: a defendant
prevents a plaintiff from avoiding Grable jurisdiction by
                                                              need not show that a plaintiff's claims are for the very
omitting, from the plaintiff's statement of a state-law
                                                              acts the defendant performed under color of federal
claim, an essential element of the claim that necessarily
                                                              office. Further, a court must credit a defendant's theory
raises a federal issue that is substantial, actually
                                                              of the case when analyzing this prong of the federal
disputed, and capable of resolution without disrupting
                                                              officer removal test. Nevertheless, under this causation
the federal-state balance approved by Congress.
                                                              requirement non-governmental corporate defendants
Compare and.
                                                              must demonstrate that the acts for which they are being
                                                              sued occurred because of what they were asked to do
                                                              by the Government. Thus, although the strength of the
    Civil Procedure > ... > Removal > Specific Cases          connection between acts performed by a defendant
    Removed > Cases Involving Federal Officers                under color of federal office and the acts for which the
                                                              defendant is sued may be quite low, the nature of this
HN20[ ] Specific Cases Removed, Cases Involving               connection must be causal.
Federal Officers

28 U.S.C.S. § 1442(a)(1) authorizes removal of cases
involving claims against any officer (or any person               Admiralty & Maritime Law > Maritime Workers'
acting under that officer) of the United States or of any         Claims > Outer Continental Shelf Lands Act
agency thereof. 28 U.S.C.S. § 1442(a)(1). In contrast to
the general removal statute, which must be strictly               Workers' Compensation & SSDI > Outer Continental
construed, both [section] 1442 and especially its acting          Shelf Lands Act
under provision must be read broadly. Private parties             Business & Corporate Compliance > Workers'
that seek removal on the basis of section 1442 must               Compensation > Outer Continental Shelf Lands Act
show that (1) they are persons within the meaning of
                                                              HN23[ ]     Maritime Workers'          Claims,     Outer
statute who acted under a federal officer, (2) they
                                                              Continental Shelf Lands Act
performed the actions for which they are being sued
under color of federal office, and (3) they raise a
                                                              In construing the meaning of 43 U.S.C.S. § 1349(b), the
colorable federal defense.
                                                              Fifth Circuit has concluded that the term operation
                                                              contemplates the doing of some physical act on the
                                                              Outer Continental Shelf.
    Civil Procedure > ... > Removal > Specific Cases
    Removed > Cases Involving Federal Officers
                                                                  Constitutional Law > Congressional Duties &
HN21[ ] Specific Cases Removed, Cases Involving
                                                                  Powers > District of Columbia & Federal Property
Federal Officers
                                                                  Copyright Law > Constitutional Copyright
The paradigmatic example of a private party that may
                                                                  Protections > Copyright Clause
avail itself of the federal officer removal statute is a
private company acting pursuant to a contract with the
                                                                  Constitutional Law > Congressional Duties &
federal government.

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    Powers > War Powers Clause                                   approach has been roundly criticized, and the whole-
                                                                 complaint approach has emerged as the majority rule.
HN24[ ] Congressional Duties & Powers, District
of Columbia & Federal Property
                                                                     Civil Procedure > Judicial
U.S. Const. art. I, § 8 authorizes the United States
                                                                     Officers > Judges > Discretionary Powers
Congress to exercise exclusive Legislation in all Cases
whatsoever over all Places purchased by the Consent of
                                                                     Civil Procedure > ... > Removal > Postremoval
the Legislature of the State in which the Same shall be,
                                                                     Remands > Motions for Remand
for the Erection of Forts, Magazines, Arsenals, dock-
yards, and other needful Buildings. U.S. Const. art. I, §
                                                                     Civil Procedure > ... > Attorney Fees &
8.
                                                                     Expenses > Basis of Recovery > Statutory Awards

                                                                 HN27[    ] Judges, Discretionary Powers
    Civil Procedure > ... > Diversity
    Jurisdiction > Citizenship > Individuals                     28 U.S.C.S. § 1447(c) provides that an order remanding
                                                                 the case may require payment of just costs and any
    Constitutional Law > ... > Jurisdiction > Subject            actual expenses, incurred as a result of the removal. 28
    Matter Jurisdiction > Amount in Controversy                  U.S.C.S. § 1447(c). Absent unusual circumstances,
                                                                 courts may award attorney's fees under section 1447(c)
    Civil Procedure > ... > Diversity                            only where the removing party lacked an objectively
    Jurisdiction > Alienage Jurisdiction > Jurisdictional        reasonable basis for seeking removal. The Supreme
    Requirements                                                 Court has instructed that, in applying this rule, district
                                                                 courts retain discretion to consider whether unusual
HN25[    ] Citizenship, Individuals                              circumstances warrant a departure from the rule in a
                                                                 given case.
28 U.S.C.S. § 1332(a)(1) vests district courts with
original jurisdiction of all civil actions where the matter in   Counsel: [*1] For Exxon Mobil Corporation, Defendant:
controversy exceeds the sum or value of $75,000,                 Justin Anderson, LEAD ATTORNEY, Paul Weiss Rifkind
exclusive of interest and costs, and is between citizens         Wharton & Garrison LLP, Washington, DC; Tadhg
of different States. 28 U.S.C.S. § 1332(a)(1). There is          Dooley, LEAD ATTORNEY, Wiggin & Dana-NH, New
no question that a State is not a citizen for purposes of        Haven, CT; Patrick J Conlon, Exxon Mobil Corportation,
diversity jurisdiction. However, courts must disregard           Spring, TX; Kevin M. Smith, LEAD ATTORNEY, Wiggin
nominal or formal parties and rest jurisdiction only upon        & Dana, New Haven, CT; Theodore V. Wells Jr, Daniel
the citizenship of real parties to the controversy.              J. Toal, LEAD ATTORNEYS, Paul Weiss Rifkind
                                                                 Wharton & Garrison LLP, New York, NY; Robert M.
                                                                 Langer, LEAD ATTORNEY, Wiggin & Dana-Htfd,
    Civil Procedure > Parties > Real Party in                    Hartford, CT.
    Interest > Subrogees                                         For State of Connecticut, by its Attorney General
                                                                 William M. Tong, Plaintiff: William Morten Tong,
HN26[    ] Real Party in Interest, Subrogees                     Matthew I. Levine, LEAD ATTORNEYS, Daniel Matthew
                                                                 Salton, Benjamin Cheney, Jonathan E Harding, CT,
Courts have developed two competing approaches for               Office of the Attorney General, Hartford, CT.
determining whether a state is a real party in interest:
the claim-by-claim approach and the whole-complaint              Judges: Janet C. Hall, United States District Judge.
approach. Courts applying the former approach analyze
whether a state is the real party in interest with respect       Opinion by: Janet C. Hall
to each type of relief sought, while courts applying the
latter approach look at the lawsuit as a whole. Although         Opinion
the Second Circuit has not definitively adopted the
whole-complaint approach, it has strongly suggested
that it prefers this approach. The claim-by claim


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RULING ON MOTION TO REMAND (DOC. NO. 36)                       167. These statements took various forms, including
                                                               advertisements, interviews, and research papers. Id. ¶¶
                                                               100-03. For example, between 1972 and 2001,
I. INTRODUCTION                                                ExxonMobil published advertisements in the New York
                                                               Times, a newspaper circulated to tens of thousands of
Plaintiff, the State of Connecticut, has moved for an          Connecticut residents, nearly every week. Id. ¶¶ 137-39.
order remanding the case to the Superior Court of              One such advertisement, published in 1984, disparaged
Connecticut and awarding costs and attorneys' fees.            a scientific theory linking fossils fuels to melting polar ice
See Pl.'s. Mot. to Remand to Superior Court and for            caps and rising sea levels as "[l]ies they tell our
Costs and Fees ("Pl.'s Mot.") (Doc. No. 36). Defendant,        children" and a "myth of the 1960s and 1970s." Id. ¶
Exxon Mobil Corporation ("ExxonMobil") opposes this            144(a). Another, published in 1997, warned readers that
Motion. See Br. of Def. in Opp'n to Pl.'s Mot. [*2] to         efforts to respond to the threat of climate change were
Remand ("Def.'s Opp'n") (Doc. No. 37). The court heard         based on "speculation" and not on "science." Id. ¶
argument in connection with the Motion on May 21,              144(h).
2021. See Min. Entry (Doc. No. 51).
                                                               B. Procedural Background
For the reasons stated below, the court grants the
Motion to Remand and denies Connecticut's request for          Connecticut, through its Office of the Attorney General,
costs and fees.                                                filed its Complaint in the Superior Court of Connecticut
                                                               on September 24, 2020. See Compl. The Complaint
                                                               asserts eight claims under the Connecticut Unfair Trade
II. BACKGROUND                                                 Practices Act ("CUTPA"). Id. at 38-43.2

A. Allegations in the Complaint                                Count [*4] One alleges that ExxonMobil made false
                                                               and/or misleading statements likely to deceive
ExxonMobil is a "multinational energy and chemicals            Connecticut consumers, in order to increase its profits,
company" incorporated in New Jersey, with its principal        in violation of section 42-110b of the Connecticut
place of business in Texas. Ex. 12, Notice of Removal          General Statutes. Id. at 36-38. Count Three alleges that
("Compl.") (Doc. 1-2 at 34-78) ¶ 47.1 ExxonMobil               ExxonMobil's statements, by "stifling [ ] an open
manufactures, transports, and sells a variety of fossil        marketplace for renewable energy, [and] thereby leaving
fuels, such as crude oil, natural gas, and petroleum           consumers unable to reasonably avoid the detrimental
products. Id. ¶¶ 53-54. ExxonMobil has sold substantial        consequences of fossil fuel combustion", contravened
quantities of fossil fuels in Connecticut, including           Connecticut's public policy and constituted an unfair
through gas stations. Id. ¶¶ 59-60.                            trade practice, also in violation of section 42-110b. Id. at
                                                               38-40. Counts Five and Seven assert that a subset of
At least as early as 1957, ExxonMobil has been aware
                                                               the statements that ExxonMobil made, which
of research indicating that the combustion of fossil fuels
                                                               Connecticut labels as "greenwashing", i.e., "deceptive [ ]
causes dangerous changes to the Earth's climate. Id. ¶¶
                                                               campaigns to portray the company as environmentally
63-95. This research includes materials created by
                                                               conscious", constituted deceptive (Count Five) and
Exxon's own employees warning that emissions
                                                               unfair (Count Seven) practices, again in violation of
attributable to fossil fuels "would cause climate
                                                               section 42-110b. Id. at 40-43. Counts Two, Four, Six,
variations including a mean temperature increase." Id.
                                                               and Eight allege that ExxonMobil's conduct was willful,
¶¶ 64, 68-70.
                                                               triggering penalties under section 42-110o. Id. at 38, 40-
In an effort to resist potential decreases in its [*3]         43. Connecticut seeks damages, disgorgement of
revenue that might result from widespread acceptance           revenues and profits, and multiple forms of injunctive
of the conclusion ExxonMobil itself understood--the            relief, including an order requiring ExxonMobil to "fund a
causal connection between the combustion of fossil             corrective education campaign to remedy the harm
fuels and climate change--ExxonMobil published                 inflicted by decades of disinformation." [*5] Id. at 44-45.
statements casting doubt on this connection. Id. ¶¶ 96-


1 The Complaint uses the label "ExxonMobil" to refer to both   2 The Complaint repeats certain paragraph numbers. The court

Exxon Mobil Corporation and its predecessor entities. Compl.   cites to page numbers in the Complaint when necessary to
¶¶ 50-51.                                                      avoid confusion.

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On October 14, 2020, ExxonMobil filed its Notice of             is an insistence that Connecticut's claims in this case,
Removal. See Notice of Removal. In addition to listing          though labeled as claims for deceptive and unfair
several grounds for removal, the Notice of Removal              practices under CUTPA, are not all that they seem. In
asserts that, "[w]hile purportedly brought under state law      effect, ExxonMobil asks the court to view Connecticut's
and in the name of consumer protection, this lawsuit . . .      claims as more akin to nuisance claims that seek to
is the latest product of a multi-year plan . . . to change      regulate emissions of pollutants through common-law
federal climate and energy policy." Id. at 1-2.                 tort liability rules.

Connecticut filed its Motion to Remand on December 2,           This request for the court to look past Connecticut's
2020.3 See Pl.'s Mot. ExxonMobil filed its Opposition on        characterization of its own Complaint is in tension with
January 18, 2021. See Def.'s Opp'n. Connecticut filed a         Supreme Court precedents concerning removal.
Reply on February 8, 2021. See Pl.'s Reply in Supp. of          HN2[ ] Section 1441(a) of title 28 authorizes removal
Mot. to Remand ("Pl.'s Reply") (Doc. No. 38). In                of a "civil action brought in [*7] a State court of which
addition, the parties have filed Notices of Additional          the district courts of the United States have original
Authority, in which they bring to the court's attention         jurisdiction." 28 U.S.C. § 1441(a). The Supreme Court
decisions by other district courts granting motions to          has described this provision as limiting removal to
remand in cases involving overlapping issues, as well           "state-court actions that originally could have been filed
as a recent decision by the Second Circuit concerning           in federal court." Caterpillar Inc. v. Williams, 482 U.S.
preemption of state nuisance claims pertaining to               386, 392, 107 S. Ct. 2425, 96 L. Ed. 2d 318 (1987).
climate change. See Notices (Docs. Nos. 39, 41, 42, 46,         Thus, according to the Court, in the" [a]bsen[ce] [of]
47).                                                            diversity [jurisdiction] . . . federal jurisdiction exists only
                                                                when a federal question is presented on the face of the
                                                                plaintiff's properly pleaded complaint." Id. This rule is
III. STANDARD OF REVIEW                                         known as the "well-pleaded complaint rule." Id.

HN1[ ] The federal removal statute permits removal of           Two aspects of the well-pleaded complaint rule have
any "civil action [that] includes . . . a claim arising under   significant implications for this case. First, it is beyond
the Constitution, [*6] laws, or treaties of the United          dispute that the well-pleaded complaint rule can prevent
States." 28 U.S.C. § 1441(c). Defendants bear the               removal of cases that involve dispositive questions of
burden of proving that removal is proper. O'Donnell v.          federal law. HN3[ ] As the Supreme Court has
AXA Equitable Life Ins. Co., 887 F.3d 124, 128 (2d Cir.         explained, "it is [ ] settled law that a case may not be
2018) (citation omitted); see Syngenta Crop Prot., Inc. v.      removed to federal court on the basis of a federal
Henson, 537 U.S. 28, 32, 123 S. Ct. 366, 154 L. Ed. 2d          defense, including the defense of pre-emption, even if
368 (2002) ("The right of removal is entirely a creature        the defense is anticipated by the plaintiff's complaint,
of statute and a suit commenced in state court must             and even if both parties concede that the federal
remain there until cause is shown for its transfer under        defense is the only question truly at issue." Id. at 393
some act of Congress." (citation and internal quotation         (citation omitted). Thus, unless a defendant can show
marks omitted)).                                                that a recognized exception to the well-pleaded [*8]
                                                                complaint rule applies, a defendant's argument that a
                                                                case involves an issue of federal law--even a dispositive
IV. DISCUSSION                                                  issue of federal law--is not sufficient to remove a case
                                                                under section 1441(a).
A. The Well-Pleaded Complaint Rule

ExxonMobil argues that removal of this case is proper,          Second, it also well settled that "[t]he well-pleaded
because "federal common law necessarily and                     complaint] rule makes the plaintiff the master of the
exclusively governs claims for interstate and                   claim." Id. at 392. This principle is no mere abstraction:
international pollution." Def.'s Opp'n at 16-17.                the Supreme Court has expressly observed that a
Underlying ExxonMobil's primary arguments for removal           plaintiff "may avoid federal jurisdiction by exclusive
                                                                reliance on state law." Id. In other words, section
                                                                1441(a) afford plaintiffs a degree of strategic control
                                                                over whether a case will be litigated in state or federal
3 ExxonMobil   filed a Motion to Dismiss for Lack of Personal
                                                                court. Such strategic considerations do not amount to
Jurisdiction on November 13, 2020. See Mot. to Dismiss (Doc.
                                                                nefarious gamesmanship; they are a direct and
No. 35). This Ruling does not address that Motion.

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recognized result of the text of section 1441(a), as                  possibility that Connecticut might have considered
interpreted by the Supreme Court.                                     including other claims, but declined to do so, permit the
                                                                      court to rewrite the Complaint to add such claims. The
With these principles in mind, the court briefly                      court is aware that other states have asserted common-
comments on the nature of Connecticut's claims, before                law nuisance and trespass claims against ExxonMobil
discussing the recognized exceptions to the well-                     and other producers of fossil fuels. See, e.g., City of
pleaded complaint rule, which are also referred to as                 New York v. Chevron, 993 F.3d 81, 88 (2d Cir. 2021).
corollaries to the rule. Connecticut's Complaint asserts              But Connecticut has not asserted such claims in this
claims for deceptive and unfair practices under CUTPA.                case. Unless one of the recognized exceptions
See Compl. at 36-43. The claims are asserted pursuant                 discussed below applies, 'the plaintiff [is] the master of
to section 42-110b of the Connecticut General Statutes,               the claim." See Caterpillar Inc., 482 U.S. at 392.
and they comprise distinct elements. HN4[ ] A
deceptive practice claim [*9] requires a plaintiff to                 1. Federal Common Law and Complete Preemption
allege (1) "a representation, omission, or other practice
likely to mislead consumers"; (2) that is interpreted                 HN5[ ] Under the "'complete pre-emption' doctrine,"
"reasonably under the circumstances" by a consumer";                  the "preemptive force of a [federal] statute" can be "so
(3) and that is material, i.e., "likely to affect consumer            'extraordinary' that it 'converts an ordinary state
decisions or conduct." Langan v. Johnson & Johnson                    common-law complaint into one stating a federal claim
                                                                      for purposes of the well-pleaded complaint rule.'"
Consumer Cos., Inc., 95 F. Supp. 3d 284, 288 (D. Conn.
                                                                      Caterpillar Inc., 482 U.S. at 393 (quoting Metro. Life Ins.
2015) (quoting Smithfield Assocs., LLC v. Tolland Bank,
                                                                      Co. v. Taylor, 481 U.S. 58, 65, 107 S. Ct. 1542, 95 L.
86 Conn. App. 14, 28, 860 A.2d 738 (2004)). With
                                                                      Ed. 2d 55 (1987)). In other words, [*11] "[o]nce an area
regard to unfair practice claims, Connecticut courts have
                                                                      of state law has been completely pre-empted, any claim
adopted the "cigarette rule" articulated by the Federal
                                                                      purportedly based on that preempted state law is
Trade Commission ("FTC"). Ulbrich v. Groth, 310 Conn.
                                                                      considered, from its inception, a federal claim, and
375, 409, 78 A.3d 76 (2013) (citation omitted). Under
                                                                      therefore arises under federal law." Id. (citing Franchise
this approach, a plaintiff must allege that a practice (1)
                                                                      Tax Bd. of Cal. v. Constr. Laborers Vacation Tr. for S.
"offends public policy as it has been established by
                                                                      Cal., 463 U.S. 1, 24, 103 S. Ct. 2841, 77 L. Ed. 2d 420
statutes, the common law, or otherwise"; (2)" is immoral,
                                                                      (1983)).
unethical, oppressive, or unscrupulous: (3) or "causes
substantial injury to consumers." Id. As the Connecticut              ExxonMobil's argument "that federal common law
Supreme Court has explained, "[a] practice may be                     necessarily and exclusively governs claims for interstate
unfair because of the degree to which it meets one of                 and international pollution", Def.'s Opp'n at 17, parallels
the[se] criteria or because to a lesser extent it meets all           the complete preemption doctrine. See Beneficial Nat'l
three." Id. (citation omitted).                                       Bank v. Anderson, 539 U.S. 1, 11, 123 S. Ct. 2058, 156
                                                                      L. Ed. 2d 1 (2003) ("Because [sections] 85 and 86
These causes of action regulate the manner by which
                                                                      provide the exclusive cause of action for such claims,
business interact with consumers. Consistent with the
                                                                      there is, in short, no such thing as a state-law claim of
nature of these claims, Connecticut's claims seek
                                                                      usury against a national bank."). However, perhaps
redress for the allegedly deceptive and unfair manner by
                                                                      recognizing that the Supreme Court has only applied
which ExxonMobil interacted with Connecticut
                                                                      complete preemption to claims arising under federal
consumers. [*10] See supra at 2-3. In short,
                                                                      statutes, and that the Second Circuit has indicated that
Connecticut alleges that ExxonMobil lied to Connecticut
                                                                      the only case in which it ever determined that federal
consumers, and that these lies affected the behavior of
those consumers.
                                                                      Conn. Gen. Stat. § 42-110m directing ExxonMobil to pay
The fact that the alleged lies were about the impacts of              restitution to the State for all expenditures attributable to
fossil fuels on the Earth's climate does not empower the              ExxonMobil that the State has made and will have to make to
court to rewrite the Complaint and substitute other                   combat the effects of climate change." See Compl. at 44. The
claims for Connecticut's CUTPA claims.4 Nor does the                  court construes this request for relief as seeking restitution
                                                                      only for expenditures attributable to ExxonMobil's allegedly
                                                                      deceptive and unfair practices in marketing its products, as
                                                                      alleged in the Complaint. Plainly, the court cannot award relief
4 During oral argument, the parties raised the broad language         corresponding with conduct that goes beyond the claims in the
of Connecticut's fifth request for of relief: "An order pursuant to   Complaint.

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common law can give rise to complete preemption is no                to look past a plaintiff's labeling of a claim only in limited
longer good law, ExxonMobil insists that its "invocation             circumstances; it is a narrow exception to the general
of federal common law . . . is not an argument for                   rule that the plaintiff--and not the defendant or the court-
complete preemption." See Def.'s Opp'n at 17 n.21                    -is "the master of the claim." See Caterpillar Inc., 482
(emphasis added). Thus, ExxonMobil's argument raises                 U.S. at 392.
the issue of whether federal common law can convert
state claims into federal claims in the same manner as               The second case relied on by ExxonMobil, Associated
complete [*12] preemption under federal statutes.                    X-Ray Corp. v. Federal Express Corp., No. 3:93-CV-
                                                                     2209 (AVC), 1994 U.S. Dist. LEXIS 21571, 1994 WL
ExxonMobil's Opposition to the Motion to Remand cites                897156 (D. Conn. July 22, 1994), observed that, "[w]hen
scant authority in support of this proposition.5 See Def.'s          federal law preempts state law, the court may allow
Opp'n at 16-18. HN6[ ] In Sam L. Majors Jewelers v.                  removal . . . even though the complaint appears to
ABX, Inc., 117 F.3d 922 (5th Cir. 1997), the Fifth Circuit           allege state law claims," and that district courts have
stated that, notwithstanding the well-pleaded complaint              "original jurisdiction over civil actions arising under
rule, removal is proper if a "cause of action arises under           federal common law." 1994 U.S. Dist. LEXIS 21571,
federal common law principles." Id. at 924. However, the             [WL] at *3. However, as in Sam L. Majors Jewelers, the
Fifth Circuit failed to identify any authority for that              court did not cite any decisions holding that federal
proposition. See id. Instead, the Fifth Circuit relied on            courts may disregard plaintiffs' characterizations of their
decisions recognizing that federal question jurisdiction             claims in cases involving federal common law. See id.
exists when a complaint filed in federal court asserts
causes of action under federal common law. See id. at                In a world without the well-pleaded complaint rule,
926 (citing Illinois v. City of Milwaukee, 406 U.S. 91,              ExxonMobil's position would be straightforward: federal
100, 92 S. Ct. 1385, 31 L. Ed. 2d 712 (1972)) (other                 courts should have jurisdiction over important issues of
citations omitted).                                                  federal law. The problem for ExxonMobil is that HN8[ ]
                                                                     the well-pleaded complaint [*14] rule does in fact exist.
Left undiscussed in Sam. L Majors Jewelers was the                   Through this rule, the Supreme Court has given
proposition, critical to ExxonMobil's argument in the                substantial weight to the principle that "the plaintiff [is]
current case, that a court may look past a complaint's               the master of the claim." Caterpillar Inc., 482 U.S. at
labeling of a claim as arising under state law, despite              392. Again, it is beyond dispute that the well-pleaded
the Supreme Court's declaration that the well-pleaded                complaint rule can prevent removal in cases that involve
complaint rule "makes the plaintiff the master of the                dispositive issues of federal law. Id. at 393. HN9[ ] In
claim." See Caterpillar Inc., 482 U.S. at 392. HN7[ ]                such cases, given the availability of a petition for a writ
This power of federal courts to "convert" a claim pleaded            of certiorari from a state court of last resort, a
under state law into a federal claim is the essence of the           defendant's ability to have a federal defense reviewed
complete preemption exception to the well-pleaded                    by a federal court is narrowed, but it is not extinguished.
complaint rule. See Metro. Life Ins. Co., 481 U.S. at 65             28 U.S.C. § 1257(a). The complete preemption doctrine
(observing that [*13] "extraordinary preemptive power"               bypasses this arrangement, but only when the "pre-
is required to "convert [ ] an ordinary state common law             emptive force of a [federal] statute . . . [is]
complaint into one stating a federal claim for the                   'extraordinary.'" Caterpillar Inc., 482 U.S. at 393. A
purposes of the well-pleaded complaint rule"). In other              different system would be constitutionally permissible,
words, the complete preemption doctrine permits courts               but this court must respect and enforce "the federal-
                                                                     state balance approved by Congress." See Gunn v.
                                                                     Minton, 568 U.S. 251, 258, 133 S. Ct. 1059, 185 L. Ed.
                                                                     2d 72 (2013).
5 The two Supreme Court decisions cited by ExxonMobil are

inapposite. In City of Milwaukee v. Illinois, 451 U.S. 304, 101      Although the Supreme Court has not expressly
S. Ct. 1784, 68 L. Ed. 2d 114 (1981), the Complaint had been         addressed whether a defendant may remove a case on
filed in federal court, id. at 310, and removal was therefore not    the ground that purported state claims actually arise
an issue. In Standard Fire Insurance Co. v. Knowles, 568 U.S.        under federal common law, the Supreme Court's
588, 133 S. Ct. 1345, 185 L. Ed. 2d 439 (2013), the Court            articulation of the complete preemption standard
addressed whether a plaintiff can evade the scope of the             suggests that the Court views congressional intent, in
Class Action Fairness Act of 2005 by stipulating that the
                                                                     relation to the text of a specific federal statute, as an
plaintiff "will not seek damages that exceed $5 million in total."
                                                                     essential [*15] prerequisite for overcoming the principle
Id. at 590.

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that a plaintiff is the master of a complaint. In             thing a state-law claim of usury against a national bank."
Metropolitan Life Insurance Co. and Caterpillar Inc., the     Id. at 11.
Supreme Court justified permitting courts to look past
plaintiffs' characterizations of claims on the ground that    The Second Circuit, for its part, once recognized federal
specific federal statutes evidenced clear congressional       common law as a basis for removal under the complete
intent to impose "extraordinary preemptive power."            preemption doctrine, but the Second Circuit later
Metro. Life Ins. Co., 481 U.S. at 65; Caterpillar Inc., 482   reconsidered this principle after the [*17] Supreme
U.S. at 393. HN10[ ] More recently, in Beneficial             Court's decision in Metropolitan Life Insurance Co. In
National Bank v. Anderson, 539 U.S. 1, 123 S. Ct. 2058,       Nordlicht v. New York Telephone Co., 799 F.2d 859 (2d
156 L. Ed. 2d 1 (2003), the Supreme Court provided the        Cir. 1986), the Second Circuit held that removal of state-
following formulation:                                        law fraud claims challenging a pricing scheme for phone
                                                              calls was appropriate, because such claims "necessarily
    [A] state claim may be removed to federal court in        ar[o]se under federal common law." Id. at 862.
    only two circumstances--when Congress expressly
    so provides, such as in the Price-Anderson Act, or        However, twelve years later, in Marcus v. AT&T Corp.,
    when a federal statute wholly displaces the state-        138 F.3d 46 (2d Cir. 1998), the Second Circuit rejected
    law cause of action through complete pre-emption.         an argument that federal common law permitted
    When the federal statute completely pre-empts the         removal      of    state-law   claims    relating     to
    state-law cause of action, a claim which comes            telecommunications, noting that the Supreme Court's
    within the scope of that cause of action, even if         decision in Metropolitan Life Insurance Co. "sharply
    pleaded in terms of state law, is in reality based on     circumscribed the availability of removal based on
    federal law.                                              complete preemption." Id. at 54. HN12[ ] The Second
                                                              Circuit concluded:
Id. at 8 (emphasis added) (internal citation omitted).
                                                                    Thus, after Metropolitan Life, it is clear that the
The Supreme Court's analysis of the particular claims at            complete preemption doctrine applies only where
issue in Beneficial National Bank is also instructive for           Congress has clearly manifested an intent to
the current dispute. In that case, the defendant sought             disallow state law claims in a particular field.
removal of state usury claims. Id. at 9. The Supreme
Court examined whether either [*16] of two sections of              Given the narrow scope of the complete preemption
the National Bank Act justified removal of the state                doctrine after Metropolitan Life, absent some
usury claims. Id. HN11[ ] The first provision at issue,             express statement or other clear manifestation from
section 85 of the National Bank Act, caps the rates of              Congress that it intends the complete preemption
interest that banks with national operations may charge.            doctrine to apply, we believe that federal common
See 12 U.S.C. § 85. The Supreme Court observed that                 law does not completely preempt state law claims
this provision "unquestionably pre-empts any common-                in the area of interstate telecommunications.
law or [state] statutory rule that would treat [ ] rates
[below the statutory limit] as usurious." Beneficial Nat'l    Id.
Bank, 539 U.S. at 9. However, because section 85
                                                              Shortly thereafter, in Fax Telecommunications Inc. v.
would merely "provide the petitioners with a complete
                                                              AT&T, 138 F.3d 479 (2d Cir. 1998), the Second Circuit
federal defense," section 85 alone "would not justify
                                                              again [*18] rejected an argument that federal common
removal." Id. (citations omitted).
                                                              law enabled removal of state claims. Id. at 486-87.
                                                              Moreover, the Second Circuit provided the following
Section 86 of the National Bank Act goes beyond
                                                              description of its holding in Marcus:
capping interest rates. This provision establishes a
private cause of action on the part of any person who               In Marcus, we reconsidered Nordlicht in light of the
pays "a rate of interest greater than is allowed by                 Supreme Court's opinion in Metropolitan Life, which
section 85." 12 U.S.C. § 86. The Supreme Court held                 limited the availability of complete preemption
that sections 85 and 86 together permit removal                     removal to "the very narrow range of cases where
because they evidenced congressional intent to                      'Congress has clearly manifested an intent' to make
"supersede both the substantive and remedial                        specific action within a particular area removable."
provisions of state usury laws." Beneficial Nat'l Bank,
539 U.S. at 9-11. As a result, "there is, in short, no such   Id. at 486 (quoting Marcus, 138 F.3d at 54). In this way,


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the Second Circuit made clear that its only decision                11. The Supreme Court has directed courts to scrutinize
squarely recognizing federal common law as a basis for              congressional intent and statutory text to distinguish
removal no longer is good law.6 Further, the Second                 between these two situations. See id. at 9 ("Only if
Circuit gave a clear indication that courts should apply            Congress intended [section] 86 to provide the exclusive
complete preemption analysis to arguments for removal               cause of action for usury claims against national banks
relating to federal common law.                                     would the statute be comparable to the provisions we
                                                                    construed in the Avco and Metropolitan Life cases.").
Here, by arguing that "federal common law necessarily               Federal common law provides no criteria by which a
and exclusively governs" Connecticut's claims, Def.'s               court can discern whether a federal cause of action
Opp'n at 17, ExxonMobil asks the court to conclude that             carries the "extraordinary", Caterpillar, 482 U.S. at 393,
there is no such thing as a CUTPA deceptive or unfair               degree of preemption needed for removal.
practice claim targeting the marketing interactions
between a seller of fossil fuels and Connecticut [*19]              HN15[ ] The strongest argument for altering this
consumers. ExxonMobil argues that "interstate and                   framework in the context of federal common law is the
international pollution" is an area of law that is so               principle that defendants [*20] should be able to
saturated with federal interests and regulation that                receive prompt review of dispositive issues of federal
Connecticut's claims are therefore also "federal in                 law, but the Supreme Court has made quite clear that
nature." See Def.'s Opp'n at 17. HN13[ ] However, for               the well-pleaded complaint rule can frustrate this
the purposes of removal, there is a material difference             principle. Caterpillar Inc., 482 U.S. at 393 ("[I]t is [ ]
between a state claim that a federal preemption defense             settled law that a case may not be removed to federal
"unquestionably" defeats and a state claim that has                 court on the basis of a federal defense, including the
been replaced by a federal cause of action with                     defense of pre-emption, even if the defense is
extraordinary preemptive force: only the latter suffices            anticipated by the plaintiff's complaint, and even if both
for removal.7 See Beneficial Nat'l Bank, 539 U.S. at 9-             parties concede that the federal defense is the only
                                                                    question truly at issue."). Thus, although the Supreme
                                                                    Court's decisions pertaining to the well-pleaded
                                                                    complaint rule have not squarely addressed federal
6 In Republic of Philippines v. Marcos, 1986 U.S. App. LEXIS
                                                                    common law, the approach it has crafted in cases
34155, 806 F.2d 344 (2d Cir. 1986), the Second Circuit stated
                                                                    involving federal statutes is inconsistent with removal of
that it was "probably" possible for "federal common law in the
area of foreign affairs [to be] so 'powerful', or important as to
displace a purely state cause of action of constructive trust."     which possessed diversity jurisdiction, held that certain state
Id. at 354. However, acknowledging that it might be "wrong on       nuisance and trespass claims are preempted by federal
this point", the Second Circuit ultimately rested its decision in   common law. Id. at 90-94. After articulating this decision, the
that case on its determination that plaintiff's state-law claim     Second Circuit "pause[d] [ ] to reconcile [its] conclusion with
"raises, as a necessary element," an issue of federal law. i.e.,    the parade of recent opinions holding that state-law claims for
what has come to be known as Grable jurisdiction. See id. The       public nuisance brought against fossil fuel producers do not
Second Circuit's discussion of federal common law as a basis        arise under federal law." Id. at 93 (brackets, citations, and
for removal in Republic of Philippines was thus dicta. See          quotation marks omitted).
Baraket v. Holder, 632 F.3d 56, 59 (2d Cir. 2011) ("[I]t is not
substantive discussion of a question or lack thereof that           The Second Circuit observed that, "[t]he single issue before
distinguishes holding from dictum, but rather whether               each of those federal courts was thus whether the defendants'
resolution of the question is necessary for the decision of the     anticipated defense could singlehandedly create federal-
case."). Given the Second Circuit's reconsideration of              question jurisdiction under [section] 1331 in light of the well-
Nordlicht, this court finds the dicta in Republic of Philippines    pleaded complaint rule." Id. at 94 (citing Caterpillar Inc., 482
concerning federal common law to be unpersuasive.                   U.S. at 398). While the Second Circuit only mentioned these
                                                                    cases in passing, its description of these cases as concerning
The parties have not identified, and the court has also been        the effect of an "anticipated federal defense" suggests that the
unable to find, any decision by the Second Circuit after            Second Circuit would not view the complete preemption
Nordlicht holding that federal common law can provide a basis       doctrine as applicable in a similar case. HN14[ ] As
for removal.                                                        explained above in this Ruling, the Supreme Court has held
                                                                    that a mere "complete federal defense", as contrasted with
7 Indeed,  the Second Circuit recently commented on the             complete preemption, does "not justify removal." Beneficial
consequences of this distinction for other lawsuits that have       Nat'l Bank, 539 U.S. at 9 (citations omitted). The court also
been filed by states against producers of fossil fuels. See City    notes that the Second Circuit's decision did not address state
of New York, 993 F.3d at 94. In that case, the Second Circuit,      consumer protection claims.

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purported state claims merely on the ground that federal          quiet title claim was an allegation that "the IRS had
common law has displaced such claims. Therefore, the              failed to notify [the petitioner] of its seizure of the
court concludes that ExxonMobil has not shown that                property in the exact manner required by [section]
federal common law justifies removal of this case.                6335(a)" of title 26 of the U.S. Code. Id. at 311. Under
                                                                  the applicable state law, the petitioner was required to
2. Grable Jurisdiction
                                                                  "specify the facts establishing the superiority of [its]
ExxonMobil also argues that the doctrine recognized by            claim." Id. at 314 (citation and internal quotation marks
the Supreme Court in Grable & Sons Metals Products,               omitted).
Inc. v. Darue Engineering & Manufacturing, 2005 U.S.
LEXIS 4659, 545 U.S. 308 (2005), justifies removal of             The Supreme Court held that the petitioner's state quiet
this case. HN16[ ] Under the so-called Grable                     title claim necessarily raised a federal issue, because
doctrine,8 removal is proper if a federal issue is                "[w]hether [the petitioner] was given notice within the
"embedded" within a state law claim. See id. at 314.              meaning of the federal statute is thus an essential
The [*21] embedded federal issue must be "(1)                     element of its quiet title claim." Id. at 315. The Supreme
necessarily raised, (2) actually disputed, (3) substantial,       Court also justified its holding on the ground that "[t]he
and (4) capable of resolution in federal court without            meaning of the federal tax provision is an important
disrupting the federal-state balance approved by                  issue of federal law that sensibly belongs in a
Congress." Gunn, 568 U.S. at 258 (citing Grable, 545              federal [*23] court." Id. at 315. However, it only
U.S. at 313-14). All four of these elements must be met           progressed to this second segment of its analysis after
in order to establish federal jurisdiction. Id.                   concluding that the federal issue was necessarily raised
                                                                  by the petitioner's state claim. See id. at 314-15. HN17[
ExxonMobil's primary arguments for Grable jurisdiction                ] As explained above, federal jurisdiction only exists
concern the potential impact of Connecticut's claims on           under the Grable doctrine if "all four . . . requirements
federal policymaking. See Def.'s Opp'n at 18-20.                  are met." Gunn, 568 U.S. at 258.
According to ExxonMobil, Connecticut's claims amount
to an "attempt to countermand federal energy and                  The requirement that a state claim "necessarily raise" an
environmental policy." Id. at 18. ExxonMobil argues that          issue of federal law is underscored by the Second
the relief sought by Connecticut would disrupt the                Circuit's decision in New York v. Shinnecock Indian
"careful balance between energy production and                    Nation, 686 F.3d 133 (2d Cir. 2012). That case involved
environmental protection" that "Congress has already              a dispute between the State of New York and the
struck." Id. at 19. In addition, ExxonMobil contends that         Shinnecock Indian Nation over the development of a
the Complaint's allegations necessarily imply that the            casino. 686 F.3d at 135-36. The district court conducted
federal government was among the victims of                       a bench trial and issued a permanent injunction
ExxonMobil's alleged deception. Id. at 19.                        prohibiting construction of the casino, unless the
                                                                  Shinnecock Indian Nation complied with state and local
Whether a state claim relates to issues of national               laws. Id. at 135. As the Second Circuit observed,
concern may demonstrate that an embedded federal                  whether "federal Indian law [ ] preclude[d] the
issue is "substantial", i.e., the third element for Grable        application of state and local law to the Tribe's activities
jurisdiction, but such an argument does not address the           . . . was essentially the only issue in dispute at trial." Id.
first [*22] Grable element, that is, whether a state claim        at 139.
"necessarily raise[s]" an issue of federal law. See
Grable, 545 U.S. at 314. In Grable, the respondent                Nevertheless, the Second Circuit concluded that New
purchased real property that the IRS had seized from              York's claim did not necessarily raise a federal issue,
the petitioner in satisfaction of a federal tax delinquency.      and that the district court therefore lacked jurisdiction
Id. at 310. Five years after the purchase, the petitioner         over the claim. Id. at 140-41. As the court explained, "if
contested ownership of the property through a state               the Shinnecock were to have established [*24] that
quiet title action. Id. The basis for the petitioner's state      their construction of the casino complied with state and
                                                                  local law, the court could have resolved the case without
                                                                  reaching the federal issues." Id. at 140.
8 The Second Circuit has also referred to this doctrine as "the
                                                                  Here, Connecticut's Complaint asserts claims for
substantial federal question exception to the well-pleaded
                                                                  defective and unfair acts and practices under CUTPA.
complaint rule." New York v. Shinnecock Indian Nation, 686
                                                                  Compl. at 38-43. The only argument ExxonMobil makes
F.3d 133, 141 (2d Cir. 2012).

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that pertains to the first element of Grable jurisdiction,      CUTPA claims necessarily raise a federal issue, it is not
i.e., the requirement that a state claim "necessarily           the federal issue on which ExxonMobil focuses.
raise" an issue of federal law, is that CUTPA looks to          ExxonMobil makes absolutely no argument that
the Federal Trade Commission's definition of unfair or          "interpretations given by the Federal Trade Commission
deceptive acts for guidance. See Def.'s Opp'n at 20.            and the federal courts to Section 5(a)(1) of the Federal
Section 42-110b(b) codifies "the intent of the                  Trade Commission Act," Conn. Gen. Stat. § 42-110b(b),
[Connecticut] legislature that in construing" CUTPA, "the       are actually disputed or substantial. See Def.'s Opp'n at
commissioner and the courts of this state shall be              20. In other words, with respect to any federal issue
guided by interpretations given by the Federal Trade            involving the FTCA, ExxonMobil has not satisfied the
Commission and the federal courts to Section 5(a)(1) of         remaining elements of Grable jurisdiction, i.e., that an
the Federal Trade Commission Act." Conn. Gen. Stat. §           issue is substantial, actually disputed, and capable of
42-110b(b). Section 42-110b(c) authorizes the                   resolution without disrupting the federal-state balance
Commissioner of Connecticut's Department of                     approved by Congress. Therefore, ExxonMobil has
Consumer Protection to issue regulations implementing           failed to show that this issue can support federal
CUTPA but requires that "[s]uch regulations shall not be        jurisdiction under the Grable doctrine.
inconsistent with the rules, regulations and decisions of
the Federal Trade Commission and the federal courts in          The majority of the remainder of ExxonMobil's
interpreting the provisions of the Federal Trade                arguments in support of Grable jurisdiction are different
Commission Act." Conn. Gen. Stat. § 42-110b(c).                 forms of its argument that Connecticut's claims relate to
                                                                issues of national concern. See Def.'s Opp'n at 20-23.
HN18[ ] With respect to section 42-110b(b), to "be              For example, ExxonMobil argues that Connecticut
guided by [*25] interpretations" is not the same as             "seeks to impose one state's energy policy on the rest of
being bound by them. See Conn. Gen. Stat. § 42-                 the country." Id. at 21. ExxonMobil also [*27] contends
110b(b). As the Connecticut Appellate Court has                 that, because the U.S. Army Corps of Engineers has
explained, "[a]lthough the guidance provided by federal         exercised its delegated authority to regulate . . . issues
law will often be enlightening, federal law is not a            of sea level rise", Connecticut's claims "ask this court to
straightjacket. . . . In other words, federal law sets a        second-guess the efficacy of the Corps' programs." Id.
floor for Connecticut law, but not a ceiling." Johnson          Although ExxonMobil seeks to fit these arguments into
Elec. Co., Inc. v. Salce Contracting Assocs., Inc., 72          the first element of Grable jurisdiction, see Def.'s Opp'n
Conn. App. 342, 352, 805 A.2d 735 (2002). Further,              at 18-22, arguments of this nature address whether an
although Connecticut courts have adopted the                    issue is substantial but not whether an issue is
framework of analysis embodied by the federal                   necessarily raised. See Grable, 545 U.S. at 314.9
"cigarette rule", this rule requires courts to look to public
policy, as announced in Connecticut statutes and                Finally, ExxonMobil briefly contends that Connecticut's
common law. See Ulbrich, 310 Conn. at 409; see also             claims necessarily raise federal issues because they
Artie's Auto Body, Inc. v. Hartford Fire Ins. Co., 317          implicate ExxonMobil's free speech rights under the
Conn. 602, 623-27, 119 A.3d 1139 (2015) (referring to a         First Amendment. See Def.'s Opp'n at 22. However, the
Connecticut statute and regulatory scheme to determine          cases on which ExxonMobil relies address the
whether plaintiffs could prevail on their unfair practice       constitutional limits on defamation and libel claims. See
claim). Thus, CUTPA claims do not necessarily raise             Hustler Magazine, Inc. v. Falwell, 485 U.S. 46, 52, 108
federal issues by operation of this provision, because a        S. Ct. 876, 99 L. Ed. 2d 41 (1988); Phila. Newspapers,
court reviewing a CUTPA claim is not required to apply          Inc. v. Hepps, 475 U.S. 767, 774-75, 106 S. Ct. 1558,
federal law. Rather, a court refers to federal law for          89 L. Ed. 2d 783 (1986); N.Y. Times Co. v. Sullivan, 376
guidance in applying Connecticut law. As for section 42-        U.S. 254, 279-80, 84 S. Ct. 710, 11 L. Ed. 2d 686
110b(c), it is not helpful for ExxonMobil because the           (1964). ExxonMobil fails to cite any authority for the
Complaint does not allege that ExxonMobil violated a            proposition that these limits apply to consumer
regulation issued by the Commissioner of the                    protection claims, nor for the proposition that these
Department of Consumer Protection. See Compl. at 36-
42.    Therefore,      Connecticut's    claims     do    not
necessarily [*26] raise a federal issue.                        9 ExxonMobil also repeats its argument concerning federal
Further, even assuming for the sake of argument that,           common law and the well-pleaded complaint rule. See Def.'s
                                                                Opp'n at 21-22. The court has already addressed why this
on account of either of these provisions, Connecticut's
                                                                argument does not justify removal. See supra at 8-16

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limits would apply to such claims in a manner that would             B. Federal Officer Removal Statute
embed any First Amendment issues within state law
claims--as opposed to providing ExxonMobil with a                    ExxonMobil next argues for removal on the basis of the
federal defense. Further, ExxonMobil does not address                federal officer removal statute. HN20[ ] Section
the "subordinate position in the scale of First                      1442(a)(1) authorizes removal of cases involving claims
Amendment values" that the [*28] Supreme Court and                   against "any officer (or any person acting under that
the Second Circuit have assigned to commercial                       officer) of the United States or of any agency thereof."
speech. See Vugo, Inc. v. City of New York, 931 F.3d                 28 U.S.C. § 1442(a)(1). In contrast to "the general
42, 49 (2d Cir. 2019) (quoting Bd. of Trs. of State Univ.            removal statute[, which] must be strictly construed, both
of N.Y. v. Fox, 492 U.S. 469, 477 (1989)). Therefore,                [section] 1442 and especially its 'acting under' provision
the court concludes that ExxonMobil has not shown that               must be read broadly." Agyin v. Razman, 986 F.3d 168,
Connecticut's claims necessarily raise First Amendment               175 (2d Cir. 2021) (citations omitted). Private parties
issues for the purposes of the Grable doctrine.                      that seek removal on the basis of section 1442 must
                                                                     show that (1) "they are person[s] within the meaning of
Accordingly, for all of the above reasons, the court                 statute who act[ed] under [a federal] officer", (2) "they
concludes that ExxonMobil has failed to show that the                performed the actions for which they are being sued
Grable doctrine justifies removal.10                                 under color of [federal] office", and (3) [*29] "they [ ]
                                                                     raise a colorable federal defense." Isaacson v. Dow
                                                                     Chem. Co., 517 F.3d 129, 135 (2d Cir. 2008) (citation
10 During oral argument, counsel for ExxonMobil repeatedly           and quotation marks omitted).
emphasized the "artful pleading doctrine." The court notes that
the phrase "artful pleading doctrine" is absent from both            HN21[ ] The paradigmatic example of a private party
ExxonMobil's 58-page Notice of Removal and 56-page                   that may avail itself of the federal officer removal statute
Opposition to the Motion to Remand. See Notice of Removal;           is "a private company acting pursuant to a contract with
Def.'s Opp'n. The phrases "artful pleading" and "artfully            the federal government." See Agyin, 986 F.3d at 175.
pleaded" each appear once on the first page of the Opposition        ExxonMobil argues that it fits this description perfectly,
to the Motion to Remand, but without any citation to a specific      given that it has supplied the federal government with
court decision. See Def.'s Opp'n at 1.                               fossil fuels for decades. See Def.'s Opp'n at 24-30. As
                                                                     ExxonMobil details in its Opposition, through various
The Supreme Court once appeared to use the term "artful
pleading doctrine" as a synonym for complete preemption.             arrangements for the production of fossil fuels, the
See Rivet v. Regions Bank of Louisiana, 522 U.S. 470, 475,           federal government has at times exercised a significant
118 S. Ct. 921, 139 L. Ed. 2d 912 (1998) ("The artful pleading       degree of control and direction over ExxonMobil's
doctrine allows removal where federal law completely                 operations. See id.
preempts a plaintiff's state-law claim."). However, the
Supreme Court also appeared to describe this doctrine as the         HN22[ ] However, ExxonMobil must show not merely
"principle that 'a plaintiff may not defeat removal by omitting to   that it has acted under a federal agency or officer but
plead necessary federal questions.'" Id. (emphasis added).           also that it "performed the actions for which [it] is being
                                                                     sued 'under color of [federal] office." Isaacson, 517 F.3d
In Marcus v. AT&T Corp., the Second Circuit analyzed                 at 135 (emphasis added) (citation omitted). The Second
complete preemption and the artful pleading doctrine                 Circuit has observed "[t]he hurdle erected by this
separately. See 138 F.3d at 53-56. With respect to artful
pleading, the Second Circuit concluded that a breach of
contract claim was removable, because it was based on a              plaintiff's state-law contract claims were construed as
"tariff [ ] filed with the FCC pursuant to the FCA", and,            asserting rights arising only under federal tariffs." Id. at 272 n.4
therefore, "the breach of warranty claim necessarily raise[d] a      HN19[ ] (citing Marcus, 138 F.3d at 55-56).
substantial federal question." Id. at 56. The Marcus decision
predated the Supreme Court's decision in Grable, which, as           This court understands the artful pleading doctrine as
discussed above, clarified when a state law claim is removable       coextensive with Grable, i.e., the artful pleading doctrine
on account of an embedded issue of federal law. See Grable,          prevents a plaintiff from avoiding Grable jurisdiction by
545 U.S. at 314. Subsequently, in Sullivan v. American               omitting, from the plaintiff's statement of a state-law claim, an
Airlines, Inc., 424 F.3d 267 (2d Cir. 2005), which was decided       essential element of the claim that necessarily raises a federal
three months after Grable, the Second Circuit noted that "[t]he      issue that is substantial, actually disputed, and capable of
precise scope of the artful-pleading doctrine is not entirely        resolution without disrupting the federal-state balance
clear" and acknowledged only that the doctrine "has been             approved by Congress. Compare Marcus, 138 F.3d at 55-56,
relied upon to support federal-court jurisdiction . . . where a      and Grable, 545 U.S. at 314.

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requirement is quite low": a defendant need not show         applies to Connecticut's claims.
that a plaintiff's claims are "for the very acts" the
                                                             C. Outer Continental Shelf Lands Act
defendant performed under color of federal office. See
id. at 137. Further, a court must "credit [a defendant's]
                                                             Next, ExxonMobil argues that the court possesses
theory of the [*30] case" when analyzing this prong of       jurisdiction on account of the Outer Continental Shelf
the federal officer removal test. See id.
                                                             Lands Act ("OCSLA"). See Def.'s Opp'n at 23-25.
                                                             Section 1349(b)(1) of title 43 of the U.S. Code provides
Nevertheless, under this "causation requirement . . .
                                                             that
non-governmental corporate defendants . . . must
demonstrate that the acts for which they are being sued          the district courts of the [*32] United States shall
. . . occurred because of what they were asked to do by          have jurisdiction of cases and controversies arising
the Government." Id. Thus, although the strength of the          out of, or in connection with (A) any operation
connection between acts performed by a defendant                 conducted on the outer Continental Shelf which
under color of federal office and the acts for which the         involves exploration, development, or production of
defendant is sued may be "quite low", the nature of this         the minerals, of the subsoil and seabed of the outer
connection must be causal. See id.; see also Cnty. Bd.           Continental Shelf, or which involves rights to such
of Arlington Cnty., Va. v. Express Scripts Pharmacy,             minerals, or (B) the cancellation, suspension, or
996 F.3d 243, 2021 WL 1726106, *9 (4th Cir. 2021)                termination of a lease or permit under this
(holding that causal connection was sufficient for               subchapter.
removal, where pharmacy defendants "were legally
bound to follow [the Department of Defense]'s formulary      43 U.S.C. § 1349(b)(1). The parties have not brought to
when administering" a mail-order pharmacy program            the court's attention any decisions by the Second Circuit
"and had no discretion to deviate from the DOD               or the Supreme Court discussing the limits of this
contract's requirements").                                   jurisdictional grant, and the court has not identified any
                                                             such authority. Instead the parties both cite to decisions
Here, ExxonMobil provides no explanation as to how the       of the Fifth Circuit, which appears to have more
allegedly deceptive statements that form the basis of        familiarity with the OCSLA than other Courts of Appeals.
Connecticut's consumer protection claims have any            HN23[ ] In construing the meaning of section 1349(b),
causal connection to the production of fossil fuels for or   the Fifth Circuit has concluded that "the term 'operation'
under the direction of the federal government. See           contemplate[s] the doing of some physical act on the
Def.'s Opp'n at 30-31. Thus, although Connecticut's          [Outer Continental Shelf]." EP Operating Ltd. P'ship v.
allegations that ExxonMobil misrepresented the [*31]         Placid Oil Co., 26 F.3d 563, 567 (5th Cir. 1994). For
dangers of fossil fuels for the Earth's climate relate to    example, in Barker v. Hercules Offshore, Inc., 713 F.3d
ExxonMobil's production of fossil fuels, ExxonMobil has      208 (5th Cir. 2013), the Fifth Circuit concluded that
not shown why the alleged misrepresentations                 OCSLA jurisdiction existed because a workplace
"occurred because of what [it] was asked to do by the        accident occurred on a "jack-up rig attached to the
Government." See Isaacson, 517 F.3d at 137. Nowhere          Outer Continental Shelf." Id. at 213.
does ExxonMobil allege that its contracts with the
government required it to publish the advertisements         ExxonMobil's argument on this issue fails because
and other misrepresentations alleged by Connecticut.         the [*33] claims Connecticut has chosen to bring in this
ExxonMobil does not assert, or even suggest, that the        case seek redress for deceptive and unfair practices
federal government directed ExxonMobil to make these         relating to ExxonMobil's interactions with consumers in
allegedly deceptive statements. See Notice of Removal        Connecticut--not for harms that might result from the
¶¶ 71-108. As a result, the court's obligation to credit     manufacture or use of fossil fuels, let alone from
ExxonMobil's theory of the case, see Isaacson, 517           ExxonMobil's operations on the Outer Continental
F.3d at 137, does not benefit ExxonMobil with respect to     Shelf.11 See Compl. at 36-43. As explained above, see
this requirement.

Therefore, even assuming that ExxonMobil can satisfy
                                                             11 ExxonMobil   submitted voluminous exhibits that suggest
the first and third prongs of the federal officer removal
test, ExxonMobil has failed to satisfy the causation         Connecticut may have been motivated to bring the current suit
                                                             as part of a broader strategy among multiple states' attorneys
requirement. The court concludes that ExxonMobil has
                                                             general to seek redress for harms directly caused by climate
not shown that the federal officer removal statute
                                                             change. See Exs. 1-8, Notice of Removal (Doc. No. 1-1 at 1-

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supra at 6-8, although the Complaint details the harms              national parks . . . and federal prisons." See Def.'s
caused by combustion of fossil fuels in order to explain            Opp'n at 35. ExxonMobil also argues that, "by targeting
why ExxonMobil's statements violate CUTPA, these are                ExxonMobil's oil and gas operations and their alleged
not the harms that underlie Connecticut's claims in this            impacts, this action necessarily sweeps in those
case.                                                               operations that occur on military bases and other federal
                                                                    enclaves." See id. at 36.
Therefore, the court concludes that ExxonMobil has
failed to show that OCSLA justifies removal of this                 ExxonMobil's      argument    is    premised    on     its
case.12                                                             characterization of Connecticut's claims as targeting
                                                                    pollution. However, as the court has already explained,
D. Federal Enclave Jurisdiction
                                                                    Connecticut's claims seek redress for the manner by
                                                                    which ExxonMobil has interacted with consumers in
ExxonMobil also contends that the court possesses
                                                                    Connecticut, not the impacts of climate change. See
jurisdiction on the ground that some of the injuries
                                                                    supra at 6-8. Further, given that national parks, federal
alleged by Connecticut must have occurred on federal
                                                                    prisons, and military [*35] installations are located
enclaves. See Def.'s Opp'n at 34-36. HN24[ ] Section
                                                                    throughout the country, ExxonMobil's interpretation of
8 of Article I of the U.S. Constitution authorizes
                                                                    federal enclave jurisdiction would appear to give rise to
Congress "[t]o exercise exclusive Legislation in all
                                                                    federal jurisdiction in any case involving injuries that
Cases whatsoever . . . over all Places purchased by the
                                                                    occur throughout a state, no matter how minor the
Consent of the Legislature of the State in which the
                                                                    injuries occurring on federal enclaves are in relation to
Same shall be, for the Erection of Forts, Magazines,
                                                                    the claims at issue. ExxonMobil cites no authority in
Arsenals, dock-yards, and other needful [*34]
                                                                    support of what would amount to a sweeping change to
Buildings." U.S. Const. art. I, § 8. Although "the issue is
                                                                    the balance between the jurisdiction of state and federal
not entirely settled," some courts have construed this
                                                                    courts.
provision as "establish[ing] federal subject matter
jurisdiction over tort claims occurring on federal                  Therefore, the court concludes that ExxonMobil has
enclaves, and have allowed such claims to proceed                   failed to show that removal is proper on account of
even when applying state law." Jograj v. Enter. Servs.,             federal enclave jurisdiction.13
LLC, 270 F. Supp. 3d 10, 16 (D.D.C. 2017) (citing Akin
v. Ashland Chem. Co. 156 F.3d 1030, 1034 (10th Cir.                 E. Diversity Jurisdiction
1998), and Federico v. Lincoln Military Hous., 901 F.
Supp. 2d 654, 656 (E.D. Va. 2012)).                                 Finally, ExxonMobil argues that the court possesses
                                                                    diversity jurisdiction because Connecticut is not the real
ExxonMobil argues that federal jurisdiction is present in           party in interest. See Def.'s Opp'n at 37-39. HN25[ ]
the current case because "climate change harms . . .                Section 1332(a)(1) of title 28 vests district courts with
[n]ecessarily impact [ ] . . . multiple federal enclaves            "original jurisdiction of all civil actions where the matter
within Connecticut, including military installations . . .          in controversy exceeds the sum or value of $75,000,
                                                                    exclusive of interest and costs, and is between . . .
95; Doc. No. 1-2 at 1-3); Exs. 1-5, Def.'s Opp'n (Docs. Nos.        citizens of different States." 28 U.S.C. § 1332(a)(1).
37-2, 37-3, 37-4, 37-5, 37-6). Even assuming that ExxonMobil        "There is no question that a State is not a 'citizen' for
is correct about Connecticut's motivations, this does not           purposes of [ ] diversity jurisdiction." Moor v. Alameda
change the fact that Connecticut has chosen, in this case, to
bring claims seeking redress for deceptive and unfair practices
relating to the manner by which ExxonMobil has interacted
with consumers in Connecticut.                                      13 As  with ExxonMobil's arguments in connection with the
                                                                    OCSLA, although authority on the applicability of federal
12 Although OCSLA jurisdiction is not a familiar issue within the   enclaves jurisdiction is sparse, the court notes that other
Second Circuit, the court notes that other district courts have     district courts have rejected similar arguments to those raised
rejected similar arguments to those raised by ExxonMobil in         by ExxonMobil in this case. See, e.g., Minnesota, 2021 U.S.
this case. See, e.g., Minnesota v. Am. Petroleum Inst., No. 20-     Dist. LEXIS 62653, 2021 WL 1215656, at *11 ("While the
CV-1636 (JRT/HB), 2021 U.S. Dist. LEXIS 62653, 2021 WL              various injuries alleged in the complaint may be felt on federal
1215656, at *10-11 (D. Minn. Mar. 31, 2021) (concluding that        enclaves as much as they are felt anywhere, the Court
OCSLA jurisdiction was not present, because "the State's            requires a more substantive and explicit relationship between
claims are rooted not in the Defendants' fossil fuel production,    the actual claims alleged and a specific federal enclave to
but in its alleged misinformation campaign").                       exercise jurisdiction.").

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Cty., 411 U.S. 693, 717, 93 S. Ct. 1785, 36 L. Ed. 2d        deception allegedly caused by each of ExxonMobil's
596 (1973). However, "courts must disregard nominal or       statements but rather for a decades-long campaign of
formal parties and rest jurisdiction [*36] only upon the     alleged disinformation that resulted in "the stifling of an
citizenship of real parties to the controversy." Purdue      open marketplace for renewable energy." See Compl. at
Pharma L.P. v. Kentucky, 704 F. 3d 208, 218 (2d Cir.         39, ¶ 193. Further, as in Moody's Corp., Connecticut
2013) (citation and internal quotation marks omitted).       seeks a restitution order under CUTPA that would fund
                                                             efforts to respond to ExxonMobil's [*38] allegedly
HN26[ ] Courts have developed two competing                  deceptive and unfair practices generally, rather than
approaches for determining whether a state is a real         providing compensation to specific individuals. See id.
party in interest: the "claim-by-claim approach" and the     at 78 (seeking "[a]n order that ExxonMobil fund a
"whole-complaint" approach. Id. at 218-19. Courts            corrective education campaign to remedy the harm
applying the former approach analyze whether a state is      inflicted by decades of disinformation, to be
the real party in interest "with respect to each type of     administered and controlled by the State or such other
relief sought," while courts applying the latter approach    independent third party as the Court may deem
"look[ ] at the lawsuit as a whole." See id. Although the    appropriate"); Moody's Corp., 2011 U.S. Dist. LEXIS
Second Circuit has not definitively adopted the whole-       780, 2011 WL 63905, at *3.
complaint approach, it has strongly suggested that it
prefers this approach. See id. at 219 ("[W]e note that the   Therefore, the court concludes that Connecticut is a real
'claim-by claim' approach has been roundly criticized,       party in interest, and that the court does not possess
and the 'whole-complaint' approach has emerged as the        diversity jurisdiction.
majority rule."). Accordingly, the court will apply the
                                                             F. Fees and Costs
whole-complaint rule in this case. See In re Standard &
Poor's Rating Agency Litig., 23 F. Supp. 3d 378, 402         HN27[ ] The plaintiffs seek costs and attorneys' fees
(S.D.N.Y. 2014) ("[A]lthough the Second Circuit did not      pursuant to section 1447(c) of title 28 the U.S. Code,
formally reach the question in Purdue Pharma, it is          which provides that "[a]n order remanding the case may
difficult to view that decision as anything but a thumb      require payment of just costs and any actual expenses,
firmly on the whole-complaint side of the scale.").          incurred as a result of the removal." 28 U.S.C. §
                                                             1447(c). "Absent unusual circumstances, courts may
In Connecticut v. Moody's Corp., No. 3:10-CV-546
                                                             award attorney's fees under [section] 1447(c) only
(JBA), 2011 U.S. Dist. LEXIS 780, 2011 WL 63905 (D.
                                                             where the removing party lacked an objectively
Conn. Jan. 2011), the court held that Connecticut was
                                                             reasonable basis for seeking removal." Martin v.
the real party in interest in a suit alleging widespread
                                                             Franklin Capital Corp., 546 U.S. 132, 141, 126 S. Ct.
violations of CUTPA [*37] by credit ratings agencies,
                                                             704, 163 L. Ed. 2d 547 (2005). The Supreme Court has
because it "has a statutory interest under CUTPA 'to
                                                             instructed that, "[i]n applying this rule, district courts
protect the public from unfair practices in the conduct of
                                                             retain discretion to consider whether unusual
any trade or commerce.'" Id. at *3 (quoting Eder Bros.,
                                                             circumstances warrant a departure from the rule in a
Inc. v. Wine Merchants of Conn., Inc., 275 Conn. 363,
                                                             given case." Id. Here, Connecticut argues that an award
380 (2005), 880 A.2d 138). The court also noted that
                                                             of costs and fees is warranted because ExxonMobil's
Connecticut did not seek "restitution [ ] on behalf of
                                                             arguments [*39] for removal have been "roundly
specific individuals", but instead sought a restitution
                                                             rejected by district and circuit courts across the country."
order, pursuant to section 42-110m of the Connecticut
                                                             See Pl.'s Mem. at 28.
General Statutes, "without specifying beneficiaries of
that restitution, which the State argues may be ordered
                                                             As the court has noted throughout this Ruling, however,
paid to the Connecticut Department of Consumer
                                                             several of the issues raised by ExxonMobil are novel
Protection[ ] . . . to fund positions and other related
                                                             within the Second Circuit. Further, although it is true that
expenses for the enforcement of Department of
                                                             multiple district courts have rejected similar arguments
Consumer Protection licensing and registration laws."        for removal, those courts are located in different circuits,
Id.                                                          and many relevant portions of their rulings were not
                                                             subject to appellate review until very recently. See BP
Reviewing the Complaint as a whole, the court
                                                             P.L.C. v. Mayor & City Council of Baltimore, No. 19-
concludes that Connecticut is suing to protect a quasi-
                                                             1189, slip. op. at 6 (U.S. May 17, 2021) (holding that
sovereign interest and is therefore a real party in
                                                             section 1447(d) of title 28 of the U.S. Code "permits
interest. Connecticut seeks redress not simply for the
                                                             appellate review of [a] district court's remand order--

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without any further qualification"). Given these
circumstances, the court concludes, albeit with some
reservation, that ExxonMobil did not lack an objectively
reasonable basis for removal. Connecticut's request for
costs and fees is denied.


V. CONCLUSION

For the reasons discussed above, the court grants
Connecticut's Motion to Remand (Doc. No. 36) and
denies Connecticut's request for costs and fees. The
Clerk is directed to remand the case to the Superior
Court of Connecticut.

SO ORDERED.

Dated this 2nd day of June 2021, at New Haven,
Connecticut.

/s/ Janet C. Hall

Janet C. Hall

United States District Judge


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     Caution
As of: April 8, 2024 9:00 PM Z


                                     Dougherty v. A.O. Smith Corp.
                                 United States District Court for the District of Delaware
                                      July 16, 2014, Decided; July 16, 2014, Filed
                                           Civil Action No. 13-1972-SLR-SRF

Reporter
2014 U.S. Dist. LEXIS 96290 *; 2014 WL 3542243
                                                              in interest to AlliedSignal Inc, successor in interest to
FRANCIS J. DOUGHERTY AND ELIZABETH F.
                                                              Bendix Corporation, Defendant: Joelle Florax, LEAD
DOUGHERTY, Plaintiffs, v. A O SMITH
                                                              ATTORNEY, Rawle & Henderson LLP, Wilmington, DE.
CORPORATION, et al., Defendants.
                                                              For ITT Corporation, Defendant: David A. Bilson, Robert
Subsequent History: Adopted by, Objection overruled           S. Goldman, LEAD ATTORNEYS, Phillips, Goldman &
by, Remanded by Dougherty v. A.O. Smith Corp., 2014           Spence, P.A., Wilmington, DE.
U.S. Dist. LEXIS 125302 (D. Del., Sept. 8, 2014)
                                                              For John Crane Inc., Defendant: Jonathan L. Parshall,
                                                              [*2] Murphy, Spadaro & Landon, Wilmington, DE.
Core Terms
                                                              For Peerless Industries Inc., formerly known as
disclaimer, Navy, removal, Plaintiffs', federal official,     Peerless Heater Company, Defendant: Nicholas E.
colorable, valves, warnings, specifications, government       Skiles, LEAD ATTORNEY, Swartz Campbell LLC,
contractor, manufactured, federal court, cross-claims,        Wilmington, DE.
asbestos, ships, district court, asbestos exposure,           For Riley Power Inc., Defendant: Joel M. Doner, LEAD
contractor, exposure, vessels, cause of action, removal       ATTORNEY, Eckert Seamans Cherin & Mellott, LLC,
statute, military, products, post-removal, injuries, design   Wilmington, DE.
defect, state court, jobsites, damages
                                                              For Spirax Sarco Inc., Defendant: Paul A. Bradley,
Counsel: [*1] For Francis J. Dougherty, Elizabeth F.          LEAD ATTORNEY, Antoinette D. Hubbard, Maron
Dougherty, Plaintiffs: Yvonne Takvorian Saville, LEAD         Marvel Bradley & Anderson LLC, Wilmington, DE.
ATTORNEY, Weiss & Saville P.A., Wilmington, DE.               For Superior Boiler Works Inc., Defendant: Eileen M.
For Armstrong International Inc., Defendant: Robert           Ford, Megan Trocki Mantzavinos, LEAD ATTORNEYS,
Alexander Ranieri, LEAD ATTORNEY, Dickie McCamey              Marks, O'Neill, O'Brien, Doherty & Kelly, P.C.,
& Chilcote, P.C., Wilmington, DE.                             Wilmington, DE.

For Burnham LLC, Defendant: Robert S. Goldman,                For Warren Alloy Valve & Fitting Company L.P.,
LEAD ATTORNEY, Phillips, Goldman & Spence, P.A.,              Defendant: Brian Tome, Eckert Seamans Cherin &
Wilmington, DE.                                               Mellott, LLC, Wilmington, DE.

For Certain-Teed Corporation, Union Carbide                   For Weil-Mclain Company, Defendant: Matthew P.
Corporation, General Electric Company, Foster Wheeler         Donelson, LEAD ATTORNEY, Eckert Seamans Cherin
Energy Corp., Defendants: Beth E. Valocchi, LEAD              & Mellott, LLC, Wilmington, DE.
ATTORNEY, Swartz Campbell LLC, Wilmington, DE.                For York International Corporation, Defendant: Peter S.
For Crane Co., Defendant: Nicholas E. Skiles, LEAD            Murphy, LEAD ATTORNEY, Eckert Seamans Cherin &
ATTORNEY, Shawn Edward Martyniak, Swartz                      Mellott, LLC, Wilmington, DE.
Campbell LLC, Wilmington, DE.                                 For 84 Lumber Company, Defendant: Robert Alexander
For Grinnell LLC, Defendant: Kelly A. Costello, LEAD          Ranieri, Dickie McCamey & Chilcote, P.C., Wilmington,
ATTORNEY, Morgan Lewis & Bockius LLP, Wilmington,             DE.
DE.                                                           For John Crane Inc., Cross Claimant: Jonathan L.
For Honeywell International Inc., Individually successor      Parshall, Murphy, Spadaro & Landon, Wilmington,


                                                    Kelly Christopher
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[*3] DE.                                                  Wilmington, DE; Cross Defendant, Honeywell
                                                          International Inc., Individually; Joelle Florax, LEAD
For Burnham LLC, Cross Defendant: Robert S.
                                                          ATTORNEY, Rawle & Henderson LLP, Wilmington, DE.
Goldman, LEAD ATTORNEY, Phillips, Goldman &
Spence, P.A., Wilmington, DE.                             For ITT Corporation, Cross Defendant: David A. Bilson,
                                                          LEAD ATTORNEY, Phillips, Goldman & Spence, P.A.,
For Certain-Teed Corporation, Union Carbide
                                                          Wilmington, DE.
Corporation, General Electric Company, Foster Wheeler
Energy Corp., Cross Defendants: Beth E. Valocchi,         For John Crane Inc., Cross Defendant: Jonathan L.
LEAD ATTORNEY, Swartz Campbell LLC, Wilmington,           Parshall, Murphy, Spadaro & Landon, Wilmington, DE.
DE.
                                                          For Spirax Sarco Inc., Cross Defendant: Paul A.
For Crane Co., Cross Defendant: Nicholas E. Skiles,       Bradley, LEAD ATTORNEY, Antoinette D. Hubbard,
LEAD ATTORNEY, Shawn Edward Martyniak, Swartz             Maron Marvel Bradley & [*5] Anderson LLC,
Campbell LLC, Wilmington, DE.                             Wilmington, DE.
For Elizabeth F. Dougherty, Francis J. Dougherty, Cross   For Weil-Mclain Company, Cross Defendant: Matthew
Defendants: Yvonne Takvorian Saville, LEAD                P. Donelson, LEAD ATTORNEY, Eckert Seamans
ATTORNEY, Weiss & Saville P.A., Wilmington, DE.           Cherin & Mellott, LLC, Wilmington, DE.
For Grinnell LLC, Cross Defendant: Kelly A. Costello,     For York International Corporation, Cross Defendant:
LEAD ATTORNEY, Morgan Lewis & Bockius LLP,                Peter S. Murphy, LEAD ATTORNEY, Eckert Seamans
Wilmington, DE.                                           Cherin & Mellott, LLC, Wilmington, DE; Cross
                                                          Defendant, Honeywell International Inc., Individually.
For Riley Power Inc., Cross Defendant: Joel M. Doner,
LEAD ATTORNEY, Eckert Seamans Cherin & Mellott,           For ITT Corporation, Cross Claimant: David A. Bilson,
LLC, Wilmington, DE.                                      LEAD ATTORNEY, Phillips, Goldman & Spence, P.A.,
                                                          Wilmington, DE.
For Spirax Sarco Inc., Cross Defendant: Paul A.
Bradley, LEAD ATTORNEY, Maron Marvel Bradley &
                                                          Judges: Sherry R. Fallon, United States Magistrate
Anderson LLC, Wilmington, DE.
                                                          Judge.
For Superior Boiler Works Inc., Cross Defendant: Eileen
M. Ford, LEAD ATTORNEY, Marks, O'Neill, O'Brien,          Opinion by: Sherry R. Fallon
Doherty & Kelly, P.C., Wilmington, DE.
For York International Corporation, Cross Defendant:      Opinion
Peter S. Murphy, LEAD ATTORNEY, Eckert Seamans
Cherin & [*4] Mellott, LLC, Wilmington, DE.
For Superior Boiler Works Inc., Cross Claimant: Eileen    REPORT AND RECOMMENDATION
M. Ford, Megan Trocki Mantzavinos, LEAD
ATTORNEYS, Marks, O'Neill, O'Brien, Doherty & Kelly,
P.C., Wilmington, DE.                                     I. INTRODUCTION
For Superior Boiler Works Inc., Cross Defendant: Eileen
                                                          Presently before the court in this asbestos-related
M. Ford, Megan Trocki Mantzavinos, LEAD
                                                          personal injury action is a Motion to Remand (the
ATTORNEYS, Marks, O'Neill, O'Brien, Doherty & Kelly,
                                                          "Motion to Remand" or "Motion") filed by the Plaintiffs,
P.C., Wilmington, DE.
                                                          Francis J. Dougherty and Elizabeth F. Dougherty
For 84 Lumber Company, Cross Defendant: Robert            ("Plaintiffs"), in response to the notice of removal filed by
Alexander Ranieri, Dickie McCamey & Chilcote, P.C.,       Defendant Crane Company ("Crane") pursuant to 28
Wilmington, DE.                                           U.S.C. § 1442(a)(1). (D.I. 14) Plaintiffs contend that
                                                          remand is appropriate because they disclaimed any
For Armstrong International Inc., Cross Defendant:
                                                          causes of action that could provide a basis for federal
Robert Alexander Ranieri, LEAD ATTORNEY, Dickie
                                                          subject matter jurisdiction and, alternatively, that Crane
McCamey & Chilcote, P.C., Wilmington, DE.
                                                          has not met the requirements for removal under Section
For Grinnell LLC, Cross Defendant: Kelly A. Costello,     1442(a)(1). (D.I. 14 at 2) [*6] Crane opposes Plaintiffs'
LEAD ATTORNEY, Morgan Lewis & Bockius LLP,                Motion. (D.I. 22) For the reasons that follow, I

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recommend that the court GRANT Plaintiffs' Motion to                  "To the extent necessary, Plaintiffs also hereby
Remand.                                                               waive all claims against Crane stemming from
                                                                      Mr. Dougherty's asbestos exposure from any
                                                                      federal government job site, and aboard Navy
II. BACKGROUND                                                        ships or any other military vessel." (D.I. [*8] 15
                                                                      at 4)
Plaintiffs filed this action against Crane and other
defendants on October 4, 2013, in the Superior Court of
Delaware. (D.I. 1, Ex. 1) The Complaint alleges that             III. LEGAL STANDARD
Francis J. Dougherty ("Mr. Dougherty") developed
mesothelioma, among other injuries, as a result of his           The federal officer removal statute permits removal of a
exposure to asbestos-containing products manufactured            state court action to federal court when, inter alia, such
by, sold by, distributed by, or otherwise associated with        action is brought against "[t]he United States or an
the defendants, including Crane. (Id., Ex. 1 ¶¶ 1-6) Mr.         agency thereof of any officer (or any person acting
Dougherty was allegedly exposed to such asbestos-                under that officer) of the United States or of any agency
containing products while working as a plumber in the            thereof, sued in an official or individual capacity for any
U.S. Navy from 1945 to 1946, as a plumber and                    act under color of such office." 28 U.S.C. § 1442(a)(1).
pipefitter in Wilmington, Delaware from 1950 to 1993,            The party removing an action to federal court bears the
and as a volunteer fireman in New Castle County,                 burden of proving that removal is appropriate. See
Delaware. (Id. ¶ 2)                                              Boyer v. Snap-On Tools Corp., 913 F.2d 108, 111 (3d
                                                                 Cir. 1990). In the Third Circuit, the provisions of the
Plaintiffs' Complaint includes the following disclaimer:         federal officer removal statute are to be "broadly
                                                                 construed."1 Sun Buick, Inc. v. Saab Cars USA, Inc., 26
     3. Plaintiffs hereby disclaim any cause of action or
                                                                 F.3d 1259, 1262 (3d Cir. 1994). The Supreme Court has
     claim for recovery that could give rise to federal
                                                                 explained that "the right of removal is absolute for
     subject matter jurisdiction under either 28 U.S.C. §
                                                                 conduct performed under color of federal office, and has
     1331 (federal question) or 28 U.S.C. § 1442,
                                                                 insisted that the policy favoring removal 'should not be
     subdivision (a)(1) (federal officer). Specifically,
                                                                 frustrated by a narrow, grudging interpretation of §
     Plaintiffs disclaim any cause of action [*7] or claim
                                                                 1442(a)(1).'" Arizona v. Manypenny, 451 U.S. 232, 242,
     for recovery based on any exposure to asbestos on
                                                                 101 S. Ct. 1657, 68 L. Ed. 2d 58 (1981) (citation
     land that is, or was, a "federal enclave" pursuant to
                                                                 omitted).
     Article I, section 8, clause 17 of the United States
     Constitution. Plaintiffs also disclaim any cause of
                                                                 To properly establish removal under Section 1442(a)(1),
     action or claim for recovery based on any exposure
                                                                 a defendant must show the following:
     to asbestos caused by any person or entity acting
                                                                     (1) it is a "person" within the meaning of the statute;
     under the authority of a federal officer or agency.
                                                                     (2) the plaintiff's claims are based upon the
(Id. ¶ 3)                                                            defendant's conduct "acting under" a federal office;

On November 25, 2013, Crane removed the action to                     (3) it raises a colorable federal defense; and
this court, pursuant to 28 U.S.C. § 1442(a)(1), the
                                                                      (4) there is a causal nexus between the claims and
federal officer removal statute. (D.I. 1) Plaintiffs filed the
                                                                      the conduct performed under color of a federal
pending Motion to Remand on December 20, 2013. (D.I.
                                                                      office.
14) Briefing on the Motion was completed by January
2014. (See D.I. 27)
                                                                 1 The
In their papers filed in support of remand, Plaintiffs                  Third Circuit draws a distinction between the removal
assert, among other things:                                      provisions of Section 1441, which "'are to [*9] be strictly
                                                                 construed against removal and all doubts should be resolved
     "Plaintiffs have disclaimed and hereby waive as             in favor of remand,'" Boyer, 913 F.2d at 111 (quoting Steel
     the basis for any relief in this case" "exposures           Valley Auth. v. Union Switch & Signal Div., 809 F.2d 1006,
     that may have occurred during Mr. Dougherty's               1010 (3d Cir. 1987)), and the provisions of the federal officer
     service in the United States Navy from 1945-                removal statute, which are to be "broadly construed." Sun
                                                                 Buick, Inc. v. Saab Cars USA, Inc., 26 F.3d 1259, 1262 (3d
     1947." (D.I. 14 at 2 (emphasis added))
                                                                 Cir. 1994).

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Feidt v. Owens Corning Fiberglas Corp., 153 F.3d 124,          Corp., 2013 U.S. Dist. LEXIS 138272, 2013 WL
127 (3d Cir. 1998) (citing Mesa v. California, 489 U.S.        5448623, at *2 (D. Del. Sept. 26, 2013), report and
121, 129, 109 S. Ct. 959, 103 L. Ed. 2d 99 (1989)).            recommendation adopted, 2013 U.S. Dist. LEXIS
                                                               153283, 2013 WL 5798701 (D. Del. Oct. 24, 2013); In re
As to the first element of the statute, this court has held    Asbestos Litig. (Seitz), 661 F. Supp. 2d at 454; Kirks,
that "defendants, as corporations, are 'persons' within        654 F. Supp. 2d at 224-25. "However, because 'design
the meaning of [Section 1442(a)(1)]." In re Asbestos           defect and failure to warn claims differ practically as well
Litig. (Seitz), 661 F. Supp. 2d 451, 454 (D. Del. 2009)        as theoretically,' courts have required the government
(citing Good v. Armstrong World Indus., Inc., 914 F.           approval to 'transcend rubber stamping' for the defense
Supp. 1125, 1128 (E.D. Pa. 1996)). [*10] See also              to shield a government contractor from failure to warn
Kirks v. GE, 654 F. Supp. 2d 220, 223 (D. Del. 2009).          liability."2 Hagen, 739 F. Supp. 2d at 783 (quoting Tate
                                                               v. Boeing Helicopters, 55 F.3d 1150, 1156-57 (6th Cir.
To satisfy the second element, the defendant "must             1995)). Consequently, in cases involving failure to warn
demonstrate that a 'federal office' was the source of the      claims, federal courts have tailored the Boyle
specific act for which the contractor now faces suit." In       [*12] elements as follows:
re Asbestos Litig. (Seitz), 661 F. Supp. 2d at 454. "The             (1) the United States exercised its discretion and
second factor has been described as requiring 'a                     approved the warnings, if any;
showing that the acts forming the basis of the state suit
were performed pursuant to an officer's direct orders or            (2) the contractor provided warnings that conformed
comprehensive and detailed regulations.'" Id. (quoting              to the approved warnings; and
Good, 914 F. Supp. at 1128).
                                                                    (3) the contractor warned the United States of the
The third element "requires a moving defendant to                   dangers in the equipment's use about which the
demonstrate that there is a colorable defense to a                  contractor knew, but the United States did not.
plaintiff's claims." Id. (citing Megill v. Worthington Pump,
Inc., 1999 U.S. Dist. LEXIS 4433, 1999 WL 191565, at           MacQueen, 2013 U.S. Dist. LEXIS 179733, 2013 WL
*3 (D. Del. Mar. 26, 1999)). The colorable defense             6571808, at *4 (quoting Hagen, 739 F. Supp. 2d at 783).
asserted here is the federal common law government             See also Oliver v. Oshkosh Truck Corp., 96 F.3d 992,
contractor defense. According to the Supreme Court, a          1003-04 (7th Cir. 1996); Tate, 55 F.3d at 1157.
federal contractor will not be liable for design defects in
equipment under state tort laws when:                          The final requirement for removal under Section
     (1) the United States approved reasonably precise         1442(a)(1) is that the defendant demonstrate a causal
     specifications;                                           nexus between the conduct being supervised by the
                                                               federal office and the conduct [*13] deemed offensive
    (2)    the   equipment       conformed      to    those    in the plaintiff's complaint. See In re Asbestos Litig.
    specifications; and                                        (Seitz), 661 F. Supp. 2d at 455. "To do so, a defendant
                                                               seeking removal must 'by direct averment exclude the
    (3) the supplier warned the United States about the        possibility that [the defendant's action] was based on
    dangers in the use of the equipment that were              acts or conduct of his not justified by his federal duty.'"
    known to [*11] the supplier but not to the United          Hagen, 739 F. Supp. 2d at 785 (alteration in original)
    States.                                                    (quoting Mesa, 489 U.S. at 132).

Boyle v. United Techs. Corp., 487 U.S. 500, 512, 108 S.
Ct. 2510, 101 L. Ed. 2d 442 (1988).

Although the Boyle Court applied the government
                                                               2 This court has previously explained that in actions involving
contractor defense to a design defect products liability
claim, federal courts have subsequently recognized the         allegations of failure to warn of the dangers of asbestos, the
applicability of the defense to state law failure to warn      removing defendant "must show that whatever warnings
                                                               accompanied a product resulted from a determination of a
clams. See, e.g., MacQueen v. Union Carbide Corp.,
                                                               government official, . . . and thus that the government itself
2013 U.S. Dist. LEXIS 179733, 2013 WL 6571808, at *3
                                                               'dictated' the content of the warnings meant to accompany the
(D. Del. Dec. 13, 2013), report and recommendation
                                                               product." In re Asbestos Litig. (Seitz), 661 F. Supp. 2d at 455
adopted, 2014 U.S. Dist. LEXIS 2888, 2014 WL 108535            (quoting In re Joint E. & S. Dist. N.Y. Asbestos Litig., 897 F.2d
(D. Del. Jan. 9, 2014); Walkup v. Air & Liquid Sys.            626, 630 (2d Cir. 1990)).

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IV. DISCUSSION                                                      a plumber in the United States Navy from 1945-
                                                                    1946. He inhaled, ingested and otherwise absorbed
I recommend that the court grant Plaintiffs' Motion to              asbestos-containing fibers emanating from various
Remand. In reaching this determination, however, two                products including, but not limited to, gaskets,
related points are noted from the outset. Specifically,             packing from equipment including pumps, valves
Plaintiffs' disclaimer in paragraph three of the Complaint          and other equipment.
(the "jurisdictional disclaimer") has no effect on Crane's
right of removal, and Crane has asserted a colorable           (Id. ¶ 2(a)) Thus, the disclaimer is ambiguous. On the
federal defense to certain of Plaintiffs' claims. Thus,        one hand, Plaintiffs seek to hold Crane liable for the
Crane's removal of this action was proper.                     alleged asbestos exposure relating to Mr. Dougherty's
Nevertheless, remand is appropriate, pursuant to 28            work for the Navy; on the other, Plaintiffs claim that
U.S.C. § 1367(c), based on Plaintiffs' post-removal            Crane has no right to remove on the basis of a colorable
disclaimer of any claims relative to Mr. Dougherty's           federal defense. See Despres v. Ampco-Pittsburgh
alleged exposure to asbestos during his service in the         Corp., 577 F. Supp. 2d 604, 608 (D. Conn. 2008).
U.S. Navy and on any federal jobsites and vessels (the         "Plaintiffs cannot have it both ways." Id.
"claim disclaimer").
                                                               Second, and more importantly, the majority of federal
                                                               courts have found that jurisdictional disclaimers in
A. Plaintiffs' Jurisdictional Disclaimer in Paragraph          complaints, like the one in Plaintiffs' Complaint, are
Three of the Complaint                                         ineffective to avoid federal officer removal jurisdiction.
                                                               See infra pp. 8-9.
Plaintiffs [*14] contend that Crane's removal of this
action was improper because they "expressly                    Courts have identified two related reasons why
disclaimed in their Complaint any claims or relief             jurisdictional disclaimers are ineffective. "First, . [*16] . .
attributable to Mr. Dougherty's service in the United          the presumption under the federal officer removal
States Navy." (D.I. 14 at 2) Plaintiffs' contention is         statute favors removal, for the benefit of the federal
without merit, for two reasons.                                officer involved the case." In re Asbestos Prods. Liab.
                                                               Litig. (No. VI), 770 F. Supp. 2d 736, 741 (E.D. Pa.
First, Plaintiffs' jurisdictional disclaimer is inconsistent   2011). "[O]ne of the most important reasons for [federal
with the allegations of the Complaint, rendering the           officer] removal is to have the validity of the defense of
disclaimer ambiguous. Paragraph three of the                   official immunity tried in a federal court." Willingham v.
Complaint provides, in pertinent part:                         Morgan, 395 U.S. 402, 407, 89 S. Ct. 1813, 23 L. Ed. 2d
                                                               396 (1969).
    3. Plaintiffs hereby disclaim any cause of action or
    claim for recovery that could give rise to federal         Second, federal officers may remove a case based on
    subject matter jurisdiction under either 28 U.S.C. §       the existence of a federal defense that is not apparent
    1331 (federal question) or 28 U.S.C. § 1442,               from the claims alleged in the complaint, because the
    subdivision (a)(1) (federal officer). Specifically,        well-pleaded complaint rule applicable to federal
    Plaintiffs disclaim any cause of action or claim for       question removal does not apply to federal officer
    recovery based on any exposure to asbestos on              removal. In re Asbestos Prods. Liab. Litig. (No. VI), 770
    land that is, or was, a "federal enclave" . . . .          F. Supp. 2d at 741-42 (citing Jefferson County v. Acker,
    Plaintiffs also disclaim any cause of action or claim      527 U.S. 423, 430-32, 119 S. Ct. 2069, 144 L. Ed. 2d
    for recovery based on any exposure to asbestos             408 (1999)). In Jefferson County, the Supreme Court
    caused by any person or entity acting under the            explained:
    authority of a federal officer or agency.
                                                                    It is the general rule that an action may be removed
(D.I. 1, Ex. 1 ¶ 3) In the immediately preceding                    from state court to federal court only if a federal
paragraph, however, Plaintiffs claim that Mr. Dougherty             district court would have original jurisdiction over
was exposed to asbestos while serving [*15] in the                  the claim in suit. To remove a case as one falling
Navy (i.e., on a federal jobsite and/or vessel).                    within federal-question jurisdiction, the federal
Specifically, Plaintiffs assert:                                    question ordinarily must appear on the face of a
     a. Plaintiff Francis Dougherty experienced                     properly pleaded [*17] complaint; an anticipated or
     occupational exposure to asbestos while serving as             actual federal defense generally does not qualify a


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     case for removal. Suits against federal officers are           government [*19] contractor's right to remove by
     exceptional in this regard. Under the federal officer          disclaiming any claim arising from any act or omission
     removal statute, suits against federal officers may            compelled by a government agency. Such a circular
     be removed despite the nonfederal cast of the                  disclaimer would defeat the purpose of § 1442(a)(1) as
     complaint; the federal question element is met if the          it would force federal contractors to prove in state court
     defense depends on federal law.                                that they were acting under the direction of the
                                                                    government."); Machnik v. Buffalo Pumps Inc., 506 F.
Id., 527 U.S. at 430-31 (emphasis added) (citations                 Supp. 2d 99, 103 n.1 (D. Conn. 2007) (denying motion
omitted). In other words, "[b]ecause the claim giving rise          to remand because "even artful pleading around any
to federal jurisdiction is ordinarily a state-law claim that        federal claims cannot defeat federal subject matter
only assumes a federal character when the defendant                 jurisdiction"); Ballenger v. Agco Corp., 2007 U.S. Dist.
invokes a colorable federal defense, neither the court              LEXIS 47042, 2007 WL 1813821, at *2 (N.D. Cal. June
nor the parties can identify and exclude at the outset of           22, 2007) (denying motion to remand despite plaintiff's
the case those claims that might ultimately give rise to            disclaimer of "any claim arising from any act or omission
federal jurisdiction." Joyner v. A.C. & R. Insulation Co.,          of the United States, . . . or a claim against any other
2013 U.S. Dist. LEXIS 79402, 2013 WL 2460537, at *4                 person or entity that is based on an act that was
(D. Md. June 6, 2013) (citing In re Asbestos Prods. Liab.           performed under specific direction of the United States,
Litig. (No. VI), 770 F. Supp. 2d at 742).3                          any agency thereof or any Officer of the United States").

Thus, asbestos plaintiffs' attempts at artful pleading to           Consequently, Plaintiffs' jurisdictional disclaimer in
circumvent federal officer removal by the use of                    paragraph three of the Complaint is ineffective to defeat
jurisdictional disclaimers have generally failed. See,              federal officer removal jurisdiction.
e.g., In re Asbestos Prods. Liab. Litig. (No. VI), 770 F.
Supp. 2d at 742 (holding that the plaintiffs' disclaimer
purporting to exclude any claims "'caused by the acts or            B. Crane's Notice of Removal and Government
omissions of defendants committed at the specific and               Contractor Defense
proven direction of an officer of the United States
government acting in his official capacity,'" was "not              As an alternative basis for remand, Plaintiffs contend
effective to defeat Defendant's entitlement to a federal            that Crane has failed to submit sufficient evidence to
forum for the adjudication of the federal defense                   establish a colorable federal defense or satisfy the
proffered"); O'Connell v. Foster Wheeler Energy Corp.,              requirements for removal under Section 1442(a)(1). (D.I.
544 F. Supp. 2d 51, 54 n.6 (D. Mass. 2008) (denying                 15 at 7-18) Crane counters that its affidavits and
remand notwithstanding disclaimer of "any cause of                  supporting materials demonstrate that the Navy
action or recovery for any injuries resulting from                  exercised control over Crane's manufactured products
exposure to asbestos dust caused by any acts or                     and accompanying written materials and, consequently,
omissions of a party committed at the direction of an               the government contractor defense precludes liability
officer of the United States Government"); Marley v.                under state law for Plaintiffs' claims [*21] of defective
                                                                    product design and failure to warn. (D.I. 22 at 9-16; see
Elliott Turbomachinery Co., 545 F. Supp. 2d 1266,
                                                                    also D.I. 1 at 2-5)
1274-75 (S.D. Fla. 2008)4 ("[P]laintiffs can[not] defeat a
                                                                    As this court has observed in several recent cases,
                                                                    there is a split in authority concerning the applicable
3 In In re Asbestos Prods. Liab. Litig., Judge Robreno further
                                                                    standard for assessing the colorability of a proffered
explained that "[r]ecognizing [a jurisdictional] disclaimer would
                                                                    government contractor defense. See Hicks v. Boeing
deprive the federal officer of the right to have the adequacy of
                                                                    Co., 2014 U.S. Dist. LEXIS 34160, 2014 WL 1051748,
the threshold determination [-] whether there is federal subject
 [*18] matter jurisdiction under the federal officer removal
statute [-] made by a federal court." Id., 770 F. Supp. 2d at       agency/officer of the federal government. Id., 545 F. Supp. 2d
742-43.                                                             at 1274. If the acts or omissions were required by the agency,
                                                                    the disclaimer applies and the plaintiff's claims fail as a matter
4 In Marley, the Court observed that jurisdictional disclaimers     of law. Id. If the acts or omissions were not required by the
are "circular" because their applicability depends on a             agency, then the disclaimer does not apply. Id. "The problem
determination of the core question in a given case: whether a       with this argument is that [] defendants have the right to have
defendant's purported acts or omissions were required or            this question decided in federal court." Id. (citing Jefferson
caused by its contractual relationship [*20] with an                County, 527 U.S. at 432).

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at *4 (D. Del. Mar. 17, 2014), report and                         With respect to the second element, Crane has shown
recommendation adopted, 2014 U.S. Dist. LEXIS                     that Plaintiffs' design defect and failure to warn claims
48537, 2014 WL 1391104 (D. Del. Apr. 8, 2014);                    associated with Mr. [*23] Dougherty's naval service are
MacQueen, 2013 U.S. Dist. LEXIS 179733, 2013 WL                   based upon Crane's conduct "acting under" a federal
6571808, at *5-7; Walkup, 2013 U.S. Dist. LEXIS                   office. Plaintiffs allege that Mr. Dougherty was exposed
138272, 2013 WL 5448623, at *3-5. In short, the split             to asbestos "from various products including, but not
"'boils down to an argument over what a defendant must            limited to, gaskets, packing from equipment including
proffer to defeat a plaintiff's motion for remand.'"              pumps, valves and other equipment," while serving as a
Walkup, 2013 U.S. Dist. LEXIS 138272, 2013 WL                     plumber in the U.S. Navy from 1945-1946. (D.I. 1, Ex. 1
5448623, at *4 (quoting Hagen, 739 F. Supp. 2d at                 ¶ 2(a)) Plaintiffs further allege that these products "were
777).5                                                            mixed, mined, manufactured, applied, sold, distributed,
                                                                  removed, installed or used" by the defendants,6
Consistent with the line of reasoning of this court in            including Crane. (Id. ¶ 5) In response, Crane has
Hicks, MacQueen, and Walkup, and "the trend in this               submitted the affidavits of Anthony D. Pantaleoni ("Mr.
Circuit to broadly construe the federal officer removal           Pantalieoni"), who has served as the Vice-President of
statute," Walkup, 2013 U.S. Dist. LEXIS 138272, 2013              Environment, Health, and Safety for Crane since 1989
WL 5448623, at *4 (citing Kirks, 654 F. Supp. 2d at 225-          (Id., Ex. 2), and retired U.S. Navy Rear Admiral David P.
26), Crane's removal of this action should be sustained           Sargent, Jr. ("Admiral Sargent"), who served in the Navy
if Crane "identifies facts which, viewed in the light most        from 1967 to 1999 (Id., Ex. 3), to demonstrate that the
favorable to [Crane], would establish a complete                  acts forming the basis of Plaintiffs' claims were
defense at trial." Hagen, 739 F. Supp. 2d at 783.                 performed pursuant to direct orders or comprehensive
                                                                  and detailed regulations of the office of the Navy and its
In order to properly establish removal under Section              officers. See In re Asbestos Litig. (Seitz), 661 F. Supp.
1442(a)(1), Crane must show the following:                        2d at 454.
    (1) it is a "person" within the meaning of the statute;
    (2) the plaintiff's claims are based upon the                 Mr. Pantaleoni's affidavit indicates that Crane
    defendant's conduct "acting under" a federal office;          manufactured and supplied equipment, including valves,
                                                                  for Navy ships under contracts between Crane and the
     (3) it raises a colorable federal defense; and               Navy, and that "[a]ll equipment supplied by Crane to the
                                                                  Navy was built in accordance with [] Navy
     (4) there is a causal nexus between the claims and
                                                                  specifications." (D.I. 1, Ex. 2 ¶¶ 4-6) Mr. Pantaleoni
     the conduct performed under color of a federal
                                                                  explained that the Navy specifications "governed all
     office.
                                                                  aspects of a piece of equipment, such as a valve's[]
                                                                  design and construction and specified the materials to
Feidt, 153 F.3d at 127 (citing Mesa, 489 U.S. at 129).
                                                                  be used, including materials such as gaskets and
There is no dispute that Crane, as a corporation, is a            packing." (Id. ¶ 5)
"person" within the meaning of the statute. See Kirks,
                                                                  Admiral Sargent's affidavit indicates that the Navy
654 F. Supp. 2d at 223.
                                                                  provided equipment manufacturers such as Crane with
                                                                  precise specifications "as to the nature of any markings,
                                                                  communication or directions affixed to or made a part of
                                                                  any equipment [they] supplied . . . for ultimate use
5 In Walkup, this court explained:
                                                                  aboard Navy ships." (Id., Ex. 3 ¶ 58) Based on the
                                                                  content of these specifications, as well as the actual
     On one side of the split, "the colorable defense standard
     is not an onerous one to satisfy." For example, some         practice as it evolved in the field, Admiral Sargent
     courts require only that a colorable defense be plausible    explained that the manufacturers "would not have been
     in order to meet the requirements for removal under          permitted . . . to vary or to deviate in any respect from
     Section 1442(a)(1). "Yet other courts . . . [—] albeit not   the Navy specifications in supplying equipment,
     explicitly — apply a heightened standard at the remand
     stage that requires courts to 'carefully weigh the
     plausibility of the proffered defense.'"
                                                                  6 Plaintiffs' Complaint expressly excludes from this allegation

Walkup, 2013 U.S. Dist. LEXIS 138272, 2013 WL 5448623, at         [*24] defendant Metropolitan Life Insurance Company. (See
*4 (quoting [*22] Hagen, 739 F. Supp. 2d at 780).                 D.I. 1, Ex. 1 ¶ 5)

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 [*25] including affixing any type of warning or caution     Boyle, 487 U.S. at 512. "However, because 'design
statement to equipment intended for installation in a        defect and failure to warn claims differ practically as well
Navy ship." (Id.)                                            as theoretically,' [*27] courts have required the
                                                             government approval to 'transcend rubber stamping' for
The Navy similarly had precise specifications with           the defense to shield a government contractor from
respect to the instruction books and technical manuals       failure to warn liability." Hagen, 739 F. Supp. 2d at 783
accompanying such equipment. (Id. ¶ 59) According to         (quoting Tate, 55 F.3d at 1156-57).
Admiral Sargent, the Navy did not permit equipment
manufacturers such as Crane to "include any type of          The government contractor defense inquiry "is
warning or caution statement in instruction books or         undertaken whilst viewing the facts in the light most
technical manuals, beyond those required and approved        favorable to [Crane], and does not address the merits of
by the Navy without prior discussion and approval by         the defense." Id. at 783-84.
the Navy." (Id. ¶ 60) Admiral Sargent stated that the
Navy reviewed and approved the contents of all               In the present case, the evidence offered by Crane is
technical manuals, including any cautionary language or      adequate on its face to make a plausible showing that
emphasis, "in an exacting manner," often making              the Navy approved reasonably precise specifications,
extensive line-by-line edits to such manuals and their       and exercised direction and control, over the design,
included warnings. (Id.) Admiral Sargent further             manufacture, and accompanying manuals and warnings
explained that these detailed specifications were            of the equipment supplied by Crane. For example, Mr.
necessary because uniformity was critical to naval           Pantaleoni's affidavit indicates that all of the equipment
operation, and inconsistent warnings would have              supplied by Crane to the Navy was manufactured
resulted "[i]f every equipment [] manufacturer were          pursuant to the Navy's "extensive . . . standards and
allowed to decide on the need for, and provide its own       specifications," which "governed all aspects" of the
safety and health warnings [including those related to       equipment, including the design and internal materials.
asbestos]." (Id. ¶ 62)                                       (D.I. 1, Ex. 2 ¶¶ 4-6)

Based upon his [*26] knowledge and experience in the         Additionally, Admiral Sargent's affidavit demonstrates
field, Admiral Sargent concluded that the Navy would         that the Navy provided Crane with precise specifications
not have permitted equipment suppliers such as Crane         concerning written materials, such as product warnings
to affix asbestos-related warnings on packaging or           and product manuals, [*28] which accompanied
containers for valves or related parts, or in any related    Crane's equipment for use aboard Navy ships. (Id., Ex.
literature, supplied to the Navy during the relevant         3 ¶ 58) According to Admiral Sargent, Crane "would not
timeframe. (Id. ¶¶ 64-67)                                    have been permitted . . . to vary or to deviate in any
                                                             respect from the Navy specifications in supplying
Based on the above affidavits, Crane has satisfied its       equipment, including affixing any type of warning or
burden to show that Plaintiffs' claims associated with Mr.   caution statement to equipment intended for installation
Dougherty's naval service are based upon Crane's             in a Navy ship." (Id.)
conduct "acting under" the office of the Navy and its
officers.                                                    Consequently, the evidence is sufficient to plausibly
                                                             show that the Navy was responsible for the design and
With respect to the third element of removal jurisdiction    manufacture of Crane's products, and exercised control
under Section 1442(a)(1), Crane has raised a colorable       that    "transcend[ed]   rubber    stamping"     over
federal defense to Plaintiffs' claims, namely, the           accompanying product manuals and warnings. Hagen,
government contractor defense. The government                739 F. Supp. 2d at 783.
contractor defense displaces state tort law where:
    (1) the United States approved reasonably precise        The evidence is likewise adequate to show that Crane's
                                                             products conformed to the specifications of the Navy.
    specifications;
                                                             Indeed, Admiral Sargent stated that Crane's
    (2)    the   equipment      conformed     to    those    "[e]quipment could not have been installed aboard Navy
    specifications; and                                      vessels unless it was first determined by the Navy to be
                                                             in conformity with all applicable Navy specifications."
    (3) the supplier warned the United States about the      (D.I. 1, Ex. 3 ¶ 29) Admiral Sargent's affidavit further
    dangers in the use of the equipment that were            demonstrates that Crane acted in accordance with Navy
    known to the supplier but not to the United States.      specifications by not providing warnings because Crane

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was not permitted to do so without prior discussion and         directly from the specifications that the Navy provided to
approval by the [*29] Navy. (Id. ¶¶ 60, 64-67)                  Crane. The failure to warn claim arises directly out of
                                                                the alleged involvement of the Navy in determining what
Crane's evidence also satisfies the third element of the        warnings could be included with, or placed upon,
government contractor defense, which requires a                 equipment        manufactured          [*31] by    Crane.
contractor to have "warned the United States about the          Consequently, a causal nexus exists because Crane's
dangers in the use of the equipment that were known to          liability arises from its official duties, performed in
the [contractor] but not to the United States." Boyle, 487      accordance with government contracts. Therefore,
U.S. at 512. Notably, as the language of the third prong        Crane has met the requirements of the federal officer
indicates, "a contractor is not required to warn the            removal statute.8
United States of hazards of which the United States was
already aware." Walkup, 2013 U.S. Dist. LEXIS 138272,
2013 WL 5448623, at *7. The affidavit of Samuel A.              C. Plaintiffs' Evidence and Evidentiary Objections
Forman, M.D. ("Dr. Forman") (D.I. 1, Ex. 4), submitted
by Crane, addresses this point directly.                        In support of their Motion to Remand, Plaintiffs contend
                                                                that Crane's evidence is insufficient to invoke the federal
Dr. Forman served in the Navy as a medical officer from         officer defense because it consists of "self-serving
1977 through 1983, and as a civilian employee of the            affidavits containing entirely untested hypotheticals."
Navy until 1986. (Id. ¶ 3) He currently practices as a          (D.I. 15 at 12) Plaintiffs also present their own
specialist in preventative and occupational medicine,           contradictory evidence that, they contend, establishes
and is part of a team responsible for reviewing                 that Crane was not prohibited from providing asbestos
government documents for production in asbestos                 warnings with its equipment. (Id. at 9-18) This evidence
litigation. (Id. ¶¶ 1, 9-11) Through these experiences,         includes the affidavit of Arnold P. Moore ("Captain
Dr. Forman has acquired extensive knowledge                     Moore"), a retired Navy Captain with naval engineering
regarding the Navy's awareness about the dangers of             experience who has been employed in the private
asbestos. In his affidavit, Dr. Forman summarized the           sector for over twenty-five years as an engineer for a
Navy's knowledge of those dangers. (Id. ¶¶ 26-55)               number of naval defense contractors. (Id., Ex. 3)
 [*30] According to Dr. Forman, the Navy recognized             Captain Moore's affidavit indicates, among other things,
such health hazards as early as 1922, and by the 1940s          that the Navy "relied heavily upon its manufacturers and
had outlined steps to prevent exposure to asbestos. (Id.        vendors to identify hazards associated with their
¶¶ 27, 30-31) Dr. Forman explained that while the Navy          products" and "to provide warnings" for such hazards.
was advised of the hazards associated with asbestos, it         (Id. ¶¶ 11-12)
rejected offers for assistance with those hazards due to
other concerns. (Id. ¶¶ 32-35)
                                                                     government contractor is the defendant because both
This evidence, viewed in the light most favorable to                 elements require the defendant [to] show that it acted at
Crane, constitutes a plausible showing that the Navy                 the federal government's command." Accordingly, . . .
was already familiar with the dangers of asbestos, such              "the causal nexus analysis 'is essentially the same as
that Crane was not obligated to apprise the Navy of                  [that  associated    with]   the    colorable    defense
those risks. Thus, Crane has satisfied the third element             requirement.'"
of   the    government      contractor   defense    and,
                                                                Id., 2013 U.S. Dist. LEXIS 179733, 2013 WL 6571808, at *12
consequently, has established a colorable federal
                                                                (alterations in original) (quoting Hagen, 739 F. Supp. 2d at
defense under Section 1442(a)(1).                               785).

As to the final element of federal officer removal              8 This conclusion is supported by a number of cases, including
jurisdiction, Crane has shown a causal nexus between            one from this District, where Crane established federal officer
Plaintiffs' claims and Crane's conduct performed under          removal jurisdiction based on affidavits of Admiral Sargent, Mr.
color of a federal office.7 The design defect claim arises      Pantaleoni, and Dr. Forman that were similar or identical to
                                                                those proffered here. See, e.g., MacQueen, 2013 U.S. Dist.
                                                                LEXIS 179733, 2013 WL 6571808, at *7-12; Joyner v. A.C. &
7 In MacQueen, this court explained that                        R. Insulation Co., 2013 U.S. Dist. LEXIS 31549, 2013 WL
                                                                877125, at *2-9 (D. Md. Mar. 7, 2013); Leite v. Crane Co., 868
     the causal nexus element "is closely related to evidence   F. Supp. 2d 1023, 1031-34, 1038-42 (D. Haw. 2012),
     supporting a colorable federal defense where a              [*32] aff'd, 749 F.3d 1117 (9th Cir. 2014).

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Although Plaintiffs' evidence certainly calls into question     Trust Corp., 938 F.2d 383, 392 n.12 (3d Cir. 1991) ("It is
the assertions made in the affidavits submitted by              a firmly established rule that subject matter jurisdiction
Crane, this is not the time for the court to "'dissect the      is tested as of the time of the filing of the complaint."
facts stated [*33] . . . [or to] determine credibility, weigh   (citations omitted)).
the quantum of evidence or discredit the source of the
defense.'" MacQueen, 2013 U.S. Dist. LEXIS 179733,              In the court's view, Plaintiffs' post-removal assertions
2013 WL 6571808, at *10 (quoting Hagen, 739 F. Supp.            are substantively distinct from the jurisdictional
2d at 782). See also Walkup, 2013 U.S. Dist. LEXIS              disclaimer and, as such, are construed [*35] collectively
138272, 2013 WL 5448623, at *8 ("Given that [the                as a separate, post-removal claim disclaimer. Contrary
defendant] has satisfied the removal requirements               to Plaintiffs' argument, the claim disclaimer is not
under Section 1442(a)(1), consideration of the Plaintiffs'      sufficient to "defeat" Crane's removal under the federal
Evidentiary Objections is not warranted at this early           officer statute because it was asserted after Crane filed
stage of the proceeding[]" because a federal officer is         its notice of removal and through a motion to remand.
not required to "'win his case before he can have it            However, the claim disclaimer's substantive effect on
removed.'" (quoting Willingham, 395 U.S. at 407)).              this case warrants further discussion.
Rather, the court's job "is merely to analyze, as a
threshold matter, whether [Crane's] defense is                  While courts in this Circuit have not previously
colorable. And it is." MacQueen, 2013 U.S. Dist. LEXIS          addressed express claim disclaimers (as contrasted
179733, 2013 WL 6571808, at *10.                                with jurisdictional disclaimers, see In re Asbestos Prods.
                                                                Liab. Litig. (No. VI), 770 F. Supp. 2d at 740-43)9 in the
                                                                context of asbestos actions, a number of federal courts
D. Plaintiffs' Post-Removal Claim Disclaimer                    in other circuits have considered the issue. A review of
                                                                the relevant case authorities reveals that courts
Following Crane's removal of this action, Plaintiffs made       recognize a distinction between artful pleading for
the following averments in support of their Motion to           purposes of circumventing federal officer jurisdiction,
Remand:                                                         and express disclaimers of the claims that serve as the
                                                                grounds for removal under Section 1442(a)(1). In the
    "Plaintiffs have disclaimed and hereby waive as             latter case, federal courts have consistently granted
    the basis for any relief in this case" "exposures           motions to remand where the plaintiff expressly
    that may have occurred during Mr. Dougherty's               disclaimed the claims upon which federal officer
    service in the United States Navy from 1945-                removal was based.
    1947." (D.I. 14 at 2 (emphasis added))

     "To the extent necessary, Plaintiffs also hereby
     waive all claims against Crane stemming from
      [*34] Mr. Dougherty's asbestos exposure from              9 In  the present case, Plaintiffs' claim disclaimer purports
     any federal government job site, and aboard                 [*36] to exclude any claims arising out of Mr. Dougherty's
     Navy ships or any other military vessel." (D.I. 15         asbestos exposure on federal jobsites, Navy ships, and
     at 4)                                                      military vessels — irrespective of whether the claims could
Plaintiffs contend that the "disclaimer [in the Complaint],     give rise to a federal defense, and irrespective of whether the
coupled with [their] further explicit waiver [] of any          exposure was caused by any person or entity acting under the
causes of action relating to Mr. Dougherty's work in the        authority of a federal officer or agency. (See D.I. 14 at 2; D.I.
Navy, is sufficient to defeat defendant Crane's removal         15 at 4) Furthermore, Plaintiffs assert that their claims are
                                                                premised on exposures at non-federal, private locations. (See
under the federal officer removal statute." (D.I. 15 at 2)
                                                                D.I. 15 at 13) In contrast, the plaintiffs' disclaimer in In re
                                                                Asbestos Prods. Liab. Litig. (No. VI) purported to exclude any
It is unclear whether Plaintiffs offer these statements in
                                                                claims of asbestos exposure "'caused by the acts or omissions
order to clarify the jurisdictional disclaimer in the
                                                                of defendants committed at the specific and proven direction
Complaint, or as an additional, separate waiver.                of an officer of the United States government acting in his
Nevertheless, the court rejects the proposition that            official capacity.'" Id., 770 F. Supp. 2d at 740 (citation omitted).
Plaintiffs' post-removal statements should be considered        This disclaimer is far more limited and is contingent on the
in conjunction with the jurisdictional disclaimer in the        Navy's contractual limitations and specifications. Additionally,
Complaint for purposes of evaluating the propriety of           the only claims asserted against the defendant were based
Crane's removal. See generally Rosa v. Resolution               exclusively on asbestos exposure at federal jobsites. Id. at
                                                                742.

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For example, in Westbrook v. Asbestos Defendants                jobsites.10 2009 U.S. Dist. LEXIS 111521, [WL] at *1, 5.
(BHC), 2001 U.S. Dist. LEXIS 11575, 2001 WL 902642              Prior to removal, however, plaintiffs served defendants
(N.D. Cal. July 31, 2001), [*37] the U.S. District Court        with discovery responses that included an exposure
for the Northern District of California granted the             chart. 2009 U.S. Dist. LEXIS 111521, [WL] at * 1. The
plaintiffs' motion to remand, in part, based on a written       chart indicated that the plaintiff "was exposed to
claim disclaimer. 2001 U.S. Dist. LEXIS 11575, [WL] at          asbestos-containing products while employed with New
*3. The action had initially been removed by a defendant        York Shipbuilding in Camden, New Jersey from 1942 to
asserting the government contractor defense in                  1944," and "generally identified] the products in issue
response to allegations in the complaint that the plaintiff     (including boilers, insulation, [*39] pumps, turbines,
was exposed to asbestos on Navy ships while working             etc.) and name[d] four Naval combat ships (cruisers and
at the defendant's facility, among other locations. 2001        carriers) he worked on at New York Shipbuilding by
U.S. Dist. LEXIS 11575, [WL] at * 1-2.                          name, hull code and number." 2009 U.S. Dist. LEXIS
                                                                111521, [WL] at *5.
In granting the plaintiffs' motion to remand, the court
reasoned:                                                       One of the defendants removed the case, asserting the
    . . . [P]laintiffs have asserted, in writing in the state   government contractor defense on the basis that it
    court action, that: "Plaintiff's claims against [the        manufactured boilers and other equipment for use on
    removing defendant], exclude plaintiffs asbestos            Navy ships, including those ships identified in the
    exposure at military and federal government                 plaintiffs' exposure chart, pursuant to contracts and
    jobsites and aboard U.S. Navy vessels." To the              specifications executed by the Navy. 2009 U.S. Dist.
    extent this "stipulation" (as plaintiffs call it) is        LEXIS 111521, [WL] at *1, 5-6. The plaintiffs filed a
    binding, [the defendant's] ground for removal is            motion to remand, arguing that they expressly excluded
    eviscerated. If plaintiffs' claims arise only from work     from the complaint "any claims for exposure while
    done on private ships, not under the direction of           working with [the removing defendant's] products on
    any federal officers, [the defendant's] military            Naval ships at New York Shipbuilding from 1942 to
    contractor defense is unavailable.                          1944." 2009 U.S. Dist. LEXIS 111521, [WL] at *6.

    The question then is whether plaintiffs' written            In granting remand, the court cited [*40] Westbrook and
    waiver is sufficient. . . . The court sees no reason        explained:
    not to hold plaintiffs in this case to their waiver
     [*38] of claims arising out of work done on federal             Plaintiffs here, as in Westbrook, disclaimed claims
    jobsites and vessels. This waiver, therefore,                    against [the removing defendant] arising out of work
    justifies remand. If plaintiffs later attempt to reverse         on Navy ships. [The defendant] is correct that the
    course, and are allowed to do so by the state court              focus should be on the existence of a colorable
    despite their express waiver, [the defendant] can                federal defense and not on Plaintiffs' Complaint.
    always file for removal once again.                              However, [the defendant] premised removal on the
                                                                     assumption that Plaintiffs were suing, at least in
2001 U.S. Dist. LEXIS 11575, [WL] at *2-3 (citations                 part, for claimed exposure to asbestos for work on
omitted).                                                            Navy ships at New York Shipbuilding. Plaintiffs'
                                                                     Complaint makes clear that their claim is limited to
Similarly, in Hopkins v. Buffalo Pumps, Inc., 2009 U.S.              specific locations other than New York Shipbuilding.
Dist. LEXIS 111521, 2009 WL 4496053 (D.R.I. Dec. 1,                  Thus, Plaintiffs are not pursuing a claim against
2009), the U.S. District Court for the District of Rhode             which [the defendant] has shown the existence of a
Island granted the plaintiffs' motion to remand because              colorable federal defense. As noted by the Court in
it determined that the removing defendant could not
assert a federal defense to claims of asbestos exposure
that the plaintiffs deliberately chose not pursue. 2009         10 Specifically, the complaint alleged that one of the plaintiffs

U.S. Dist. LEXIS 111521, [WL] at *6. There, the                 "'was exposed to various asbestos containing products
plaintiffs' complaint had limited their causes of action to     through the use of products manufactured, sold or distributed
asbestos exposure that occurred on two non-federal              by the named defendants with such exposure as these named
                                                                defendants' products occurring as a laborer and maintenance
                                                                worker at Mobil Oil from 1946-1966 and Tucson Gas & Electric
                                                                . . . from 1966-1979.'" Hopkins, 2009 U.S. Dist. LEXIS 111521,
                                                                2009 WL 4496053, at *1 (alteration in original).

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    Westbrook, if Plaintiffs reverse course in the future         present issues of federal law. But removal is not
    and attempt to assert a claim based on claimed                available to deal with federal issues that arise in
    exposure at New York Shipbuilding, [the defendant]            counterclaims and cross-claims. As a result, state
    can file a renewed notice of removal under 28                 courts deal with issues of federal law all the time.
    U.S.C. § 1442 at that time.
                                                                  Federal actor removal represents an exception to
Hopkins, 2009 U.S. Dist. LEXIS 111521, 2009 WL                    the usual rule that the existence of a federal
4496053, at *7 (citations omitted).                               defense does not confer federal jurisdiction. But
                                                                  once the plaintiffs' claim against a government
In Frawley v. Gen. Elec. Co., 2007 U.S. Dist. LEXIS               contractor is out of the case, it stretches the
18404, 2007 WL 656857 (S.D.N.Y. Mar. 1, 2007), a                  principle for a federal court to retain the case
husband and wife sought damages from a number of                  against the possibility that cross-claims will be pled.
defendants for injuries caused by the husband's alleged           If plaintiff had not originally pleaded failure to warn
exposure [*41] to asbestos. 2007 U.S. Dist. LEXIS                 and to maintain a safe workplace claims against GE
18404, [WL] at *1. One of the defendants, GE, removed             arising out of his [*43] work for the Navy, GE could
the case under the federal officer removal statute after          not have removed the case to this court pursuant to
learning that the husband was allegedly exposed to                the federal officer removal statute, even though the
asbestos while working as a civilian employee for the             potential for cross-claims implicating federal
Navy. Id. The husband had worked on two ships, "both              interests would have existed. GE would have had to
of which carried asbestos-containing steam turbines               assert its government contractor defense to those
built by GE pursuant to government contract." Id. Shortly         cross claims in the state court.
after removal, the plaintiffs amended their complaint as
a matter of right, pursuant to Fed. R. Civ. P. 15(a), to      2007 U.S. Dist. LEXIS 18404, [WL] at *4 (citation
delete all allegations against GE relative to the             omitted). Ultimately, the court determined that remand
husband's naval exposure, and filed a motion to               was appropriate and granted the plaintiffs' motion.11
remand. Frawley, 2007 U.S. Dist. LEXIS 18404, 2007            2007 U.S. Dist. LEXIS 18404, [WL] at *5-6.
WL 656857, at *2.
                                                              In Joyner v. A.C. & R. Insulation Co., 2013 U.S. Dist.
GE opposed the motion, arguing that remand was                LEXIS 31549, 2013 WL 877125 (D. Md. Mar. 7, 2013),
precluded because its initial removal of the case was         reconsideration denied, 2013 U.S. Dist. LEXIS 79402,
proper. 2007 U.S. Dist. LEXIS 18404, [WL] at *3. GE           2013 WL 2460537 (D. Md. June 6, 2013), the U.S.
further argued that it was subject to potential cross-        District Court for the District of Maryland [*44] granted
claims from co-defendants seeking contribution on the         the plaintiff's motion to remand based on the plaintiff's
theory that GE's products were responsible for the            post-removal waiver of claims. Id., 2013 U.S. Dist.
plaintiffs' injuries, which "would insert the issue of GE's   LEXIS 79402, 2013 WL 2460537, at *1.
federal contractor immunity right back into the case."
2007 U.S. Dist. LEXIS 18404, [WL] at *4.                      Initially, the complaint asserted claims for exposure to
                                                              asbestos-containing products, including valves, during
The court rejected both arguments. The court reasoned         the plaintiff's service in the U.S. Coast Guard, and
that, "[c]ontrary to GE's assertion, . . . a properly         gaskets, during his employment as a civilian electrician.
removed case can be remanded to the state court after         Id., 2013 U.S. Dist. LEXIS 31549, 2013 WL 877125, at
 [*42] the complaint is amended to remove the                 *1-3. Some of the valves and gaskets were allegedly
allegations that made removal proper." 2007 U.S. Dist.
LEXIS 18404, [WL] at *3 (citing Carnegie-Mellon
University v. Cohill, 484 U.S. 343, 108 S. Ct. 614, 98 L.     11 Because    Plaintiffs' disclaimer excluded only the claims
Ed. 2d 720 (1988)). The court further explained:              against GE, the court deferred remand for a short period of
     . . . [T]he potential for cross-claims that will be      time in order to allow other defendants to notify the court if
     subject to a government contractor defense does          they intended to assert a government contractor defense to
     not necessarily mean that this court ought to retain     the plaintiffs' claims. Frawley, 2007 U.S. Dist. LEXIS 18404,
     jurisdiction over what is essentially a state court      2007 WL 656857, at *6. The court reasoned that
                                                              "considerations of fairness would weigh heavily in favor of
     matter. In other contexts, defenses and
                                                              retaining this case if there are other government contractor
     counterclaims to state law causes of action, and
                                                              defendants, because those defendants have by now lost their
     even cross-claims between various defendants,
                                                              right to remove the case due to the passage of time." Id.

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manufactured by defendant Crane (the same defendant                     Crane Co.'s federal defense with respect to its
here). Id. The complaint, however, "expressly                           valves to be colorable, and that determination has
disclaimed 'any federal cause of action or any claim that               led [the plaintiff] to drop the valve claim. Crane Co.
would give rise to federal jurisdiction.'" 2013 U.S. Dist.              cannot reasonably maintain that it will suffer
LEXIS 31549, [WL] at *1 (citation omitted).                             prejudice if [the plaintiff] elects not to seek damages
                                                                        for injuries that Crane Co. allegedly caused. The
Crane removed the action pursuant to the federal officer                claim disclaimer also will not shift Crane Co.'s
removal statute, claiming it was entitled to the                        damages onto the other defendants. Even if [the
government contractor defense because it designed,                      plaintiff] is permitted to disclaim any damages
manufactured and supplied its valves "pursuant to                       related to Crane Co.'s valves, the other defendants
precise contracts and specifications approved by the                    may argue to the state-court jury that those valves
Navy" for use by the Coast Guard. 2013 U.S. Dist.                       caused or contributed to [the plaintiff's]
LEXIS 31549, [WL] at *2. The plaintiff filed a motion to                mesothelioma. The jury would then be charged with
remand. 2013 U.S. Dist. LEXIS 31549, [WL] at *1, 2.                     determining the extent to which the valves caused
The court found that Crane had established a colorable                  his injuries, and [the plaintiff] would not be entitled
federal defense under Section 1442(a)(1) and, thus,                     to any monetary damages for the valve-related
denied remand as to Crane.12 2013 U.S. Dist. LEXIS                      injuries. In other words, the claim disclaimer would
31549, [WL] at *9, 11.                                                  simply prevent [the plaintiff] from collecting any
                                                                        damages caused by his exposure to Crane Co.
The plaintiff subsequently filed a "notice of                           valves.
abandonment of claims [related to Crane's valves] and                   ....
request for remand." Id., 2013 U.S. Dist. LEXIS 79402,
2013 WL 2460537, at *1. In response to procedural                       The validity of Crane Co.'s federal [*47] defense
objections by Crane, the plaintiff also proposed the                    with respect to the valves therefore would be
following amendment to paragraph two of the complaint:                  immaterial, as Crane Co. would no longer face
     Plaintiff makes no claims for recovery nor asserts                 liability related to its valves. And because Crane
     any theories of liability against Crane Co. for its                Co.'s co-defendants/cross-claimants cannot seek
     valves. Plaintiff's . . . claims against Crane Co. are             contribution from Crane Co. for injuries caused by
     confined to its manufacture, sale, distribution and                its valves if no damages are awarded for those
     marketing of [] gaskets.                                           injuries, the validity of Crane Co.'s federal defense
                                                                        would be immaterial to the cross-claims as well.
2013 U.S. Dist. LEXIS 31549, [WL] at *4. Crane
opposed the amendment, arguing that it was "a bald                  2013 U.S. Dist. LEXIS 31549, [WL] at *5. Consequently,
attempt 'to disclaim any facts or claims that might invoke          the court granted the plaintiff's "notice of abandonment
federal jurisdiction.'" Id. (citation omitted). According to        of claims," which was "treated as a motion to amend the
Crane, the provision was no more effective than the                 complaint," and granted the plaintiff's motion to remand.
initial disclaimer the plaintiff's complaint, which                 2013 U.S. Dist. LEXIS 31549, [WL] at *7.
purported to renounce any claims that could give rise to
federal jurisdiction. Id.                                           The authorities discussed above represent only a
                                                                    portion of a larger group of asbestos cases in which
The court rejected Crane's argument, finding "significant           courts have given effect to express claim disclaimers.
 [*46] differences[] . . . between the jurisdictional               See, e.g., Phillips v. Asbestos Corp. Ltd., 2014 U.S.
disclaimer [initially asserted] and the [proposed] claim            Dist. LEXIS 24792, 2014 WL 794051, at *2 (N.D. Cal.
disclaimer in paragraph two." Id. The court reasoned:               Feb. 26, 2014) ("[Plaintiff] has expressly disclaimed and
     . . . Here, a federal court has already deemed                 waived any claim arising out of or related to any
                                                                    asbestos exposure aboard federal jobsites and navy
                                                                    vessels. This removes any claims to which military
12 The plaintiff had also filed a motion
                                       [*45] to sever in addition   contractor immunity might act as a defense."); Schulz v.
to the motion to remand. Joyner, 2013 U.S. Dist. LEXIS              Crane Co., 2014 U.S. Dist. LEXIS 9198, 2014 WL
31549, 2013 WL 877125, at * 1. The court granted the motion         280361, at *1-2 (E.D. Cal. Jan. 23, 2014) (holding that
to sever the plaintiff's claims against Crane from his claims       plaintiff's waiver [*48] of claims "arising out of or related
against the other defendants and, thus, remanded the case as
                                                                    to asbestos exposure to or on military or federal
to those defendants. 2013 U.S. Dist. LEXIS 31549, [WL] at
                                                                    government aircraft" precluded federal officer removal);
*10.

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Lara v. CBS Corp., 2013 U.S. Dist. LEXIS 128265, 2013        authority is Morgan v. Bill Vann Co., Inc., 2011 U.S.
WL 4807168, at *1 (C.D. Cal. Sept. 6, 2013) (granting        Dist. LEXIS 140394, 2011 WL 6056083 (S.D. Ala. Dec.
remand over defendant's objection that the plaintiffs'       6, 2011). But Morgan is distinguishable. There, the
claim disclaimer was non-binding because "[t]he form of      plaintiff in an asbestos action sought remand because
plaintiffs' post-removal waiver [did] not undercut its       he had disclaimed in the complaint "any claim arising
effectiveness"); Kuhnau v. Allied Packing & Supply, Inc.,    from an act or omission . . . by any officer of the United
2013 U.S. Dist. LEXIS 87691, 2013 WL 3187650, at *1          States or any agency or person acting under him/her
(N.D. Cal. June 21, 2013) (granting remand, conditioned      under color of such office." 2011 U.S. Dist. LEXIS
upon the plaintiffs' filing of a proposed disclaimer that    140394, [WL] at *9. The U.S. District Court for the
waived all claims arising out of "exposure to asbestos at    Southern District of Alabama found that the jurisdictional
any military and/or federal government jobsites,             disclaimer was "legally ineffective to extinguish the
including, but not limited to exposure which occurred        defective design claims" in the complaint, which had
aboard any United States Navy Vessels and/or United          given rise to the federal officer defenses asserted by the
States Navy Shipyards"); Lockwood v. Crane Co., 2012         removing defendants. Id.
U.S. Dist. LEXIS 57986, 2012 WL 1425157, at * 1-2
(C.D. Cal. Apr. 25, 2012) (holding that plaintiff's waiver   However, in the plaintiff's reply brief in support of
of any claims "relating to or arising out of plaintiff's     remand — which the court noted was "filed some two
asbestos exposure at military and federal government         months post-removal" — the plaintiff "announce[d] a
jobsites or from U.S. military or other government           present intent to disclaim all design defect claims
vessels," filed shortly after removal, was sufficient to     against [the removing defendants]." 2011 U.S. Dist.
justify remand); Pratt v. Asbestos Corp. Ltd., 2011 U.S.     LEXIS 140394, [WL] at *9 n.14. The court rejected the
Dist. LEXIS 108217, 2011 WL 4433724, at *1-2 (N.D.           plaintiff's attempt to waive such claims in order to avoid
Cal. Sept. 22, 2011) [*49] ("Plaintiff's waiver has          federal jurisdiction, [*51] explaining:
rendered any federal defenses moot. There must be                 Under any reasonable reading of [the notice of
claims against which a federal defense is cognizable,             removal],     the     removing     defendants     were
and Plaintiff's waiver has removed any such claims.");            predicating removal on the existence of a colorable
Powers v. Allis-Chalmers Corp. Prod. Liab. Trust, 2010            federal defense to plaintiff's defective design
U.S. Dist. LEXIS 83278, 2010 WL 2898287, at *2 (N.D.              claims. Thus, at the time he filed his Motion to
Cal. July 21, 2010) (holding that the plaintiff's signed          Remand, plaintiff knew of the central importance of
declaration waiving claims "arising out of or related to          the defective design issue to the removal petition,
asbestos exposure to or on military or federal                    yet he remained silent as to his purported
government aircraft" precluded federal officer removal);          disclaimer until filing his reply brief, long after the
Madden v. A.H. Voss Co., 2009 U.S. Dist. LEXIS                    fact.
101680, 2009 WL 3415377, at *2 (N.D. Cal. Oct. 21,                ....
2009) (granting remand based on the plaintiff's claim             . . . Far from evincing a disclaimer of design defect
disclaimer, and request to dismiss a particular                   claims against [the removing defendants], plaintiff's
defendant, relative to allegations of "asbestos exposure          Motion to Remand and incorporated brief
at military and federal government jobsites and aboard            unequivocally expressed his intent to pursue
U.S. Navy vessels"); Debrocke v. Allis-Chalmers Corp.             exactly that category of claims against those
Prod. Liab. Trust, 2009 U.S. Dist. LEXIS 46699, 2009              removing      defendants,     notwithstanding      their
WL 1464153, at *2 (N.D. Cal. May 26, 2009) (granting              invocation of the federal officer removal statute.
remand where the plaintiffs "expressly disclaimed and             Having emphatically committed himself in his
waived [in the complaint] any claim arising out of or             Motion to Remand to proceeding on a design defect
related to any asbestos exposure aboard federal                   theory against [the removing defendants], [the
jobsites and navy vessels").                                      plaintiff] cannot be heard to argue in his reply brief
                                                                  that the disclaimer in his Complaint confirms that he
Notably, the parties have not identified, nor is the court        was never pursuing such claims against these
aware of, any case in which a federal court has rejected          defendants in the first place.13
on the [*50] merits an express disclaimer of claims
relating to asbestos exposure on federal jobsites and
military vessels/aircrafts.                                  13 The court in Morgan further reasoned that the plaintiff had

                                                              [*52] "effectively announced a 'gotcha' on defendants by
The only case that could be construed as contrary
                                                             disclaiming any intent to bring design defect claims against

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2011 U.S. Dist. LEXIS 140394, [WL] at *10 & n.15.                    facts of this case, the court finds no reason to depart
                                                                     from the rationale behind numerous rulings of district
Accordingly, Morgan is an inapposite because it was                  courts in other circuits finding such claim disclaimers
based not on the merits of the plaintiff's disclaimer, but           effective.
instead on "[b]asic principles of equity and fairness [that]
preclude[d] plaintiff from proceeding in such fashion."
2011 U.S. Dist. LEXIS 140394, [WL] at * 10 n. 16. As a               E. Whether Remand is Appropriate
related point, it should be noted that district courts in
Alabama have suggested in other asbestos cases that                  Having determined that Plaintiffs' post-removal claim
they would grant remand if presented with a proper                   disclaimer effectively waives any claims of asbestos
claim disclaimer. See, e.g., Kite v. Bill Vann Co., Inc.,            exposure attributable to Mr. Dougherty's naval service,
2011 U.S. Dist. LEXIS 112267, 2011 WL 4499345, at *2                 the court must decide whether remand is appropriate. A
(S.D. Ala. Sept. 29, 2011) (denying remand, but noting               post-removal claim disclaimer does not compel
that, "[h]ad the plaintiff disclaimed any claim arising from         automatic remand. As the Court in Frawley explained,
exposure aboard a Navy vessel or while on a military                 "whether to retain a removed case after post-removal
installation, he might well have prevailed on his                    dismissal of all claims that made the case properly
[disclaimer] argument. . . . The plaintiff's disclaimer,             removable presents an entirely different issue than
 [*53] however, is much more limited."); Corley v. Long-             whether removal was proper in the first place — an
Lewis, Inc., 688 F. Supp. 2d 1315, 1335-36 (N.D. Ala.                issue that is decided in accordance with entirely
2010) (same).                                                        different principles." Id., 2007 U.S. Dist. LEXIS 18404,
                                                                     2007 WL 656857, at *3 (citation omitted).
Here, Plaintiffs' post-removal claim disclaimer is
substantially similar (and in some instances, identical) to          The relevant authority addressing this issue is 28 U.S.C.
the disclaimers that were determined to be effective in              § 1367, which governs the court's exercise of
the cases discussed above. Although the means by                     supplemental jurisdiction. [*55] Under Section 1367,
which Plaintiffs assert the claim disclaimer lack the                federal courts with original jurisdiction over a federal
procedural formality of Federal Rules of Civil Procedure             claim have supplemental jurisdiction over state-law
15 & 41,14 Crane has not asserted any procedural                     claims that form "part of the same case or controversy."
objections to Plaintiffs' attempt to abandon their                   28 U.S.C. § 1367(a). A district court may, however,
claims.15 Cf. Joyner, 2013 U.S. Dist. LEXIS 79402,                   decline to exercise supplemental jurisdiction over state-
2013 WL 2460537, at *2-5.16 Consequently, under the                  law claims if "the district court has dismissed all claims
                                                                     over which it has original jurisdiction."17 28 U.S.C. §
them in the first place, after forcing defendants to address the     1367(c)(3). In this regard, the Third Circuit has
merits of § 1442(a)(1) removal of those design defect claims at      instructed that, "'where the claim over which the district
great length in their opposition brief. Basic principles of equity   court has original jurisdiction is dismissed before trial,
and fairness preclude plaintiff from proceeding in such              the district court must decline to decide the pendent
fashion." Morgan, 2011 U.S. Dist. LEXIS 140394, 2011 WL              state claims unless considerations of judicial economy,
6056083, at *10 n.16 (citation omitted).                             convenience, and fairness to the parties provide an
14 Indeed,
                                                                     affirmative justification for doing so.'" Hedges v. Musco,
             Plaintiffs simply insert the claim disclaimer into
                                                                     204 F.3d 109, 123 (3d Cir. 2000) (quoting Borough of
briefs filed in support of the pending Motion (see D.I. 14 at 2;
D.I. 15 at 4), rather than seeking leave to amend the
                                                                     West Mifflin v. Lancaster, 45 F.3d 780, 788 (3d Cir.
Complaint, filing a stipulation or limited voluntary dismissal, or
otherwise.

15 Crane does not discuss Plaintiffs' post-removal disclaimer at

length, and simply argues: "In addition to the 'disclaimer' in the   pursuant to Fed. R. Civ. P. 15. Joyner, 2013 U.S. Dist. LEXIS
complaint, Plaintiffs'     [*54] memorandum includes an              79402, 2013 WL 2460537, at *4-5.
additional waiver, which is also ineffective." (D.I. 22 at 6)
                                                                     17 See also New Rock Asset Partners, L.P. v. Preferred Entity
16 In Joyner, Crane objected to the plaintiff's "notice of           Advancements, 101 F.3d 1492, 1508 (3d Cir. 1996)
abandonment" on the grounds that it was procedurally                  [*56] (explaining that dismissal of the jurisdiction-granting
improper, among other things. Id., 2013 U.S. Dist. LEXIS             claim "triggers a discretionary decision on whether jurisdiction
79402, 2013 WL 2460537, at *2. Crane's argument ultimately           over a state law claim should be declined pursuant to §
led the plaintiff to propose an amendment to the complaint           1367(c)(3)").

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1995)).18 See also Carnegie-Mellon, 484 U.S. at 351                 Crane contends that the purpose of Plaintiffs' disclaimer
(explaining that, where the federal claims are eliminated           is "jurisdictional manipulation." (D.I. 22 at 1) Crane
early in a case, "the District Court ha[s] a powerful               further argues that it could face cross-claims from co-
reason to choose not to continue to exercise                        defendants seeking contribution for damages traceable
jurisdiction").                                                     to Mr. Dougherty's naval exposure — notwithstanding
                                                                    Plaintiffs' claim disclaimer — and "because Crane [] has
In the present case, original jurisdiction was established          a colorable federal defense [to such claims], it would
when the court determined that Crane had a colorable                raise that defense to all-cross claims filed in state court,
federal defense to the claims traceable to Mr.                      which could lead to a cycle of removals and further
Dougherty's naval service. See Mesa, 489 U.S. at                    attempts to remand." (Id. at 18; see also id. at 4)
136.19 Once the court exercised original jurisdiction over
those claims, the court also had supplemental                       Neither of Crane's arguments are compelling. As to
jurisdiction over Plaintiffs' state-law claims because all          jurisdictional manipulation, the Supreme Court in
of the claims are clearly "so related" as to be "part of the        Carnegie-Mellon explained that, in addition to
same controversy." 28 U.S.C. § 1367(a). Plaintiffs,                 considerations of judicial economy, convenience, and
however, have waived the claims underlying the court's              fairness to the parties:
original jurisdiction. Consequently, the court must
                                                                             A district court can consider whether the plaintiff
decline [*57] to decide the remaining state-law claims
                                                                             has engaged in any manipulative tactics when it
"unless      considerations      of    judicial  economy,
                                                                             decides whether to remand a case. If the plaintiff
convenience, and fairness to the parties provide an
                                                                             has attempted to manipulate the forum, the court
affirmative justification for doing so.'" Hedges, 204 F.3d
                                                                             should take this behavior into account in
at 123 (quoting Borough of W. Mifflin, 45 F.3d at 788).
                                                                             determining whether the balance of factors to be
Plaintiffs have requested remand in order to litigate their                  considered [*59] under the pendent jurisdiction
causes of action in state court rather than federal court.                   doctrine support a remand in the case.
Crane, on the other hand, asserts a number of
affirmative justifications for keeping the case in federal          Carnegie-Mellon, 484 U.S. at 357. See also Trans Penn
court, of which two remain relevant.20                              Wax Corp. v. McCandless, 50 F.3d 217, 233 (3d Cir.
                                                                    1995). However, "Carnegie-Mellon [] does not suggest
                                                                    that a plaintiff's desire to avoid a federal forum prevents
                                                                    a district court from exercising its discretion to remand
18 "While  § 1367(c) does not specify what disposition the          pendant claims. Instead, it requires only that the
district court is to make of state claims it decides not to hear,   plaintiff's forum-manipulating motivation be considered
based on the teachings of [the Supreme Court], we believe
                                                                    in weighing the factors relevant to remand." Datto v.
that in a case that has been removed from a state court, a
                                                                    Thomas Jefferson Univ., 2009 U.S. Dist. LEXIS 18696,
remand to that court is a viable alternative to a dismissal
                                                                    2009 WL 577458, at *3 (E.D. Pa. Mar. 4, 2009).
without prejudice." Borough of W. Mifflin, 45 F.3d at 788
(emphasis added) (citing Carnegie-Mellon, 484 U.S. at 343).
                                                                    Contrary to Crane's assertion, it is not clear that the
19 In Mesa, the Supreme Court explained that Section 1442(a)        purpose of Plaintiffs' disclaimer is jurisdictional
does not furnish an independent ground for federal jurisdiction     manipulation. Crane has not pointed to any evidence of
absent some federal question implicated either in the claim or      an improper motive, and the facts do not support such a
by way of a defense:                                                conclusion. Indeed, Plaintiffs filed their Motion to
                                                                    Remand less than one month after Crane filed its notice
     It is the raising of a federal question in the officer's       of removal. (See D.I. 14) Furthermore, Plaintiffs have
     removal petition that constitutes the federal law under
                                                                    maintained from the outset that they never made a claim
     which the action against the federal officer arises for Art.
                                                                    subject to federal jurisdiction.21 (See D.I. 14 at 2; D.I. 15
     III purposes. The removal statute itself merely serves to
     overcome the "well-pleaded complaint" rule which would
     otherwise preclude removal even if a federal defense           against severing Plaintiffs' federal claims from their state
     were alleged.                                                  claims. (See D.I. 22 at 1-4, 16-18)

                                                                    21 Cf.Morgan, 2011 U.S. Dist. LEXIS 140394, 2011 WL
Mesa, 489 U.S. at 136 (citations omitted).
                                                                    6056083, at *10 & nn.15-16 (rejecting the plaintiff's disclaimer
20 Crane'saffirmative justifications for keeping this action in     as an unfair, "gotcha" argument, because plaintiff sought to
federal court are directed, [*58] in large part, to arguments       abandon particular claims after he "unequivocally expressed

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at 4, 13) While the court ultimately found that Plaintiffs'        not originally pleaded . . . claims against GE arising out
legal position was not correct, it does not necessarily            of his work for the Navy, GE could not have removed
follow [*60] that seeking remand via claim disclaimer              the case to this court pursuant to the federal officer
was impermissible forum manipulation. See Ortiz v.                 removal statute, even though the potential for cross-
Univ. of Med. & Dentistry of N.J., 2009 U.S. Dist. LEXIS           claims implicating federal interests would have
63220, 2009 WL 2194782, at *3 (D.N.J. July 23, 2009).              existed.").
See also Zokaites v. Equifax Info. Servs., LLC, 2012
U.S. Dist. LEXIS 39491, 2012 WL 993269, at *3 (W.D.                In the present case, the facts and circumstances weigh
Pa. Mar. 22, 2012) ("Although plaintiff's conduct could            heavily in favor of remand. This litigation is in its early
be attributable to improper motives, it is equally                 stages and there has been relatively little time and
plausible that he has simply made the sensible decision            resources expended in federal court. There is no
not to pursue a meritless federal claim.").                        indication that it would be inconvenient to resolve this
                                                                   matter in state court. Additionally, Plaintiffs' remaining
Crane's argument concerning cross-claims is similarly              claims fall under state law, favoring remand. If Plaintiffs
unpersuasive for the reasons identified in Joyner, where           later attempt to reverse course, and are allowed to do
the same argument — also asserted by Crane — was                   so by the state court despite their express claim
rejected:                                                          disclaimer, Crane can seek removal once again. See
                                                                   Westbrook, 2001 U.S. Dist. LEXIS 11575, 2001 WL
     . . . Crane Co. also submit[s] that the defendants'           902642, at *3. Consequently, the court "must decline to
     cross-claims give rise to federal jurisdiction. On this       decide the pendent state claims," and Plaintiffs' Motion
     view, [the plaintiff's] abandonment of his valve claim        to Remand should be granted. Borough of W. Mifflin, 45
     against Crane Co. does not extinguish the co-                 F.3d at 788.
     defendants' cross-claims against Crane Co. with
     respect to its valves. Yet this argument reflects a
     fundamental [*61] misunderstanding of the nature              V. CONCLUSION
     of a claim for contribution. The defendants' cross-
     claims for contribution are derivative of [the                For the foregoing reasons, I recommend that the court
     plaintiff's] suit and, ultimately, the damages, if any,       grant Plaintiffs' Motion to Remand.
     that he recovers; a defendant may only seek
     contribution for damages imposed on that                      This Report and Recommendation is filed pursuant to
     defendant. In other words, if [the plaintiff] never           28 U.S.C. § 636(b)(1)(B), Fed. R. Civ. P. 72(b)(1),
     recovers damages for injuries caused by Crane                  [*63] and D. Del. LR 72.1. The parties may serve and
     Co.'s valves, neither Crane Co. nor the other                 file specific written objections within fourteen (14) days
     defendants can maintain a cross-claim for                     after being served with a copy of this Report and
     contribution related to those injuries. And because           Recommendation. Fed. R. Civ. P. 72(b)(2). The
     [the plaintiff] has dropped his valve claim and               objections and responses to the objections are limited to
     therefore cannot recover damages for any injuries             ten (10) pages each. The failure of a party to object to
     caused by Crane Co.'s valves, it follows that                 legal conclusions may result in the loss of the right to de
     [plaintiff's] disclaimer of all such damages                  novo review in the District Court. See Sincavage v.
     necessarily extinguishes all cross-claims that are            Barnhart, 171 F. Appx. 924, 925 n.1 (3d Cir. 2006);
     derivative of those injuries.                                 Henderson v. Carlson, 812 F.2d 874, 878-79 (3d Cir.
                                                                   1987).
Joyner, 2013 U.S. Dist. LEXIS 79402, 2013 WL
2460537, at *7.22 See also Frawley, 2007 U.S. Dist.                The parties are directed to the court's Standing Order
LEXIS 18404, 2007 WL 656857, at *4 ("If plaintiff had              For Objections Filed Under Fed. R. Civ. P. 72, dated
                                                                   October 9, 2013, a copy of which is available on the
his intent to pursue exactly that category of claims").            court's website, http://www.ded.uscourts.gov.

22 See also Joyner, 2013 U.S. Dist. LEXIS 79402, 2013 WL           Dated: July, 16 2014
2460537, at *5 (explaining [*62] that, "because Crane Co.'s
co-defendants/cross-claimants cannot seek contribution from        /s/ Sherry R. Fallon
Crane Co. for injuries caused by its valves if no damages are
awarded for those injuries, the validity of Crane Co.'s federal    Sherry R. Fallon
defense would be immaterial to the cross-claims as well.").

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United States Magistrate Judge


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As of: April 8, 2024 9:02 PM Z


                                                Hayden v. 3M Co.
                             United States District Court for the Eastern District of Louisiana
                                   August 10, 2015, Decided; August 10, 2015, Filed
                                     CIVIL ACTION NO. 15-2275 SECTION "N" (3)

Reporter
2015 U.S. Dist. LEXIS 104534 *; 2015 WL 4730741
                                                               ATTORNEY, Frilot L.L.C., New Orleans, LA; Angela M.
THOMAS HAYDEN AND JAQUELINE HAYDEN
                                                               Bowlin, Frilot L.L.C., New Orleans, LA; James H. Brown,
VERSUS 3M COMPANY, et al
                                                               Jr., Frilot L.L.C., New Orleans, LA; Kelsey A. Eagan,
                                                               Frilot L.L.C., New Orleans, LA; Meredith K. Keenan,
Subsequent History: Related proceeding at Hayden v.
                                                               Frilot L.L.C., New Orleans, LA; Peter R. Tafaro, Frilot
3M Co., 2016 U.S. Dist. LEXIS 81835 (E.D. La., June
                                                               L.L.C., New Orleans, LA.
22, 2016)
                                                               For Champlain Cable Corporation, as successor in
Core Terms                                                     interest to Haveg Industries Inc., formerly known as
                                                               Hercules Inc, Defendant: Christopher O. Massenburg,
exposure, removal, disclaimer, asbestos, federal official,     LEAD ATTORNEY, Manion Gaynor & Manning, LLP,
cause of action, blowers, grounds, manufactured,               New Orleans, LA; Brandie Mendoza Thibodeaux,
deposition, aboard                                             Manion Gaynor & Manning, LLP, New Orleans, LA;
                                                               Glenn L.M. Swetman, Manion Gaynor & Manning, LLP,
Counsel: [*1] For Thomas H. Hayden, Jacqueline S.              New Orleans, LA; Kevin R. Sloan, Manion Gaynor &
Hayden, Plaintiff: Mickey P. Landry, LEAD ATTORNEY,            Manning, LLP, New Orleans, LA; Meaghan M. Donovan,
Amanda Jones Ballay, Frank J. Swarr, Matthew C.                Manion Gaynor & Manning, LLP, New Orleans, LA.
Clark, Philip C Hoffman, Landry & Swarr, LLC, New
                                                               For Crane Company, individually and as successor in
Orleans, LA.
                                                               interest to Chapman Valve Company, Jenkins Valve,
For Carrier Corporation, Defendant: Joseph M. Guillot,         and Cochrane Corporation, Defendant: Barry C.
LEAD ATTORNEY, Patrick Ryan Plummer, Christovich               Campbell, LEAD ATTORNEY, Dogan & Wilkinson,
& Kearney, LLP, New Orleans, LA.                               PLLC (Metairie), Metairie, LA.
For Air & Liquid Systems Corporation, as successor by          For DAP Products Inc., Defendant: Leigh Ann Tschirn
merger to Buffalo Pumps Inc., Defendant: Stacey Leigh          Schell, LEAD ATTORNEY, Kuchler Polk Schell Weiner
Strain, LEAD ATTORNEY, Hubbard, Mitchell, Williams             & Richeson, LLC (New Orleans), New Orleans, LA;
& Strain, PLLC, Ridgeland, MS.                                 Joseph Henry Hart, IV, Kuchler Polk Schell Weiner [*3]
                                                               & Richeson, LLC (New Orleans), New Orleans, LA; Lori
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ATTORNEYS, Arthur Wendel Stout, III, Barbara
                                                               Puente-Martin, Kuchler Polk Schell Weiner & Richeson,
Bourgeois Ormsby, Marc John Bitner, Deutsch, Kerrigan
                                                               LLC (New Orleans), New Orleans, LA; Thomas A.
& Stiles, LLP (New Orleans), New Orleans, LA.
                                                               Porteous, Kuchler Polk Schell Weiner & Richeson, LLC
For Caterpillar Inc, Defendant: Robert S. Emmett, LEAD         (New Orleans), New Orleans, LA.
ATTORNEY, Baker Donelson Bearman Caldwell &
                                                               For Deere & Company, Defendant: Deborah DeRoche
Berkowitz (New Orleans), New Orleans, LA; Stephanie
                                                               Kuchler, LEAD ATTORNEY, Kuchler Polk Schell Weiner
Noriea Murphy, Baker Donelson Bearman Caldwell &
                                                               & Richeson, LLC (New Orleans), New Orleans, LA;
Berkowitz (New Orleans), New Orleans, LA.
                                                               Amber B. Barlow, Kuchler Polk Schell Weiner &
For CBS Corporation, individually and as successor-in-         Richeson, LLC (New Orleans), New Orleans, LA; Janika
interest to BF Sturtevant, formerly known as Viacom Inc,       D. Polk, Kuchler Polk Schell Weiner & Richeson, LLC
formerly known as Westinghouse Electric Corporation,           (New Orleans), New Orleans, LA; Lee Blanton Ziffer,
Defendant: John Joseph Hainkel, III, LEAD [*2]                 Kuchler Polk Schell Weiner & Richeson, LLC (New

                                                    Kelly Christopher
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Orleans), New Orleans, LA.                                 in interest to DeLaval Turbine Inc, Defendant: Leigh Ann
                                                           Tschirn Schell, LEAD ATTORNEY, Kuchler Polk Schell
For Eagle, Inc., Defendant: Susan Beth Kohn, LEAD
                                                           Weiner & Richeson, LLC (New Orleans), New Orleans,
ATTORNEY, Simon, Peragine, Smith & Redfearn, LLP,
                                                           LA; Joseph Henry Hart, IV, Kuchler Polk Schell Weiner
New Orleans, LA; Douglas Kinler, Simon, Peragine,
                                                           & Richeson, LLC (New Orleans), New Orleans, LA; Lori
Smith & Redfearn, LLP, New Orleans, LA; James R.
                                                           Allen Waters, Kuchler Polk Schell Weiner & Richeson,
Guidry, Simon, Peragine, Smith & Redfearn, LLP, New
                                                           LLC (New Orleans), New Orleans, LA; Magali Ann
Orleans, LA; Janice M. Culotta, Simon, Peragine, Smith
                                                           Puente-Martin, Kuchler Polk Schell Weiner & Richeson,
and Redfearn, LLP, New Orleans, LA.
                                                           LLC (New Orleans), New Orleans, LA; Thomas A.
For Ford Motor Company, Defendant: Janika D. Polk,         Porteous, Kuchler Polk Schell Weiner & Richeson, LLC
LEAD ATTORNEY, Kuchler Polk Schell Weiner &                (New Orleans), New Orleans, LA.
Richeson, [*4] LLC (New Orleans), New Orleans, LA;
                                                           For J-M Manufacturing Company, Inc., Defendant:
Amber B. Barlow, Kuchler Polk Schell Weiner &
                                                           Gayla M. Moncla, Kean Miller [*6] (Baton Rouge),
Richeson, LLC (New Orleans), New Orleans, LA;
                                                           Baton Rouge, LA; Jay Morton Jalenak, Jr., Kean Miller
Deborah DeRoche Kuchler, Kuchler Polk Schell Weiner
                                                           (Baton Rouge), Baton Rouge, LA; Melanie Moreland
& Richeson, LLC (New Orleans), New Orleans, LA; Lee
                                                           Hartmann, Kean Miller (Baton Rouge), Baton Rouge,
Blanton Ziffer, Kuchler Polk Schell Weiner & Richeson,
                                                           LA; Sean J Whittington, Kean Miller (Baton Rouge),
LLC (New Orleans), New Orleans, LA; Monique M.
                                                           Baton Rouge, LA.
Weiner, Kuchler Polk Schell Weiner & Richeson, LLC
(New Orleans), New Orleans, LA.                            For Maremont Corporation, Defendant: Jennifer E.
                                                           Adams, LEAD ATTORNEY, Deutsch, Kerrigan & Stiles,
For General Electric Company, Defendant: John Joseph
                                                           LLP (New Orleans), New Orleans, LA; William Claudy
Hainkel, III, LEAD ATTORNEY, Frilot L.L.C., New
                                                           Harrison, Jr., LEAD ATTORNEY, Deutsch, Kerrigan &
Orleans, LA; Angela M. Bowlin, Frilot L.L.C., New
                                                           Stiles, LLP (New Orleans), New Orleans, LA; Arthur
Orleans, LA; James H. Brown, Jr., Frilot L.L.C., New
                                                           Wendel Stout, III, Deutsch, Kerrigan & Stiles, LLP (New
Orleans, LA; Kelsey A. Eagan, Frilot L.L.C., New
                                                           Orleans), New Orleans, LA; Barbara Bourgeois Ormsby,
Orleans, LA; Meredith K. Keenan, Frilot L.L.C., New
                                                           Deutsch, Kerrigan & Stiles, LLP (New Orleans), New
Orleans, LA; Peter R. Tafaro, Frilot L.L.C., New
                                                           Orleans, LA; Marc John Bitner, Deutsch, Kerrigan &
Orleans, LA.
                                                           Stiles, LLP (New Orleans), New Orleans, LA.
For Genuine Parts Company, Defendant: John Joseph
                                                           For Metropolitan Life Insurance Company, Defendant:
Hainkel, III, LEAD ATTORNEY, Frilot L.L.C., New
                                                           Jay Morton Jalenak, Jr., LEAD ATTORNEY, Kean Miller
Orleans, LA; Angela M. Bowlin, Frilot L.L.C., New
                                                           (Baton Rouge), Baton Rouge, LA; Patrick Dale
Orleans, LA; James H. Brown, Jr., Frilot L.L.C., New
                                                           Roquemore, Kean Miller (Baton Rouge), Baton Rouge,
Orleans, LA; Kelsey A. Eagan, Frilot L.L.C., New
                                                           LA.
Orleans, LA; Meredith K. Keenan, Frilot L.L.C., New
Orleans, LA; Peter R. Tafaro, Frilot L.L.C., New           For Nash Engineering Company, Defendant: Paul D.
Orleans, LA.                                               Palermo, LEAD ATTORNEY, Blue Williams, LLP
                                                           (Metairie), Metairie, LA; Craig V. Sweeney, Blue
For Georgia-Pacific LLC, Defendant: Gary A. Bezet,
                                                           Williams, LLP (Metairie), Metairie, LA.
LEAD [*5] ATTORNEY, Kean Miller (Baton Rouge),
Baton Rouge, LA; Alexandra E. Rossi, Kean Miller           For Navistar, Inc., formerly known as International
(Baton Rouge), Baton Rouge, LA; Barrye Panepinto           Harvester Corporation, Defendant: [*7] Kay Barnes
Miyagi, Kean Miller (Baton Rouge), Baton Rouge, LA;        Baxter, LEAD ATTORNEY, Cosmich Simmons &
Gayla M. Moncla, Kean Miller (Baton Rouge), Baton          Brown, PLLC (New Orleans), New Orleans, LA; Ashley
Rouge, LA.                                                 A. Edwards, Cosmich Simmons & Brown, PLLC (New
                                                           Orleans), New Orleans, LA; Georgia Noble Ainsworth,
For Goodrich Corporation, Defendant: James K. Sticker,
                                                           Cosmich Simmons & Brown, PLLC (New Orleans), New
III, LEAD ATTORNEY, Leefe, Gibbs, Sullivan, Dupre &
                                                           Orleans, LA; Margaret Adams Casey, Cosmich
Aldous, Metairie, LA; Michael R. Gelder, Leefe, Gibbs,
                                                           Simmons & Brown, PLLC (New Orleans), New Orleans,
Sullivan, Dupre & Aldous, Metairie, LA; Richard K.
                                                           LA; Martin James Dempsey, Jr., Cosmich Simmons &
Leefe, Leefe, Gibbs, Sullivan, Dupre & Aldous, Metairie,
                                                           Brown, PLLC (New Orleans), New Orleans, LA.
LA.
                                                           For Reilly-Benton Company, Inc., Defendant: Thomas L.
For IMO Industries, Inc., individually and as successor
                                                           Cougill, LEAD ATTORNEY, Willingham Fultz & Cougill

                                                  Kelly Christopher
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(Houston), Houston, TX; Jamie M Zanovec, Willingham,       For Goodyear Tire & Rubber Company, Defendant:
Fultz & Cougill (Baton Rouge), Baton Rouge, LA;            Robert S. Emmett, LEAD ATTORNEY, Baker Donelson
Jeanette Seraile-Riggins, Willingham Fultz & Cougill       Bearman Caldwell & Berkowitz (New Orleans), New
(Houston), Houston, TX; Jennifer D. Zajac, Willingham      Orleans, LA; Gregory E. Bodin, Baker Donelson
Fultz & Cougill (Houston), Houston, TX.                    Bearman Caldwell & Berkowitz (New Orleans), New
                                                           Orleans, LA; Joseph A. Atiyeh, Baker Donelson
For Riley Power, Inc., formerly known as Riley Stoker
                                                           Bearman Caldwell & Berkowitz (New Orleans), New
Corporation, formerly known as D.B. Riley, Inc.,
                                                           Orleans, LA.
Defendant: Jennifer E. Adams, LEAD ATTORNEY,
Deutsch, Kerrigan & Stiles, LLP (New Orleans), New         For McCarty Corporation, formerly known as McCarty-
Orleans, LA; William Claudy Harrison, Jr., LEAD            Branton Inc, Defendant: Susan Beth Kohn, LEAD
ATTORNEY, Deutsch, Kerrigan & Stiles, LLP (New             ATTORNEY, Simon, Peragine, Smith & Redfearn, LLP,
Orleans), New Orleans, LA; Arthur Wendel Stout, III,       New Orleans, LA; Douglas Kinler, Simon, Peragine,
Deutsch, Kerrigan & Stiles, LLP (New Orleans), New         Smith & Redfearn, LLP, New Orleans, LA; James R.
Orleans, LA; Barbara [*8] Bourgeois Ormsby, Deutsch,       Guidry, Simon, Peragine, Smith & Redfearn, LLP, New
Kerrigan & Stiles, LLP (New Orleans), New Orleans, LA;     Orleans, LA; Janice M. Culotta, Simon, Peragine, [*10]
Marc John Bitner, Deutsch, Kerrigan & Stiles, LLP (New     Smith and Redfearn, LLP, New Orleans, LA.
Orleans), New Orleans, LA.
                                                           For McCord Corporation, Defendant: Jennifer Moran
For Velan Valve Corporation, Defendant: Forrest Ren        Young, LEAD ATTORNEY, Page, Mannino, Peresich &
Wilkes, LEAD ATTORNEY, Forman, Perry, Watkins,             McDermott, PLLC (Biloxi), Biloxi, MS.
Krutz & Tardy, LLP (New Orleans), New Orleans, LA.
                                                           For Meritor Inc, as successor-in-interest to Rockwell
For Warren Pumps, LLC, Defendant: Lori Allen Waters,       International Automotive Products, formerly known as
Kuchler Polk Schell Weiner & Richeson, LLC (New            Arvinmeritor, Inc., Defendant: Jennifer E. Adams, LEAD
Orleans), New Orleans, LA.                                 ATTORNEY, Deutsch, Kerrigan & Stiles, LLP (New
                                                           Orleans), New Orleans, LA; William Claudy Harrison,
For OneBeacon America Insurance Company, as the
                                                           Jr., LEAD ATTORNEY, Deutsch, Kerrigan & Stiles, LLP
Liability Insurers of Eagle, formerly known as
                                                           (New Orleans), New Orleans, LA; Arthur Wendel Stout,
Commercial Union Insurance Company, Defendant:
                                                           III, Deutsch, Kerrigan & Stiles, LLP (New Orleans), New
Samuel Milton Rosamond, III, LEAD ATTORNEY,
                                                           Orleans, LA; Barbara Bourgeois Ormsby, Deutsch,
Taylor, Wellons, Politz & Duhe, APLC (New Orleans),
                                                           Kerrigan & Stiles, LLP (New Orleans), New Orleans, LA;
New Orleans, LA; Adam Devlin deMahy, Taylor,
                                                           Marc John Bitner, Deutsch, Kerrigan & Stiles, LLP (New
Wellons, Politz & Duhe, APLC (New Orleans), New
                                                           Orleans), New Orleans, LA.
Orleans, LA.
                                                           For Pneumo Abex LLC, individually and as successor in
For Carlisle Industrial Brake & Friction Inc., formerly
                                                           interest to Abex Corporation, Defendant: Jennifer E.
known as Motion Control Industries Inc, Defendant:
                                                           Adams, LEAD ATTORNEY, Deutsch, Kerrigan & Stiles,
John Joseph Hainkel, III, LEAD ATTORNEY, Frilot
                                                           LLP (New Orleans), New Orleans, LA; William Claudy
L.L.C., New Orleans, LA; Angela M. Bowlin, Frilot
                                                           Harrison, Jr., LEAD ATTORNEY, Deutsch, Kerrigan &
L.L.C., New Orleans, LA; James H. Brown, Jr., Frilot
                                                           Stiles, LLP (New Orleans), New Orleans, LA; Arthur
L.L.C., New Orleans, LA; Kelsey A. Eagan, Frilot L.L.C.,
                                                           Wendel Stout, III, Deutsch, Kerrigan & Stiles, LLP (New
New Orleans, LA; Meredith K. Keenan, Frilot L.L.C.,
                                                           Orleans), New Orleans, LA; Barbara Bourgeois
New Orleans, LA; Peter R. Tafaro, Frilot L.L.C.,
                                                           Ormsby, [*11] Deutsch, Kerrigan & Stiles, LLP (New
New [*9] Orleans, LA.
                                                           Orleans), New Orleans, LA; Marc John Bitner, Deutsch,
For Dana Companies LLC, Defendant: Jennifer E.             Kerrigan & Stiles, LLP (New Orleans), New Orleans, LA.
Adams, LEAD ATTORNEY, Deutsch, Kerrigan & Stiles,
                                                           For Tasco Auto Color Corporation, Defendant: Kirk A.
LLP (New Orleans), New Orleans, LA; William Claudy
                                                           Patrick, III, LEAD ATTORNEY, Donohue, Patrick &
Harrison, Jr., LEAD ATTORNEY, Deutsch, Kerrigan &
                                                           Scott, Baton Rouge, LA; Blake Anthony Altazan,
Stiles, LLP (New Orleans), New Orleans, LA; Arthur
                                                           Donohue, Patrick & Scott, Baton Rouge, LA; Grant T.
Wendel Stout, III, Deutsch, Kerrigan & Stiles, LLP (New
                                                           Herrin, Donohue, Patrick & Scott, Baton Rouge, LA.
Orleans), New Orleans, LA; Barbara Bourgeois Ormsby,
Deutsch, Kerrigan & Stiles, LLP (New Orleans), New         For Avondale Industries, Inc., formerly known as
Orleans, LA; Marc John Bitner, Deutsch, Kerrigan &         Northrop Grumman Ship Systems, Inc., also known as
Stiles, LLP (New Orleans), New Orleans, LA.                Huntington Ingalls Incorporated, Defendant: Gary Allen

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                                       2015 U.S. Dist. LEXIS 104534, *11

Lee, LEAD ATTORNEY, Lee, Futrell & Perles, LLP,          (New Orleans), New Orleans, LA; William Claudy
New Orleans, LA; Anita Ann Cates, Lee, Futrell &         Harrison, Jr., LEAD ATTORNEY, Deutsch, Kerrigan &
Perles, LLP, New Orleans, LA; Daphne M. Lancaster,       Stiles, LLP (New Orleans), New Orleans, LA; Arthur
Lee, Futrell & Perles, LLP, New Orleans, LA; Michael     Wendel Stout, III, Deutsch, Kerrigan & Stiles, LLP (New
Scott Minyard, Barfield & Associates (New Orleans),      Orleans), New Orleans, LA; Barbara Bourgeois Ormsby,
New Orleans, LA; Michael Kevin Powell, Lee, Futrell &    Deutsch, Kerrigan & Stiles, LLP (New Orleans), New
Perles, LLP, New Orleans, LA; Richard Marshall Perles,   Orleans, LA; Marc John Bitner, Deutsch, Kerrigan &
Lee, Futrell & Perles, LLP, New Orleans, LA.             Stiles, LLP (New Orleans), New Orleans, LA.
For BASF Corporation, Defendant: Gary A. Bezet,          For Union Carbide Corporation, Defendant: Deborah
LEAD ATTORNEY, Kean Miller (Baton Rouge), Baton          DeRoche Kuchler, LEAD ATTORNEY, Kuchler Polk
Rouge, LA; Alexandra E. Rossi, Kean Miller (Baton        Schell Weiner & Richeson, LLC (New Orleans), New
Rouge), Baton Rouge, LA; Barrye Panepinto Miyagi,        Orleans, LA; Francis Xavier deBlanc, III, Kuchler Polk
Kean Miller (Baton Rouge), Baton Rouge, LA;              Schell Weiner & Richeson, LLC (New Orleans), New
Gayla [*12] M. Moncla, Kean Miller (Baton Rouge),        Orleans, LA; McGready Lewis Richeson, Kuchler Polk
Baton Rouge, LA.                                         Schell Weiner & Richeson, LLC (New Orleans), New
                                                         Orleans, LA; Michael H. Abraham, [*14] Kuchler Polk
For Exxon Mobil Corporation, Defendant: David Mark
                                                         Schell Weiner & Richeson, LLC (New Orleans), New
Bienvenu, Jr., LEAD ATTORNEY, Bienvenu,
                                                         Orleans, LA; Milele N. St. Julien, Kuchler Polk Schell
Bonnecaze, Foco, Viator & Holinga, APLLC, Baton
                                                         Weiner & Richeson, LLC (New Orleans), New Orleans,
Rouge, LA; Lexi T. Holinga, Bienvenu, Bonnecaze,
                                                         LA.
Foco, Viator & Holinga, APLLC, Baton Rouge, LA.
                                                         For Huntington Ingalls Incorporated, Defendant: Gary
For Fluor Corporation, Defendant: John Dennis Person,
                                                         Allen Lee, LEAD ATTORNEY, Lee, Futrell & Perles,
LEAD ATTORNEY, Aaron & Gianna, PLC, New
                                                         LLP, New Orleans, LA; Michael Kevin Powell, LEAD
Orleans, LA; Lee M. Rudin, Aaron & Gianna, PLC, New
                                                         ATTORNEY, Lee, Futrell & Perles, LLP, New Orleans,
Orleans, LA; Lezly L. Petrovich, Aaron & Gianna, PLC,
                                                         LA; Richard Marshall Perles, Lee, Futrell & Perles, LLP,
New Orleans, LA; Omar Khalid Mason, Aaron & Gianna,
                                                         New Orleans, LA.
PLC, New Orleans, LA.
For Shell Oil Company, Defendant: Gary A. Bezet,         Judges: KURT D. ENGELHARDT, United States
LEAD ATTORNEY, Kean Miller (Baton Rouge), Baton          District Judge.
Rouge, LA; Alexandra E. Rossi, Kean Miller (Baton
Rouge), Baton Rouge, LA; Barrye Panepinto Miyagi,        Opinion by: KURT D. ENGELHARDT
Kean Miller (Baton Rouge), Baton Rouge, LA; Gayla M.
Moncla, Kean Miller (Baton Rouge), Baton Rouge, LA.      Opinion
For Wyeth Holdings Corporation, formerly known as
American Cyanamid Company, Defendant: Erin Fury
Parkinson, LEAD ATTORNEY, McGlinchey Stafford,
                                                         ORDER & REASONS
PLLC (New Orleans), New Orleans, LA; Shannon
Suggs Sale, McGlinchey Stafford, PLLC (New Orleans),     Now before the Court is Plaintiffs Thomas Hayden and
New Orleans, LA.                                         Jaqueline Hayden's (collectively "the Haydens") "Motion
For Foster Wheeler LLC, impropoerly named as Foster      to Remand" (Rec. Doc. 6). Defendant Carrier
Wheeler USA Corporation, Defendant: [*13] John           Corporation ("Carrier") filed a response in opposition
Joseph Hainkel, III, LEAD ATTORNEY, Frilot L.L.C.,       (Rec. Doc. 25). Defendant Wyeth Holdings Corporation,
New Orleans, LA; Angela M. Bowlin, Frilot L.L.C., New    formerly known as American Cyanamid Company,
Orleans, LA; James H. Brown, Jr., Frilot L.L.C., New     ("ACC") filed an opposition as well (Rec. Doc. 26). The
Orleans, LA; Kelsey A. Eagan, Frilot L.L.C., New         Haydens filed a reply (Rec. Doc. 41). ACC filed a sur-
Orleans, LA; Meredith K. Keenan, Frilot L.L.C., New      reply (Rec. Doc. 97). For the reasons stated herein, the
Orleans, LA; Peter R. Tafaro, Frilot L.L.C., New         Motion to Remand is hereby GRANTED.
Orleans, LA.
For Atwood & Morrill, Defendant: Jennifer E. Adams,
                                                         I. Background
LEAD ATTORNEY, Deutsch, Kerrigan & Stiles, LLP


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The Haydens alleged in their Petition that Thomas
Hayden suffers from mesothelioma due to exposure to          II. Law and Analysis
asbestos or asbestos-containing products that
occurred [*15] during his lifetime. (Rec. Doc. 6-1). The     Federal courts are courts of limited jurisdiction, [*17]
Haydens brought suit in the Civil District Court for the     and removal statutes are to be strictly construed.
Parish of Orleans against seventy-eight (78) different       Shamrock Oil & Gas Corp. v. Sheets, 313 U.S. 100, 61
defendants alleging strict liability and negligence that     S.Ct. 868, 85 L.Ed. 1214 (1941). The removing party
resulted in Thomas Hayden's alleged exposure to              bears the burden of establishing federal jurisdiction over
asbestos. (Rec. Doc. 1-1). Among the seventy-eight           the controversy at issue. Winters v. Diamond Shamrock
defendants are alleged miners, manufacturers, sellers,       Chem. Co., 149 F.3d 387, 397 (5th Cir. 1998). Carrier
suppliers, and/or distributors of asbestos or asbestos-      has invoked federal jurisdiction on the grounds that
containing products, as well as employers and premises       federal officer removal jurisdiction, 28 U.S.C. §
owners, and an insurer. (Id.). In their Petition, the        1442(a)(1), applies here. "Because of its broad
Haydens included the following language:                     language and unique purpose, the federal officer
    Plaintiffs, in this case only, disclaim any and all      removal statute has been interpreted to operate
    causes of action for any exposures of any kind to        somewhat differently than the general removal
    asbestos dust while Thomas Hayden was enlisted           provision. Unlike the general removal statute, which
    in or serving in the United States Navy aboard ship,     must be strictly construed in favor of remand, the federal
    in port, or in any federal enclave. Plaintiff further    officer removal provision's broad language must be
    disclaims any cause of action or recovery for any        liberally interpreted." St. Bernard Port, Harbor &
    injuries caused by any exposure to asbestos dust         Terminal Dist. v. Violet Dock Port, Inc., LLC, 809 F.
    that occurred in a federal enclave. Plaintiff also       Supp. 2d 524, 529-30 (E.D. La. 2011) (citing Manguno
    disclaims any cause of action or recovery for any        v. Prudential Property & Casualty Ins. Co., 276 F.3d
    injuries resulting from any exposure to asbestos         720, 723 (5th Cir.2002)).
    dust caused by any acts or omission of a party
    committed at the direction of an officer of the United   Section 1442(a)(1) provides for federal officer removal
    States Government.                                       jurisdiction when a defendant is "the United States or
                                                             any agency thereof or any officer (or any person acting
(Rec. [*16] Doc. 1-1 at p. 7).                               under that officer) of the United States or of any agency
                                                             thereof, in an official or individual capacity, for or relating
Thomas Hayden's deposition was taken on May 28,              to any act under color of such office or on account of
2015. During that deposition, Thomas Hayden                  any right, title or authority claimed under any Act of
discussed, at length, his potential exposure to asbestos     Congress for the apprehension or punishment of
during his time with the U.S. Navy. Specifically, Mr.        criminals or the collection of the revenue." Federal
Hayden expounded on his exposure aboard the USS              officer removal is justified when (1) the defendant is a
EDSON to dust potentially containing asbestos that           "person" within the meaning [*18] of the statute, (2) the
resulted from contact with "force draft blowers," which      defendant acted pursuant to a federal officer's direction
Thomas Hayden indicated in his testimony were                when committing the alleged acts that give rise to the
manufactured by Carrier and another defendant, Air &         injury, and (3) the defendant can assert a colorable
Liquid Systems Corporation, successor to Buffalo             defense. Willingham v. Morgan, 395 U.S. 402, 89 S. Ct.
Pumps, Inc. (Rec. Doc. 1-2 at p. 3). Based on this           1813, 23 L. Ed. 2d 396 (1969).
deposition testimony, Carrier removed the case from
Louisiana state court on the grounds that the testimony      Carrier removed the case to this Court on the grounds
constitutes an allegation against Carrier for asbestos       that Thomas Hayden's testimony indicates the intent to
exposure resulting from his work around the "force draft     pursue a claim against Carrier for exposure resulting
blowers." In particular, Carrier alleges that removal was    from contact with the "force draft blowers" while Thomas
proper pursuant to federal officer removal jurisdiction,     Hayden served aboard the USS EDSON. Carrier argues
28 U.S.C. § 1442(a)(1), because the "forced draft            that it can assert a colorable defense of government
blowers" were specifically designed and manufactured         contractor immunity because Carrier was acting at the
for, and at the direction of, the United States              specific direction and control of the U.S. Government
Government. (Rec. Doc. 1 at p. 2). The Haydens moved         when designing and manufacturing the "force draft
to remand on June 25, 2015. (Rec. Doc. 6).                   blowers." Thus, Carrier avers, federal officer removal
                                                             jurisdiction is appropriate here.

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In their motion, the Haydens argue that they have               After considering the parties' submissions, the relevant
specifically disclaimed any claim against the defendants        case law, and the Haydens' original Petition, the Court
"for anything that a federal officer or agency may have         agrees with the Haydens and finds that remand is
compelled defendants to do." (Rec Doc. 6-1 at p. 2)             appropriate here. In their Petition, the Haydens
Moreover, the Haydens aver that they are not seeking to         expressly limited their claims to exclude any causes of
recover "from Carrier... or anyone else for anything they       action for exposure while Thomas Hayden was "enlisted
[Carrier] supplied the U.S. Navy or to which Mr. Hayden         or serving in the United States Navy aboard ship, in
was exposed to in the U.S. Navy." (Id.) (emphasis [*19]         port, or in any federal enclave." (Rec. Doc. 1-1 at p. 7).
in original). The Haydens assert that they are only             The disclaimer [*21] at issue disavows the pursuit of
pursuing claims against Carrier and the other                   damages that may have resulted from asbestos
defendants for Mr. Hayden's exposure while working at           exposure during Thomas Hayden's time in the Navy.
the refineries and other land-based industrial sites. (Id.).    Carrier's only asserted ground for removal is the May
Therefore, the Haydens contend, federal jurisdiction is         28th deposition testimony pertaining to Mr. Hayden's
improper because there is no valid defense for a cause          potential exposure while working around "forced draft
of action that they have explicitly disclaimed.                 blowers" on the USS EDSON. However, the Petition
                                                                explicitly denies a cause of action based on these facts.
In response, Carrier argues that the disclaimer cannot          Moreover, the Haydens re-affirmed, in their motion, that
defeat this Court's subject matter jurisdiction because         they are not pursuing any claims against defendants for
the disclaimer is illusory and circular. (Rec. Doc. 25 at p.    exposure during Thomas Hayden's service in the
4-5). Similarly, Carrier asserts that it is incongruous and     military, but only for exposure that occurred while he
disingenuous to disclaim any causes of action arising           worked at "refineries and other land-based industrial
from Mr. Hayden's term with the Navy while                      sites" around Louisiana. (Rec. Doc. 6-2 at p. 2). The
simultaneously eliciting testimony to support those             Court sees no reason to disbelieve the Haydens' explicit
claims. (Id. at p. 5). In addition, co-defendant ACC            renunciation of any claims arising from Thomas
argues, in its response, that the Haydens have                  Hayden's military service.
effectively revoked the disclaimer by eliciting testimony
relating to Thomas Hayden's exposure while serving in           In essence, the Court finds that Carrier does not have a
the Navy. (Rec. Doc. 26 at p. 1). ACC also contends, in         valid government contractor defense, and thereby
the alternative, that federal officer removal jurisdiction is   removal authority, for a claim that is not alleged in the
appropriate because ACC has raised the government               Petition nor pursued by the plaintiffs. Based on Plaintiffs
contractor defense when it pled the affirmative defense         pleading and representations in their motion, the
of comparative fault attributable [*20] to any defendants       Haydens are not alleging a claim for asbestos exposure
who supplied, manufactured, produced, or provided the           resulting from contact [*22] with the "forced draft
Navy with asbestos or asbestos containing products to           blowers."
which Mr. Hayden was exposed. (Id.).
                                                                Additionally, the Court finds that the cases cited by
The Court finds that the disclaimer at issue in this case       Defendants in support of removal are inapposite due to
is similar to those seen in Phillips v. Asbestos Corp.          the fact the Haydens' disclaimer eliminates any cause of
Ltd., 2014 U.S. Dist. LEXIS 24792, 2014 WL 794051, at           action related to exposure while Mr. Hayden was in the
*2 (N.D. Cal. Feb. 26, 2014), Dougherty v. A.O. Smith           Navy and the only valid grounds for removal relate to
Corp., No. CV 13-1972, 2014 U.S. Dist. LEXIS 125302,            that specific time period. On the other hand, the Court
2014 WL 4447293 (D. Del. Sept. 8, 2014), and Frawley            agrees with Defendants that, should the Haydens
v. Gen. Elec. Co., 2007 U.S. Dist. LEXIS 18404, 2007            actually pursue claims for exposure to which federal
WL 656857 (S.D.N.Y. Mar. 1, 2007). In each of those             officer removal jurisdiction may apply, this Court is the
cases, the court found remand appropriate where the             proper venue for such a determination. However, the
plaintiff expressly renounced the pursuit of any causes         facts, as developed thus far, do not support removal at
of action related to the plaintiff's exposure while in the      this time. The Court rejects the finding that, by eliciting
military or working on a government work site. Id. Each         deposition testimony relating to potential exposure while
court found that the disclaimers at issue explicitly            aboard a naval vessel, the Haydens have revoked the
renounced claims of a specific nature and thus were             clear and express disclaimer contained in the Complaint
dissimilar from other invalid disclaimers that merely           and re-affirmed in their motion to remand, upon which
attempted circumvent federal jurisdiction. See id.              the Court relies herein.



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                                               2015 U.S. Dist. LEXIS 104534, *22

The Court also finds ACC's alternative argument, that                United States District Judge
ACC's assertion of comparative fault cross-claims based
on the government contractor defense provides a
sufficient basis for federal officer removal jurisdiction              End of Document
under 28 U.S.C. 1442(a)(1), is without merit. See e.g.,
Dougherty 2014 U.S. Dist. LEXIS 125302, 2014 WL
4447293; [*23] Lara v. CBS Corp., No. CV 13-5569,
2013 U.S. Dist. LEXIS 128265, 2013 WL 4807168, at *2
(C.D. Cal. Sept. 6, 2013) (finding comparative fault
insufficient to establish jurisdiction because the removal
statute requires defendant to raise a colorable "defense"
to a "claim"). Moreover, notice of removal must be filed
within thirty (30) days "after receipt by the defendant,
through service or otherwise, of a copy of an amended
pleading, motion, order or other paper from which it may
first be ascertained that the case is one which is or has
become removable." 28 U.S.C. § 1446(b). Therefore,
ACC's removal grounds have been untimely asserted
under the statute.1 Accordingly, remand is appropriate.
However, nothing in this Court's Order precludes a party
from arguing comparative fault in the state court
proceeding or from seeking future removal should the
appropriate grounds arise during discovery or otherwise.


III. Conclusion

For the reasons stated herein, the Court does not find
that removal was appropriate under the circumstances.
Consequently, the Court hereby GRANTS Plaintiffs
Motion for Remand (Rec. Doc. 6), and the case is
REMANDED to the Civil District Court for the Parish of
Orleans, State of Louisiana, each party to bear its own
costs.

New Orleans, Louisiana, this 10th day of August 2015.

/s/ Kurt D. Engelhardt

KURT D. ENGELHARDT


1 Although the Court finds the grounds for removal asserted by

ACC to be without merit, the Court additionally finds that, if the
opposite were true, i.e. pleading comparative fault against
other parties and non-parties is sufficient to give rise to
removal jurisdiction under 28 U.S.C. § 1442, ACC's removal
would have been untimely because the "pleading, motion,
order or other paper from which it may first be
ascertained [*24] that the case is one which is or has become
removable" would have been the Petition filed on April 20,
2015. Thus, the 30-day removal window would have expired
on May 20, 2015. The instant removal proceeding was
initiated on June 22, 2015, and ACC did not raise the
comparative fault argument until July 8, 2015.

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     Caution
As of: April 8, 2024 9:02 PM Z


                                       Illinois ex rel. Raoul v. 3M Co.
                   United States District Court for the Central District of Illinois, Rock Island Division
                                 September 21, 2023, Decided; September 21, 2023, Filed
                                           Case No. 4:22-cv-04075-SLD-JEH

Reporter
2023 U.S. Dist. LEXIS 168231 *; __ F.Supp.3d __

PEOPLE OF THE STATE OF ILLINOIS, ex. rel.
KWAME RAOUL, Attorney General of the State of
                                                               BACKGROUND
Illinois, Plaintiff, v. 3M COMPANY, Defendant.
                                                               On March 16, 2022, Plaintiff filed a complaint in Illinois
Subsequent History: Appeal filed, 10/20/2023                   state court against Defendant 3M Company. Compl.,
                                                               ECF No. 1-1 at 5-69. According to the complaint,
Core Terms                                                     Defendant is a manufacturing company which operates
                                                               throughout the United States. Id. at 10. Since the 1970s,
contamination, removal, federal official, federal              it has operated a manufacturing facility on the banks of
government, contractor, quotation, marks, removal              the Mississippi River in Cordova, Illinois (the "Cordova
statute, color, military, manufactured, products,              Facility"). Id. Defendant produces numerous [*2]
specifications, alleges, federal authority, attorney's fees,   chemical products at this facility, some of which contain
levels, state court, disclaimed, damages                       perfluoroalkyl and polyfluoroalkyl substances ("PFAS").
                                                               Id. at 11-12.
Counsel: [*1] For People of the State of Illinois, ex rel.
Kwame Raoul, Attorney General of the State of Illinois,        PFAS are toxic chemicals that are harmful to public
Plaintiff: Adam J Levitt, Amy E Keller, Daniel Rock            health, safety, and welfare, as well as to the
Flynn, LEAD ATTORNEYS, DICELLO LEVITT                          environment. Id. at 3. The United States Environmental
GUTZLER LLP, Chicago, IL; Stephen J Sylvester, LEAD            Protection Agency ("US EPA") has established a lifetime
ATTORNEY, OFFICE OF THE ILLINOIS ATTORNEY                      health advisory level for certain PFAS compounds. Id. at
GENERAL, Chicago, IL; Gregory Michael Utter, Joseph            12. The Illinois Environmental Protection Agency
M. Callow, Jr, CALLOW & UTTER, LLC, Cincinnati, OH.            ("Illinois EPA") has also established health advisories
                                                               containing health-based guidance levels for several
For 3M Company, a Delaware Corporation, Defendant:
                                                               PFAS. Id. Defendant "has detected PFAS in wastewater
Daniel L. Ring, Richard F Bulger, MAYER BROWN LLP,
                                                               at, from, and around the Cordova Facility at levels
Chicago, IL.
                                                               injurious to public health and welfare and to the
Judges: SARA DARROW, CHIEF UNITED STATES                       environment." Id. These levels are "thousands of times
DISTRICT JUDGE.                                                higher" than the levels established by the US EPA and
                                                               the Illinois EPA. Id. at 13. The US EPA has also
Opinion by: SARA DARROW                                        detected levels of PFAS in wastewater from the
                                                               Cordova Facility that exceed its and the Illinois EPA's
                                                               established levels. Id.
Opinion
                                                               Plaintiff claims that "[o]n information and belief,
                                                               [Defendant] manufactured and disposed of PFAS and/or
                                                               PFAS-containing products at the Cordova Facility in a
ORDER
                                                               manner that caused PFAS to be released into
                                                               Illinois' [*3] environment." Id. at 12. Explicitly excluded
Before the Court is Plaintiff People of the State of
                                                               from the definition of PFAS as used in the complaint are
Illinois, ex. rel. Kwame Raoul, Attorney General of the
                                                               "any PFAS that have contaminated Illinois' environment
State of Illinois's Motion to Remand, ECF No. 3. For the
                                                               or natural resources from aqueous film-forming foams
following reasons, the motion is GRANTED.

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("AFFF") containing . . . PFAS compound[s]." Id. at 8.           DISCUSSION
Plaintiff alleges that Defendant "negligently operated
[the] Cordova Facility such that it allowed the discharge,
emission, placement, disposal, leakage, spillage, and/or         I. Removal
abandonment of PFAS" and that, despite knowing that
PFAS are toxic and pose substantial risks to health and
the environment, it "persistently and intentionally hid this     A. Legal Standard
information from Illinois and the public." Id. at 19.
Plaintiff brings claims for violation of the Illinois            "The federal officer removal statute permits a defendant
Environmental Protection Act, 415 ILCS 5/1-5/58.17               to remove to federal court a state-court action brought
(Counts I, II, III, IV, and V); violation of the Illinois Fish   against the 'United States or any agency thereof or any
and Aquatic Life Code, 515 ILCS 5/1-1-5/50-1, and                officer (or any person acting under that officer) of the
Wildlife Code, 520 ILCS 5/1.1-5/4.4 (Count VI);                  United States or of any agency thereof, sued in an
negligence (Count VII); trespass (Count VIII); common            official or individual capacity for any act under color of
law public nuisance (Count IX); and common law                   such office.'" Watson v. Philip Morris Cos., 551 U.S.
prohibition on unjust enrichment (Count X). Compl. 38-           142, 145, 127 S. Ct. 2301, 168 L. Ed. 2d 42 (2007)
60. It seeks compensatory damages for the PFAS                   (emphasis omitted) (quoting 28 U.S.C. § 1442(a)(1)). A
contamination and the costs of remediation; injunctive           plaintiff may move to remand the case to state court for
relief to address past, present, and future PFAS                 lack of subject matter jurisdiction at any time before final
contamination; and statutory penalties, as well as               judgment. 28 U.S.C. § 1447(c). "The party seeking
attorney's fees, costs, and prejudgment interest. Id. at         removal bears the burden of proving the grounds for its
61-63.                                                           motion." Ruppel v. CBS Corp., 701 F.3d 1176, 1180 (7th
                                                                 Cir. 2012).
On April [*4] 21, 2022, Defendant removed this action
to the Central District of Illinois. Not. Removal, ECF No.       A defendant need not submit evidence in support of its
1. It cites the federal officer removal statute, 28 U.S.C. §     notice of removal under the federal officer removal
1442(a)(1), as the basis for federal jurisdiction. Id. at 3.     statute. Betzner v. Boeing Co., 910 F.3d 1010, 1016
As the suit "seeks damages for all Illinois natural              (7th Cir. 2018). Rather, "[j]urisdictional allegations
resources allegedly contaminated with PFAS from the              control unless it is legally impossible for them to be
Cordova Facility—including downstream areas of the               true." Id. at 1014 (alteration in original) (quotation marks
Mississippi River," Defendant argues that the alleged            omitted). Courts will review "allegations in support of
contamination for which Plaintiff alleges Defendant is           removal under the federal pleading standards, asking
responsible "plausibly may encompass and overlap with            whether [*6] they are facially plausible." Baker v. Atl.
PFAS contamination" from other sources, specifically,            Richfield Co., 962 F.3d 937, 941 (7th Cir. 2020).
the use, storage, and/or disposal of AFFF ("MilSpec
AFFF") by the U.S. Military at the Rock Island Arsenal,
twenty-five miles downstream from the Cordova Facility.          B. Analysis
Id. at 2. Defendant states that because it developed and
sold MilSpec to the U.S. Military, some of which was             The central purpose of the federal officer removal
stored and used at the Rock Island Arsenal, it intends to        statute is to protect the federal government and its
assert the federal government contractor defense,                operations from potential interference by the states
entitling it to a federal forum. Id. at 2, 8, 14.                through proceedings in state court. Watson, 551 U.S. at
                                                                 150. Because such proceedings "may reflect local
Plaintiff now moves to remand this case back to state            prejudice against unpopular federal laws or federal
court, arguing that the federal officer removal statute is       officials" and may deprive federal officials of a federal
not a basis for removal because Plaintiff does not seek          forum in which to assert federal immunity defenses, it is
to hold Defendant liable for [*5] contamination from any         important for a federal forum to be available. Id.
MilSpec AFFF released from the Rock Island Arsenal               (quotation marks omitted). The same considerations
but rather only for PFAS discharged specifically from the        apply to a private person who acts with or for federal
Cordova Facility. Mem. Supp. Mot. Remand 1-2, ECF                officers or agents in executing duties under federal law.
No. 4.                                                           Id. at 151.

                                                                 For a defendant to remove a case pursuant to the

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statute, it "must show it was a (1) 'person' (2) 'acting       Betzner, 910 F.3d at 1015 (finding that the defendant
under' the United States, its agencies, or its officers (3)    "plausibly alleged that it acted under federal officers
that has been sued 'for or relating to any act under color     when it contracted to manufacture heavy bomber
of such office,' and (4) has a colorable federal defense       aircraft for the United States Air Force, and that it acted
to the plaintiff's claim." Ruppel, 701 F.3d at 1180-81         under the military's detailed and ongoing control").
(quoting 28 U.S.C. § 1442(a)). The statute thus                "Acting under" may include situations in which a
operates as an exception to the well-pleaded complaint         defendant "work[s] hand-in-hand with the federal
rule: whereas an action may generally only be removed          government to achieve a task that furthers an end of the
to federal court under federal question jurisdiction if "the   federal government" or in which "the federal government
federal question . . . appear[s] [*7] on the face of [the]     uses a private corporation to achieve an end it would
properly pleaded complaint," under the federal officer         have otherwise used its own agents to complete."
removal statute, "the federal-question element is met if       Ruppel, 701 F.3d at 1181. However, mere compliance
the defense depends on federal law." Jefferson County          with the law—even where compliance is overseen by
v. Acker, 527 U.S. 423, 430-31, 119 S. Ct. 2069, 144 L.        the government—is not sufficient. Watson, 551 U.S. at
Ed. 2d 408 (1999). At this stage, the court will credit the    152.
removing party's theory of the case, even if both sides
"have reasonable theories." See Baker, 962 F.3d at             In the notice of removal, Defendant alleges that for over
947. The concern is "with who makes the ultimate               three decades, it manufactured MilSpec AFFF for sale
determination, not what that determination will be." Id.       to the U.S. military. Not. Removal 8. It notes that
(quotation marks omitted). The Supreme Court "has              "MilSpec [*9] AFFF is a mission critical military and
made clear that courts must liberally construe" the            aviation safety product that, without the support of
statute. Id. at 941 (quotation marks omitted); see also        private contractors, the government would have to
Arizona v. Manypenny, 451 U.S. 232, 242, 101 S. Ct.            produce for itself" and that "the military has long
1657, 68 L. Ed. 2d 58 (1981) (noting that "the policy          depended upon outside contractors like [Defendant] to
favoring removal [under the federal officer removal            manufacture and supply AFFF." Id. at 12. Moreover, it
statute] should not be frustrated by a narrow, grudging        asserts, "[i]n designing, manufacturing and supplying
interpretation of § 1442(a)(1)" (quotation marks               MilSpec AFFF products, [Defendant] acted . . . in
omitted)); Ruppel, 701 F.3d at 1180 ("[T]he federal            accordance with detailed specifications, promulgated by
officer removal statute is not narrow or limited."             Naval Sea Systems Command, that govern AFFF
(quotation marks omitted)).                                    formulation, performance, testing, storage, inspection,
                                                               packaging, and labeling." Id. at 13. Because Defendant
The Court will examine whether Defendant has satisfied         has thus plausibly alleged that it assisted the federal
each requirement of the statute.                               government in producing a necessary item under the
                                                               military's observation and control, a task the government
                                                               would otherwise have had to use its own agents to
i. Person Within Meaning of Statute                            complete, it has satisfied the "acting under" requirement
                                                               of the federal officer removal statute. See Nessel v.
Corporations are persons for purposes of the federal
                                                               Chemguard, Inc., No. 1:20-cv-1080, 2021 U.S. Dist.
officer removal statute. See Ruppel, 701 F.3d at 1181.
                                                               LEXIS 39175, 2021 WL 744683, at *3 (W.D. Mich. Jan.
Defendant states that it is a corporation, Not. Removal
                                                               6, 2021) (finding that the defendants, private
11; see also Compl. 10 (alleging that Defendant is a
                                                               contractors, were "acting under" a federal officer by
corporation), so the person requirement is satisfied.
                                                               producing MilSpec AFFF because that "is a product that
                                                               the [g]overnment would have had to create if [the]
                                                               [d]efendants did not exist").
ii. [*8] Acting Under the United States

Courts consider government contractors to be "acting
                                                               iii. Colorable Federal Defense
under" the United States, its agencies, or its officers
when they "assist, or . . . help carry out, the duties or
                                                               A defendant [*10] must also allege a "colorable or
tasks of the federal superior," Watson, 551 U.S. at 152
                                                               plausible federal defense." See Hammer v. U.S. Dep't of
(emphases omitted), such as "help[ing] the
                                                               Health & Hum. Servs., 905 F.3d 517, 528 (7th Cir. 2018)
[g]overnment to produce an item that it needs," Baker,
                                                               (quotation marks omitted). Defendant has stated it
962 F.3d at 942 (quotation marks omitted); see, e.g.,
                                                               intends to assert the federal government contractor

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defense as to MilSpec AFFF. See Not. Removal 15.              reported that this may raise environmental or health
This defense "immunizes government contractors from           issues."). Defendant points to government reports from
state tort law when the government had a hand in a            1980 and 2017 discussing the adverse environmental
defendant's allegedly defective design." Ruppel, 701          effects of AFFF to illustrate that the government was
F.3d at 1183. It "applies where (1) the federal               aware of the dangers of AFFF. Id. at 17-18; see, e.g.,
government approved reasonably precise specifications,        Betzner, 910 F.3d at 1015-16 (finding that the defendant
(2) the manufactured equipment conformed to the               had adequately alleged the federal government
government's specifications, and (3) the contractor           contractor defense where it alleged that "the federal
warned the federal government about the equipment's           government was independently aware of the potential
dangers that were unknown to the government."                 health hazards related to" the acts alleged in the
Betzner, 910 F.3d at 1016 (citing Boyle v. United Techs.      complaint).
Corp., 487 U.S. 500, 512, 108 S. Ct. 2510, 101 L. Ed.
2d 442 (1988)). The defense need only be "colorable,"         For damages related to MilSpec AFFF, Defendant has
not "clearly sustainable." Ruppel, 701 F.3d at 1182           plausibly alleged each of the three elements of the
(quotation marks omitted).                                    federal government contractor defense, showing a
                                                              colorable federal defense.
Defendant states that the U.S. government has
approved rigorous specifications for the manufacture
and sale of MilSpec AFFF, which were created and              iv. Under Color of Federal Authority
administrated by Naval Sea Systems Command,
namely, that,                                                 The outcome of Plaintiff's motion to remand thus hinges
                                                              on the "under color of federal authority" requirement.
    [a]ll MilSpec AFFF products must be qualified for         That a defendant acted generally under a federal
    listing on the applicable Qualified Products List prior   directive and would have a colorable defense for those
    to military procurement. Prior to such listing, a         actions is not sufficient to remove a case; the actions
    manufacturer's products are examined, tested, and         under federal directive must relate to the claims brought
    approved to be in conformance with [*11]                  in the suit. See Baker, 962 F.3d at 943; see Ruppel, 701
    specification requirements. . . . After a product is      F.3d at 1181 (noting that the "under color of federal
    added to the Qualified Products List, [c]riteria for      authority" requirement [*13] "is distinct from the 'acting
    retention of qualification are applied on a periodic      under' requirement in the same way a bona fide federal
    basis to ensure continued integrity of the                officer could not remove a trespass suit that occurred
    qualification status.                                     while he was taking out the garbage"). To satisfy this
                                                              requirement, a defendant must plausibly allege that the
Not. Removal 7 (third alteration in original) (footnote       action is "connected or associated[] with acts under
omitted) (quotation marks omitted). It notes that "the        color of federal office." Baker, 962 F.3d at 943-44
current MilSpec expressly contemplates that AFFF              (emphases omitted) (quotation marks omitted) (noting
formulations will contain [PFAS compounds]." Id. at 8.        that this requirement is more inclusive than the previous
Defendant further alleges that the MilSpec AFFF it            requirement that there be a "causal connection"
manufactured conformed to the government's                    between the suit and acts done under governmental
specifications. See id. at 16 ("[Defendant's] products        authority).
appeared on the DOD Qualified Products List, which
could have happened only if Naval Sea Systems                 A removing defendant need not claim that the alleged
Command had first determined that they conformed to           harm arose entirely from acts done under federal
the MilSpec [specifications]."). And it claims that "the      authority; all that is needed is an allegation that "at least
government was adequately informed regarding alleged          some of the [alleged harm] arose from the federal acts."
product-related dangers" of MilSpec AFFF through              Id. at 945; see also id. ("[R]emoval need not be justified
"testing protocols and requirements for toxicity, chemical    as to all claims asserted in the plaintiffs' complaint;
oxygen, and biological demand." Id. at 17 (quotation          rather, the defense need only apply to one claim to
marks omitted) ("[I]t is clear that the United States has     remove the case." (quotation marks omitted)). Nor must
long understood that AFFF contain PFAS and may                the defendant prove conclusively that such a connection
contain or break down into [PFAS compounds]; that             or association exists; provided that the allegations are
AFFF constituents can migrate through [*12] the soil          sufficient, "whether the challenged act was outside the
and potentially reach groundwater; and that it has been       scope of [the] [d]efendants' official duties, or [*14]

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whether it was specifically directed by the federal            for PFAS contamination stemming from anywhere other
[g]overnment, is [a question] for the federal—not state—       than the Cordova Facility—including the Rock Island
courts to answer." Id. (quotation marks omitted); see          Arsenal—and Defendant cannot be held liable for PFAS
Acker, 527 U.S. at 432 (finding that "demanding an             contamination from anywhere other than the Cordova
airtight case on the merits in order to show the required      Facility.
. . . connection" would "defeat the purpose of the
removal statute").                                             Defendant points to Nessel in support of its argument
                                                               that it is entitled to raise "the production of MilSpec
In the complaint, Plaintiff seeks to recover for PFAS          AFFF as a defense or an alternate theory' of causation"
contamination to Illinois' environment and natural             and then assert the federal government contractor
resources, including to the Mississippi River, caused by       defense as to contamination resulting from MilSpec
Defendant. See Compl. 1, 38-45, 51-54, 57-58.                  AFFF. See Not. Removal 2 (quoting Nessel, 2021 U.S.
Defendant now alleges that this suit is connected to the       Dist. LEXIS 39175, 2021 WL 744683, at *3). The
MilSpec AFFF it manufactured for the U.S. military and         complaint in Nessel was brought to remedy
which was stored at the Rock Island Arsenal—despite            contamination from commercially available AFFF only; a
Plaintiff's explicit exemption of AFFF from the suit, id. at   separate case against the same defendants involved
8—because the alleged contamination to the Mississippi         MilSpec AFFF. Nessel, 2021 U.S. Dist. LEXIS 39175,
River for which Plaintiff is seeking damages "plausibly        2021 WL 744683, at *1. The defendants removed the
may encompass and overlap with PFAS contamination              suit to federal court, arguing that the injuries from
from the use, storage, and discharge of MilSpec AFFF           commercially available AFFF and MilSpec were
at the Rock Island Arsenal." Not. Removal 2. Thus,             "indivisible," and so they intended to assert the federal
Defendant argues, this suit is connected or associated         government contractor defense. Id. The court found that
with its actions as a federal contractor. Plaintiff counters   removal was proper because the plaintiffs had failed to
that the supposed release of MilSpec AFFF from the             show that the injuries from the two sources would be
Rock Island Arsenal [*15] "has nothing to do with a            "distinguishable" and that "[i]t [wa]s entirely possible
single allegation" in its complaint, as it "seek[s] relief     that [*17] [the] [p]laintiffs' injuries occurred from actions
exclusively" for non-AFFF PFAS contamination from              taken while [the] [d]efendants were acting under color of
Defendant's Cordova Facility. Mem. Supp. Mot. Remand           federal office: namely, MilSpec AFFF." 2021 U.S. Dist.
1-2 ("This case only concerns [Defendant's] release of         LEXIS 39175, [WL] at *3. It disregarded the plaintiffs'
pollutants from a specific . . . facility . . . .").           argument that they did not seek resolution of any claims
                                                               related to MilSpec AFFF because they could not "decide
"[C]ourts have consistently granted motions to remand          what defense [the] [d]efendants might present." Id. The
where the plaintiff expressly disclaimed the claims upon       court elaborated:
which federal officer removal was based." Reinbold v.               Consider, for example, a tort case: a plaintiff can
Advanced Auto Parts, Inc., Case No. 18-CV-605-SMY-                  allege that a defendant and only that defendant
DGW, 2018 U.S. Dist. LEXIS 102399, 2018 WL                          caused his injury, but a plaintiff cannot prevent a
3036026, at *2 (S.D. Ill. June 19, 2018) (collecting cases          defendant from presenting an alternate theory of
finding remand appropriate because the plaintiff                    causation. Thus, while [the] [p]laintiffs attempt to
expressly disclaimed claims for asbestos exposure from              surgically divide their complaints between
military or other federal government locations). By                 [c]ommercial and MilSpec AFFF, they cannot
renouncing all claims stemming from a contractor's work             prevent [the] [d]efendants from raising the
for the federal government, it no longer becomes                    production of MilSpec AFFF as a defense or an
necessary to assert the federal government contractor               alternate theory, particularly when [the] [p]laintiffs
defense. Plaintiff only seeks relief for PFAS                       admit that [the] [d]efendants produced MilSpec
contamination from the Cordova Facility, not for PFAS               AFFF and that PFAS from AFFF spread
contamination from other locations. See Compl. 1. It                contamination throughout the state.
expressly defines PFAS as non-AFFF PFAS, id. at 8,
and Defendant does not assert in its notice of removal         Id. (emphases omitted).
that it produced MilSpec AFFF at the Cordova Facility.
See Mem. Supp. Mot. Remand 3 ("[Defendant] does not            This Court does not disagree that Defendant could point
contend that it produced or used MilSpec AFFF at               to PFAS contamination from the use and storage of
its [*16] Cordova Facility." (emphasis omitted)). This         MilSpec AFFF at the Rock Island Arsenal as an
indicates that Plaintiff has expressly disclaimed claims       alternate source of the contamination that is the


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basis [*18] of this suit. But even without asserting the        Franklin Cap. Corp., 546 U.S. 132, 137, 126 S. Ct. 704,
federal government contractor defense as to that source         163 L. Ed. 2d 547 (2005). "[C]ourts may award
of contamination, Defendant cannot be held liable for           attorney's fees under § 1447(c) only where the removing
contamination from the Rock Island Arsenal. In other            party lacked an objectively [*20] reasonable basis for
words, once Defendant shows that a certain portion of           seeking removal." Id. at 141. "Conversely, when an
the contamination stemmed from MilSpec AFFF                     objectively reasonable basis exists, fees should be
released from the Rock Island Arsenal, that                     denied." Id. "[D]istrict courts retain discretion to consider
contamination is eliminated from the case, whether or           whether unusual circumstances warrant a departure
not that MilSpec AFFF was produced according to                 from the rule in a given case." Id.
rigorous military specifications and the government was
warned of any dangers of which it was unaware. See              The Court declines to use its discretion to order an
supra Section I(B)(iii); see also New Hampshire v. 3M           award of fees in Plaintiff's favor. Unlike removal under
Co., Civil No. 22-cv-145-LM, 2023 U.S. Dist. LEXIS              28 U.S.C. § 1441, which "should be construed narrowly
53461, 2023 WL 2691376, at *8 (D.N.H. Mar. 29, 2023)            and against removal," People of State of Ill. v. Kerr-
(finding that the court lacked removal jurisdiction under       McGee Chem. Corp., 677 F.2d 571, 576 (7th Cir. 1982),
the federal officer removal statute in a suit brought for       the Supreme Court has made clear that "the policy
PFAS contamination where the plaintiff had                      favoring removal [under § 1442(a)(1)] should not be
"consistently disclaimed any recovery for contamination         frustrated by a narrow, grudging interpretation of" the
resulting from [the defendant's] production of AFFF"            statute, Manypenny, 451 U.S. at 242 (quotation marks
because the disclaimer eliminated the connection                omitted). Moreover, it appears that Defendant has
between the claims and the defendant's production of            successfully removed cases involving PFAS and/or
MilSpec AFFF for the U.S. military). Likewise,                  AFFF under the federal officer removal statute on a
Defendant could point to another private company                number of other occasions. See, e.g., Not. Removal 6
releasing PFAS into the Mississippi River from another          (collecting cases); Mem. Supp. Mot. Remand 1-2 n.1
facility as an alternate source of the contamination and        (same). Plaintiff's request for attorney's fees is therefore
be released from liability for [*19] that contamination,        denied.
regardless of that company's status as a federal
contractor.
                                                                CONCLUSION
Permitting Defendant to remove this suit under the
federal officer removal statute when the federal                For the foregoing reasons, Plaintiff People of the State
government contractor defense is irrelevant to the              of Illinois, ex. rel. Kwame Raoul, Attorney General of the
eventual resolution of the case and any PFAS it                 State of Illinois's Motion to Remand, ECF No. 3, is
produced as a military contractor is explicitly excluded        GRANTED. This suit is remanded back to the Circuit
from this suit would defeat the purpose of the statute. It      Court of the Fourteenth Judicial Circuit, [*21] Rock
is thus impossible for Defendant to be held liable for          Island County.
damages stemming from its actions under federal
                                                                Entered this 21st day of September, 2023.
authority, and so the requisite connection or association
is missing. Because the "under color of federal                 /s/ Sara Darrow
authority" requirement has not been met, federal
jurisdiction is not proper. Plaintiff's motion to remand this   SARA DARROW
case to state court is granted.
                                                                CHIEF UNITED STATES DISTRICT JUDGE

II. Attorney's Fees
                                                                  End of Document
In the event that the Court granted its motion to remand,
Plaintiff requests that Defendant be ordered to pay the
attorney's fees Plaintiff incurred as a result of the
removal. Mem. Supp. Mot. Remand 16. 28 U.S.C. §
1447(c) permits an award of attorney's fees upon
remand. The Supreme Court has held that there is no
strong presumption in favor of a fee award. Martin v.

                                                     Kelly Christopher
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                        IN THE UNITED ST ATES DISTRICT COURT
                        FOR THE DISTRICT OF SOUTH CAROLINA
                                CHARLESTON DIVISION

                                                )
IN RE: AQUEOUS FILM-FORMING                     )    MDL No. 2: 18-mn-2873-RMG
FOAMS PRODUCTS LIABILITY                        )
LITIGATION                                      )    ORDER
                                                )
                                                )    This Order Relates to
                                                )    Case No. 2:19-cv-01022-RMG
                                                )
                                                )




       Before the Court is the State of New York' s motion to remand its claims to New York

state court. (Dkt. No . 71 .) For the reasons set forth below, the motion is denied.

I.     Background

       In June 2018 , the State of New York ("New York") brought claims against 3M

Company; Tyco Fire Products L.P.; Chemguard, Inc. ; Buckeye Fire Equipment Company;

National Foam, Inc.; and Kidde-Fenwall, Inc. (collectively, "Defendants") alleging that the

aqueous film-forming foam ("AFFF") and related products designed, manufactured, marketed

and sold by Defendants contaminated New York groundwater with the chemical compounds

perfluorooctanoic     acid/perfluorooctanoate       ("PFOA")     and     perfluorooctane   sulfonic

acid/perfluorooctane sulfonate ("PFOS"), resulting in New York incurring costs to investigate,

monitor, remediate and otherwise respond to the resulting public health risk and harm to New

York' s natural resources. (2:19-cv-01022-RMG, Dkt. No. 1-14i!4il1-4.) New York alleged that

Defendants' AFFF products, containing PFOS/PFOA, were used by the Air National Guard and

the United States Air Force on military bases and at civilian airports and firefighting training

centers in New York, including (i) Stewart Air National Guard Base and Stewart International
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Airport in Newburgh and New Windsor, (ii) Francis S. Gabreski Airport in Southampton, (iii)

Plattsburgh Air Force Base in Plattsburgh, and (iv) Griffiss Air Force Base in Rome. (Id. ~~ 56-

58, 64-103 .) New York brought four causes of action for public nuisance, strict products liability

for defective design, strict products liability for failure to warn, and restitution. (Id.~~ 106-32.)

        In November 2018 , Defendant Tyco Fire Products L.P. ("Tyco") removed the action to

the District Court for the Northern District of New York on the basis of the federal officer

removal statute, pursuant to 28 U.S.C. § 1442(a)(l), and federal enclave jurisdiction, pursuant to

28 U.S .C . §§ 1331 and 1441(a). (Id. Dkt. No. 1.)           In April 2019, the Judicial Panel on

Multidistrict Litigation (the "Panel") transferred this matter under 28 U.S.C. § 1407 into these

multidistrict litigation (" MDL") proceedings, finding that transfer serves the convenience of the

parties and witnesses and promotes just and efficient litigation. (Id. Dkt. No. 39 at 3.) Shortly

thereafter, New York brought the instant motion to remand this action to Albany County New

York State Supreme Court.

II.     Legal Standard

        As the party that invoked the Court' s jurisdiction, Tyco bears the burden of establishing

that the case was properly removed from state court. Mulcahey v. Columbia Organic Chem. Co.,

29 F.3d 148, 151 (4th Cir. 1994); see also Bennettv. Bally Mfg. Corp., 785 F. Supp. 559, 560

(D .S.C. 1992).    The Court should strictly construe removal jurisdiction because it "raises

significant federalism concerns." Mulcah ey , 29 F.3d at 151 (citing Shamrock Oil & Gas Corp. v.

Sheets , 313 U.S. 100 (1941)); see also S C v. Boehringer Ingelheim Roxane, Inc., No. 3 :07-cv-

00665-CMC, 2007 WL 1232156, at * 1 (D.S .C. Apr. 26, 2007).                Doubts as to the Court' s

jurisdiction should weigh in favor of remanding to state court. Mulcahey, 29 F.3d at 151.




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III.     Discussion

         The Court finds that Tyco properly removed this action to federal court both under the

federal officer removal statute, on the basis of its government contractor immunity defense, and

under federal enclave jurisdiction, on the basis of the tort claims alleged to have arisen on

Griffiss Air Force Base in the 1970s through 1990s.

A.       Removal Was Proper Under the Federal Officer Removal Statute

         The federal officer removal statute authorizes removal to federal court of any civil action

or criminal prosecution commenced in state court against "any officer (or any person acting

under that officer) of the United States or of any agency thereof, in an official or individual

capacity, for or relating to any act under color of such office." 28 U.S.C . § 1442(a)(l). Thus, a

private defendant, such as a government contractor, who seeks to removal a case under

§ 1441(a)(l) must show (1) that it was a "person acting under" a federal officer, see e.g. , Watson

v. Philip Morris Cos., 551 U.S. 142, 147 (2007); Ripley v. Foster Wheeler LLC, 841 F.3d 207,

209 (4th Cir. 2016); (2) that it has a "colorable federal defense," Jefferson Cnty. v. Acker, 527

U.S. 423 , 431 (1999) ; and (3) that the charged conduct was carried out for or in relation to the

asserted official authority, see 28 U.S.C. § 1442(a)(l). "In imposing these requirements, the

statute aims to protect the Federal Government from interference with its ' operations,' primarily

by providing ' a federal forum for a federal defense. "' Sawyer v. Foster Wheeler LLC, 860 F.3d

249, 254 (4th Cir. 2017) (quoting Watson, 551 U.S. at 147). In reviewing removal on a motion

to remand, the Court should reject a "narrow, grudging interpretation of the statute, recognizing

that one of the most important reasons for removal is to have the validity of the defense of

official immunity tried in federal court." Acker, 527 U.S. at 431.




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         The Court finds these elements of § 1442(a)(l) are satisfied, entitling Tyco to have

removed New York' s tort claims and Tyco ' s federal defense to federal court.      As an initial

matter, Tyco is a "person" under § 1442(a)(l), which includes "companies, associations, firms

[and] partnerships." Papp v. Fore-Kast Sales Co., 842 F.3d 805 , 812 (3d Cir. 2016).   Next, the

phrase "acting under" is "broad" and should be "liberally construed" in favor of the removing

Defendant. Watson , 551 U.S. at 147.     When a private entity is involved, the phrase "acting

under" is interpreted to "contemplate a relationship where the government exerts some

' subjection, guidance, or control." Sawyer, 860 F.3d at 255 (quoting Watson , 551 U.S . at 151).

The Court of Appeals for the Fourth Circuit has observed that "courts have unhesitatingly treated

the ' acting under' requirement as satisfied where a contractor seeks to remove a case involving

injuries arising from equipment that it manufactured for the government." Sawyer, 860 F.3d at

255.     Here, New York alleges that Tyco manufactured and sold AFFF products containing

PFOS/PFOA to the U.S . military, which used and stored the products at certain sites. Because

the U.S . military accepts and tests AFFF products against military specifications ("MilSpec")

promulgated by Naval Sea Systems Command, including specifications that AFFF product

formulations include the chemical class that includes PFOA/PFOS, Tyco has demonstrated that it

was manufacturing the product under the U.S. military' s guidance.

         Second, Tyco has a "colorable" federal defense of government contractor immunity. To

assert government contractor immunity to tort liability, Tyco must demonstrate that "(l) the

United States approved reasonably precise specifications; (2) the equipment conformed to those

specifications; and (3) the supplier warned the United States about the dangers in the use of the

equipment that were known to the suppl ier but not to the United States." Boyle v. United Techs.

Corp., 487 U.S. 500, 512 (1988) . "Removal need not be justified as to all claims asserted in the



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plaintiffs' complaint; rather, the defense need only apply to one claim to remove the case."

Sawyer, 860 F.3d at 257. Tyco has demonstrated this colorable defense, where it contends that

its AFFF products were manufactured according to the U.S . military's MilSpec specifications,

which included specifications for the chemical class that includes PFOS/PFOA. As to whether

Tyco adequately informed the U.S. military of dangers associated with its AFFF products of

which the military was not already aware, Tyco points to materials such as a November 2017

Department of Defense report to Congress, in which the agency acknowledged the

Environmental Protection Agency's stated concerns with PFOS/PFOA in drinking water, 1 and

the defense need not be "clearly sustainable" to justify removal as merely "colorable." Acker,

527 U.S. at 432 ("We therefore do not require the officer virtually to 'win his case before he can

have it removed."').

        Last, Tyco has sufficiently demonstrated that it "engag[ ed] in government-directed

conduct causally related to the plaintiff['s] claims." Sawyer, 860 F.3d at 254. To satisfy this

"causation requirement" necessary to justify removal on the basis of the federal officer statute,

non-governmental corporate defendants such as Tyco "must demonstrate that the acts for which

they are being sued ... occurred because of what they were asked to do by the Government."

Isaacson v. Dow Chem. Co., 517 F.3d 129, 137 (2d Cir. 2008) (emphasis in original). This is

satisfied where there is a "causal nexus between the allegedly tortious conduct and asserted

official authority," which "has been interpreted broadly." Brady v. XE Servs LLC, No. 5:09-CV-

449-BO, No. 5:09-CV-450-BO, 2010 WL 11566021, at *2 (E.D.N.C. May 18, 2010). For this,

the Court looks to whether Tyco demonstrated that its alleged acts "occurred while" it was

"performing [its] official duties." Isaacson, 517 F.3d at 13 7-38 (emphasis in original). Here,

1
  See Dep't of Defense, Aqueous Film Forming Foam Report to Congress, cleared for open publication
Nov . 3, 2017, at 1-2, available at https://www.denix.osd.mil/derp/home/documents/aqueous-jilm-forming-
foam-report-to- congress!

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New York's claims arise out of use of AFFF products that it claims Tyco manufactured and sold,

and for which the U.S . military imposes MilSpec standards. The Court should "credit the

[removing defendant's] theory of the case" and finds that the causation element of federal officer

removal is satisfied here. Acker, 527 U.S. at 432.

       The Court, therefore, finds that Tyco properly removed the claims against it to federal

court pursuant to the federal officer removal statute.

B.     Removal Was Proper Under Federal Enclave Jurisdiction

       The Court also finds that removal was proper under 28 U.S.C. § 1441(a). The federal

court has jurisdiction pursuant to 28 U .S.C. § 1331 over New York's tort claims relating to

AFFF product use and contamination at Griffiss Air Force Base, a federal enclave, and has

supplemental jurisdiction over the claims relating to the other alleged contamination sites.

       The federal enclave doctrine arises out of Congress ' s constitutional authority to "exercise

exclusive legislation" over the District of Columbia "and to exercise like authority over all places

purchased by the consent of the legislature of the state in which the same shall be, for the

erection of forts , magazines, arsenals, dockyards, and other needful buildings." U.S. Const. art. I,

§ 8, cl. 17. A federal enclave is a "portion of land over which the United States government

exercises federal legislative jurisdiction." Brookhaven Sci. Assocs. , LLC v. Donaldson, No. 04

Civ. 4013 (LAP), 2007 WL 2319141 , at *5 (S.D.N.Y. Aug. 9, 2007); see also Stokes v. Adair,

265 F.2d 662, 666 (4th Cir. 1959). Griffiss Air Force Base was a federal enclave from 1945,

when it was deeded by New York to the United States, to 1995, when it was decommissioned as

an air force base and began operation as a civilian airport. New York alleges that "beginning in

the 1970s through at least the 1990s," AFFF products manufactured and sold by Defendants that

contained PFOS/PFOA were stored and used at Griffiss Air Force Base. (2: 19-cv-01022-RMG,



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Dkt. No . 1-1 ii 99.) " It has long been settled that where lands for such a purpose are purchased

by the United States with the consent of the State legislature, the jurisdiction theretofore residing

in the state passes, in virtue of the constitutional provision, to the United States, thereby making

the jurisdiction of the latter the sole jurisdiction." Surplus Trading Co. v. Cook, 281 U.S. 647,

652 (1930). Because Griffiss Air Force Base was a federal enclave under federal jurisdiction at

the time of the relevant conduct, the tort claims arising from that conduct on Griffiss Air Force

Base are subject to the federal court' s jurisdiction.

        New York' s tort claims arising out of AFFF product use and contamination at sites other

than Griffiss Air Force Base, including Stewart Air National Guard Base, Stewart International

Airport, Gabreski Airport and Plattsburgh Air Force Base, are subject to this Court' s

supplemental jurisdiction. " [T]he district courts shall have supplemental jurisdiction over all

other claims that are so related to claims in the action within such original jurisdiction that they

form part of the same case or controversy[.]" 28 U.S .C. § 1367(a). The Court may nonetheless

decline to exercise its jurisdiction where the tort claims arising from these contamination sites

"predominate" over the claim arising from Griffiss Air Force Base, or for other "compelling

reasons. " 28 U.S.C. § 1367(c).       New York brings the same tort claims against the same

Defendants for the same conduct alleged to have arisen on the Griffiss Air Force Base, as it does

relating to the other contamination sites. The Court finds no compelling reason to sever and

remand the tort claims relating to the other contamination sites, including where the Panel found

that all claims in this action warranted consolidation into these MDL proceedings.

        When the Panel ordered New York ' s action transferred into these MDL proceedings, it

observed that, "Revealingly, [New York and Ohio] alternatively request that, should the Panel

transfer these actions into the MDL, we direct the transferee court to prioritize discovery and



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consideration of their objections to federal jurisdiction and the government contractor defense. "

(2: 18-mn-2873 , Dkt. No . 384 at 3.) Denying New York' s motion to remand and maintaining its

action in the MDL proceedings ensures that New York has the opportunity to engage in efficient

and centralized discovery of these significant issues of federal question that implicate the merits

of New York ' s claims.

IV.     Conclusion

        For the foregoing reasons, the State of New York's motion to remand (Dkt. No. 71) is

DENIED.

        AND IT IS SO ORDERED.




                                                     United States District Court Judge
May "JJ(, 2019
Charleston, South Carolina




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                       IN THE UNITED STATES DISTRICT cotSilfl\, Ci \,;LESTOlt. SC
                       FOR THE DISTRICT OF SOUTH CAROLffi't,SEP 27                    PM I: 50
                              CHARLESTON DIVISION

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IN RE: AQUEOUS FILM-FORMING                    )   MDL No. 2:18-mn-2873-RMG
FOAMS PRODUCTS LIABILITY                       )
LITIGATION                                     )   ORDER
                                               )
                                               )   This Order Relates to
                                               )   Case No. 2:19-cv-02123-RMG
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       Before the Court is the State of New York's motion to remand its claims to New York

state court. (Dkt. No. 230.) For the reasons set forth below, the motion is denied.

I.     Background

       In February 2019, the State of New York ("New York") brought claims against 3M

Company, Tyco Fire Products L.P., Chemguard, Inc., Buckeye Fire Equipment Company and

National Foam, Inc. ("Defendants") alleging that the aqueous film-forming foam ("AFFF") and

related products designed, manufactured, marketed and sold by Defendants contaminated New

York groundwater with the chemical compounds perfluorooctanoic acid/perfluorooctanoate

("PFOA") and perfluorooctane sulfonic acid/perfluorooctane sulfonate ("PFOS"), resulting in

New York incurring costs to investigate, monitor, remediate and otherwise respond to the

resulting public health risk and harm to New York's natural resources. (2:19-cv-02123-RMG,

Dkt. No. 1-1 11 1-4.) New York alleges that the AFFF products designed or manufactured by

Defendants, containing PFOS/PFOA, were stored or used at sites throughout New York,

including certain civilian airports. (Id. at 30.) New York brought four causes of action for public
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nuisance, strict products liability for defective design, strict products liability for failure to warn,

and restitution. (Id. 11131-57.)

        In June      2019,   Defendants    Tyco    Fire   Products    L.P.   and    Chemguard,      Inc.

("Tyco/Chemguard") removed the action to the District Court for the Northern District of New

York on the basis of the federal officer removal statute, 28 U.S.C. § 1442(a)(l). (Id. Dkt. No. 1.)

The Judicial Panel on Multidistrict Litigation (the "Panel") then transferred this matter under 28

U.S.C. § 1407 into these multidistrict litigation proceedings, finding that transfer serves the

convenience of the parties and witnesses and promotes just and efficient litigation. (Id. Dkt. No.

19.)   New York initially opposed the transfer, but then withdrew its opposition.               Shortly

thereafter, New York brought the instant motion to remand this action to the New York Supreme

Court in Albany County.

II.     Legal Standard

        As the parties that invoked the Court's jurisdiction, Tyco/Chemguard bear the burden of

establishing that the case was properly removed from state court. Mulcahey v. Columbia Organic

Chem. Co., 29 F.3d 148, 151 (4th Cir. 1994); see also Bennett v. Bally Mfg. Corp., 785 F. Supp.

559, 560 (D.S.C. 1992). The Court should strictly construe removal jurisdiction because it

"raises significant federalism concerns." Mulcahey, 29 F.3d at 151 (citing Shamrock Oil & Gas

Corp. v. Sheets, 313 U.S. 100 (1941)); see also SC v. Boehringer lngelheim Roxane, Inc., No.

3:07-cv-00665-CMC, 2007 WL 1232156, at *1 (D.S.C. Apr. 26, 2007). Doubts as to the Court's

jurisdiction should weigh in favor ofremanding to state court. Mulcahey, 29 F.3d at 151.

III.    Discussion

        The federal officer removal statute authorizes removal to federal court of any civil action

or criminal prosecution commenced in state court against "any officer (or any person acting



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under that officer) of the United States or of any agency thereof, in an official or individual

capacity, for or relating to any act under color of such office." 28 U.S.C. § 1442(a)(l). Thus, a

private defendant, such as a government contractor, who seeks to remove a case under §

144l(a)(l) must show (1) that it was a "person acting under" a federal officer, see e.g., Watson v.

Philip Morris Cos., 551 U.S. 142, 147 (2007); Ripley v. Foster Wheeler LLC, 841 F.3d 207,209

(4th Cir. 2016); (2) that it has a "colorable federal defense," Jefferson Cnty. v. Acker, 527 U.S.

423, 431 (1999); and (3) that the charged conduct was carried out for or in relation to the

asserted official authority, see 28 U.S.C. § 1442(a)(l). "In imposing these requirements, the

statute aims to protect the Federal Government from interference with its 'operations,' primarily

by providing 'a federal forum for a federal defense."' Sawyer v. Foster Wheeler LLC, 860 F.3d

249,254 (4th Cir. 2017) (quoting Watson, 551 U.S. at 147).

       Here, Tyco/Chemguard is a "person" under § 1442(a)(l), which includes "companies,

associations, firms [and] partnerships." Papp v. Fore-Kast Sales Co., 842 F.3d 805, 812 (3d Cir.

2016). The phrase "acting under" is "broad" and should be "liberally construed" in favor of the

removing Defendant. Watson, 551 U.S. at 147. When a private entity is involved, the phrase

"acting under" is interpreted to "contemplate a relationship where the government exerts some

'subjection, guidance, or control." Sawyer, 860 F.3d at 255 (quoting Watson, 551 U.S. at 151).

"[C]ourts have unhesitatingly treated the 'acting under' requirement as satisfied where a

contractor seeks to remove a case involving injuries arising from equipment that it manufactured

for the government." Sawyer, 860 F.3d at 255 (emphasis in original). New York alleges that

Tyco/Chemguard defectively designed AFFF products containing PFOS/PFOA, which were then

"stored and/or used" at various sites across the state, including certain civilian airports. The

complaint does not allege how the AFFF products arrived to the sites, but New York's argument



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for remand is primarily that because Tyco/Chemguard sold a portion of the AFFF products to

civilian airports and a portion to the U.S. military, that Tyco/Chemguard were not "acting under"

a federal officer when it designed the AFFF products. Designing AFFF products to military

specifications ("MilSpec") promulgated by the Department of Defense, including that the

products contain the chemical class to which PFOS/PFOA belong, as Tyco/Chemours allege,

may constitute "acting under" the military's guidance.        The Court should reject a "narrow,

grudging interpretation of the [federal officer removal] statute, recognizing that one of the most

important reasons for removal is to have the validity of the defense of official immunity tried in

federal court." Acker, 527 U.S. at 431.

       Second, and relatedly, Tyco/Chemguard have a "colorable" federal defense of

government contractor immunity. To assert government contractor immunity to tort liability,

Tyco/Chemguard must demonstrate that "(1) the United States approved reasonably precise

specifications; (2) the equipment conformed to those specifications; and (3) the supplier warned

the United States about the dangers in the use of the equipment that were known to the supplier

but not to the United States." Boyle v. United Techs. Corp., 487 U.S. 500,512 (1988). "Removal

need not be justified as to all claims asserted in the plaintiffs' complaint; rather, the defense need

only apply to one claim to remove the case." Sawyer, 860 F.3d at 257.              Tyco/Chemguard

demonstrate this colorable defense where they contend that the AFFF products were

manufactured according to MilSpec, which included specifications for the chemical class that

includes PFOS/PFOA.       The defense need not be "clearly sustainable" to justify removal as

merely "colorable." Acker, 527 U.S. at 432 ("We therefore do not require the officer virtually to

'win his case before he can have it removed."').




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       Last, Tyco/Chemguard sufficiently demonstrate that they "engag[ed] in government-

directed conduct causally related to the plaintiff['s] claims." Sawyer, 860 F.3d at 254. To satisfy

this "causation requirement" of removal on the basis of the federal officer statute, non-

governmental corporate defendants such as Tyco/Chemguard "must demonstrate that the acts for

which they are being sued . . . occurred because of what they were asked to do by the

Government." Isaacson v. Dow Chem. Co., 517 F.3d 129, 137 (2d Cir. 2008) (emphasis in

original). This is met where there is a "causal nexus between the allegedly tortious conduct and

asserted official authority," which "has been interpreted broadly." Brady v. XE Servs LLC, No.

5:09-CV-449-BO, No. 5:09-CV-450-BO, 2010 WL 11566021, at *2 (E.D.N.C. May 18, 2010).

For this, the Court looks to whether Tyco/Chemguard demonstrated that their alleged acts

"occurred while [they] were performing their official duties." Isaacson, 517 F.3d at 137-38

(emphasis in original). New York's claims arise out of use of AFFF products that it claims

Tyco/Chemguard designed, and for which the military imposes MilSpec standards. The Court

should "credit the [removing defendant's] theory of the case" and finds that the causation

element of federal officer removal is satisfied here. Acker, 527 U.S. at 432.

       Because the elements of § 1442(a)(l) are satisfied, entitling Tyco/Chemguard to have

removed New York's tort claims and Tyco/Chemguard's federal defense to federal court, New

York's motion to remand must be denied.

IV.    Conclusion

       For the foregoing reasons, the State of New York's motion to remand (Dkt. No. 230) is

DENIED.

       AND IT IS SO ORDERED.




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                                            Richard-Mar~eif?
                                            United States District Court Judge
September< -7 ' 2019
Charleston, South Carolina




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     Case
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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF SOUTH CAROLINA
                                CHARLESTON DIVISION

                                                 )
IN RE: AQUEOUS FILM-FORMING                      )   MDL No. 2: 18-mn-2873-RMG
FOAMS PRODUCTS LIABILITY                         )
LITIGATION                                       )   ORDER
                                                 )
                                                 )   This Order Relates to
                                                 )   Case No. 2:19-cv-02198-RMG
                                                 )
                                                 )




        Before the Court is Ridgewood Water' s motion to remand its claims to the Superior

Court of New Jersey. (Dkt. No. 264.) For the reasons set forth below, the motion is denied.

I.      Background

        In February 2019, Ridgewood Water ("Ridgewood") brought suit in the Superior Court

of New Jersey against 3M Company, E.I. Du Pont De Nemours & Company, the Chemours

Company, Honeywell International Inc., Tyco Fire Products LP, Chemguard Inc. , Buckeye fire

Equipment Company, National Foam, Inc. and Does 1-50. Ridgewood alleges that its drinking

water supply was contaminated by perfluorooctane sulfonic acid/perfluorooctane sulfonate and

perfluorooctanoic acid/perfluorooctanoate ("PFOS/PFOA") substances, "including but not

limited to fluoropolymers and aqueous film-forming foam ('AFFF')" and that the defendants

"manufactured,     marketed,    sold,   and/or   promoted"   PFOS/PFOA,    products   containing

PFOS/PFOA, or products that would degrade to PFOS/PFOA. (2: 19-cv-02198-RMG, Dkt. No.

1-2 irir 1-5.) Ridgewood brought four causes of action for defective design, failure to warn,

negligence and trespass. (Id. iii! 74-118.)
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         In   April   2019,   Defendants   Tyco   Fire   Products   L.P.   and   Chemguard,     Inc.

("Tyco/Chemguard") removed the action to the District Court for the District of New Jersey on

the basis of the federal officer removal statute, 28 U.S.C. § 1442(a)(l ). (2: 19-cv-02198-RMG,

Dkt. No. 1.) In August 2019, the Judicial Panel on Multidistrict Litigation transferred this matter

into these multidistrict litigation proceedings under 28 U.S.C. § 1407, finding that transfer serves

the convenience of the parties and witnesses and promotes just and efficient litigation. (Id. , Dkt.

No . 33.) The following month, Ridgewood Water brought the instant motion to remand this

action to the Superior Court of New Jersey.

II.      Legal Standard

         As the parties that invoked federal jurisdiction, Tyco/Chemguard bear the burden of

establishing that the case was properly removed from state court. Mulcahey v. Columbia Organic

Chem. Co., 29 F.3d 148, 151 (4th Cir. 1994); see also Bennett v. Bally Mfg. Corp., 785 F. Supp.

559, 560 (D.S.C. 1992).       The Court should strictly construe removal jurisdiction because it

"raises significant federalism concerns." Mulcahey, 29 F.3d at 151 (citing Shamrock Oil & Gas

Corp. v. Sheets, 313 U .S. 100 (1941)); see also SC v. Boehringer Ingelheim Roxane, Inc., No.

3:07-cv-00665-CMC, 2007 WL 1232156, at* 1 (D.S.C. Apr. 26, 2007). Doubts as to the Court's

jurisdiction should weigh in favor ofremanding to state court. Mulcahey, 29 F.3d at 151.

III.     Discussion

         Ridgewood argues that remand is necessary because its complaint "disclaimed" any

injury by AFFF products by pleading that as of February 2019, Ridgewood "cannot identify any

military or federally-regulated airport as a source of such PF AS contamination, and on that basis

alleges that the PFAS contamination in its wells is not from such sources." (2: l 9-cv-02198-

RMG, Dkt. No. 1-2 at~~ 68-69.) Ridgewood now "affirmatively disclaims any injuries traceable



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to federally mandated MilSpec AFFF" (2 : 18-mn-2873, Dkt. No. 317 at 5), but also contends that

"to the extent AFFF is a cause of Ridgewood' s injuries, it is limited to commercial AFFF use by

non-federal consumers at fire readiness and suppression sites in Northern Bergen County, New

Jersey" (Id., Dkt. No . 264-1 at 9). 1 Ridgewood argues that Teterboro Airport is "one federally

regulated airport at which Milspec AFFF could have been used," but is insufficient to support

Tyco/Chemguard's government contractor defense because Teterboro Airport is a "non-federal"

customer of the product and, moreover, sits south of Ridgewood's water service area. (Id. , Dkt.

No . 264-1 at 15, 24.)

       The federal officer removal statute authorizes removal to federal court of any civil action

or criminal prosecution commenced in state court against "any officer (or any person acting

under that officer) of the United States or of any agency thereof, in an official or individual

capacity, for or relating to any act under color of such office." 28 U.S.C. § 1442(a)(l). Thus, a

private defendant, such as a government contractor, who seeks to remove a case under §

1441(a)(l) must show (1) that it was a "person acting under" a federal officer, see e.g., Watson v.

Philip Morris Cos., 551 U.S . 142, 147 (2007) ; Ripley v. Foster Wheeler LLC, 841 F.3d 207, 209

(4th Cir. 2016); (2) that it has a "colorable federal defense," Jefferson Cnty. v. Acker, 527 U.S .

423, 431 (1999); and (3) that the charged conduct was carried out for or in relation to the

asserted official authority, see 28 U.S.C. § 1442(a)(l). "In imposing these requirements, the

statute aims to protect the Federal Government from interference with its ' operations,' primarily



1
  As the Judicial Panel on Multidistrict Litigation concluded when transferring the action into
these proceedings: "plaintiff argues that it alleges multiple sources of contamination, only some
of which stem from the use of AFFFs. This argument is unpersuasive. Plaintiff alleges that
AFFF used by the Ridgewood Fire Department is a source of the [PFOS/PFOA] contamination.
That plaintiff alleges additional sources of contamination does not convert Ridgewood Water into
a ' non-AFFF ' case of the type we excluded from the MDL in the initial centralization order."
(2:19-cv-02198-RMG, Dkt. No. 33 at 2.)
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by providing 'a federal forum for a federal defense. " ' Sawyer v. Foster Wheeler LLC, 860 F.3d

249, 254 (4th Cir. 2017) (quoting Watson, 551 U.S. at 147).

       Tyco/Chemguard is a "person" under § 1442(a)(l), which includes "companies,

associations, firms [and] partnerships." Papp v. Fore-Kast Sales Co., 842 F.3d 805, 812 (3d Cir.

2016). The phrase "acting under" is " broad" and should be "liberally construed" in favor of the

removing Defendant. Watson , 551 U.S. at 147. When a private entity is involved, the phrase

"acting under" is interpreted to "contemplate a relationship where the government exerts some

'subjection, guidance, or control. '" Sawyer, 860 F.3d at 255 (quoting Watson , 551 U.S. at 151).

" [C]ourts have unhesitatingly treated the 'acting under' requirement as satisfied where a

contractor seeks to remove a case involving injuries arising from equipment that it manufactured

for the government." Sawyer, 860 F.3d at 255 (emphasis in original). Ridgewood characterizes

the alleged injurious conduct here as "Defendants ' design, manufacture, and sale of PFOA and

PFOS products, including commercial AFFF to non-federal users ." (Id. , Dkt. No . 264-1 at 23-

24.) Designing AFFF products to military specifications promulgated by the Department of

Defense, including that the products contain the chemical class to which PFOS/PFOA belong, as

Tyco/Chemguard allege, may constitute "acting under" the military's guidance.         The Court

should reject a "narrow, grudging interpretation of the [federal officer removal] statute,

recognizing that one of the most important reasons for removal is to have the validity of the

defense of official immunity tried in federal court." Acker, 527 U.S. at 431.

       Second, and relatedly, Tyco/Chemguard have a "colorable" federal defense of

government contractor immunity. To assert government contractor immunity to tort liability,

Tyco/Chemguard must demonstrate that "(l) the United States approved reasonably precise

specifications; (2) the equipment conformed to those specifications; and (3) the supplier warned



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the United States about the dangers in the use of the equipment that were known to the supplier

but not to the United States." Boyle v. United Techs. Corp., 487 U.S. 500, 512 (1988). "Removal

need not be justified as to all claims asserted in the plaintiffs' complaint; rather, the defense need

only apply to one claim to remove the case." Sawyer, 860 F.3d at 257.              Tyco/Chemguard

demonstrate a colorable defense where they contend that the AFFF products were manufactured

according to MilSpec, which included specifications for the chemical class that includes

PFOS/PFOA.      The defense need not be "clearly sustainable" to justify removal as merely

"colorable." Acker, 527 U.S. at 432 ("We therefore do not require the officer virtually to 'win his

case before he can have it removed."').

       Last, Tyco/Chemguard plausibly allege that they "engag[ed] in government-directed

conduct causally related to the plaintiff['s] claims." Sawyer, 860 F.3d at 254. To demonstrate

this "causation requirement" of removal on the basis of the federal officer statute, non-

governmental corporate defendants such as Tyco/Chemguard "must demonstrate that the acts for

which they are being sued . . . occurred because of what they were asked to do by the

Government." Isaacson v. Dow Chem. Co., 517 F.3d 129, 137 (2d Cir. 2008) (emphasis in

original). This is met where there is a "causal nexus between the allegedly tortious conduct and

asserted official authority," which "has been interpreted broadly." Brady v. XE Servs LLC, No.

5:09-CV-449-BO, No. 5:09-CV-450-BO, 2010 WL 11566021 , at *2 (E.D.N.C. May 18, 2010).

For this, the Court looks to whether Tyco/Chemguard demonstrated that their alleged acts

"occurred while [they] were performing their official duties. " Isaacson, 517 F.3d at 137-38

(emphasis in original). Ridgewood ' s claims arise out of use of AFFF products that it claims

Tyco/Chemguard designed, and for which the military imposes MilSpec standards. The Court




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should "credit the [removing defendant's] theory of the case" and finds that the causation

element of federal officer removal is satisfied here. Acker, 527 U.S. at 432.

        Because the elements of§ 1442(a)(l) are satisfied, entitling Tyco/Chemguard to have

removed Ridgewood's claims and Tyco/Chemguard's federal defense to federal court,

Ridgewood ' s motion to remand must be denied .

IV.     Conclusion

        For the foregoing reasons, Ridgewood Water's motion to remand (Dkt. No . 264) is

DENIED .

        AND IT IS SO ORDERED.



                                                     Ri(;£si;f
                                                     United States District Court Judge
October _L, 2019
Charleston, South Carolina




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                              UNITED STATES JUDICIAL PANEL
                                           on
                               MULTIDISTRICT LITIGATION


IN RE: AQUEOUS FILM-FORMING FOAMS
PRODUCTS LIABILITY LITIGATION                                                         MDL No. 2873


                                 ORDER DENYING TRANSFER


        Before the Panel:* Defendants E.I. du Pont de Nemours and Company and The Chemours
Company, LLC (collectively, DuPont) move under 28 U.S.C. § 1407(c) to transfer the eight Eastern
District of New York actions listed on Schedule A to the District of South Carolina for inclusion in
MDL No. 2873. Plaintiffs in those actions oppose the motion.

        MDL No. 2873 involves allegations that aqueous film-forming foams (AFFFs) used at
airports, military bases, or other locations to extinguish liquid fuel fires caused the release of
perfluorooctane sulfonate (PFOS) and/or perfluorooctanoic acid (PFOA) into local groundwater and
contaminated drinking water supplies. See In re Aqueous Film-Forming Foams Prods. Liab. Litig.
(In re AFFF), 357 F. Supp. 3d 1391, 1396 (J.P.M.L. 2018). The complaints in the eight New York
actions on the motion to transfer contain no mention of AFFFs. Instead, plaintiffs—all of which are
water authorities—assert claims against DuPont, 3M Company, and Dyneon LLC1 for the alleged
contamination of plaintiffs’ drinking water supplies with PFOS and/or PFOA.

        In support of its motion to transfer, DuPont argues that, regardless of how plaintiffs’ claims
are constructed, the New York actions are AFFF actions. Specifically, DuPont argues that
plaintiffs’ claims arise out of the alleged discharge of PFOA and/or PFOS into the recharge area2
for Long Island’s aquifer system. This aquifer system is already the subject of an action in the
MDL, which alleges that AFFF use contributed to the contamination of the aquifer. See Suffolk
County Water Authority v. 3M Company, C.A. No. 2:18-03337 (D.S.C.). DuPont contends that
plaintiffs’ claims are nearly identical with those in Suffolk County, except that plaintiffs in the New
York actions omit any mention of AFFFs. DuPont also points to various news and other reports of
aviation and commercial accidents on Long Island in which AFFFs may have been used to
extinguish fires.

       DuPont’s arguments are not persuasive. The New York actions do not raise AFFF claims.
Indeed, they contain no mention of AFFFs. Instead, these complaints focus on DuPont’s and 3M’s


       *
           Judges Karen K. Caldwell and David C. Norton took no part in the decision of this matter.
       1
           Dyneon LLC purportedly is a subsidiary of 3M Company.
       2
           The “recharge area” is the area through which water enters and replenishes the aquifer.
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manufacture, marketing, and sale of PFOA and PFOS. Some of this PFOA or PFOS may have been
incorporated into AFFF products that contributed to the contamination of plaintiffs’ groundwater
supplies, but at this point the extent of AFFF involvement in these actions is speculative. 3

        Additionally, our past practice in this docket weighs against transferring these New York
actions to MDL No. 2873. We have transferred several actions in which plaintiffs allege multiple
sources of PFOS and PFOA contamination, including from the use of AFFFs. See, e.g., Transfer
Order at 2, In re AFFF, MDL No. 2873 (J.P.M.L. July 31, 2019), ECF No. 483. We have not,
though, transferred to the MDL actions that do not contain any allegations or claims relating to
AFFF use. Indeed, we recently denied transfer of an action, Middlesex Water Company, in which
the claims were “directed at 3M and its manufacture, marketing, and sales of PFOS and PFOA, not
its manufacture of AFFF products.” See Order Denying Transfer at 1, In re AFFF, MDL No. 2873
(J.P.M.L. Dec. 18, 2019), ECF No. 541. In that order, we expressed our concern that broadening
the scope of MDL No. 2873 beyond AFFFs could render the litigation unwieldy:

       [W]e have no desire to unnecessarily complicate the transferee judge’s task in
       efficiently managing this litigation, which already involves a wide range of claims
       and parties. Given our continued concern about the manageability of this litigation,
       a party seeking transfer of an action that does not on its face raise AFFF claims
       bears a significant burden to persuade us that transfer is appropriate and will not
       undermine the efficient progress of the AFFF MDL.

Id. at 2 (emphasis added).

        Like Middlesex Water Company, the New York complaints do not on their face raise AFFF
claims, and defendants have not carried their “significant burden” to persuade us that transfer of
these non-AFFF actions is appropriate. Defendants’ prediction that discovery in these actions
relating to AFFFs will substantially overlap with discovery conducted in the MDL is conjecture.
DuPont has not yet responded to plaintiffs’ complaints. To the extent there is any potential for
duplicative discovery, such overlap is best minimized through coordination between the parties and
the involved courts. And, should these New York actions evolve into AFFF cases, the parties or the
court at that time can re-notice them as potential tag-alongs in MDL No. 2873.




       3
        Similarly, DuPont’s contention that PFOA or PFOS contamination of some portion of the
Long Island aquifer system due to use of AFFFs necessarily means that any contamination of
groundwater on Long Island stems from AFFF use remains uncertain at this point in the litigation.
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      IT IS THEREFORE ORDERED that the motion to transfer the actions listed on Schedule
A to MDL No. 2873 is denied.

                                  PANEL ON MULTIDISTRICT LITIGATION




                                 __________________________________________
                                               Ellen Segal Huvelle
                                                   Acting Chair

                                 R. David Proctor           Catherine D. Perry
                                 Nathaniel M. Gorton        Matthew F. Kennelly
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IN RE: AQUEOUS FILM-FORMING FOAMS
PRODUCTS LIABILITY LITIGATION                                    MDL No. 2873


                                 SCHEDULE A

                Eastern District of New York

    WATER AUTHORITY OF WESTERN NASSAU COUNTY v. THE 3M COMPANY,
         ET AL., C.A. No. 2:19-04608
    PORT WASHINGTON WATER DISTRICT v. THE 3M COMPANY, ET AL.,
         C.A. No. 2:19-04609
    INCORPORATED VILLAGE OF MINEOLA v. THE 3M COMPANY, ET AL.,
         C.A. No. 2:19-04610
    CARLE PLACE WATER DISTRICT v. THE 3M COMPANY, ET AL.,
         C.A. No. 2:19-04611
    INCORPORATED VILLAGE OF GARDEN CITY v. THE 3M COMPANY, ET AL.,
         C.A. No. 2:19-04612
    ROSLYN WATER DISTRICT v. THE 3M COMPANY, ET AL., C.A. No. 2:19-04613
    WATER AUTHORITY OF GREAT NECK NORTH v. THE 3M COMPANY, ET AL.,
         C.A. No. 2:19-06613
    GARDEN CITY PARK FIRE AND WATER DISTRICT v. THE 3M COMPANY,
         ET AL., C.A. No. 2:19-06615
            Case 3:24-cv-00239-SRU Document 41-1 Filed 04/08/24 Page 221 of 277


     Positive
As of: April 8, 2024 9:11 PM Z


                                        Kelleher v. A.W. Chesterton Co.
                                 United States District Court for the Southern District of Illinois
                                   November 23, 2015, Decided; November 23, 2015, Filed
                                                Case No. 15-CV-893-SMY-SCW

Reporter
2015 U.S. Dist. LEXIS 159783 *; 2015 WL 7422756
                                                                   Defendants, Cross Claimants, Cross Defendants:
THOMAS KELLEHER, Plaintiff, vs. A.W.
                                                                   Christopher J. Lang, LEAD ATTORNEY, Pitzer,
CHESTERTON COMPANY, et al., Defendants.
                                                                   Snodgrass, P.C., St. Louis, MO; Brian J. Connolly,
                                                                   Pitzer Snodgrass PC- Missouri, St. Louis, MO.
Core Terms
                                                                   For General Electric Company, Hercules Incorporated,
disclaimer, exposure, military, exposure to asbestos,              Defendants, Cross Claimants, Cross Defendants: Anita
federal official, aircraft, mechanic, removal, asbestos            M. Kidd, Julie Fix Meyer, Melanie R. King, Raymond R.
                                                                   Fournie, Armstrong Teasdale LLP-St Louis, St. Louis,
Counsel: [*1] For Thomas Kelleher, Plaintiff: Melissa              MO.
Crowe Schopfer, LEAD ATTORNEY, Simmons Hanly                       For Goodyear Tire & Rubber Co., United Technologies
Conroy, Alton, IL; Jean-Michel LeCointre, Simmons                  Corporation, Defendants: Kyler H. Stevens, LEAD
Hanly Conroy, Alton, IL.                                           ATTORNEY, Kurowski Shultz LLC, Swansea, IL.
For Boeing Company, Defendant: Greg M McMahon,                     For Henkel Corporation, Defendant, Cross Defendant:
LEAD ATTORNEY, Segal, McCambridge Singer &                         Jeffrey T. Bash, Justin S. Zimmerman, Lewis Brisbois
Mahoney, Ltd, Chicago, IL; Mark Coad Sampson,                      Bisgaard & Smith LLP - Edwardsville, Edwardsville, IL.
Segal, McCambridge et al., Chicago, IL.
                                                                   For Hexcel Corporation, Defendant, Cross Defendant:
For BASF Corporation, Defendant, Cross Claimant,                   Luke J. Mangan, LEAD ATTORNEY, Polsinelli PC - St.
Cross Defendant: Joseph A Kilpatrick, LEAD                         Louis, St. Louis, MO; Allison K. Sonneveld, Polsinelli
ATTORNEY, Husch Blackwell LLP, St. Louis, MO.                      Shughart PC - St Louis, St. Louis, MO; Kathleen Ann
For Borgwarner Morse Tec Inc., as successor-by-                    Hardee, Kirra N. Jones, Polsinelli PC - Kansas City,
merger to Borg-Warner Corporation, Defendant, Cross                Kansas City, MO.
Defendant: James D. Maschhoff, Herzog Crebs LLP -                  For Imo Industries Inc., Defendant, Cross Defendant:
St. Louis, MO, St. Louis, MO.                                      Keith B. Hill, LEAD [*3] ATTORNEY, Heyl, Royster et
For CBS Corporation, a Delaware Corporation formerly               al. - Edwardsville, Edwardsville, IL; James R.
known as Viacom Inc., Successor by Merger to CBS                   Grabowski, Heyl, Royster et al. - Edwardsville,
Corp., A Pennsylvania Corp., formerly known as                     Edwardsville, IL.
Westinghouse Electric Corporation, Defendant: Michael              For John Crane Inc., Defendant, Cross Defendant: Sean
R. Dauphin, Foley & Mansfield, PLLP, St. Louis, MO.
                                                                   P. Fergus, O'Connell, Tivin, Miller & Burns L.L.C.,
For Cleaver-Brooks Inc., Defendant, Cross Claimant,                Chicago, IL.
Cross Defendant: Meredith S Hudgens, O'Connell,                    For Luse-Stevenson Co., Defendant: Robert Spitkovsky,
Tivin, Miller & Burns L.L.C., Chicago, IL.                         Jr., LEAD ATTORNEY, Johnson & Bell LTD-Chicago,
For Crane Co., Industrial Holdings Corporation, formerly           Chicago, IL; Ava Louise Caffarini, Johnson & Bell LTD.-
known as The Carborundum Company, Ingersoll-Rand                   Chicago, Chicago, IL; David A. Cyr, Johnson & Bell
Company, Trane U.S. Inc., formerly known as                        LTD-Chicago, Chicago, IL.
American [*2] Standard Inc., Defendants: Benjamin J.               For Pneumo Abex LLC, successor-in-interest to Abex
Wilson, Carl J. Geraci, HeplerBroom LLC-St. Louis, St.
                                                                   Corporation formerly known as Pneumo Abex
Louis, MO.
                                                                   Corporation, Defendant, Cross Defendant: Thomas L.
For Eaton Aeroquip LLC, Eaton Corporation,                         Orris, LEAD ATTORNEY, Williams Venker & Sanders

                                                        Kelly Christopher
           Case 3:24-cv-00239-SRU Document 41-1 Filed 04/08/24 Page 222 of 277
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                                         2015 U.S. Dist. LEXIS 159783, *3

LLC, St. Louis, MO; Ross S. Titzer, Williams Venker &      Williams Venker & Sanders LLC, St. Louis, MO.
Sanders LLC, St. Louis, MO.
                                                           For United Airlines Inc., Cross Defendant: Richard John
For Riley Power Inc., formerly known as Riley Stoker       Leamy, LEAD ATTORNEY, James Jason Coggins,
Corporation, Defendant: Keith B. Hill, LEAD                Lindsay C. Omolecki, Wiedner & McAuliffe, Ltd.,
ATTORNEY, Heyl, Royster et al. - Edwardsville,             Chicago, IL.
Edwardsville, IL.
                                                           For Hexcel Corporation, Cross Defendant: Luke J.
For Sepco Corporation, Defendant, Cross Defendant:         Mangan, LEAD ATTORNEY, Allison K. Sonneveld,
Jeffrey Scott Hood, O'Connell, Tivin, Miller & Burns       Polsinelli Shughart PC - St Louis, St. Louis, MO;
L.L.C., Chicago, IL.                                       Kathleen Ann Hardee, Kirra N. Jones, Polsinelli PC -
                                                           Kansas City, Kansas City, MO.
For Shell Oil Company, Defendant: Jonathan M. Lively,
LEAD ATTORNEY, Segal, McCambridge Singer &                 For Imo Industries Inc., Cross Defendant: Keith B. Hill,
Mahoney, Ltd, Chicago, IL; Jill Marie Felkins, Segal,      LEAD ATTORNEY, James R. Grabowski, Heyl, Royster
McCambridge [*4] Singer & Mahoney, Ltd, Chicago, IL.       et al. - Edwardsville, Edwardsville, IL.
For Sprinkmann Sons Corporation, Defendant, Cross          For United Airlines Inc., Cross Defendant: Richard John
Defendant: William Edward Keeler, III, LEAD                Leamy, LEAD ATTORNEY, James Jason Coggins,
ATTORNEY, Crivello Carlson SC, Milwaukee, WI.              Rachel S. Nevarez, Wiedner & McAuliffe, Ltd., Chicago,
                                                           IL.
For United Airlines Inc., Defendant, Cross Defendant:
Richard John Leamy, LEAD ATTORNEY, Wiedner &               For Continental Motors, Inc., Cross Claimant, Cross
McAuliffe, Ltd., Chicago, IL; James Jason Coggins,         Defendant: Reed W. Sugg, LEAD ATTORNEY, [*6]
Wiedner & McAuliffe, Ltd., Chicago, IL.                    Steven Thomas Walsh, Sandberg, Phoenix et al. - St.
                                                           Louis, St. Louis, MO.
For United States Steel Corporation, Defendant, Cross
Claimant, Cross Defendant: Brent Eisenberg, LEAD           For Luse-Stevenson Co., Cross Defendant: Robert
ATTORNEY, Matushek Nilles et al, Chicago, IL.              Spitkovsky, Jr., LEAD ATTORNEY, David A. Cyr,
                                                           Johnson & Bell LTD-Chicago, Chicago, IL.
For Continental Motors, Inc., Defendant, Cross
Defendant: Reed W. Sugg, LEAD ATTORNEY,                    For United Airlines Inc., Cross Defendant: Richard John
Sandberg, Phoenix et al. - St. Louis, Generally            Leamy, LEAD ATTORNEY, James Jason Coggins,
Admitted, St. Louis, MO; Steven Thomas Walsh,              Wiedner & McAuliffe, Ltd., Chicago, IL.
Sandberg, Phoenix et al. - St. Louis, St. Louis, MO.
                                                           For Pneumo Abex LLC, successor-in-interest to Abex
For Boeing Company, Cross Defendant, Cross                 Corporation, Cross Defendant: Ross S. Titzer, Thomas
Claimant: Mark Coad Sampson, Segal, McCambridge et         L. Orris, Williams Venker & Sanders LLC, St. Louis, MO.
al., Chicago, IL.
                                                           For Beazer East, Inc., Cross Defendant: Kyler H.
For CBS Corporation, a Delaware Corporation, Cross         Stevens, Kurowski Shultz LLC, Swansea, IL.
Defendant: Michael R. Dauphin, Foley & Mansfield,
                                                           For Shell Oil Company, Cross Claimant, Cross
PLLP, St. Louis, MO.
                                                           Defendant: Jonathan M. Lively, LEAD ATTORNEY,
For Crane Co., Industrial Holdings Corporation,            Segal, McCambridge Singer & Mahoney, Ltd, Chicago,
Ingersoll-Rand Company, Trane U.S. Inc., Cross             IL.
Defendants: Benjamin J. Wilson, Carl J. Geraci,
                                                           For Pneumo Abex LLC, successor-in-interest to Abex
HeplerBroom LLC-St. Louis, St. Louis, MO.
                                                           Corporation, Cross Claimant, Cross Defendant: Thomas
For Riley Power Inc., Cross Defendant, Cross [*5]          L. Orris, LEAD ATTORNEY, Ross S. Titzer, Williams
Claimant: Keith B. Hill, LEAD ATTORNEY, Heyl,              Venker & Sanders LLC, St. Louis, MO.
Royster et al. - Edwardsville, Edwardsville, IL.
                                                           For Continental Motors, Inc., Cross Defendant: Reed W.
For Ingersoll-Rand Company, Cross Claimant: Benjamin       Sugg, LEAD ATTORNEY, Steven Thomas Walsh,
J. Wilson, Carl J. Geraci, HeplerBroom LLC-St. Louis,      Sandberg, Phoenix et al. - St. Louis, Generally
St. Louis, MO.                                             Admitted, St. Louis, MO.
For Pneumo Abex LLC, successor-in-interest to Abex         For Luse-Stevenson Co., Cross Defendant: Robert
Corporation, Cross Defendant: Ross S. Titzer, Williams     Spitkovsky, Jr., LEAD ATTORNEY, Ava Louise
Venker & Sanders LLC, St. Louis, MO; Thomas L. Orris,      Caffarini, [*7] David A. Cyr, Johnson & Bell LTD-

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Chicago, Chicago, IL.                                          In the state court complaint and subsequent amended
                                                               complaints, Plaintiff included the following disclaimer:
For United Airlines Inc., Cross Defendant: Richard John
Leamy, LEAD ATTORNEY, James Jason Coggins,                         Plaintiff disclaims any cause of action or recovery
Wiedner & McAuliffe, Ltd., Chicago, IL; Amy L.                     for any injuries...resulting from exposure to
Friederich, Wiedner & McAuliffe, Ltd.-St. Louis, St.               asbestos dust caused by any acts or omissions of a
Louis, MO.                                                         Defendant committed at the direction of an officer of
For Shell Oil Company, Cross Defendant: Jonathan M.                the United States Government (see Docs. 88-3, 88-
Lively, LEAD ATTORNEY, Jill Marie Felkins, Segal,                  4).
McCambridge Singer & Mahoney, Ltd, Chicago, IL.
                                                               Plaintiff also filed a "Notice of Disclaimer of Certain
For Luse-Stevenson Co., Cross Claimant, Cross                  Alleged Exposures to Asbestos as the Basis for Any
Defendant: Robert Spitkovsky, Jr., LEAD ATTORNEY,              Causes of Action or Relief" in state court. The Notice
David A. Cyr, Johnson & Bell LTD-Chicago, Chicago, IL;         contained a more specific disclaimer:
Ava Louise Caffarini, Johnson & Bell LTD.-Chicago,
Chicago, IL.                                                       Plaintiff disclaims and hereby waives as the basis
                                                                   for any relief in this [*9] case any cause of action
For United Technologies Corporation, Cross Claimant,
                                                                   or recovery for any injuries caused by any exposure
Cross Defendant: Kyler H. Stevens, LEAD ATTORNEY,
                                                                   to asbestos dust that occurred while plaintiff was
Kurowski Shultz LLC, Swansea, IL.
                                                                   enlisted in the United States Army between
For Goodyear Tire & Rubber Co., Cross Claimant: Kyler              approximately 1963 and 1965, including any
H. Stevens, LEAD ATTORNEY, Kurowski Shultz LLC,                    exposure to asbestos dust that occurred while
Swansea, IL.                                                       plaintiff was stationed at Fort Knox, Kentucky and
                                                                   Fort Richardson, Alaska. Plaintiff also disclaims and
Judges: STACI M. YANDLE, United States District                    hereby waives as the basis for any relief any cause
Judge.                                                             of action or recovery for any injuries resulting from
                                                                   exposure to asbestos dust as a result of plaintiff's
Opinion by: STACI M. YANDLE                                        work on, and in close proximity to others working
                                                                   on, any military aircraft, specifically including but
Opinion                                                            not limited to the CH-47 Chinook (see Doc. 88-5).

                                                               On August 12, 2015, Defendant Boeing removed the
                                                               case to this Court pursuant to the provisions of 28
MEMORADUM AND ORDER                                            U.S.C. § 1442(a)(1), which provides for removal when a
                                                               defendant is sued for acts undertaken at the direction of
YANDLE, District Judge:                                        a federal officer (Doc. 1). No co-defendant has identified
                                                               a basis for federal jurisdiction other than the federal
Pending before the Court is Plaintiff's Motion to Remand       officer removal statute and no other co-defendant joined
(Doc. 87). For the reasons set forth below, Plaintiff's        Boeing's notice of removal. In the motion to remand,
motion is GRANTED.                                             Plaintiff asserts that because he has filed a waiver of all
                                                               claims related to his military service, Boeing [*10] has
Plaintiff originally filed this action in the Third Judicial
                                                               no basis to assert federal jurisdiction. The Court agrees.
Circuit, Madison County, Illinois, [*8] alleging injuries
due to exposure to asbestos (see Doc. 88-1).
                                                               As a general matter, a civil action is removable from
Specifically, Plaintiff alleges exposure from his
                                                               state court only if the action could originally have been
employment from 1958 until 2006 as an aircraft
                                                               brought in federal court at the time of suit. See 28
mechanic, helicopter mechanic, and laborer at various
                                                               U.S.C. § 1441(a). When issues of federal law appear on
locations throughout the United States (Doc. 88-4).
                                                               the face of a plaintiff's well-pleaded complaint, the case
Plaintiff testified that he worked as a civilian aircraft
                                                               falls under a federal court's federal question jurisdiction
mechanic on commercial, non-military aircrafts for
                                                               and may be removed on that basis. Metropolitan Life
United Airlines ("United") from 1966 until 2000 (see Doc.
                                                               Ins. Co. v. Taylor, 481 U.S. 58, 63, 107 S.Ct. 1542, 95
88-2). For the two years prior to his employment with
                                                               L.Ed.2d 55 (1987). The well-pleaded complaint rule
United, Plaintiff served as a helicopter mechanic in the
                                                               makes the plaintiff "the master of the claim; the plaintiff
United States Army. Id.
                                                               may avoid federal jurisdiction by exclusive reliance on

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state law." Caterpillar Inc. v. Williams, 482 U.S. 386,            3M Company, 2015 U.S. Dist. LEXIS 104534, 2015 WL
392, 107 S.Ct. 2425, 96 L.Ed.2d 318 (1987). As a result,           4730741 (E.D. La. Aug. 10, 2015); Dougherty v. A.O.
a defendant typically may not remove an action on the              Smith Corp., 2014 U.S. Dist. LEXIS 125302, 2014 WL
basis of "an anticipated or actual federal defense" to the         4447293 (D.Del. Sept. 8, 2014) (noting that federal
plaintiff's state law claims. Jefferson Cnty., Ala. v. Acker,      courts have consistently granted motions to remand
527 U.S. 423, 431, 119 S.Ct. 2069, 144 L.Ed.2d 408                 where the plaintiff expressly disclaimed the claims upon
(1999).                                                            which the federal officer removal was based and the
                                                                   court was not "aware of [ ] any case in which a federal
The federal officer removal statute, however, is an                court has rejected on the merits an express disclaimer
exception to the well-pled complaint rule. Ruppel v. CBS           of claims relating to asbestos exposure on federal
Corp., 701 F.3d 1176, 1180 (7th Cir.2012)(citing Mesa              jobsites and military vessels/aircrafts").
v. California, 489 U.S. 121, 136, 109 S. Ct. 959, 103 L.
Ed. 2d 99 (1989)). Section 1442(a)(1) permits the                  Furthermore, this case is distinguishable from other
removal of the entire case, even though the federal                asbestos injury cases cited by Boeing in which a
officer defense may not apply to all of the claims. Alsup          plaintiff's disclaimer was not sufficiently comprehensive
v. 3-Day Blinds, Inc., 435 F.Supp.2d 838, 844                      to prevent removal or the alleged asbestos exposure
(S.D.Ill.2006). The party seeking removal bears the                occurred exclusively during the plaintiff's military
burden of proving the grounds for its motion. Shah v.              service. See, e.g., Boyd v. Boeing Co., 2015 U.S. Dist.
Inter-Continental Hotel Chi. Operating Corp., 314 F.3d             LEXIS 91226, 2015 WL 4371928, at *6 (E.D. La. July
278, 280 (7th Cir.2002). Thus, Boeing must show it was             14, 2015) (rejecting disclaimer because facts of case
a (1) "person" (2) "acting under" the United States, its           suggested that it was likely that the defendants would
agencies, or its officers (3) that has been sued "for              rely, at least in part, on a government contractor
or [*11] relating to any act under color of such office,"          defense); McMann v. Air & Liquid Sys. Corp., 2014 U.S.
and (4) has a colorable federal defense to Plaintiff's             Dist. LEXIS 62687, 2014 WL 1794694 (W.D.Wash. May
claim. See 28 U.S.C. § 1442(a); Mesa, 489 U.S. at 132-             6, 2014) (rejecting disclaimer because the scope of
34, 109 S.Ct. 959. There must be claims against which              factual allegations in the complaint exclusively
a federal defense is cognizable.                                   concerned the plaintiff's work aboard naval
                                                                   vessels); [*13] In re Asbestos Products Liab. Litig. (No.
Here, however, Plaintiff's waiver has rendered any                 VI), 770 F. Supp. 2d 736, 742 (E.D. Pa. 2011) (holding
federal defenses moot. To deny remand of this case                 that where "the only claims alleged against Defendant
would affirm Boeing's right to assert a defense against a          arise[ ] from exposure on U.S. Naval ships at U.S. Naval
claim that does not exist. Indeed, in many asbestos                shipyards," "recognizing [the Plaintiff's] disclaimer would
cases involving claims originally subject to a federal-            deprive the federal officer of the right to have the
contractor defense, remand has been held appropriate               adequacy of the threshold determination"); Reaser v.
following similar waivers. See Maguire v. A.C. & S., Inc.,         Allis Chambers Corp., 2008 U.S. Dist. LEXIS 112344,
2015 U.S. Dist. LEXIS 108938, 2015 WL 4934445, at *2               2008 WL 8911521, at *6 (C.D.Cal. June 23, 2008)
(S.D.N.Y. Aug. 18, 2015) (collecting cases);1 Hayden v.            (rejecting a disclaimer which waived claims related to
                                                                   exposure in federal enclaves but maintained claims
                                                                   related to exposure aboard naval vessels).
1 A partial list of cases includes: Schulz v. Crane Co., 2014
                                                                   Here, the complaint contains allegations of asbestos
U.S. Dist. LEXIS 9198, 2014 WL 280361, at *1-2 (E.D.Cal.
Jan. 23, 2014) (plaintiff's waiver of claims "arising out of or    exposure spanning Plaintiff's forty-year employment
related to asbestos exposure to or on military or federal          history as an aircraft mechanic, helicopter mechanic,
government aircraft" precluded federal officer removal);           and laborer. In the complaint and the notice of
Lockwood v. Crane Co., 2012 U.S. Dist. LEXIS 57986, 2012
WL 1425157, at * 1-2 (C.D.Cal. Apr. 25, 2012) (plaintiff's         cognizable, and Plaintiff's waiver has removed any such
waiver of any claims "relating [*12] to or arising out of          claims."); Westbrook v. Asbestos Defendants (BHC), 2001
plaintiff's asbestos exposure at military and federal              U.S. Dist. LEXIS 11575, 2001 WL 902642, at *3 (N.D.Cal. July
government jobsites or from U.S. military or other government      31, 2001) (express disclaimer "eviscerated" defendant's
vessels," filed shortly after removal, was sufficient to justify   ground for removal, therefore justifying remand); Smith v.
remand); Pratt v. Asbestos Corp. Ltd., 2011 U.S. Dist. LEXIS       Anchor Packing Co., 2008 U.S. Dist. LEXIS 92041, 2008 WL
108217, 2011 WL 4433724, at *1-2 (N.D.Cal. Sept. 22, 2011)         4899258, at *1 (S.D.N.Y. Nov. 12, 2008) (granting motion to
("Plaintiff's waiver has rendered any federal defenses moot.       remand where the only federal claim or defense supporting
There must be claims against which a federal defense is            jurisdiction was eliminated after removal).

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disclaimer, Plaintiff has made clear statements that his
claims do not include any work performed while in the
military or on military machinery. Accordingly, the Court
finds that Plaintiff has effectively waived any claim
based on exposure in the military and Plaintiff's motion
is GRANTED. The Court REMANDS this case to the
Third Judicial Circuit, Madison County, Illinois.

IT IS SO ORDERED.

DATED: November 23, 2015

/s/ Staci M. Yandle

STACI M. YANDLE

United States District Judge


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     Caution
As of: April 8, 2024 9:12 PM Z


                                          Madden v. A.H. Voss Co.
                            United States District Court for the Northern District of California
                                  October 21, 2009, Decided; October 21, 2009, Filed
                                                  No. C 09-03786 JSW

Reporter
2009 U.S. Dist. LEXIS 101680 *; 2009 WL 3415377
                                                               for disposition without oral argument and the matter is
JOHN MADDEN, Plaintiff, v. A.H. VOSS COMPANY, et
                                                               deemed submitted. See            N.D. Civ.L.R. 7-1(b).
al., Defendants.
                                                               Accordingly, the hearing set for October 23, 2009 is
                                                               VACATED. Having considered the parties' arguments,
Core Terms                                                     relevant legal authority, [*2] and having had the benefit
                                                               of oral argument, the Court GRANTS the motion to
removal, military, vessels, courts, state court, jobsites,     remand and DENIES AS MOOT the motion to stay.
federal government

Counsel: [*1] For John Madden, Plaintiff: David R.
                                                               BACKGROUND
Donadio, LEAD ATTORNEY, Lindsey E. Manroel,
Brayton & Purcell LLP, Attorneys at Law, Novato, CA;           On June 30, 2009, Plaintiff John Madden ("Plaintiff")
Richard Martin Grant, LEAD ATTORNEY, Brayton                   filed this action in San Francisco Superior Court. On
Purcell LLP, Novato, CA.                                       August 18, 2009, Plaintiff filed, in state court, a
For A.H. Voss Company, Defendant: Richard Martin               declaration by David R. Donadio in which he states that
Grant, LEAD ATTORNEY, Brayton Purcell LLP, Novato,             "Plaintiff's   claims    against  defendant     LESLIE
CA.                                                            CONTROLS, INC. exclude plaintiff's asbestos exposure
                                                               at military and federal government jobsites and aboard
For Viacom, Inc., Defendant: Kevin Douglas Jamison,            U.S. Navy vessels." (Declaration of Richard M. Grant
Pond North LLP, Los Angeles, CA.                               ("Grant Decl."), Ex. A.) On the same date, Plaintiff also
For Leslie Controls, Inc., Defendant: Thomas J. Moses,         filed a request for dismissal in state court "[a]s to
LEAD ATTORNEY, Edward R. Hugo, James Carl                      LESLIE CONTROLS, INC, only for claims in plaintiff's
Parker, Brydon Hugo & Parker, San Francisco, CA.               Complaint at military and federal government jobsites
                                                               and aboard U.S. Navy vessels." (Id., Ex. B.)
Judges: JEFFREY S. WHITE, UNITED STATES
DISTRICT JUDGE.                                                On August 18, 2009, Defendant Leslie Controls, Inc.
                                                               ("Leslie Controls") removed this matter on the grounds
Opinion by: JEFFREY S. WHITE                                   that Plaintiff's alleged occupational exposure to
                                                               asbestos occurred aboard various United States Naval
Opinion                                                        ships, and that Leslie Controls, in its manufacture and
                                                               sale of equipment for the United States Navy, was
                                                               acting under the direction of an officer of the United
                                                               States within [*3] the meaning of 28 U.S.C. §
ORDER (1) GRANTING PLAINTIFF'S MOTION TO                       1442(a)(1).
REMAND AND (2) DENYING MOTION TO STAY AS
                                                               Plaintiff now moves to remand this action and Leslie
MOOT
                                                               Controls moves to stay this action pending a ruling on a
Now before the Court are the motions to remand and to          motion to transfer the action by the MDL. Both parties
stay this action pending a ruling on a motion to transfer      argue that the Court should address their motion first.
the action by the Judicial Panel on Multidistrict Litigation
("MDL"). This matter is now fully briefed and ripe for
decision. The Court finds that this matter is appropriate      ANALYSIS

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                                            2009 U.S. Dist. LEXIS 101680, *3

"Generally, jurisdiction is a preliminary matter that           under 28 U.S.C. § 1442 are much broader than those
should be resolved before all others." Leeson v. Merck          under § 1441). Section 1442 is interpreted broadly in
& Co., Inc., 2006 U.S. Dist. LEXIS 3096, 2006 WL                favor of removal. Id.
3230047, *2 (E.D.Cal. Jan. 27, 2006); see also Villarreal
v. Chrysler Corp., 1996 U.S. Dist. LEXIS 3159, 1996 WL          B. Plaintiff's Motion to Remand.
116832, at *1 (N.D.Cal. Mar. 12, 1996) ("Judicial
economy will best be served by addressing the remand            Leslie Controls removed this matter pursuant to the
issue [before a party's motion to stay] because a               federal officer removal statute. Under 28 U.S.C. §
determination on this issue will facilitate litigation in the   1442(a)(1), "[t]he United States or any agency thereof or
appropriate forum."). However, some courts have held            any officer (or any person acting under that officer) of
that "the calculus changes somewhat when deference to           the United States or of any agency thereof, sued in an
a MDL court will further 'the uniformity, consistency, and      official or individual capacity for any act under color of
predictability in litigation that underlies the MDL             such office" may remove to federal court. Removal is
system.'" Leeson, 2006 U.S. Dist. LEXIS 3096, 2006              proper if the moving party can (1) demonstrate that it
WL 3230047, *2 (quoting Conroy v. Fresh Del Monte               acted under the direction of a federal officer; (2) raise a
Produce Inc., 325 F. Supp. 2d 1049, 1053                        colorable defense to the plaintiff's claims; and (3)
(N.D.Cal.2004)). "In deciding whether to rule on the            demonstrate a causal nexus between the plaintiff's
motion to remand, courts consider whether the motion            claims and acts it performed under color [*6] of federal
raises issues likely to arise in other actions pending in       office. Fung v. Abex Corp, 816 F. Supp. 569, 571-72
the MDL [*4] transferee court." Conroy, 325 F. Supp.            (N.D. Cal. 1992) (citing Mesa v. California, 489 U.S.
2d 1053. Here, Leslie Controls has not even argued, let         121, 124-25, 134-35, 109 S. Ct. 959, 103 L. Ed. 2d 99
alone submitted any evidence to demonstrate, that the           (1989)); Jefferson County, Alabama v. Acker, 527 U.S.
pending motion to remand has raised issues that are             423, 431, 119 S. Ct. 2069, 144 L. Ed. 2d 408 (1999)
likely to arise in other actions even if the MDL grants the     (defense need only be colorable).
motion to transfer. Therefore, the Court will address the
                                                                Leslie Controls claims that it is shielded from liability by
motion to remand first.
                                                                military contractors immunity as set forth in Boyle v.
A. Legal Standards Relevant to Removal.                         United Technologies Corp., 487 U.S. 500, 108 S. Ct.
                                                                2510, 101 L. Ed. 2d 442 (1988). In Boyle, the Court held
"[A]ny civil action brought in a State court of which the       that "[l]iability for design defects in military equipment
district courts of the United States have original              cannot be imposed, pursuant to state law, when (1) the
jurisdiction, may be removed by the defendant … to the          United       States     approved     reasonably     precise
district court of the United States for the district and        specifications; (2) the equipment conformed to those
division embracing the place where such action is               specifications; and (3) the supplier warned the United
pending." Franchise Tax Bd. v. Constr. Laborers                 States about the dangers in the use of the equipment
Vacation Trust, 463 U.S. 1, 7-8, 103 S. Ct. 2841, 77 L.         that were known to the supplier but not to the United
Ed. 2d 420 (1983) (citation omitted); see also 28 U.S.C.        States." Id. at 512. However, before Leslie Controls
§ 1441. However, federal courts are courts of limited           removed this matter, Plaintiff filed the following waiver in
jurisdiction. See, e.g., Kokkonen v. Guardian Life Ins.         state court: "Plaintiff's claims against defendant LESLIE
Co. of Am., 511 U.S. 375, 377, 114 S. Ct. 1673, 128 L.          CONTROLS, INC. exclude plaintiff's asbestos exposure
Ed. 2d 391 (1994). Accordingly, the burden of                   at military and federal government jobsites and aboard
establishing federal jurisdiction for purposes of removal       U.S. Navy vessels." Plaintiff also filed a request for
is on the party seeking removal. Valdez v. Allstate Ins.        dismissal in state court, requesting dismissal "As to
Co., 372 F.3d 1115, 1117 (9th Cir. 2004); see also Gaus         LESLIE CONTROLS, [*7] INC., only for claims in
v. Miles, Inc., 980 F.2d 564, 566 (9th Cir. 1992).              plaintiff's complaint at military and federal government
Generally, the removal statute [*5] is strictly construed       jobsites and abroad U.S. Navy vessels." (Grant Decl.,
against removal and any doubt as to the right of removal        Exs. A, B.) Courts have found similar disclaimers
should be resolved in favor of remand. Gaus, 980 F.2d           sufficient to eviscerate Leslie Controls' grounds for
at 566. However, that is not the case concerning the            removal. See Westbrook v. Asbestos Defendants, 2001
federal officer removal statute. See Durham v.                  U.S. Dist. LEXIS 11575, 2001 WL 902642, *2-3 (N.D.
Lockheed Martin Corp., 445 F.3d 1247, 1252 (9th Cir.            Cal. July 31, 2001) (finding similar disclaimer waiving
2006) (noting that, because it is important to the federal      claims arising out of work done on federal jobsites and
government to protect federal officers, removal rights          vessels sufficient to warrant remand); Dobrocke v. Allis-

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                                           2009 U.S. Dist. LEXIS 101680, *7

Chalmers Corp. Prod. Liability Trust, Case No. C 09-           Leslie Controls' motion to stay is DENIED AS MOOT.
01456 CW, 2009 U.S. Dist. LEXIS 46699 (N.D. Cal.
May 26, 2009) (attached as Exhibit F to Plaintiff's Motion     IT IS SO ORDERED.
to Remand).
                                                               Dated: October 21, 2009
The cases cited to by Leslie Controls in which the courts
                                                               /s/ Jeffrey S. White
held that waivers were not sufficient to warrant remand
are distinguishable. In those cases, the plaintiffs only       JEFFREY S. WHITE
waived federal claims, but still intended to bring state
law failure to warn claims against the military                UNITED STATES DISTRICT JUDGE
contractors. O'Connell v. Fosterwheeler Energy Corp.,
544 F. Supp. 2d 51 (D. Mass. 2008); Ballenger v. Agco
Corp., 2007 U.S. Dist. LEXIS 47042, *4 (N.D. Cal. June           End of Document
22, 2007) (distinguishing Westbrook because plaintiffs
did not disclaim in writing any claims arising out of work
done on U.S. Navy vessels); [*8] (Jenkins v. Allied
Packing & Supply, Inc., Case No. 09-cv-0101 DMS
(LSP) (S.D. Cal. March 25, 2009) (attached as Exhibit F
to Leslie Controls' Opposition); Oberstar v. CBS Corp.,
CV 08-118 PA (JWJx) (C.D. Cal. Feb. 11, 2008)
(attached as Exhibit G to Leslie Controls' Opposition);
Nelson v. Alfa Laval, Inc., CV 07-8338 VBF (Rcx) (C.D.
Cal. Feb. 8, 2008) (attached as Exhibit H to Leslie
Controls' Opposition); Wright v. A.W. Chesterton Co.
Inc., Case No. C07-05403 MJJ (N.D. Cal. Feb. 21,
2008) (attached as Exhibit I to Leslie Controls'
Opposition); Reaser v. Allis Chambers Corp., CV 08-
1296 SVW (Ssx) (C.D. Cal. June 23, 2008) (attached as
Exhibit J to Leslie Controls' Opposition). In those cases,
the waivers or disclaimers at issue were not as broad as
the waiver filed by Plaintiff in this matter. The Court thus
finds that these authorities are inapposite.

Leslie Controls argues that Plaintiff's waiver was not
effective. However, as the court held in Westbrook, this
Court "sees no reason not to hold plaintiff [] to [his]
waiver of claims arising out of work done on federal
jobsites and vessels" against Leslie Controls. See
Westbrook, 2001 U.S. Dist. LEXIS 11575, 2001 WL
902642, *3. If Plaintiff subsequently attempts [*9] to
bring such claims against Leslie Controls, and is
allowed to by the state court despite Plaintiff's waiver
and dismissal, Leslie Controls can remove this matter at
that time. Accordingly, the Court GRANTS Plaintiff's
motion to remand.


CONCLUSION

For the foregoing reasons, Plaintiff's motion to remand
is GRANTED and this matter shall be remanded to the
Superior Court for the City and County of San
Francisco. Because this Court is remanding the case,


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     Caution
As of: April 8, 2024 9:12 PM Z


                                                 Maine v. 3M Co.
                                  United States District Court for the District of Maine
                                      July 26, 2023, Decided; July 26, 2023, Filed
                                                 No. 2:23-cv-00210-JAW

Reporter
2023 U.S. Dist. LEXIS 128740 *; 2023 WL 4758816
                                                               VICE, MAYER, BROWN LLP, CHICAGO, IL.
STATE OF MAINE, Plaintiff, v. 3M COMPANY, et al.,
Defendants.                                                    For EIDP INC, formerly known as E I DU POINT DE
                                                               NEMOURS AND COMPANY, CHEMOURS COMPANY,
Subsequent History: Appeal filed, 08/31/2023                   CHEMOURS COMPANY FC LLC, Defendants: J.
                                                               WYLIE DONALD, LEAD ATTORNEY, MCCARTER &
Prior History: In re Aqueous Film-Forming Foams                ENGLISH LLP, WASHINGTON, DC; JEFFREY D.
Prods. Liab. Litig., 357 F. Supp. 3d 1391, 2018 U.S.           TALBERT, LEAD ATTORNEY, PRETI, FLAHERTY,
Dist. LEXIS 206582, 2018 WL 6427189 (J.P.M.L., Dec.            PORTLAND, ME; RICHARD DONALD TUCKER, LEAD
7, 2018)                                                       ATTORNEY, TUCKER [*2] LAW GROUP, BANGOR,
                                                               ME.
Core Terms                                                     For CORTEVA INC, DUPONT DE NEMOURS INC,
                                                               Defendants: J. WYLIE DONALD, LEAD ATTORNEY,
Non-AFFF, lawsuit, federal official, removal,
                                                               MCCARTER & ENGLISH LLP, WASHINGTON, DC;
contamination, Reply, motion to stay, federal enclaves,
                                                               JEFFREY D. TALBERT, LEAD ATTORNEY, PRETI,
disclaimer, Surreply, federal jurisdiction, federal court,
                                                               FLAHERTY, PORTLAND, ME; KAYLA ESTES,
Notice, district court, sites, Expedited, parties, argues,
                                                               RICHARD DONALD TUCKER, LEAD ATTORNEYS,
cases, Briefing, contends, Aqueous, Foam, multidistrict
                                                               TUCKER LAW GROUP, BANGOR, ME.
litigation, express disclaimer, transfer order, state court,
transferred, commingled, complaints
                                                               Judges: JOHN A. WOODCOCK, JR., UNITED STATES
                                                               DISTRICT JUDGE.
Counsel: [*1] For STATE OF MAINE, Plaintiff: AARON
M. FREY, LEAD ATTORNEY, OFFICE OF THE MAINE                    Opinion by: JOHN A. WOODCOCK, JR.
ATTORNEY GENERAL, AUGUSTA, ME; BENJAMIN A.
KRASS, MATT F. PAWA, LEAD ATTORNEYS, PRO
HAC VICE, SEEGER WEISS LLP, NEWTON CENTRE,
                                                               Opinion
MA; JASON HAROLD WILSON, VIOLA VETTER, LEAD
ATTORNEYS, PRO HAC VICE, GRANT &
EISENHOFER PA, WILMINGTON, DE; KYLE J.
                                                               ORDER ON MOTIONS TO REMAND AND STAY
MCGEE, LEAD ATTORNEY, PRO HAC VICE, GRANT
& EISENHOFER PA, NEW CASTLE, DE; STEVEN J.                     Based on a state plaintiff's express and enforceable
DAROCI, II, LEAD ATTORNEY, PRO HAC VICE,                       disclaimer against seeking recovery in this lawsuit from
SEEGER WEISS LLP, RIDGEFIELD PARK, NJ;                         the defendants for claims relating to aqueous film-
ROBERT L. MARTIN, III, OFFICE OF THE MAINE                     forming foam, the sole basis for federal jurisdiction, this
ATTORNEY GENERAL, NATURAL RESOURCES                            Court concludes that it does not have jurisdiction over a
DIVISION, AUGUSTA, ME; SCOTT W. BOAK, OFFICE                   parens patriae lawsuit against manufacturers of per-
OF THE ATTORNEY GENERAL, AUGUSTA, ME.                          and polyfluoroalkyl substances and grants the state's
For 3M COMPANY, Defendant: DANIEL L. RING, LEAD                motion to remand the case to state court. The Court
ATTORNEY, PRO HAC VICE, MAYER BROWN,                           declines to stay ruling on the motion to remand while the
CHICAGO, IL; JAY S. GELLER, LEAD ATTORNEY,                     United States Judicial Panel on Multidistrict Litigation
LAW OFFICE OF JAY S. GELLER, FALMOUTH, ME;                     rules on a motion to transfer the case to a multidistrict
MICHAEL A. SCODRO, LEAD ATTORNEY, PRO HAC                      litigation proceeding because the Court has determined

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                                             2023 U.S. Dist. LEXIS 128740, *2

that in any event, it does not have jurisdiction over the         the case to the MDL in United States District Court for
lawsuit.                                                          the District of South Carolina. (ECF No. 16). The
                                                                  transfer of the AFFF Complaint to the District of South
                                                                  Carolina appears noncontroversial.
I. BACKGROUND

                                                                  C. The Non-AFFF Complaint
A. Two Lawsuits
                                                                  The same cannot be said for the Non-AFFF Complaint.
On March 29, 2023, the state of Maine (Maine [*3] or              On May 17, 2023, 3M removed the case to this Court.
State) in its parens patriae1 capacity filed two separate         Case No. 2:23-cv-00210-JAW, Notice of Removal (ECF
civil actions against 3M Company and other defendants             No. 1). On May 25, 2023, the State moved to remand
(collectively 3M) in state of Maine Superior Court for            the case to state of Maine Superior Court and for
Cumberland County. Notice of Removal, State of Me. v.             expedited briefing. State of Me.'s Mot. to Remand (ECF
3M Co., No. 2:23-cv-00197-JAW, Attach. 3, Compl.,                 No. 10) (Mot. to Remand); State of Me.'s Mot. for
(ECF No. 1) (AFFF Compl.), id., State Ct. R., Attach. 1,          Expedited Briefing and Consideration of Mot. to
State Ct. Docket (filed under state docket number                 Remand (ECF No. 11). On June 1, 2023, the JPML
PORSC-CV-2023-00122) (ECF No. 9); Notice of                       declined to accept the Non-AFFF Complaint as part of
Removal, State of Me. v. 3M Co., No. 2:23-cv-00210-               the MDL Litigation. Notice of Counsel (ECF No. 18). On
JAW, Attach. 3, Compl., (ECF No. 1) (Non-AFFF                     June 8, 2023, 3M filed a motion to stay the Non-AFFF
Compl.), id., State Ct. R., Attach. 1, State Ct. Docket           litigation until the JPML resolves 3M's motion to transfer
(filed under state docket number PORSC-CV-2023-                   the Non-AFFF Litigation to the District of South Carolina
00121) (ECF No. 15). Both lawsuits involve per- and               for disposition with the MDL Litigation there. Def. 3M
polyfluoroalkyl substances (PFAS). But the first lawsuit          Company's Mot. to Stay (ECF No. 31) (Mot. to Stay). On
— docket number 2:23-cv-00197-JAW — is directed to                June 15, 2023, 3M responded to the State's motion to
the use of aqueous film-forming foam, and the second              remand and the State responded [*5] to 3M's motion to
lawsuit — docket number 2:23-cv-00210-JAW — is not.               stay. Def. 3M Company's Obj. to State of Me.'s Mot. to
The parties refer to the two complaints as either the             Remand (ECF No. 34) (3M Remand Opp'n); Pl.'s Opp'n
AFFF Complaint (2:23-cv-00197-JAW) or the Non-AFFF                to Def. 3M Company's Mot. to Stay (ECF No. 35)
Complaint (2:23-cv-00210-JAW).                                    (State's Stay Opp'n). On June 22, 2023, 3M filed a reply
                                                                  in support of its motion to stay and the State filed a reply
                                                                  in support of its motion to remand. Def. 3M Company's
B. The AFFF Complaint                                             Reply in Support of Mot. to Stay (ECF No. 37) (3M Stay
                                                                  Reply); State of Me.'s Reply in Support of Mot. to
Turning first to the AFFF Complaint, 3M removed the               Remand (ECF No. 38) (State Remand Reply).
case from state to federal court on May 8, 2023. Notice
of Removal (ECF No. 1). On May 24, 2023, the United
States Judicial Panel on Multidistrict Litigation (JPML)          D. The Motions to Strike, File a Surreply, and
issued a conditional transfer order, accepting the case           Expedite Briefing
as a tag-along action for transfer to the United States
District Court for the District of South Carolina in In re:       On June 27, 2023, 3M filed a motion to strike or, in the
Aqueous Film- Forming Foam Products Liability                     alternative, a motion for leave to file a surreply. Def. 3M
Litigation, MDL Conditional Transfer Order (ECF No. 14)           Company's Mot. to Strike Decl. and Portions of Pl.'s
(MDL Litigation). On June 9, 2023, that order was                 Reply in Support of Mot. to Remand or, in the
certified, id., MDL Conditional Transfer Order (ECF [*4]          Alternative, for Leave to File Surreply (ECF No. 39)
No. 15), and the Clerk's Office electronically transferred        (3M's Mot. to Strike). On July 1, 2023, the State filed an
                                                                  opposition to the motion to strike or file surreply. Pl.
                                                                  State of Me.'s Opp'n to Def. 3M Company's Mot. to
                                                                  Strike Decl. and Portions of Pl.'s Reply in Support of
1 A parens patriae lawsuit "involves a matter of sovereign or
                                                                  Mot. to Remand or, in the Alternative, for Leave to File
quasi-sovereign interest and is brought by a state on behalf of   Surreply (ECF No. 41) (State's Strike Opp'n). On July 1,
all its citizens." New Hampshire v. 3M Corporation, No. 22-cv-    2023, the State also filed a motion for expedited [*6]
145-LM, 2023 U.S. Dist. LEXIS 53461, at*3 n.1 (D.N.H. March       briefing and consideration of 3M's motion to strike or file
29, 2023) (citation and internal quotations omitted).

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surreply. Pl. State of Me.'s Mot. for Expedited Briefing      of Remediation and Waste Management, essentially
and Consideration of 3M's Mot. to Strike Decl. and            reviews the specific sites that are the subject of the
Portions of Pl.'s Reply in Support of Mot. to Remand or,      Non-AFFF contamination litigation and represents that
in the Alternative, for Leave to File Surreply (ECF No.       there is no evidence of AFFF contamination in those
42) (State's Expedited Mot.).                                 PFAS sites. Id. at 1-7.

On July 5, 2023, the Court addressed and resolved a           This description sets the stage for the State's motion to
controversy between the parties concerning the motion         remand and 3M's motion to stay, except to note that
to strike, the motion to stay, and the motion for             from the perspective of the State, there is some
expedited briefing. Order on Mot. to Strike, Mot. to Stay,    urgency. After June 1, 2023, when the JPML declined to
and Mot. for Expedited Briefing (ECF No. 44). On July         accept transfer of the Non-AFFF lawsuit into the MDL
12, 2023, 3M filed a surreply, 3M Co.'s Surreply in           Litigation, 3M moved for the JPML to accept the Non-
Opp'n to Mot. to Remand (ECF No. 45) (3M's Surreply),         AFFF lawsuit. 3M's Mot. to Stay at 3-4. The parties later
and on July 17, 2023, the State filed a surrebuttal. State    received notice that the JPML would hear 3M's transfer
of Maine's Rebuttal to Def. 3M Co.'s Surreply to State of     motion at its meeting on July 27, 2023. 3M Stay Reply,
Maine's Mot. to Remand (ECF No. 46) (State                    Attach. 1, JPML Notice of Hr'g Session at 4. The State
Surrebuttal).                                                 is very concerned that once 3M's motion to transfer is
                                                              considered by the JPML, it will substantially delay the
                                                              disposition of its motion to remand. State Stay Opp'n at
II. THE CONTROVERSY                                           13. The State therefore has urged the Court to issue a
                                                              ruling on the motion to remand before the JPML acts on
In filing two lawsuits in state court, the State has          3M's motion to transfer and 3M has urged the Court
attempted to make a "sharp distinction" between PFAS          to [*9] delay ruling on the motion to remand until the
and AFFF contamination with one lawsuit devoted to            JPML has issued its ruling.
PFAS contamination and the other to AFFF
contamination. Mot. to Remand at 5. By its drafting of
the two complaints, the State has chosen a state court        III. THE POSITIONS OF THE PARTIES
forum for its Non-AFFF [*7] complaint, while conceding
the federal forum for its AFFF claims. Id.
                                                              A. The Motion to Remand
In its opposition to the State's motion to remand, 3M
contends that the "State's attempt to split its claims and
plead around federal jurisdiction fails." 3M's Remand
                                                              1. The State's Motion to Remand
Opp'n at 1. 3M explains that the AFFF claims fall within
federal jurisdiction because AFFF was manufactured in         On May 25, 2023, the State moved to remand this case
compliance with specifications from the United States         to state of Maine Superior Court. Mot. to Remand at 5-
Military (MilSpec AFFF) and therefore are subject to          15. First, the State stresses that it deliberately divided
federal officer jurisdiction. Id. 3M maintains that AFFF      its civil actions between the AFFF and the Non-AFFF
and Non-AFFF sources of contamination are                     lawsuits. Id. at 5. The AFFF lawsuit is now subject to the
commingled and at the very least, 3M has the right to         MDL Litigation in South Carolina and the State nowhere
also assert federal government contractor defenses to         argues that this transfer was improper. Id. at 5-15. By
the Non-AFFF claims. Id. at 6. This dispute also              contrast, in its Non-AFFF lawsuit, the State expressly
provides the context for 3M's motion to stay in which 3M      disclaimed       "seeking   relief    for   AFFF-related
is asking the Court to delay disposition of the motion to     contamination: 'The State is not seeking to recover
remand until the JPML issues a ruling on whether the          through this Complaint any relief for contamination or
Non-AFFF lawsuit may be accepted into the MDL                 injury related to Aqueous Film Forming Foam.'" Id. at 9
Litigation. Mot. to Stay at 1-14.                             (quoting Compl. ¶ 15).

In its opposition to the motion to stay, the State attached   For the AFFF complaint, the State acknowledges that
a sworn declaration of Victoria Eleftheriou. State's Stay     this Court may have jurisdiction under so-called "federal
Opp'n, Attach. 1, Decl. of Victoria Eleftheriou in Support    officer jurisdiction". Id. at 6. Federal officer jurisdiction
of Pl.'s Opp'n to 3M Company's Mot. to Stay (Eleftheriou      can be a "colorable federal defense to [a] lawsuit,"
Decl.). Ms. [*8] Eleftheriou, the Deputy Director of the      where there is a "nexus between the allegations in the
Maine Department of Environmental Protection's Bureau

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complaint and conduct undertaken at the behest of a             damages." Id. 3M contends that AFFF was used in
federal officer." Id. at 6-7 (quoting [*10] Rhode Island v.     military sites throughout Maine and that the State
Shell Oil Prods. Co., 979 F.3d 50, 59 (1st Cir. 2020),          alleged in its AFFF lawsuit that PFAS and AFFF
vacated on other grounds 141 S. Ct. 2666 (2021)                 contaminated sites throughout the state of Maine. Id. at
(Rhode Island I, 141 S. Ct. 2666, 210 L. Ed. 2d 830             8-9. 3M relies particularly on Nessel v. Chemguard, Inc.,
(2021) (Rhode Island I)). However, the State contends           No. 1:20-cv-1080, 2021 U.S. Dist. LEXIS 39175 (W.D.
that federal officer jurisdiction is not available for the      Mich. Jan. 6. 2021) and In Re AFFF Products Liability
Non-AFFF complaint. Id. at 6-7.                                 Litigation, No. 18-nm-2873, ECF No. 325 (D.S.C. Oct. 1.
                                                                2019). Id. at 10-11. 3M says that the New Hampshire
The State observes that to establish federal officer            case was "wrongly decided" and notes that it is
jurisdiction, 3M points to four sites — the Army National       currently [*12] on appeal before the First Circuit. Id. at
Guard facility in Bangor, the former Loring Air Force           6, n.3.
Base in Aroostook County, the former Brunswick Naval
Air Station, and the Portsmouth Naval Shipyard —                3M posits that the State's disclaimer of AFFF liability
where 3M asserts that PFAS and AFFF were                        does not preclude federal jurisdiction. Id. at 13. This is
commingled. Id. at 7-8. But the State says that there is        because, 3M observes, the well-pleaded complaint rule
no evidence of commingling on any of these four sites.          does not apply to federal officer removal. Id. 3M then
Id. Moreover, the State goes on to state that none of           disputes the State's interpretation of relevant caselaw.
these four sites was identified in its Non-AFFF                 Id. at 13-16.
complaint. Id. at 8-9. In addition, the State reiterates that
even if 3M could demonstrate commingling, the State             Regarding federal enclave jurisdiction, 3M says that the
disclaimed in this lawsuit any relief from the Non-AFFF         State does not dispute that Brunswick Naval Air Station
complaint. Id. at 9. For support, the State points to two       and Portsmouth Naval Shipyard were federal enclaves
court decisions in the First Circuit: New Hampshire v.          and used AFFF. Id. at 16. 3M argues that this Court
3M Corporation, No. 22-cv-145-LM, 2023 U.S. Dist.               therefore has supplemental jurisdiction over the state
LEXIS 53461 (D.N.H. Mar. 29, 2023) and Rhode Island             claims. Id. at 16-17.
I, 979 F.3d 50. The State then distinguishes the cases it
anticipated 3M would cite for support. Id. at 9-13.
                                                                3. The State's Reply
There is a second possible source of federal jurisdiction
— federal enclave jurisdiction. Id. at 14. The State            In reply, the State contends that 3M's arguments in
anticipates that 3M will maintain that Portsmouth               favor of federal jurisdiction are "conclusory, speculative
Naval [*11] Shipyard and the Brunswick Naval Air                and controverted by actual evidence." State Remand
Station were federal enclaves, thereby affording federal        Reply at 5. The State analyzes each case 3M cited and
jurisdiction. Id. But the State relies on a First Circuit       maintains that they do not support 3M's contentions. Id.
case, Rhode Island v. Shell Oil Products, Company, 35           at 7-9. Discussing Rhode Island II, the State writes that
F.4th 44 (1st Cir. 2022) (Rhode Island II), to argue that       this case does not support federal jurisdiction because
federal enclave jurisdiction is not available to 3M. Id.        all pertinent events did not take place on the federal
                                                                enclaves. Id. at 10-11.

2. 3M's Opposition to Remand
                                                                4. 3M's Surreply
3M begins its opposition by disputing the premise of the
State's argument: namely, that PFS and AFFF sources             In its surreply, 3M focuses on the sworn declaration of
of contamination can be neatly separated. 3M Remand             Victoria [*13] Eleftheriou (attached to the State's reply
Opp'n at 5-6. Instead, 3M says that "PFAS can move              to the motion to stay), and argues that the Court should
through the environment — both from natural processes           not consider her statements for three reasons: (1)
like transport in groundwater and because people                because they are "legally irrelevant to whether 3M
collect, move and spread PFAS-containing waste — so             adequately alleged a plausible basis for federal officer
PFAS from AFFF and non-AFFF sources plausibly have              jurisdiction in its Notice of Removal," (2) even if the
commingled at various locations." Id. at 6 (emphasis in         Court considered the Eleftheriou statements, they "do
original). 3M maintains that "MilSpec AFFF thus is at           not address — much less controvert — most of the facts
issue even in this putative 'non-AFFF' case for statewide       3M averred in support of federal officer jurisdiction," and
                                                                (3) it would be "error to order remand based on the

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Declaration without giving 3M a fair opportunity to           2023,2 and it asserts that the JPML typically issues a
contest it." 3M Surreply at 1.                                decision on a motion for transfer within a week or two of
                                                              the hearing session. Id. By contrast, if this Court issues
                                                              an order on the motion to remand, 3M raises the specter
5. The State's Surrebuttal                                    of inconsistent remand decisions, which it argues would
                                                              greatly prejudice 3M. Id.
In its surrebuttal, the State argues that 3M has
conceded that the lawsuits involving two water districts,
which were the subject of Deputy Director Eleftheriou's       2. The State's Opposition to the Motion to Stay
declaration, are irrelevant to the Court's remand
determination. State's Surrebuttal at 8. But the State's      The State strenuously objects to 3M's motion to stay.
overall response is that the Court does not need to           State Stay Opp'n at 1-14. The State's main point is that
consider the Eleftheriou declaration to rule on the           the JPML will not address the issue the State has
motion to remand. Id. at 4. Finally, the State rejects 3M's   raised: namely, whether federal jurisdiction is proper for
discovery demand, pointing out that the Eleftheriou           this Court. Id. at 5. The State maintains that the JPML
declaration's reference to the water districts is not         "reviews only whether, on the face of the various
mentioned in the [*14] 3M Notice of Removal and that          complaints, there is apparent overlap between a given
3M has not created a reasonable expectation that              complaint and an MDL." Id. The State contends that to
discovery would reveal facts relevant to the Court's          allow the JPML to consider whether to accept this case
remand decision. Id. at 10. The State ends by arguing         would "needless delay the case even as the State
that "3M does not want discovery, it wants delay." Id. at     urgently seeks to move it forward to obtain the funds
11.                                                           needed to clean up Maine's environment." Id. The State
                                                              says that [*16] "[i]n view of established principles of
                                                              comity and federalism, subject mater jurisdiction can
B. The Motion to Stay                                         and should be decided at the very outset of the
                                                              litigation, particularly in a case brought by the sovereign
                                                              in its own state's court." Id.
1. 3M's Motion to Stay

On June 8, 2023, 3M moved this Court to defer action          3. 3M's Reply to the State's Stay Opposition
on the State's motion to remand until the JPML has
ruled on its motion for transfer. 3M's Stay Mot. at 1-10.     In its reply, 3M cites Good and other cases, in which
Quoting Good v. Altria Group, Inc., 624 F. Supp. 2d 132       courts have granted a stay to allow the JPML to rule on
(D. Me. 2009), 3M points out that "[c]ourts frequently        whether it would accept transfer into the MDL. 3M's Stay
grant stays pending a decision by the [JPML] regarding        Reply at 4-8. Alternatively, 3M argues that the analysis
whether to transfer a case." Id. at 5 (quoting Good, 624      in Meyers v. Bayer AG, 143 F. Supp. 2d 1044 (E.D.
F. Supp. 2d at 134). 3M notes that if the JPML accepts        Wisc. 2001) counsels against deciding the jurisdictional
the case for transfer, the MDL would have the authority       issue here because 3M views the jurisdictional issue as
to rule on the motion to remand, and a MDL ruling on          factually and legally complex. Id. at 8-9. 3M deflects any
the motion to remand would have the benefit of                prejudice on the part of the State from a stay and
consistency and judicial economy. Id. at 6.                   requests that the Court defer decision until the JPML
                                                              has decided the pending motion to transfer. Id. at 10.
3M then argues that this case would be a "good
candidate for transfer" to the MDL. Id. 3M observes that
the State's other AFFF case has already been                  IV. DISCUSSION
transferred to the MDL. Id. 3M contends that the JPML
has accepted transfer in other cases similar to Maine's
Non-AFFF case on the ground that the same water
sources were involved. Id. at 6-7.                            2 At the filing of 3M's motion, it was unclear whether the JPML

                                                              would hear the 3M motion for transfer on July 27, 2023 or
3M discounts any prejudice [*15] to the state of Maine        September 28, 2023. 3M Stay Mot. at 8. Since then, the JPML
by a stay. Id. at 7-8. 3M notes that the JPML is              scheduled the motion for transfer without oral argument for the
scheduled to hear the motion for transfer on July 27,         hearing session of July 27, 2023. 3M Stay Reply, Attach. 1,
                                                              JPML Notice of Hr'g Session at 4.

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Preliminarily, this Court retains jurisdiction to consider
the motion to remand: "The pendency of a motion, order         A. Motion to Remand
to show cause, conditional transfer order or conditional
remand order before the Panel pursuant to 28 U.S.C. §          In the two state of Maine complaints, the State has
1407 does not affect or suspend orders and pretrial            sought to proceed on two distinct factual and legal
proceedings in any pending federal district court action       theories: an AFFF lawsuit, which it concedes has been
and does not limit the pretrial jurisdiction of that [*17]     properly transferred to the MDL, and a Non-AFFF
court." Nessel, 2021 U.S. Dist. LEXIS 39175, at *5-6           lawsuit, which it contends is not subject to federal
(quoting JPML R. 2.1(d)).                                      jurisdiction. In a typical case, the State as plaintiff is the
                                                               "master" of its complaint. The Fair v. Kohler Die and
In analyzing the dueling motions to stay and remand,           Specialty Co., 228 U.S. 22, 25, 33 S. Ct. 410, 57 L. Ed.
the Court is fortunate that it does not operate from a         716, 1913 Dec. Comm'r Pat. 530 (1913) (Holmes, J.).
blank slate. First, the Court finds persuasive the "three-     This precept known as the "well-pleaded complaint rule"
step methodology" for "balance[ing] the imperative of          concentrates a court's attention "on the complaint's
ensuring federal jurisdiction and the benefits of              terms" and its analysis is "unaided by anything alleged
multidistrict litigation" announced in Meyers, 143 F.          in anticipation or avoidance of defenses which it is
Supp. 2d at 1049 and recently applied in the District of       thought the defendant may interpose." Rhode Island II,
Maine in Eastern Maine Medical Center v. Teva                  35 F.4th at 51 (citing Taylor v. Anderson, 234 U.S. 74,
Pharmaceuticals USA Inc., 581 F. Supp. 3d 281, 285-86          75-76, 34 S. Ct. 724, 58 L. Ed. 1218 (1914)). Based on
(D. Me. 2022). The Court adopts Chief Judge Levy's             this precept [*19] alone, the State's position on remand
observation        that   "[t]his  three-step    approach      would be unassailable because the State-drafted
appropriately accommodates the fundamentality of               complaints carefully differentiate between the AFFF and
subject-matter jurisdiction within the federal system and      Non-AFFF lawsuits, and the Non-AFFF complaint,
the virtues of judicial economy, efficiency, and               especially given its disavowal of any AFFF claim, would
consistency promoted by multidistrict litigation." Id. In      be appropriate for remand. See New Hampshire, 2023
Eastern Maine, quoting Meyers, Chief Judge Levy                U.S. Dist. LEXIS 53461, at *28 ("[I]n most
described the three-step methodology:                          circumstances, the non-federal cast of a complaint
                                                               would prevent a defendant from removing it"); Rhode
    First, if a "preliminary assessment suggests that          Island II, 35 F.4th at 51. Thus, to the extent 3M purports
    removal was improper, the court should promptly . .        to remove this case to federal court pursuant to 28
    . remand the case to state court." Meyers, 143 F.          U.S.C. § 1441, see Notice of Removal at 1 ("Defendant
    Supp. 2d at 1049. But if the preliminary assessment        3M Company [3M] by undersigned counsel hereby gives
    instead reveals that the jurisdictional issue is           notice of removal of this action, pursuant to 28 U.S.C.
    "factually or legally difficult, the court's second step   §§ 1331, 1441, 1442(a)(1), and 1446"), a
    should be to determine whether identical or similar        straightforward review of the Non-AFFF complaint would
    jurisdictional issues have been raised in other            dictate remand.
    cases that have been or may be transferred to the"
    multidistrict litigation. Id. [*18] If so, "the court      But federal jurisdictional law is seldom so simple. As a
    proceed[s] to the third step and consider[s] the           basis for removal, 3M also invokes § 1442(a)(1), the
    motion to stay," although this third step "does not        federal officer removal statute. In 1999, the United
    mandate that a stay should be granted." Id.                States Supreme Court wrote:

E. Maine, 581 F. Supp. 3d at 285. In accordance with               To remove a case as one falling within federal-
the first step of the three-step methodology, the Court            question jurisdiction, the federal question ordinarily
turns first to the motion to remand and next addresses             must appear on the face of a properly pleaded
the motion for stay. Next, in addressing the first step of         complaint; an anticipated or actual federal defense
the Meyers analysis, the Court has the benefit of a                generally does not qualify a case for removal. See
recent decision on a similar question authored by Chief            Louisville & N. R. Co. v. Mottley, 211 U.S. 149, 29
Judge Landya McCafferty of the District of New                     S. Ct. 42, 53 L. Ed. 126 (1908). Suits against
Hampshire in New Hampshire, 2023 U.S. Dist. LEXIS                  federal officers are exceptional in this regard. Under
53461, at *1-28, a case currently on appeal to the Court           the federal [*20] officer removal statute, suits
of Appeals for the First Circuit.                                  against federal officers may be removed despite the
                                                                   nonfederal cast of the complaint; the federal

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       question element is met if the defense depends on             Rhode Island I, the First Circuit described the standard:
       federal law.
                                                                         Private actors sued in state court can remove the
Jefferson Cnty., Ala. v. Acker, 527 U.S. 423, 430-31,                    case to federal court where the private actor is
119 S. Ct. 2069, 144 L. Ed. 2d 408 (1999). Since                         "acting under [any federal officer], for any act under
Jefferson County, Congress broadened the application                     color of such office." 28 U.S.C. § 1442(a)(1); accord
of the federal officer removal statute to include cases                  Camacho v. Autoridad de Telefonos de Puerto
where there is only a connection or association between                  Rico, 868 F.2d 482, 486-87 (1st Cir. 1989). "Acting
the act in question and the federal office. See Sawyer v.                under" connotes "subjection, guidance, or control"
Foster Wheeler LLC, 860 F.3d 249, 258 (4th Cir.                          and involves "an effort to assist, or to help carry out,
2017).3                                                                  the duties or tasks of the federal superior." Watson
                                                                         v. Philip Morris Cos., 551 U.S. 142, 152, 127 S. Ct.
Judge McCafferty explained the nexus requirement:                        2301, 168 L. Ed. 2d 42 (2007) (citations omitted).

       The requirement that a claim be "for" or "relate to"          979 F.3d at 59. The Rhode Island I Court went on to
       the alleged federal authority is a "nexus"                    state:
       requirement, but not a causation requirement.
       Moore [v. Elec. Boat Corp.,] 25 F.4th [30,] 34 & n.2              To succeed in their argument that federal-officer
       [1st Cir. 2022]. That is, only a "nexus" between the              removal is proper in this case, the oil companies
       claims and the alleged official authority need exist;             must show that they were acting under a federal
       it is sufficient that at least one of the plaintiff's             officer's authority, that they will assert a colorable
       claims is "connected" or "associated" with the                    federal defense to the suit, and that there exists "a
       defendant's acts under color of federal office. Baker             nexus" between the allegations in the complaint
       v. Atlantic Richfield Co., 962 F.3d 937, 943-44 (7th              and conduct undertaken at the behest of a federal
       Cir. 2020) (explaining that 2011 amendments to §                  officer. Jefferson Cty., 527 U.S. at 431 (internal
       1442(a)(1) removed requirement of causal                          quotation marks and citations omitted). If the oil
       connection and collecting appellate cases holding                 companies cannot demonstrate all three of these
       likewise).                                                        elements, they cannot remove the case to federal
                                                                         court under § 1442.
New Hampshire, 2023 U.S. Dist. LEXIS 53461, at *21-
22.                                                                  Id. As Chief Judge McCaffrey noted, unlike a § 1441
                                                                     removal, a removal under § 1442(a)(1) "is broadly
Applying this precedent, the Court turns to whether                  construed 'in favor of removal.'" New Hampshire, 2023
there is a connection or association between the                     U.S. Dist. LEXIS 53461, at *21 (citing Watson, 551 U.S.
allegations in the Non-AFFF lawsuit and a federal office.            at 147-48 (emphasis in New Hampshire). This is [*22]
The Court briefly returns [*21] to the legal standards. In           because "[o]ne of the primary purposes of the removal
                                                                     statute—as its history clearly demonstrates—was to
                                                                     have such defenses litigated in federal court." Id.
3 In Sawyer v. Foster Wheeler, LLC, 860 F.3d 249 (4th Cir.           (quoting Willingham v. Morgan, 395 U.S. 402, 406, 89
2017), the Fourth Circuit observed that before 2011, the             S. Ct. 1813, 23 L. Ed. 2d 396 (1969)). At the same time,
statutory test in § 1442 was whether "there was a causal
                                                                     3M "bears the burden under § 1442(a)(1)." Moore, 25
connection between the charged conduct and the asserted
                                                                     F.4th at 34.
official authority." Id. at 258 (quoting Jefferson Cnty., 527 U.S.
at 431). However, in 2011, Congress broadened § 1442(a)(1)
                                                                     In its Non-AFFF complaint against 3M, the State has
to cover actions "for or relating to any act under color of
                                                                     made it plain that it is "not seeking to recover through
[federal] office," adding the words "or relating to" Removal
                                                                     this Complaint any relief for contamination or injury
Clarification Act of 2011, Publ. L. No. 112-51, 125 Stat. 545.
Id. (emphasis in Sawyer). This new language "broaden[ed] the         related to Aqueous Film Forming Foam, a firefighting
universe of acts" that enable federal removal, H.R. Rep. 112-        material that contains PFAS." Non-AFFF Compl. ¶ 15.
17, 6, 2011 U.S.C.C.A.N. 420, 425, such that there need be           In addition to this allegation in the Non-AFFF Complaint,
only "'a connection or association between the act in question       the State has represented in its filings that "[i]f it does
and the federal office.'" Papp v. Fore-Kast Sales Co., 842 F.3d      turn out that contamination in any particular site or
805, 813 (3d Cir. 2016) (emphasis added) (quoting In re              location is related to AFFF, then the State has
Commonwealth's Mot. to Appoint Counsel Against or Directed           disclaimed seeking a recovery in this action for that site
to Defender Assoc., 790 F.3d 457, 471 (3d Cir. 2015)).

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or location." State's Remand Mot. at 9 (emphasis in            nonfederal cast of the complaint,' id. at 645 n.9, (quoting
original).                                                     Jefferson Cnty., 527 U.S. at 431), and reflects a
                                                               congressional policy that 'federal officers, and indeed
Despite the State's disclaimer and the State's second          the Federal Government itself, require the protection of
AFFF lawsuit, 3M maintains that this Court should retain       a federal forum.'" Id. (quoting Willingham, 395 U.S. at
this case under its federal officer jurisdiction. 3M's         407).
Remand Opp'n at 1-17. 3M first observes that PFAS can
"move through the environment—both from natural                Although the First Circuit has not used this term, courts
processes like transport in groundwater and because            sometimes describe the burden on the removing party
people collect, move, and spread PFAS-containing               as making a "plausible" claim of federal officer defense.
waste—so [*23] PFAS from AFFF and non-AFFF                     See Graves v. 3MCo., 17 F.4th 764, 771 (8th Cir. 2021)
sources plausibly have commingled at various                   ("For a defense [*25] to be considered colorable, it
locations." Id. at 6 (emphasis in original). If so, 3M says    need only be plausible") (citation omitted); Bennett v.
that it "has the right to defend itself by raising the issue   MIS Corp., 607 F.3d 1076, 1089 (6th Cir. 2010); Magnin
of whether alleged 'non-AFFF' PFAS contamination may           v. Teledyne Cont'l Motors, 91 F.3d 1424, 1427 (11th Cir.
actually derive from MilSpec AFFF, and by asserting its        1996).
federal government contractor defense as to any
claimed damaged from MilSpec AFFF." Id. Next, 3M               Applying these principles to AFFF and Non-AFFF
argues that it properly removed the case based on              litigation, the district courts in New Hampshire and
"federal enclave jurisdiction" because "PFAS from AFFF         Nessel reached different conclusions. As here, in
and non-AFFF products plausibly were released from             Nessel, the state of Michigan attempted to strictly divide
military bases in Maine that are federal enclaves." Id.        two lawsuits—one AFFF and the other Non-AFFF—but
                                                               the district court rejected the distinction, noting that
In support of its position, 3M points to four and              "Plaintiffs cannot decide what defense Defendants might
sometimes five military facilities throughout the state of     present." Nessel, 2021 U.S. Dist. LEXIS 39175, at *10.
Maine, Brunswick Naval Air Station, Portsmouth Naval           The Nessel Court wrote that "while Plaintiffs attempt to
Shipyard, Loring Air Force Base, Bangor Air National           surgically divide their complaints between Commercial
Guard Base, and the Cutler Naval Air Station, that the         and MilSpec AFFF, they cannot prevent Defendants
State claims in its AFFF Complaint caused PFAS                 from raising the production of MilSPec AFFF as a
contamination in groundwater "throughout the State." Id.       defense or an alternative theory, particularly when
at 4 (quoting AFFF Compl. ¶ 224) (emphasis in 3M               Plaintiffs admit that Defendants produced MilSpec AFF
Remand Opp'n); see Notice of Removal at 10.                    and that PFAS from AFFF spread contamination
                                                               throughout the state." Id. The district court concluded
Although the parties fence about seepage of AFFF               that "Plaintiffs' artful pleading does not obviate the facts
contamination in specific instances, such as military          on the ground." Id. at *10-11.
installations and water [*24] districts, the determinative
question rests on the interplay between the asserted           Against Nessel is New Hampshire. In New Hampshire,
federal affirmative defense and a motion to remand. In         the district court focused on the "specific limitations on
Jefferson County, the Supreme Court addressed how a            the scope of [the] plaintiff's claims" and concluded that
district court is to approach the assertion of an              these limitations "eliminate a potential relationship
affirmative defense as the basis for federal jurisdiction.     between the [*26] plaintiff's claims and a defendant's
527 U.S. at 431. The Jefferson County Court required           federal acts." 2023 U.S. Dist. LEXIS 53461, at *22. The
that the affirmative defense be "colorable," id., and          district judge noted two other cases, where district
noted that courts should not construe the federal              courts honored similar disclaimers. Id. at *22-24 (citing
defense requirement with a "narrow, grudging                   Hayden v. 3M, No. 15-2275, 2015 U.S. Dist. LEXIS
interpretation" because "one of the most important             104534, at *3-4 (E.D. La. Aug. 10, 2015); Batchelor v.
reasons for removal is to have the validity of the             Am. Optical Corp., 185 F. Supp. 3d 1358, 1363-64 (S.D.
defense of official immunity tried in a federal court." Id.    Fla. 2016) (stating that federal courts have
(quoting Willingham, 395 U.S. at 407). Thus, as the            "consistently" granted motions to remand in cases
Supreme Court observed in Kircher v. Putnam Funds              where the plaintiff expressly disclaims recovery for
Trust, 547 U.S. 633, 126 S. Ct. 2145, 165 L. Ed. 2d 92         claims on which federal removal is based)). The New
(2006), "[t]he federal officer removal statue allows 'suits    Hampshire Court distinguished Nessel on the ground
against federal officer [to] be removed despite the            that Nessel involved "two different kinds of AFFF",


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whereas New Hampshire addressed, as here, AFFF               its disclaimer, the State has taken upon itself the burden
and Non-AFFF contamination. Id. at *26-27 ("Here,            as part of its case to demonstrate that the source of
unlike Nessel, whether an alternative source of              contamination in its Non-AFFF lawsuit is not [*28] a
contamination was MilSpec AFFF is irrelevant because         AFFF source. If the factfinder concludes that the State
this suit does not involve AFFF, regardless of whether it    has failed to meet its burden concerning the source, 3M
is MilSpec of another version of AFFF").                     will prevail. This effectively means that the federal
                                                             officer defense will not be applicable in the State's Non-
Finally, the district judge in New Hampshire did not find    AFFF lawsuit because the State by its express
"the reasoning of Nessel persuasive." Id. The judge          disclaimer has imposed upon itself a burden to
explained:                                                   demonstrate that its claim involves Non-AFFF sources.
                                                             Kelleher, 2015 U.S. Dist. LEXIS 159783, at *11 ("Here,
    If the sources of contamination cannot be
                                                             however, Plaintiff's waiver has rendered any federal
    distinguished, 3M cannot be held liable. That is, the
                                                             defenses moot").
    State will fail to establish its own case, which is
    premised on the existence of contamination from          In sum, because of the State's express disclaimer, the
    some non-AFFF source. And, if a factfinder can           Court concludes that this case must be remanded to the
    distinguish the sources of contamination, 3M will        state of Maine Superior Court since the federal officer
    prevail to the extent the factfinder [*27] determines    defense is not applicable.
    contamination came from AFFF. This is true
    regardless of whether 3M supplied the AFFF under         Finally, the Court concludes that federal enclave
    federal authority or warned the government about         jurisdiction does not plausibly exist because "the
    its dangers.                                             doctrine of federal enclave jurisdiction generally requires
                                                             that all pertinent events take place on a federal
Id. (emphasis in original).                                  enclave." Rhode Island II, 35 F.4th at 58 (emphasis in
                                                             original). 3M suggests that the Court could assume
On balance, the Court concludes that New Hampshire is        jurisdiction under federal enclave jurisdiction over one
more persuasive. In Batchelor, the district court            site and then "exercise supplemental jurisdiction . . .
observed that "Federal courts addressing disclaimer          arising from other sites." 3M's Remand Opp'n at 17. But
provisions in similar actions have 'recognize[d] a           even if Brunswick Naval Air Station and Portsmouth
distinction between artful pleading for purposes of          Naval Shipyard could fit within federal enclave
circumventing federal officer jurisdiction, and express      jurisdiction, [*29] the State has disclaimed any AFFF
disclaimers of the claims that serve as the ground for       claims, including those arising from a federal enclave,
removal under Section 1442(a)(1).'" Batchelor, 185 F.        so the argument circles back to the State's disclaimer.
Supp. 3d at 1363 (quoting Siders v. 20th Century Glove
Corp. of Texas, No. 2:15-cv-13278, 2016 U.S. Dist.           In sum, because of the State's express disclaimer, the
LEXIS 57210, at *25 (S.D.W.V. Apr. 29, 2016) (quoting        Court concludes that this case must be remanded to the
Dougherty v. A O Smith Corp., Civil Action No. 13-1972-      state of Maine Superior Court since the federal officer
SLR-SRF, 2014 U.S. Dist. LEXIS 96290, at *36 (D. Del.        defense is not applicable.
July 16, 2014)); Kelleher v. A.W. Chesterton Co., No.
15-cv-893, SMY-SCW, 2015 U.S. Dist. LEXIS 159783,
at *13 (S.D. Ill. Nov. 23, 2015); Madden v. A.H. Voss        B. Motion to Stay
Co., No. C 09-03786 JSW, 2009 U.S. Dist. LEXIS
101680, at *2-3 (N.D. Cal. Oct. 21, 2009). Here, the         Despite this conclusion, the Court addresses why it
State's disclaimer is express, unambiguous, and plain,       resolved this issue before the JPML acted on the motion
and in the Court's view, fits within the category of         for transfer and not stay resolution to give the JPML an
express disclaimers courts have found effective to justify   opportunity to decide for itself whether to accept this
a remand order. Dougherty, 2014 U.S. Dist. LEXIS             case as part of the MDL. Federal courts "possess the
96290, at *36 (Where express disclaimers are made,           inherent power to stay [a case] for prudential reasons."
"federal courts have consistently granted motions to         Microfinancial, Inc. v. Premier Holidays Int'l, Inc., 385
remand where the plaintiff expressly disclaimed the          F.3d 72, 77 (1st Cir. 2004). In evaluating whether to
claims upon which federal officer removal was based").       issue a stay, a court will generally consider three
                                                             factors: "(1) potential prejudice to the non-moving party,
Furthermore, as Chief Judge McCafferty pointed out, by       (2) hardship and inequity to the moving party without a


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stay, and (3) judicial economy." Good, 624 F. Supp. 2d          basis of the papers filed and the hearing session held,
at 134. "The party seeking the stay bears the burden of         we find that centralization under Section 1407 in the
demonstrating that a stay is appropriate." Maine v.             Norther District of Ohio will serve the convenience of the
Wheeler, No. 1:14-cv-00264-JDL, 2020 U.S. Dist.                 parties and witnesses and promote the just and efficient
LEXIS 12334, at *8-9 (D. Me. Jan. 6, 2020). Whether to          conduct of this litigation").
stay a proceeding in anticipation of a transfer ruling from
the JPML rests within a court's discretion. City of             As described here, the jurisdictional issue before this
Portland v. Pardue Pharma, LP, No. 2:18-cv-282-NT,              Court does not address the § 1407 standards, but
1:18-cv-298-NT, 2:18-cv-310-NT; 2018 U.S. Dist. LEXIS           whether the Court should assume jurisdiction over the
201070, at *16 (D. Me. Nov.18, 2018); Good, 624 F.              case in the first place. Thus, even if the Court were to
Supp. 2d at 134.                                                stay this matter to allow the JPML to determine whether
                                                                it is an appropriate MDL case, the jurisdiction question
Here, applying Eastern Maine, the Court's "preliminary          in this case would not be answered by the JPML.
assessment suggests that removal [*30]                was
improper," and therefore, "the court should promptly . . .      "The district courts of the United States . . . are 'courts
remand the case to state court." E. Maine, 581 F. Supp.         of limited jurisdiction. They possess only that power
3d at 285 (quoting Meyers, 143 F. Supp. 2d at 1049).            authorized [*32] by Constitution and statute." Exxon
"Generally, motions to remand should be resolved                Mobil Corp. v. Allapattah Servs. Inc., 545 U.S. 546, 552,
before the panel acts on the motion to transfer so the          125 S. Ct. 2611, 162 L. Ed. 2d 502 (2005) (quoting
federal court can assure itself of jurisdiction before the      Kokkonen v. Guardian Life Ins. Co. of Am., 511 U.S.
case transfers to the MDL." Nessel, 2021 U.S. Dist.             375, 377, 114 S. Ct. 1673, 128 L. Ed. 2d 391 (1994)).
LEXIS 39175, at *6.                                             "The federal courts are under an independent obligation
                                                                to examine their own jurisdiction . . .." FW/PBS, Inc. v.
In addition, although the JPML analysis of whether to           Dallas, 493 U.S. 215, 231, 110 S. Ct. 596, 107 L. Ed. 2d
accept a case for MDL transfer is similar to this Court's       603 (1990). In reaching and resolving the jurisdictional
jurisdictional inquiry, they are not the same. The JPML's       question, this Court is acting in accordance with its
MDL Transfer Order filed on December 7, 2018, stated            independent obligation to assure that its jurisdiction over
that "[a]l of the actions on Schedule A involve                 this lawsuit is proper.
allegations that aqueous film-forming foams (AFFFs,
which are used to extinguish liquid fuel fires)                 Finally, as a practical matter, the Court of Appeals for
contaminated the groundwater near certain airports and          the First Circuit will resolve 3M's appeal in New
other industrial locations with perfluorooctane sulfonate       Hampshire and its resolution may well inform the proper
(PFOS) and/or perfluorooctanoic acid (PFOA), which              disposition of this case, thus any potential prejudice to
allegedly were contained in the AFFFs and are toxic." In        3M is mitigated by the fact that it is currently before the
re Aqueous Film-Forming Foams Products Liability                First Circuit on a virtually identical issue and ruling.
Litig., No. 2:18-mn-02873-RMG, Transfer Order at 1
(ECF No. 1). The JPML concluded that "the AFFF
actions listed on Schedule A involve common questions           V. CONCLUSION
of fact, and that centralization will serve the
convenience of the parties and witnesses and promote            The Court GRANTS the Plaintiff State of Maine's Motion
the just [*31] and efficient conduct of this litigation." Id.   to Remand (ECF No. 10) and DENIES Defendant 3M
at 3.                                                           Company's Motion to Stay (ECF No. 31). The Court
                                                                REMANDS this case to the State of Maine Superior
When considering whether to grant a motion to transfer          Court for Cumberland County.
a case to an MDL, the standard is found in 28 U.S.C. §
                                                                SO ORDERED.
1407, the statute authorizing multi-district litigation.
Section 1407 provides that the JPML shall transfer a            /s/ John A. Woodcock, Jr.
case to an MDL "upon its determination that transfers
for such proceedings will be for the convenience of             JOHN A. WOODCOCK, JR.
parties and witnesses and will promote the just and
efficient conduct of such actions." Id., see e.g., In re        UNITED STATES DISTRICT JUDGE
Sonic Corp. Customer Data Sec. Breach Litig., 276 F.
                                                                Dated this 26th day of July, 2023
Supp. 3d 1382, 1383 (JPML Dec. 6. 2017) ("On the

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                                              Maryland v. 3M Co.
                                 United States District Court for the District of Maryland
                                                 February 12, 2024, Filed
                                             Civil Action No. RDB-23-1836

Reporter
2024 U.S. Dist. LEXIS 48428 *; 2024 WL 1152568

STATE OF MARYLAND, Plaintiff, v. 3M COMPANY, et
                                                              Judges: Richard D. Bennett, Senior United States
al., Defendants.
                                                              District Judge.
Subsequent History: Appeal filed, 03/14/2024
                                                              Opinion by: Richard D. Bennett

Core Terms                                                    Opinion
removal, federal enclaves, federal official, disclaimed,
contamination, federal court, removal statute,
government contractor, state court, colorable, alleges
                                                              MEMORANDUM ORDER
Counsel: [*1] For 3M Company, Defendant: Daniel L             This case was brought by the State of Maryland ("the
Ring, PRO HAC VICE, Mayer Brown, Chicago, IL;                 State") against 3M Company ("3M") and other
Katherine Monks Bleicher, Mayer Brown, Washington,            defendants in the Circuit Court for Baltimore City. It was
DC.                                                           removed to this Court by 3M, alleging that this Court
For Corteva Inc., DuPont de Nemours Inc., EIDP Inc.,          had jurisdiction under the federal officer removal statute,
E.I. Du Pont De Nemours and Company, EIDP Inc.,               28 U.S.C. § 1442(a)(1), and that federal enclave
formerly known as, The Chemours Company,                      jurisdiction provided an alternative basis for removal
Defendants: Jaime Walker Luse, LEAD ATTORNEY,                 under 28 U.S.C. §§ 1331 and 1441(a). (ECF No. 1 at 3.)
Tydings and Rosenberg LLP, Baltimore, MD; James               The Complaint (ECF No. 5), which is one of a series of
Wylie Donald, LEAD ATTORNEY, McCarter and English             complaints brought nationwide, alleges that substances
LLP, Washington, DC.                                          are responsible for groundwater and air contamination.
                                                              Specifically, the Complaint focuses on per-and
For State of Maryland, Plaintiff: Adam Dean Snyder,           polyfluoroalkyl substances ("PFAS"), which allegedly
LEAD ATTORNEY, Office of the Attorney General-State           leach into groundwater and contaminate drinking water
of Maryland, Baltimore, MD; Alexander Latanision, PRO         supplies. The Complaint specifically excludes aqueous
HAC VICE, Law Offices of John K. Dema PC,                     film-forming foam ("AFFF"), which are used at airports
Christiansted, VI; Ashley B. Campbell, PRO HAC VICE,          and military bases to extinguish liquid fuel fires. The
Stephanie D. Biehl, PRO HAC VICE, Sher Edling LLP,            State of Maryland brought a separate complaint
San Francisco, CA; Derek Yoshio Sugimura, Law                 regarding AFFF that was subject to multidistrict litigation
Offices of John K. Dema, Alexandria, VA; Fanny B.             ("MDL") and [*3] has now been transferred out of this
Turcios, PRO HAC VICE, John D.S. Gilmour, PRO HAC             District. In this case (the non-AFFF PFAS case), this
VICE, William J. Jackson, PRO HAC VICE, Kelley Drye           Court previously granted a stay awaiting a determination
& Warren LLP, Houston, TX; Julie Beth Kuspa, Patricia         of whether Defendant 3M's motion to transfer under
V Tipon, LEAD ATTORNEYS, Maryland Office of the               MDL would be granted. The Judicial Panel on
Attorney General, Baltimore, MD; Matthew Spencer              Multidistrict Litigation ("JPML") issued an Order denying
Zimmerman, LEAD ATTORNEY, Office of the Attorney              transfer on October 4, 2023. (ECF No. 44.)
General of MD, Baltimore, MD; Melissa E. Byroade,
PRO HAC [*2] VICE, Kelley Drye & Warren LLP,                  Because transfer was denied, the State's Motion to
Washington, DC; Scott E. Kauff, LEAD ATTORNEY,                Remand to the Circuit Court for Baltimore City (ECF No.
Law Offices of John K. Dema P.C., Rockville, MD.              23) must now be addressed. The issues regarding

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vacating this Court's stay order are now moot. The State       other natural resources, and property held in trust or
argues that "neither basis that 3M presents—the                otherwise owned by the State." (Id. ¶ 8.) The Complaint
federal-officer removal statute, 28 U.S.C. § 1442(a)(1),       further alleges "that exposure to PFAS may lead to
and/or the assertion that the case arose on 'federal           significant negative health effects," including decreased
enclaves'—" adequately provide a basis for removal.            fertility, developmental delays, increased risk of some
(ECF No. 23-1 at 5.)1 The parties' submissions have            cancers, hormonal changes, and increased cholesterol
been reviewed and no hearing is necessary. See Local           levels. (Id. ¶ 10.)
Rule 105.6 (D. Md. 2023). For the reasons that follow,
the State's Motion to Remand to the Circuit Court for          On May 30, 2023, "[t]he State filed the instant Complaint
Baltimore City (ECF No. 23) is GRANTED and this case           in the Circuit Court for Baltimore City, seeking damages
is REMANDED to the Circuit Court of Maryland for               to cover the costs of PFAS-related environmental
Baltimore City.                                                restoration, remediation, and testing, and also equitable
                                                               relief for abatement." (ECF No. 23-1 at 7.) The 11-count
                                                               Complaint raised state-law claims for products liability,
BACKGROUND                                                     public nuisance, trespass, negligence, violations of
                                                               Maryland's Environmental Article, and fraudulent
The facts set forth below are viewed in the light most         transfer. (ECF No. 5.) The Complaint included a
favorable to Plaintiff, as Defendant 3M bears the burden       footnote explaining that the term PFAS, as used in the
of demonstrating that [*4] removal is proper. Strawn v.        Complaint, does not "include aqueous [*6] film-forming
AT&T Mobility, LLC, 530 F.3d 293, 297 (4th Cir. 2008).         foam ('AFFF') or fluorosurfactants that were designed
The State of Maryland brought "this action against             for and specifically incorporated into AFFF, which are
Defendants to address widespread contamination of its          the subject of a separate action." (Id. at 3 n.2.)
natural resources—particularly the drinking water              Accordingly, the Complaint alleges that the State, in this
supplies upon which its citizens depend—with toxic per-        action, does not "seek any remediation, restoration,
and polyfluoroalkyl substances ('PFAS'), including but         damages, or any other relief related to any PFAS
not limited to perfluorooctane sulfonic acid ('PFOS') and      contamination caused by AFFF or fluorosurfactants
perfluorooctanoic acid ('PFOA')." (ECF No. 5 ¶ 1.)             when used as ingredients of AFFF. The State's claims
"PFAS are highly fluorinated synthetic chemical                with respect to AFFF are the subject of a separate
compounds that include carbon chains containing at             action." (Id. ¶ 13.)
least one carbon atom on which all hydrogen atoms are
replaced by fluorine atoms." (Id. ¶ 29.) Defendants are        On July 10, 2023, Defendant 3M filed a notice of
manufacturers who have allegedly "designed,                    removal from the Circuit Court for Baltimore City. (ECF
manufactured, marketed, and sold products that contain         No. 1.) On August 1, 2023, Defendant 3M moved to stay
PFAS ('PFAS Products')," including "food packaging,            this action pending a transfer decision by the Judicial
carpeting, cookware, clothing, and upholstery." (Id. ¶ 2-      Panel on Multidistrict Litigation ("JPML"). (ECF No. 17.)
3.) According to the Complaint, "[t]he PFAS family,            This Court granted the motion to stay on August 2,
including PFOS and PFOA, has characteristics that              2023. (ECF No. 18.) On August 9, 2023, the State
cause extensive and long-lasting environmental                 moved for reconsideration on this Court's stay order
contamination." (Id. ¶ 30.) Defendants allegedly "knew         while also moving to remand the case back to state
for decades that their PFAS were toxic and posed               court. (ECF No. 23.) On October 4, 2023, the JPML
significant risks to human health and the environment,"        denied 3M's motion to transfer. (ECF No. 44.)
and they allegedly "knew specifically that their PFAS          Accordingly, the State's motion for reconsideration is
were reaching drinking water [*5] supplies and                 now moot, and the Motion to Remand is ripe for review.
accumulating in people's bodies as they were exposed
to the chemicals over time." (Id. ¶ 4-5.) The Complaint
alleges that Defendants "have caused significant PFAS          STANDARD OF [*7] REVIEW
contamination in the State's drinking water,
groundwater, surface water, soil, sediment, wildlife,          A defendant in a state civil action may remove the case
                                                               to federal court if the federal court can exercise original
                                                               jurisdiction over at least one of the asserted claims. 28
                                                               U.S.C. § 1441(a)-(c). Additionally, the federal officer
1 Unless otherwise indicated, this Memorandum Order cites to
                                                               removal statute, 28 U.S.C. § 1442(a)(1), authorizes
the ECF generated page number rather than the page number      removal of "[a] civil action or criminal prosecution that is
at the bottom of the parties' various submissions.

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commenced in a State court and that is against or              42 (2007)).
directed to . . . [t]he United States or any agency thereof
or any officer (or any person acting under the officer) of     3M attempts to sustain federal officer removal under the
the United States or of any agency thereof, in an official     government contractor defense. "A government
or individual capacity, for or relating to any act under       contractor is entitled to removal under Section 1442
color of such office." 28 U.S.C. § 1442(a)(1). Once an         when" it satisfies the federal officer removal
action is removed to federal court, the plaintiff may file a   requirements. Northrop Grumman Tech. Servs., Inc. v.
motion to remand the case to state court if there is a         DynCorp Int'l LLC, 865 F.3d 181, 186 (4th Cir. 2017).
contention that jurisdiction is defective. 28 U.S.C. §         The third element for removal, "a colorable federal
1447(c). When considering motions to remand, courts            defense," may be met by the government contractor
must interpret the federal officer removal statute             defense, which exempts government contractors from
broadly. See Arizona v. Manypenny, 451 U.S. 232, 242,          liability for design [*9] defects in military equipment
101 S. Ct. 1657, 68 L. Ed. 2d 58 (1981) (citing                "when (1) the United States approved reasonably
Willingham v. Morgan, 395 U.S. 402, 407, 89 S. Ct.             precise specifications; (2) the equipment conformed to
1813, 23 L. Ed. 2d 396 (1969)). It is well established         those specifications; and (3) the supplier warned the
that the party seeking removal bears the burden of             United States about the dangers in the use of the
establishing jurisdiction in the federal court. Johnson v.     equipment that were known to the supplier but not to the
Advance America, 549 F.3d 932, 935 (4th Cir. 2008).            United States." Boyle v. United Techs. Corp., 487 U.S.
                                                               500, 512, 108 S. Ct. 2510, 101 L. Ed. 2d 442 (1988).
                                                               However, "[s]imply asserting a federal defense is not, on
ANALYSIS                                                       its own, sufficient to show removal jurisdiction under §
                                                               1442(a)(1). Rather, § 1442(a)(1) also requires that the
                                                               plaintiff's claims have a nexus to the defendant's acts
I. Federal Officer Removal                                     under federal authority." New Hampshire v. 3M Co., 665
                                                               F. Supp. 3d 215, 229 (D.N.H. 2023) (citing Jefferson
To sustain removal under Section 1442, a defendant             Cnty., Ala. v. Acker, 527 U.S. 423, 431, 119 S. Ct. 2069,
must satisfy three elements. First, the defendant must         144 L. Ed. 2d 408 (1999)).
demonstrate that it is "an officer of the United [*8]
States or 'acting under' a federal officer within the          3M's government contactor defense relies on its
meaning of the statute." Mayor and City Council of Balt.       production of MilSpec AFFF, which is AFFF "that 3M
v. BP P.L.C., 388 F. Supp. 3d 538, 567 (D. Md. 2019)           and others developed and sold to the U.S. military in
(citing Sawyer v. Foster Wheeler LLC, 860 F.3d 249,            accordance with rigorous military specifications
254 (4th Cir. 2017)). Second, the defendant must               ('MilSpec') issued by the Department of Defense
establish a causal nexus between its challenged                ('DoD')." (ECF No. 1 ¶ 2.) In this case, 3M has expressly
conduct and official authority by showing that the             disclaimed "any relief . . . related to any PFAS
conduct occurred "for or relating to" official federal         contamination caused by AFFF or fluorosurfactants
authority. Id. (citing 28 U.S.C. § 1442(a)(1)). Finally, the   when used as ingredients of AFFF." (ECF No. 5 ¶ 13.)
defendant must also assert "a colorable federal                That includes 3M's alleged basis for removal, MilSpec
defense." Id. (citing Sawyer, 395 U.S. at 254). While the      AFFF—a chemical that 3M asserts it had official
court must construe facts alleged in support of the            authority to manufacture. By excluding MilSpec AFFF
defendant's colorable federal defense as true, the             and all other types of AFFF from its [*10] Complaint,
defendant bears the burden to allege facts sufficient to       the State has abandoned any claims in this case that
allow the court to conclude that such a defense is             would allow 3M to utilize the government contractor
plausible. North Carolina v. Ivory, 906 F.2d 999, 1001         defense. The State's disclaimer here is effective. In
(4th Cir. 1990); Jefferson Cnty. v. Acker, 527 U.S. 423,       three identical cases, federal courts have remanded to
432, 119 S. Ct. 2069, 144 L. Ed. 2d 408 (1999). "The           state court due to similar disclaimers. See New
central purpose of the federal officer removal statute is      Hampshire v. 3M Co., 665 F. Supp. 3d 215, 220 (D.N.H.
to protect the federal government and its operations           2023) ("The State disclaimed in this suit recovery for
from potential interference by the states through              harm from AFFF contamination, which eliminates any
proceedings in state court." Illinois ex rel. Raoul v. 3M      connection between the State's claims in this suit and
Co., No. 422CV04075SLDJEH, 2023 WL 6160610, at *2              3M's production of MilSpec AFFF."); Me. v. 3M Co., No.
(C.D. Ill. Sept. 21, 2023) (citing Watson v. Philip Morris     2:23-CV-00210-JAW, 2023 U.S. Dist. LEXIS 128740,
Cos., 551 U.S. 142, 150, 127 S. Ct. 2301, 168 L. Ed. 2d        2023 WL 4758816, at *10 (D. Me. July 26, 2023) ("[T]he

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federal officer defense will not be applicable in the         enclaves 'generally requires "that all pertinent events
State's Non-AFFF lawsuit because the State by its             t[ake] place on a federal enclave."'" Mayor & City
express disclaimer has imposed upon itself a burden to        Council of Baltimore v. BP P.L.C., 31 F.4th 178, 219
demonstrate that its claim involves Non-AFFF                  (4th Cir. 2022) (second alteration in original) (quoting
sources."); Illinois ex rel. Raoul v. 3M Co., No.             Bd. of Cnty. Cmm'rs of Boulder Cnty. v. Suncor Energy
422CV04075SLDJEH, 2023 WL 6160610, at *2 (C.D. Ill.           (U.S.A.) Inc., 25 F.4th 1238, 1271 (10th Cir. 2022)).
Sept. 21, 2023) ("By renouncing all claims stemming           However, 3M fails to demonstrate that all pertinent
from a contractor's work for the federal government, it       events related to the issues in this case occurred on a
no longer becomes necessary to assert the federal             federal enclave. Instead, it asserts only that "[s]ome
government contractor defense."). Those courts found          federal facilities in Maryland . . . are or were federal
that "[c]ourts have consistently granted motions to           enclaves when AFFF and/or other PFAS or PFAS-
remand where the plaintiff expressly disclaimed the           containing products were released from such facilities."
claims upon which federal officer removal was based."         (ECF No. 1 ¶ 59.) The fact some of the State's claims
Illinois, 2023 WL 6150510, at *5 (quoting Reinbold v.         may have arisen in part from some federal enclaves is
Advanced Auto Parts, Inc., No. 18-CV-605-SMY-DGW,             insufficient to grant federal enclave jurisdiction. Quite
2018 U.S. Dist. LEXIS 102399, 2018 WL 3036026, at *2          simply, 3M's allegations are insufficient to meet the
(S.D. Ill. June 19, 2018)); see also Maine, 2023 U.S.         requirements for federal enclave jurisdiction. See Rhode
Dist. LEXIS 128740, 2023 WL 4758816, at *10 ("Where           Island v. Shell Oil Prod. Co., 35 F.4th 44, 58 (1st Cir.
express disclaimers are made, 'federal courts have            2022) (finding allegation that "a big chunk" of pertinent
consistently granted motions to remand where the              events occurred on federal enclaves insufficient for
plaintiff expressly disclaimed [*11] the claims upon          federal enclave jurisdiction). Moreover, in this case, as
which federal officer removal was based.'" (quoting           in Maine, even if some of the claims arose in part from
Dougherty v. A O Smith Corp., No. CV 13-1972-SLR-             locations that "could fit within federal enclave
SRF, 2014 WL 3542243, at *10 (D. Del. July 16,                jurisdiction, the State has disclaimed any AFFF claims,
2014))).                                                      including those arising from a federal enclave, so the
                                                              argument circles back to the State's disclaimer." Maine,
Because the State has expressly disclaimed any AFFF-          2023 U.S. Dist. LEXIS 128740, 2023 WL 4758816, at
related claims, 3M cannot establish the requisite nexus       *10. 3M therefore cannot remove [*13] under the basis
between charged conduct and asserted official                 of federal enclave jurisdiction. Accordingly, this case
authority. Northrop, 865 F.3d at 186. In this case, as in     shall be REMANDED to the Circuit Court for Baltimore
New Hampshire, Maine, and Illinois, the explicit              City.
exclusion of AFFF from this lawsuit renders it
"impossible for Defendant to be held liable for damages
stemming from its actions under federal authority, and        CONCLUSION
so the requisite connection or association is missing."
Illinois, 2023 WL 6150510, at *6. 3M therefore fails to       For the reasons stated above, it is this 12th day of
demonstrate the requisite nexus or colorable federal          February, 2024, hereby ORDERED that:
defense to sustain removal to federal court under the             1. Plaintiff's Motion to Remand to the Circuit Court
federal officer removal statute. Accordingly, the State's         for Baltimore City (ECF No. 23) is GRANTED;
Motion to Remand (ECF No. 23) shall be GRANTED                    2. This case shall be REMANDED to the Circuit
and this case shall be REMANDED to the Circuit Court              Court for Baltimore City;
for Baltimore City.                                               3. The Clerk shall CLOSE this case; and
                                                                  4. A copy of this Memorandum Order shall be sent
                                                                  to counsel of record.
II. Federal Enclave Jurisdiction
                                                              /s/ Richard D. Bennett
As an alternative basis for removal, 3M asserts that the
State's claims in this case "have arisen in part on           United States Senior District Judge
federal enclaves," thereby allowing federal enclave
jurisdiction. (ECF No. 1 ¶ 5.) Federal enclave jurisdiction
                                                                End of Document
provides original federal jurisdiction, which therefore
would allow removal under 28 U.S.C. § 1441(a).
"[F]ederal-question jurisdiction tied [*12] to federal

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     Caution
As of: April 8, 2024 9:13 PM Z


                                                Minnesota v. API
                                 United States District Court for the District of Minnesota
                                    March 31, 2021, Decided; March 31, 2021, Filed
                                               Civil No. 20-1636 (JRT/HB)

Reporter
2021 U.S. Dist. LEXIS 62653 *; 51 ELR 20057; 2021 WL 1215656
                                                               Street, Richmond, VA 23219, for defendant American
STATE OF MINNESOTA, by its Attorney General Keith
                                                               Petroleum Institute.
Ellison, Plaintiff, v. AMERICAN PETROLEUM
INSTITUTE, EXXON MOBIL CORPORATION,                            Jerry W. Blackwell and Gurdip S. Atwal, BLACKWELL
EXXONMOBIL OIL CORPORATION, KOCH                               BURKE PA, 431 South Seventh Street, Suite 2500,
INDUSTRIES, INC., FLINT HILLS RESOURCES, LP,                   Minneapolis, MN 55415; Daniel J. Toal and Theodore V.
and FLINT HILLS RESOURCES PINE BEND,                           Wells, Jr., PAUL, WEISS, RIFKIND, WHARTON &
Defendants.                                                    GARRISON LLP, 1285 Avenue of the Americas, New
                                                               York, NY 10019; Justin Anderson, PAUL, WEISS,
Subsequent History: Stay granted by, Motion denied             RIFKIND, WHARTON & GARRISON LLP, 2001 K
by, Costs and fees proceeding at Minn. v. API, 2021            Street Northwest, Washington, DC 20006; and Patrick J.
U.S. Dist. LEXIS 157845, 2021 WL 3711072 (D. Minn.,            Conlon, EXXON MOBIL CORPORATION, 22777
Aug. 20, 2021)                                                 Springwoods Village Parkway, Suite N1.4B.388, Spring,
                                                               TX 77389, for defendants Exxon Mobil Corporation and
Affirmed by, Petition denied by, As moot Minnesota v.          ExxonMobil [*2] Oil Corporation.
API, 2023 U.S. App. LEXIS 7178 (8th Cir. Minn., Mar.
                                                               Michelle Schmit and Stephen Andrew Swedlow, QUINN
23, 2023)
                                                               EMANUEL URQUHART & SULLIVAN LLP, 191 North
                                                               Wacker Drive, Suite 2700, Chicago, IL 60606; William
Core Terms                                                     Anthony Burck, QUINN EMANUEL URQUHART &
                                                               SULLIVAN LLP, 1300 I Street Northwest, Suite 900,
Defendants', federal common law, climate, federal
                                                               Washington, DC 20005; Andrew M. Luger, JONES
jurisdiction, removal, federal enclaves, federal official,
                                                               DAY, 90 South Seventh Street, Suite 4950,
resources, state law, class action, campaign, state
                                                               Minneapolis, MN 55402; Debra Rose Belott, JONES
court, interstate, cause of action, federal law,
                                                               DAY, 51 Louisiana Avenue Northwest, Washington, DC
environmental, pollution, disputed, consumers, injuries,
                                                               20001; and Andrew W. Davis, Peter J. Schwingler, and
alleges, fossil, fuels, consumer protection, federal court,
                                                               Todd A. Noteboom, STINSON LLP, 50 South Sixth
fossil fuel, cases, navigable waters, removal statute,
                                                               Street, Suite 2600, Minneapolis, MN 55402, for
misinformation
                                                               defendants Koch Industries, Inc., Flint Hills Resources,
                                                               LP, and Flint Hills Resources Pine Bend.
Counsel: [*1] Elizabeth C. Kramer, Leigh K. Currie,
Oliver J. Larson, and Peter N. Surdo, OFFICE OF THE
                                                               Judges: JOHN R. TUNHEIM, Chief United States
MINNESOTA ATTORNEY GENERAL, 445 Minnesota
                                                               District Judge.
Street, Suite 1100, St. Paul, MN 55101; Matthew
Kendall Edling and Victor Marc Sher, SHER EDLING
                                                               Opinion by: JOHN R. TUNHEIM
LLP, 100 Montgomery Street, Suite 1410, San
Francisco, CA 94104, for plaintiff.
                                                               Opinion
Eric F. Swanson and Thomas H. Boyd, WINTHROP &
WEINSTINE PA, 225 South Sixth Street, Suite 3500,
Minneapolis, MN 55402; Andrew Gerald McBride,
MCGUIRE WOODS LLP, 2001 K Street Northwest,                    MEMORANDUM OPINION AND ORDER GRANTING
Suite 400, Washington, DC 20006; and Brian David               MOTION TO REMAND AND DENYING MOTION TO
Schmalzbach, MCGUIRE WOODS LLP, 800 East Canal                 STAY

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                                            2021 U.S. Dist. LEXIS 62653, *2

Plaintiff State of Minnesota ("the State") commenced           is the country's largest oil trade association, with over
this action in Minnesota state court against Defendants        600 members. (Id.) Defendant Exxon Mobil Corporation
American Petroleum Institute ("API"), Exxon Mobil              is a multinational, vertically integrated energy and
Corporation, ExxonMobil Oil Corporation, Koch                  chemicals company incorporated in New Jersey with a
Industries, Inc., Flint Hills Resources LP, and Flint Hills    principal place of business in Irving, Texas. (Id. ¶ 17.)
Resources Pine Bend asserting five causes of action for        Exxon Mobil Corporation is the parent company for
violations of Minnesota common law and consumer                numerous subsidiaries and has done business as or is
protection [*3] statutes. The State alleges that               the successor in liability to numerous entities. (Id.)
Defendants developed a widespread campaign to                  Defendant ExxonMobil Oil Corporation is a wholly
deceive the public about the dangers of fossil fuels and       owned subsidiary of Exxon Mobil Corporation,
to undermine the scientific consensus linking fossil fuel      incorporated [*5] in New York with a principal place of
emissions to climate change.                                   business in Irving, Texas. (Id. ¶ 19.) Defendant Koch
                                                               Industries, Inc. ("Koch") is an American multinational
Defendants removed the action to federal court on              corporation based in Wichita, Kansas. (Id. ¶ 28.) Koch is
seven independent grounds: federal common law;                 the parent company for numerous subsidiaries involved
disputed and substantial federal issues (the Grable            in the manufacturing, refining, and distribution of
doctrine); the federal officer removal statute; the Outer      petroleum products. (Id. ¶ 29.) Koch, as well as many of
Continental Shelf Lands Act; federal enclaves; the Class       its subsidiaries and affiliates, is registered to do
Action Fairness Act; and diversity. Plaintiff filed a Motion   business in Minnesota. (Id. ¶ 31.)
to Remand to state court. Because Defendants have not
met their burden of establishing that federal jurisdiction     Defendants Flint Hills Resources LP and Flint Hills
is warranted on any of the grounds presented, the Court        Resources Pine Bend, LLC, subsidiaries of Koch, are
will grant the State's Motion.                                 licensed distributors of petroleum products in
                                                               Minnesota. (Id.) Koch subsidiaries import crude oil from
Defendants Koch Industries, Inc., Flint Hills Resources        Canada to a terminal in Clearbrook, Minnesota, which is
LP, and Flint Hills Resources Pine Bend (collectively,         owned and operated by Koch. (Id. ¶ 32.) Oil is piped
"FHR Defendants") have also filed a Motion to Stay to          from the Clearbrook terminal to the Flint Hills Resources
await the Supreme Court's decision in BP p.l.c. v. Mayor       Pine Bend Refinery via other Koch-owned pipelines.
& City Council of Baltimore, No. 19-1189 (U.S.) and the        (Id.) Flint Hills Resources' Pine Bend Refinery refines
Court's determination on a Petition for Certiorari in          the majority of the motor gasoline consumed in
Chevron Corporation et al. v. City of Oakland, et al.          Minnesota. (Id. ¶ 37.)
(U.S., Jan. 8, 2021). Plaintiff opposes this motion.
Because the Court [*4] finds that the Baltimore case is
before the Supreme Court on a narrow procedural                A. Climate Change & Fossil Fuels
question not at issue here and the dispensation of the
petition in City of Oakland is too speculative to warrant a    Beginning in the 1950s, scientists—including many
stay in the instant proceedings, the Court will deny FHR       employed by the fossil fuel industry—began to
Defendants' Motion to Stay.                                    understand that burning fossil fuels released additional
                                                               greenhouse [*6]     gasses, drove up atmospheric
                                                               concentration, changed the carbon ratio in the
BACKGROUND                                                     atmosphere, and impacted global temperature and
                                                               climate. (Id. ¶¶ 55-59.) The State alleges that by 1965,
                                                               Defendants and their predecessors-in-interest were
I. FACTUAL BACKGROUND                                          aware that widely used fossil-fuel products would cause
                                                               global warming by the end of the century and would
The Attorney General brings this action pursuant to his        have wide-ranging and costly consequences. (Id. ¶ 60.)
authority under Minnesota Statutes Chapter 8 and his
parens patriae authority under state common law.               The State alleges that Defendants were at the forefront
(Notice of Removal, Ex. A ("Compl.") ¶ 12, July 27,            of scientific discourse about climate change and its
2020, Docket No. 1-1.)                                         relationship to fossil fuels, and were privy to research
                                                               developed by industry-employed scientists as well as
Defendant American Petroleum Institute (API) is a              independent        analyses,      including     research
nonprofit corporation registered to do business in             commissioned by Defendants and their colleagues. (Id.
Minnesota. (Id. ¶ 13.) API was established in 1919 and

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¶¶ 60-72.) By the 1980s, there was an established              Statutes § 325D.44; and (5) violations of the Minnesota
consensus among scientists and within the fossil fuel          False Statement in Advertising Act ("FSAA"), Minnesota
industry that atmospheric CO2 concentrations were              Statutes § 325F.67. (Id. ¶¶ 184-242.) The State seeks
reaching dangerous levels and would significantly              damages, civil penalties, disgorgement of profits made
impact the earth's climate, and international coalitions       as a result of unlawful conduct, and an order enjoining
had begun to emerge to address the issue. (Id. ¶ 73.)          Defendants from continued violations of the CFA,
                                                               DTPA, and FSAA. (Id. ¶¶ 244, 247-249.). The State also
                                                               requests that Defendants be compelled to disclose,
B. Defendants' Alleged Misinformation Campaign                 disseminate, and publish all research that they
                                                               conducted directly or indirectly relating to climate
The State alleges that, as the international and scientific    change, and fund a corrective climate change public
consensus coalesced around the relationship between            education campaign in Minnesota, administered and
fossil fuels emissions [*7] and climate change,                controlled by an independent [*9] third party. (Id. ¶¶
Defendants mounted an aggressive campaign to                   245-246).
undermine the public's perception of climate science.
(Id. ¶¶ 82-87.) Defendants allegedly spent millions of         On July 27, 2020, Defendants removed the action to
dollars on advertising and public relations campaigns, in      federal court. (Notice of Removal, July 27, 2020, Docket
Minnesota and elsewhere, to mislead consumers and              No. 1.) Defendants raise seven grounds for asserting
the general public about the scientific consensus around       federal jurisdiction over this matter: (1) the claims arise
climate change, the relationship between climate               under federal, not state, common law; (2) the action
change and their fossil-fuel products, and the urgency of      raises disputed and substantial federal issues that must
the dangers of climate change. (Id. ¶¶ 88-90). The State       be adjudicated in a federal forum (the "Grable
further alleges that Defendants funneled hundreds of           doctrine"); (3) removal is authorized by the federal
millions more dollars to organizations that publicly           officer removal statute, 28 U.S.C. § 1442(a)(1); (4)
promoted false statements about and denied the                 federal jurisdiction arises under the Outer Continental
existence of climate change, and paid scientists to            Shelf Lands Act ("OCSLA"), 43 U.S.C. § 1349(b); (5) the
produce misleading reports and materials, which                claims are based on conduct arising out of federal
Defendants' then cited and promoted to support their           enclaves; (6) the action is actually a class action
own fraudulent statements. (Id. ¶¶ 92-131.)                    governed by the Class Action Fairness Act ("CAFA"), 28
                                                               U.S.C. § 1332(d), 28 U.S.C. § 1453(b); and (7) the court
The State identifies two broad categories of alleged
                                                               has diversity jurisdiction under 28 U.S.C. § 1332(a), on
injuries caused by Defendants' misinformation
                                                               the theory that the real parties in interest are not the
campaign: (1) harms to consumers who relied on
                                                               State, but the citizens of Minnesota.
Defendants' false information, (id. ¶¶ 172-83); and (2)
environmental and social harms from increased                  On August 26, 2020, Minnesota moved to remand the
consumption of fossil fuels, including changes in              case to state court, arguing that the Court lacks subject
climate, damage to infrastructure, and worsening               matter jurisdiction because (a) neither federal common
public [*8] health, (id. ¶¶ 139-71), all of which, the State   law nor the Grable doctrine apply; (b) no federal
avers, could have been mitigated, but for Defendants'          enclaves are implicated; (c) the Outer Continental Shelf
campaign, (id. ¶¶ 172, 213-14).                                Lands Act is not implicated; (d) the [*10] federal officer
                                                               removal statute does not apply; (e) the suit is not a
                                                               "class action" and therefore not subject to the Class
II. PROCEDURAL HISTORY                                         Action Fairness Act; and (f) the suit was brought by the
                                                               State, which is not a citizen for purposes of diversity
Plaintiff commenced this action in Minnesota state court
                                                               jurisdiction. (Mot. Remand, Aug. 26, 2020, Docket No.
asserting five counts related to Defendants' alleged
                                                               32.) Defendants oppose this Motion.
misinformation campaign: (1) violations of the
Minnesota Consumer Fraud Act ("CFA"), Minnesota                The FHR Defendants filed a Motion to Stay, on January
Statutes § 325F.69; (2) failure to warn under common           15, 2021, arguing that staying proceedings until the
law theories of strict liability and negligence, against all   Supreme Court issues a decision in BP p.l.c. v. Mayor &
Defendants except API; (3) common law fraud and                City Council of Baltimore, and makes a determination on
misrepresentation; (4) violations of the Minnesota             the Petition for Certiorari in Chevron Corporation v. City
Deceptive Trade Practices Act ("DTPA"), Minnesota              of Oakland, et al., would conserve judicial resources


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and would not prejudice the State. (Mot. Stay, Jan. 15,        Ct. 921, 139 L. Ed. 2d 912 (1998)). The artful pleading
2021, Docket No. 56.) The State opposes staying the            doctrine allows removal where Congress either
Motion to Remand.                                              expressly provides for removal of a particular state law
                                                               action or where federal law completely preempts a
                                                               plaintiff's state-law claim. Rivet, 522 U.S. at 475.
DISCUSSION
                                                               Second, even where "federal [*12] law does not create
                                                               the cause of action, federal question jurisdiction may
I. MOTION TO REMAND                                            exist if [Plaintiff's] 'state-law claim necessarily raise[s] a
                                                               stated federal issue, actually disputed and substantial,
                                                               which a federal forum may entertain without disturbing
A. Standard of Review                                          any congressionally approved balance of federal and
                                                               state judicial responsibilities.'" Great Lakes Gas Trans.
"Federal courts are courts of limited jurisdiction,            Ltd. P'ship v. Essar Steel Minnesota LLC, 843 F.3d 325,
possessing only that power authorized by Constitution          331 (8th Cir. 2016) (quoting Grable & Sons Metal
and statute." Gunn v. Minton, 568 U.S. 251, 256, 133 S.        Prods., Inc. v. Darue Eng'g & Mfg., 545 U.S. 308, 314,
Ct. 1059, 185 L. Ed. 2d 72 (2013) (quotation omitted). A       125 S. Ct. 2363, 162 L. Ed. 2d 257 (2005)). The
defendant may remove a civil action to federal court           Supreme Court has recognized a "special and small
only if the action could have been filed originally in         category" of cases that fit into this framework, Empire
federal court. See 28 U.S.C. § 1441(a)-(b); Gore v.            Healthchoice Assur., Inc. v. McVeigh, 547 U.S. 677,
TWA, 210 F.3d 944, 948 (8th Cir. 2000). The party              699, 126 S. Ct. 2121, 165 L. Ed. 2d 131 (2006), "where
seeking removal bears the burden of demonstrating that         vindication of a right under state law necessarily turned
removal was proper, and "all [*11] doubts about federal        on some construction of federal law," Merrell Dow
jurisdiction must be resolved in favor of remand." Cent.       Pharmaceuticals, Inc. v. Thompson, 478 U.S. 804, 808-
Iowa Power Co-op. v. Midwest Indep. Transmission               09, 106 S. Ct. 3229, 92 L. Ed. 2d 650 (1986) (quotation
Sys. Operator, Inc., 561 F.3d 904, 912 (8th Cir. 2009).        omitted).
Remand is mandatory "at any time before final judgment
[if] it appears that the district court lacks subject matter
jurisdiction." 28 U.S.C. § 1447(c).                            B. Analysis


C. The Well-Pleaded Complaint Rule                             1. Federal Common Law

"[F]ederal jurisdiction exists only when a federal             Defendants' first asserted ground for removal is that the
question is presented on the face of the plaintiff's           Court has original jurisdiction because the State's claims
properly pleaded complaint. The rule makes the plaintiff       arise under federal common law and cannot be resolved
the master of the claim; he or she may avoid federal           under state law. Only a few limited areas of federal
jurisdiction by exclusive reliance on state law."              common law survived Erie R.R. Co. v. Tompkins, 304
Caterpillar Inc. v. Williams, 482 U.S. 386, 392, 107 S.        U.S. 64, 78, 58 S. Ct. 817, 82 L. Ed. 1188 (1938). In
Ct. 2425, 96 L. Ed. 2d 318 (1987) (citation omitted).          particular, courts have determined that federal common
Where a complaint pleads only state law claims, a              law applies where a federal decision is required "to
federal court does not have jurisdiction based on a            protect uniquely federal interests," Banco Nacional de
federal defense. See, e.g., Aetna Health Inc. v. Davila,       Cuba v. Sabbatino, 376 U.S. 398, 427, 84 S. Ct. 923, 11
542 U.S. 200, 207, 124 S. Ct. 2488, 159 L. Ed. 2d 312          L. Ed. 2d 804 (1964), or where "our federal system does
(2004).                                                        not permit the controversy to be resolved under state
                                                               law, either because the authority and duties of the
There are two relevant exceptions to the well-pleaded          United States as sovereign are intimately involved
complaint rule. First, "[w]hen a plaintiff has artfully        or [*13] because the interstate or international nature of
pleaded in a manner that avoids an element of the tort         the controversy makes it inappropriate for state law to
that rests on federal law, the court 'may uphold removal       control." Texas Indus., Inc. v. Radcliff Materials, Inc.,
even though no federal question appears on the face of         451 U.S. 630, 641, 101 S. Ct. 2061, 68 L. Ed. 2d 500
plaintiff's complaint.'" Gore, 210 F.3d at 950 (quoting        (1981). Defendants argue that the State's Complaint
Rivet v. Regions Bank of La., 522 U.S. 470, 475, 118 S.        necessarily arises under three areas controlled by

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federal common law: interstate pollution, navigable                 the fact that the State alleges no causes of action
waters, and foreign affairs. Defendants further argue               related to pollution regulations or disputes between
that federal jurisdiction is proper because state law               states over emissions standards, Defendants argue that
cannot apply to the claims alleged.                                 the State has not pleaded sufficient facts to support its
                                                                    consumer protection claims, and therefore the complaint
                                                                    must actually establish a cause of action for interstate
i. Interstate Pollution                                             pollution under the federal common law.

First, Defendants argue that the State's claims are                 To adopt Defendants' theory, the Court would have to
premised upon interstate pollution because the State's              weave a new claim for interstate pollution out of the
alleged injuries stem from climate change impacts,                  threads of the Complaint's statement of injuries. This is
which are caused by global emissions and are                        a bridge too far. Because Defendants do not plausibly
inherently transboundary in nature. The Supreme Court               identify any [*15] actual disputes related to interstate
has specifically recognized federal common law in the               pollution that must be resolved to reach the merits of the
arena of transboundary pollution and environmental                  State's pleaded claims, federal common law does not
protection, see Am. Elec. Power Co. v. Connecticut, 564             establish a basis for jurisdiction on this ground.
U.S. 410, 421, 131 S. Ct. 2527, 180 L. Ed. 2d 435
(2011) ("When we deal with air and water in their
ambient or interstate aspects, there is federal common              ii. Navigable Waters
law."), but has also held that this area of federal
                                                                    Similarly, Defendants argue that federal common law
common law has largely (though not entirely) been
                                                                    must govern because the State seeks remedies for
displaced by environmental statutes, including the Clean
                                                                    injuries related to flooding, damage, and contamination
Air Act and Clean Water Act, see e.g., id. at 424 (finding
                                                                    of navigable waters. Again, the cases that Defendants
that the "Clean Air Act and the EPA actions it authorizes
                                                                    rely on establish that federal common law is required to
displace any federal common-law [*14] right to seek
                                                                    resolve issues not present here; in particular, to mediate
abatement of carbon-dioxide emissions from fossil-fuel
                                                                    conflict between the states or between states and the
fired powerplants"); Int'l Paper v. Ouellette, 479 U.S.
481, 497, 107 S. Ct. 805, 93 L. Ed. 2d 883 (1987) ("The             federal government related to interstate water bodies.2
CWA precludes only those suits that may require                     Although flooding is an alleged injury related to the
standards of effluent control that are incompatible with            consumer protection claims, the State's action does not
those established by the procedures set forth in the                purport to regulate, apportion, or mediate other states'
Act.").                                                             or agencies' relationships to navigable waters, and the
                                                                    federal common law of navigable waters is not
Defendants cite a number of cases to support their                  necessarily raised here.
argument that federal common law should govern;
however, in each of these precedential cases, a cause
of action for interstate pollution was alleged on the face          iii. Foreign Affairs
of the complaint, which is not the case here.1 Despite
                                                                    Third, Defendants argue that the State's claims are of
                                                                    an inherently international nature because the regulation
                                                                    of energy production and trade has important foreign
1 See,  AEP, 564 U.S. at 415 (federal common law public
nuisance claims against carbon-dioxide emitters seeking cap
on emissions); Illinois v. Milwaukee, 406 U.S. 91, 93, 92 S. Ct.    upon federal common law because the action was originally
1385, 31 L. Ed. 2d 712 (1972), superseded by statute (cause         filed in federal court.
of action for pollution of Lake Michigan); Ouellette, 479 U.S. at
483-84 (1987) (common law nuisance for discharges into              2 See Hinderlider v. La Plata River & Cherry Creek Ditch Co.,

interstate lake); Native Village of Kivalina v. ExxonMobil Corp.,   304 U.S. 92, 110, 58 S. Ct. 803, 82 L. Ed. 1202 (1938)
696 F.3d 849, 853 (2012) (federal common law public                 (apportionment of water of an interstate stream between two
nuisance claims against for greenhouse gas emissions and            states is a question of federal common law); Milwaukee I, 406
climate change injuries); City of New York v. BP p.l.c., 325 F.     U.S. at 105 n.6 (conflict over pollution discharged by one state
Supp. 3d 466, 470 (S.D.N.Y. 2018) (public nuisance, private         into water body that bordered four states); Michigan v. United
nuisance, and trespass claims related to sea level rise,            States Army Corps of Eng'rs, 667 F.3d 765, 767-68 (7th Cir.
increased flooding, and temperature increases). However, City       2011) (action related to federal management of interstate
of New York does not provide a framework for removal based          waterway).

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policy implications and is accordingly within the              it "provide[s] the exclusive cause of action for the claim
exclusive purview [*16]      of the federal courts.            asserted and also set[s] forth procedures and remedies
Defendants claim that, because fossil fuels are                governing that cause of action[,]" Beneficial Nat'l Bank
strategically important domestic and international             v. Anderson, 539 U.S. 1, 8, 123 S. Ct. 2058, 156 L. Ed.
resources, the State's case is intended to have                2d 1 (2003), and the statute's pre-emptive force is "so
significant impacts on United States foreign policy. The       extraordinary that it converts an ordinary state common-
Court declines Defendants' invitation to interpret this        law complaint into one stating a federal claim for [*18]
well-pleaded consumer protection action as a wholesale         purposes of the well-pleaded complaint rule."
attack on all features of global fossil fuel extraction,       Caterpillar, Inc., 482 U.S. at 393 (quotation omitted).
production, and policy.                                        Complete preemption is distinct from ordinary
                                                               preemption, which provides a defense against state law
                                                               claims, but does not establish a pathway for federal
iv. State Law                                                  jurisdiction. See Johnson v. MFA Petroleum Co., 701
                                                               F.3d 243, 247 (8th Cir. 2012).
Finally, Defendants contend that federal jurisdiction is
proper because state law cannot control claims that            Defendants suggest that complete preemption is not
seek to regulate the interstate and international              required for removal because the State's claims
production and sale of fossil fuels. The State does,           inherently arise under federal common law, and artful
however, have a clear interest in preventing fraud and         pleading that disguises a federal cause of action is a
deception and ensuring that citizens have access to            separate and distinct basis for removal than complete
accurate information in the consumer marketplace. See          preemption. However, neither the Eighth Circuit nor the
e.g., Edenfield v. Fane, 507 U.S. 761, 768-69, 113 S.          Supreme Court has found that implied federal common
Ct. 1792, 123 L. Ed. 2d 543 (1993). Because the State's        law claims establish a separate and independent
claims fall squarely within that area of state interest, the   exception to the well-pleaded complaint rule. To the
claims do not open the door for substantive challenges         extent that the cases Defendants cite carve out a third
to Minnesota's (or any other state's) emissions or water       exception, this approach lacks support in this circuit and
quality standards. Neither do the claims alleged require       is contrary to Supreme Court precedent establishing the
the Court to assess federal management of navigable            specific and defined parameters for federal jurisdiction
waters or weigh any issues of foreign policy.                  over exclusively state law claims. See Caterpillar, 482
Accordingly,      federal    common       law      is    not   U.S. at 392-94; Rivet, 522 U.S. at 474-75.
applicable. [*17]
                                                               Further, in each of the cases Defendants cite to support
                                                               this argument, plaintiffs' precise claims were explicitly
v. Federal Common Law as a Basis for Removal                   connected to or relied upon interpretations of a discrete
                                                               area of federal law.3 Here, Defendants proffer [*19]
Even if the Court could conjure a separate claim arising
from the State's alleged environmental injuries that
would fall within an area of federal common law, it still
                                                               3 See In re Otter Tail Power Co., 116 F.3d 1207, 1215 (8th Cir.
may not confer jurisdiction. Defendants argue that
federal common law provides a basis for federal                1997) (state law claims involved tribal regulatory authority and
jurisdiction because (1) courts have recognized an             raised important questions of federal law requiring
                                                               interpretation of treaties, federal statutes, and the federal
exception to the well-pleaded complaint rule where
                                                               common law of inherent tribal sovereignty); Sam L. Majors
plaintiff's putative state law claims arise under federal
                                                               Jewelers v. ABX, Inc., 117 F.3d 922, 928. (5th Cir. 1997)
common law, and (2) federal common law presents a              (claims arising out of "clearly established federal common law
substantial federal question for the purposes of               cause of action against air carriers for lost shipments.");
asserting jurisdiction under the Grable doctrine. The          Treiber & Straub, Inc. v. UPS, Inc., 474 F.3d 379, 384 (7th Cir.
Court will address the Grable doctrine in Section 2.           2007) (same); Caudill v. Blue Cross and Blue Shield of N.C.,
                                                               999 F.2d 74, 76-77 (4th Cir. 1993) (applying federal
As noted above, the Supreme Court has established              jurisdiction to state-law claims pursuant to Federal Employees
two exceptions to the well-pleaded complaint rule:             Health Benefits Act), abrogated by Empire HealthChoice
express provision of Congress and complete                     Assur. Inc. v. McVeigh, 547 U.S. 677, 693, 126 S. Ct. 2121,
preemption. Rivet, 522 U.S. at 475. A federal statute          165 L. Ed. 2d 131 (2006); Battle v. Seibels Bruce Ins. Co., 288
completely preempts artfully pleaded state law claims if       F.3d 596, 607 (claims requiring interpretation of insurance
                                                               policies issued pursuant to the National Flood Insurance

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multiple theories for how Plaintiff's claims might be         treaties, nor does it ask a court to review federal
related to federal common law but as noted above, each        agencies' management of interstate waters. The
of these theories lacks a substantial relationship to the     Complaint only requires a court to determine whether
actual claims alleged and would require the Court to          Defendants engaged in a misinformation campaign that
invent a separate cause of action. That is beyond the         ran afoul of Minnesota's consumer protection statutes
Court's discretion and is not a sound foundation for          and common law, and whether the State can
asserting federal jurisdiction.                               demonstrate that those alleged violations of discrete
                                                              state laws caused [*21] harm to Minnesota and
Because the Court finds that the claims alleged by the        Minnesota consumers.
State do not arise under federal common law and
Defendants do not plausibly allege that the claims are        With regard to Congress's careful balance between
completely preempted, federal common law is not a             energy and environmental priorities, Defendants do not
sufficient independent basis for removal in this manner.      appear to argue that Congress sanctioned, directed, or
                                                              participated in the alleged scheme to defraud the public.
                                                              Accordingly, determining whether Defendants engaged
2. Grable Jurisdiction                                        in a misinformation campaign in violation of Minnesota
                                                              law does not require a court to second-guess
Defendants' second argument for removal is that this          Congress's priorities regarding energy production and
action necessarily raises and requires the resolution of      environmental protection.
substantial questions of federal law. Federal jurisdiction
may be asserted over a state-law claim if a federal issue     Defendants further argue that the Complaint necessarily
is: "(1) necessarily raised, (2) actually disputed, (3)       asserts federal claims to the extent that it alleges that
substantial, and (4) capable of resolution in federal court   federal policymakers would have adopted different
without disrupting the federal-state balance approved by      energy and climate policies but-for Defendants' alleged
Congress." Gunn, 568 U.S. at 258 (citing Grable & Sons        misrepresentations. However, the Complaint includes
Metal Products, Inc. v. Darue Eng. & Mf'g, 545 U.S. 308,      policymakers as a category of individuals who relied on
313-14, 125 S. Ct. 2363, 162 L. Ed. 2d 257 (2005)). All       Defendants' allegedly fraudulent misrepresentations in
four criteria, often referred to as the "Grable doctrine,"    deciding to continue to purchase and use Defendants'
must be met to exercise federal jurisdiction. Id.             fossil-fuel products. It does not argue that any particular
                                                              policies or regulatory decisions would be different but-
                                                              for Defendants' actions, and therefore does not
i. Necessarily [*20] Raised                                   implicate Congress' careful regulatory framework.

Defendants offer various avenues for the Court to find        As to questions of federalism, Defendants allege that
that the claims necessarily raise disputed federal issues,    the State [*22] seeks to supplant the federal
including foreign policy considerations, injuries to and      government's authority over federal questions and
management of the navigable waters of the United              requires the Court to consider the constitutional division
States, and transboundary pollution. Defendants also          of authority between the federal government and the
assert that the claims implicate Congress's careful           states. This gravely overstates the State's case, and it is
policymaking balance between energy production and            unclear to the Court how a state court adjudicating a set
environmental protection, Defendants' alleged influence       of claims that fall well within a state's consumer
over policymakers' decisions, and constitutional              protection interest will necessarily challenge the
questions of federalism.                                      foundations of our system of government.

The Court has already rejected Defendants' arguments          Defendants also claim that proving the specific elements
that the Complaint necessarily raises issues related to       of the causes of action will require a court to wade into
management of navigable waters, transboundary                 disputed and substantial federal questions, including
pollution, or foreign policy. Contrary to Defendants'         whether fossil fuels are unreasonably dangerous, and
assertions, the Complaint does not require interpretation     whether Defendants actually misrepresented the
of any federal environmental regulations or climate           dangers of climate change and the urgency required to
                                                              mitigate climate change. Again, Defendants overstate
Program governed exclusively by federal common law);          both the State's claims and what is required to prove
Newton v. Capital Assur. Co., 245 F.3d 1306, 1308-09 (11th
Cir. 2001) (same).

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them under Minnesota law.4                                            State here does not bring claims capable of addressing
                                                                      the panoply of social, environmental, and economic
Although Defendants have identified ways in which the                 harms posed by climate change. The State's Complaint,
State's claims may be tangentially related to federal law,            far more simply, seeks to address one particular feature
"it takes more than a federal element to open the                     of    the    broader     problem—Defendants'       alleged
'arising under' door" to federal jurisdiction. Empire                 misinformation campaign. The State's case is
Healthchoice, 547 U.S. at 701 (quoting Grable, 545 U.S.               constrained by the causes of action asserted in its
at 313). The federal issues that Defendants offer are not             Complaint. Accordingly, the State must prove that its
necessarily [*23] raised by the Complaint's state-law                 purported injuries are related to Defendants' alleged
claims, and vindication of the State's rights under state             violations of state laws, and any judicial remedies will
consumer protection law does not "necessarily turn on                 likely be limited and responsive to those specific claims.
some construction of federal law." Franchise Tax Bd.,                 As a result, this action does not present [*24] the
463 U.S. at 9.                                                        doomsday scenario that Defendants present, and
                                                                      neither does it necessarily raise the disputed and
                                                                      substantial issues of federal law that are required for the
ii. Actually Disputed and Substantial                                 Court to assert jurisdiction pursuant to Grable.

Having found that the State's action does not
necessarily raise the federal issues offered by                       iii. Federal/State Balance
Defendants, the Court need not proceed to address the
other Grable factors. However, the Court notes that,                  Moreover, the Court finds that its efforts to exercise
while the complex features of global climate change                   jurisdiction over this case may disrupt the balance
certainly present many issues of great federal                        between federal and state courts. In this case, the state
significance that are both disputed and substantial, the              court will not need to reach any question of federal law
                                                                      to litigate these claims, nor will the state court's holding
                                                                      "stand as binding precedent for any future [consumer
4 It is not necessary for the Court to weigh Minnesota's ability      fraud or climate-change injury] claim[.]" Gunn, 568 U.S.
to prove the elements of the state law claims here; it is             264. The State asks the court to determine only whether
Defendants' burden to demonstrate that these claims warrant           Defendants are liable for misleading the public and
federal jurisdiction. Nevertheless, the Court notes that              engaging in consumer fraud under state law. For the
adjudicating the State's failure to warn claims do not require a      federal court to assert jurisdiction over these areas of
court to supplant its judgment for Congress's regarding the           traditional state jurisdiction may disrupt the balance
safety and use of a product, as Defendants allege. While the          between state and federal judicial authority.
danger of a product is raised in a failure to warn action, it is in
the context of whether a warning was adequate under state             Ultimately, Defendants question whether there can be a
law, and does not require a court to determine whether the            state law action for alleged climate change injuries at all.
product should have been manufactured, sold, and consumed             The Court does not disagree that assessing this type of
generally. See, e.g., Glorvigen v. Cirrus Design Corp., 816           injury raises broad and complicated questions.
N.W.2d 572, 582 (Minn. 2012) (explaining that the duty to
                                                                      However, allegations of a complex injury do not
warn consists of two duties: (1) to give adequate instructions
                                                                      create [*25] a pathway for federal jurisdiction when the
for safe use; and (2) to warn of dangers inherent in improper
                                                                      actual causes of action arise only under state law.
use); Frey v. Montgomery Ward & Co., 258 N.W.2d 782, 788
(Minn. 1977) (stating the rule that, where a manufacturer has         Accepting Defendants' interpretation of Grable
"actual or constructive knowledge of danger to users, the . . .       jurisdiction would require the Court to make an
the manufacturer has a duty to warn of such dangers."); Gray          exceptional logical leap and interpret this Complaint as
v. Badger Mining Corp., 676 N.W.2d 268, 274 (Minn. 2004)              a full-scale assault on all aspects of fossil fuel
(explaining conditions of legal adequacy for warnings). As to         extraction, production, distribution, and use. That is not
the State's other statutory claims under Minnesota's various          what the Complaint asserts on its face, and it is not
consumer protection and trade practices statutes, Defendants'         within the Court's authority to rewrite the Complaint and
own explanations of the law demonstrate that the State's              make it so.
claims only require proving that Defendants engaged in
misinformation, deception, fraud, or otherwise unfair practices
prohibited by state law; the claims alleged do not require the
                                                                      3. Federal Officer Removal Statute
Court to make determinations about fossil fuels or federal
energy policy in general.

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Defendants' next proffered removal ground is the federal     (discussing the 2011 amendment). As a result of the
officer removal statute, 28 U.S.C. § 1442(a)(1), which       amendment, all that is required is that the case relates
requires that the removing defendant plausibly allege        to an official act. For example, the Third Circuit has
that (1) the defendant is a "person" under the statute,      found that the condition is met so long as Defendants'
which is undisputed here; (2) the defendant was "acting      conduct has a "connection" or "association" with a
under" the direction of a federal officer when it engaged    governmental act. In re Commonwealth's Motion, 790
in the allegedly tortious conduct; (3) there is a causal     F.3d at 471. However, Defendants are still required to
connection between the defendant's actions and the           demonstrate that the act for which they are being sued
official authority; and (4) the defendant raises a           occurred at least in part "because of what they were
"colorable" federal defense. See; Jacks v. Meridian Res.     asked to do by the Government." Graves, 447 F. Supp.
Co., 701 F.3d 1224, 1230 (8th Cir. 2012). Relevant here      3d at 913. (emphasis in original) (quoting Isaacson v.
is the federal government contractor defense, which          Dow Chem. Co., 517 F.3d 129, 137 (2d Cir. 2008).
provides that suits against defendants acting on behalf
of federal officers "may be removed despite the              Defendants argue that their fossil fuel activities satisfy
nonfederal [*26] cast of the complaint; the federal-         the low threshold of connection to or association with
question element is met if the defense depends on            actions directed by the federal government. However,
federal law[.]" Jefferson County v. Acker, 527 U.S. 423,     Defendants do not claim that any federal officer directed
431, 119 S. Ct. 2069, 144 L. Ed. 2d 408 (1999).              their respective marketing or sales activities, consumer-
                                                             facing outreach, or even their climate-related data
                                                             collection. Accordingly, despite the low bar, there does
i. "Acting Under"                                            not appear to be any direction from or connection to the
                                                             federal government related to the specific claims alleged
Defendants first argue that they were "acting under" the     here.
direction of federal officers in the production of fossil
fuels and the development of specialized military
products in support of multiple war efforts since at least   iii. Colorable Defense
World War II. Second, Defendants argue that they have
worked under federal direction to extract and produce        Although the lack of connection to a federal [*28] officer
critical energy resources for the nation, including          alone is fatal to federal officer jurisdiction, the Court
exploration and development of resources in the Outer        notes that the fourth prong also fails. The federal officer
Continental Shelf and as operators and lessees of the        removal statute requires that the defendant identify a
Strategic Petroleum Reserve infrastructure. The Court        federal defense to the claim brought against them in
finds that these are plausible ways in which Defendants      state court, but a defendant need only demonstrate that
may have acted under the direction of federal officers,      its defense is "colorable," not "clearly sustainable."
and because the Court lacks information about whether        Jacks v. Meridian Res. Co., LLC, 701 F.3d 1224, 1235
Defendants' alleged tortious conduct occurred when           (8th Cir. 2012). "For a defense to be considered
Defendants were acting under federal officer control, the    colorable, it need only be plausible; § 1442(a)(1) does
Court will proceed with the analysis.                        not require a court to hold that a defense will be
                                                             successful before removal is appropriate." United States
                                                             v. Todd, 245 F.3d 691, 693 (8th Cir. 2001).
ii. Connection to Claims
                                                             In a footnote, Defendants claim a number of defenses,
Historically, courts have considered the causal              including preemption under the Clean Air Act, the
connection requirement to be a low hurdle. See, e.g.,        Commerce Clause, the First Amendment, and the
Graves v. 3M Co., 447 F. Supp. 3d 908, 913 (D. Minn.         foreign affairs doctrine, although they do not describe
2020) (citing Isaacson v. Dow Chem. Co., 517 F.3d 129,       any particular defense or why it justifies application of
137 (2d Cir. 2008). Indeed, in 2011, Congress amended        the federal officer removal statute. As discussed with
the statute to encompass suits "for or [*27] relating to     regard to the Grable doctrine and federal common law,
any act under color of [federal] office." 28 U.S.C. §        the State does not raise claims related to environmental
1442(a)(1) (2011) (emphasis added); see also In re           regulation or foreign policy, therefore the Clean Air Act
Commonwealth's Motion to Appoint Counsel Against or          and foreign affairs doctrine do not pose colorable
Directed to Def. Ass'n of Philadelphia, 790 F.3d 457,        defenses. As to the Commerce Clause and the First
471 (3d Cir. 2015), as amended (June 16, 2015)               Amendment, Defendants do not explain exactly how

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these defenses relate either to the claims or actions          and quite unlikely and asks the Court to assume both
taken at the direction of a foreign officer. Because [*29]     the outcome of the suit in state court and the highest
it is the Defendants' burden to demonstrate a colorable        damages award possible. This type of speculation,
defense now, and not "the mere possibility of some             however, does not establish a stable ground for
future evidence as the basis for removal," Graves, 447         supporting removal, and the Court finds that it lacks
F. Supp. 3d at 916 n.8, Defendants have not met this           jurisdiction under OCSLA.
hurdle to federal jurisdiction.

Defendants have failed to satisfy three of the four            5. Federal Enclave
elements of the federal officer removal statute, and the
Court cannot, therefore, exercise jurisdiction on this         Defendants next argue that federal jurisdiction [*31] is
basis.                                                         appropriate because the action implicates federal
                                                               enclaves in four distinct ways: (1) by targeting the
                                                               alleged impacts of Defendants' oil and gas operations,
4. Outer Continental Shelf Lands Act                           the Complaint necessarily sweeps in operations that
                                                               occur on military bases and other federal enclaves; (2)
The Outer Continental Shelf Lands Act ("OCSLA")                the Complaint's allegations of climate change injuries—
establishes original jurisdiction in federal district courts   including extreme heat, crop damage, drought, flooding,
over "cases and controversies arising out of, or in            infrastructural damage, and disease—necessarily
connection with (A) any operation conducted on the             impact federal enclaves in Minnesota, including Fort
outer Continental Shelf, or which involves rights to such      Snelling Military Reservation, Federal Correctional
minerals, or (B) the cancellation, suspension, or              Institute Sandstone, and Cass Lake Indian Hospital5 ;
termination of a lease or permit under this subchapter."       (3) the claims arise out of sales of certain Defendants'
43 U.S.C. § 1349(b)(1). The outer Continental Shelf            products within Minnesota, which include sales on
("OCS") includes all submerged lands lying seaward             unspecified federal enclaves; and (4) to the extent the
that are subject to the jurisdiction and control of the        Complaint asserts that federal policymakers would have
United States, but are outside of any particular State. 43     adopted different energy and climate policies absent
U.S.C. §§ 1301(a), (f), 1331(a). The Fifth Circuit has         Defendants' alleged misrepresentations, the Complaint
interpreted the jurisdictional grant under OCSLA               touches on conduct occurring in the District of
broadly, only requiring a "but-for connection" between         Columbia, a federal enclave.
the cause of the action and OCS operation. In re
Deepwater Horizon, 745 F.3d 157, 163 (5th Cir. 2014).          "A federal enclave is created when a state cedes
                                                               jurisdiction over land within its borders to the federal
Despite Defendants' argument that their [*30] various          government and Congress accepts that cession. These
activities on the OCS necessarily account for a                enclaves include numerous military bases [and] [*32]
significant portion of the conduct attributable to alleged     federal facilities." Allison v. Boeing Laser Tech. Servs.,
climate change injuries in Minnesota, the State's claims       689 F.3d 1234, 1235 (10th Cir. 2012). The constitutional
are rooted not in the Defendants' fossil fuel production,      grant of legislative power to Congress over federal
but in its alleged misinformation campaign. Further,           enclaves "bars state regulation without specific
Defendants offer no basis for the Court to conclude that       congressional action." W. River Elec. Ass'n, Inc. v. Black
Minnesota's alleged injuries would not have occurred
but-for the Defendants' extraction activities on the OCS.
Accord Mayor and City Council of Baltimore v. BP, 388          5 To  establish a federal enclave, (1) the United States must
F. Supp. 3d 538, 566-67 (D. Md. 2019) (rejecting federal
                                                               acquire land in a state for one of the purposes mentioned in
jurisdiction under OCSLA based on lack of evidence of          the Enclave Clause, (2) the state legislature must consent to
but-for causation).                                            the jurisdiction of the federal government, and (3) the federal
                                                               government must accept the jurisdiction by filing a notice of
Defendants also argue that, because the Complaint              acceptance with the state governor or in another manner
seeks potentially billions of dollars in damages,              prescribed by the laws of the state. See 40 U.S.C. § 3112(b);
restitution, and equitable relief, this action could           Paul v. United States, 371 U.S. 245, 264, 83 S. Ct. 426, 9 L.
substantially discourage production on the OCS and             Ed. 2d 292 (1963); see also U.S. Const. Art. I, § 8, cl. 17.
undermine the viability of the federal government's            Defendants state that these sites in Minnesota are federal
leasing program. This argument is highly speculative           enclaves, but do not provide documentation to satisfy the
                                                               criteria.

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Hills Power & Light Co., 918 F.2d 713, 716 (8th Cir.               Court requires a more substantive and explicit
1990) (quoting Paul v. United States, 371 U.S. 245, 263,           relationship between the actual claims alleged and a
83 S. Ct. 426, 9 L. Ed. 2d 292 (1963)).                            specific federal enclave to exercise jurisdiction.

"[I]n enclave jurisdiction, the determinative fact is the
precise location of the events giving rise to the claims           6. Class Action Fairness Act
for relief." Akin v. Big Three Indus., Inc., 851 F. Supp.
819, 824 (E.D. Tex. 1994) (emphasis omitted). When an              Defendants also raise the possibility of jurisdiction under
alleged injury has occurred both on and off the federal            CAFA, 28 U.S.C. § 1453(b), on the theory that the case
enclave, federal jurisdiction is proper if the federal             is actually a class action in which the Attorney General
enclave was the locus in which the tort claim arose. See           has brought a representative suit on behalf of a group of
Sultan v. 3m Co., No. 20-1747, 2020 U.S. Dist. LEXIS               similarly situated persons. CAFA expands federal
225863, 2020 WL 7055576, at *8 (D. Minn. Dec. 2,                   diversity jurisdiction to allow for minimal diversity in
2020). Even if some of the injuries occur inside while             class actions filed under Federal Rule of Civil Procedure
some occur outside of the federal enclave, the federal             23 or similar state statute or rule of judicial procedure,
interest in exercising federal jurisdiction over the               28 U.S.C. § 1332(d)(1)(B), in which more than $5 million
resultant claims decreases. See Akin, 851 F. Supp. at              is in controversy and there are greater than 100
825 n.4.                                                           members of proposed plaintiff classes. Id. § 1332(d)(5),
                                                                   (6); Pirozzi v. Massage Envy Franchising, Inc., 938 F.3d
The State specifically disclaims "injuries arising on              981, 983 (8th Cir. 2019). Defendants argue that, while
federal property and those that arose from Defendants'             this case is not styled as a class action, because it is
provision of fossil fuel products to the federal                   brought in a representative capacity and seeks
government for military and national defense purposes."            restitution and damages on behalf of many potential
(Compl. ¶ 9 n.4.) Defendants contend that this                     plaintiffs, it resembles a purported class action and
disclaimer is ineffective because it offers no method to           should therefore be considered a class action under
isolate injuries that arose on federal property.6 However,         CAFA.
the burden is on Defendants to demonstrate that federal
enclaves are the locus in which the claims arose, and              However liberally interpreted, federal jurisdiction [*34]
they have [*33] not done so. See Sultan, 2020 U.S.                 under CAFA is limited to civil actions either filed under
Dist. LEXIS 225863, 2020 WL 7055576, at *4. While the              Rule 23 or brought under a similar state mechanism that
various injuries alleged in the complaint may be felt on           authorizes class actions. In the Eighth Circuit, an action
federal enclaves as much as they are felt anywhere, the            can be interpreted as a class action subject to CAFA
                                                                   even where Plaintiff has omitted reference to the
                                                                   authorizing procedural rule or statute, but only where
                                                                   the state class action rule actually governs the action.
6 Further,   Defendants counter that the Attorney General          See Williams v. Emplrs. Mut. Cas. Co., 845 F.3d 891,
cannot sidestep federal jurisdiction by disclaiming damages for
                                                                   901 (8th Cir. 2017). Defendants have identified no state
events that took place in federal enclaves. However, both of
                                                                   statute or procedural rule that would classify a suit of
the cases that Defendants cite for this proposition, Fung v.
Abex Corp., 816 F. Supp. 569, 571 (N.D. Cal. 1992) and
                                                                   this nature as a class action.7 Further, as the State
Richard v. Martin, 2012 U.S. Dist. LEXIS 23759, 2012 WL
13081667, at *2 (D.N.M. Feb. 24, 2012), involve personal
injury claims in which the injuries largely occurred on federal    7 The cases Defendants cite do not support their argument that

enclaves. In Fung, the injuries involved asbestos exposure on      the present action should, or even could, be subject to CAFA.
submarines that were supervised by a contractor, but that          Both Addison Automatics, Inc. v. Hartford Cas. Ins. Co., 731
were regularly docked at United States naval bases (there, the     F.3d 740 (7th Cir. 2013) and Williams, 845 F.3d 891 are cases
Court found the Federal Officer Removal Statute to be of           in which representatives of certified classes attempted to
greater significance than the enclaves); in Richards, the          make separate claims against the same defendants as
injuries largely occurred on White Sands Missile Range. Here,      individuals. In both of those cases, the Courts found that
Defendants do not claim that any particular injury occurred on     omitting reference to the existing class or applicable state
a federal enclave; they merely allege that the State cannot        statute did not allow the defendant to dodge CAFA jurisdiction.
effectively disclaim injuries on enclaves. Because neither party   Neither of these cases dealt with an action brought by an
has identified injuries that specifically occurred on a federal    Attorney General on behalf of a state where no class action
enclave, these cases do not support Defendants' argument           has been claimed or certified. The case that Defendants
that federal enclave jurisdiction is proper here.                  characterize as most "instructive," Song v. Charter Comm'ns.

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points out, every court to have addressed the                        other court has applied CAFA to a State Attorney
application of CAFA to actions brought by a State in                 General's representative action in this way, and
parens patriae under state common law or consumer                    because Defendants have not demonstrated that this
protection statutes has found that CAFA is not                       action was brought under or would meet the standards
applicable.8 Because neither the Eighth Circuit nor any              of either Rule 23 or any state rule for class certification,
                                                                     CAFA is not applicable here.

Inc., is an order on a Motion to Compel Arbitration and Stay
Proceedings that does not substantively deal with the CAFA           7. Diversity Jurisdiction
issue at all, except to include a short footnote noting that
Plaintiff opposed CAFA jurisdiction, but the Court felt that the     Finally, Defendants argue that the Court has diversity
jurisdictional determination was within its discretion. No. 17-      jurisdiction because the real parties in interest are the
325, 2017 U.S. Dist. LEXIS 45972, 2017 WL 1149286, at *1             citizens of Minnesota, who are completely diverse from
n.1 (S.D. Cal. Mar. 28, 2017). Dart Cherokee Basin Op. Co.
                                                                     Defendants, and the amount in controversy
LLC v. Owens deals with a case filed as a class action in state
                                                                     undisputedly exceeds $75,000. Defendants argue that
court, where the dispute was about whether the amount in
                                                                     the Attorney General seeks compensation for alleged
controversy met the $5 million CAFA threshold. 574 U.S. 81,
85, 135 S. Ct. 547, 190 L. Ed. 2d 495 (2014). Defendants also        injuries related only to Minnesota consumers, not the
cite Missouri ex rel. Koster v. Portfolio Recovery Assocs., Inc.,    State in general, and that the harm alleged is only to
for the proposition that the Eighth Circuit has not weighed in       consumers who were influenced by the purported
on the issue of CAFA application to parens [*35] patriae             misinformation campaign, and thus only applies to a
actions. 686 F. Supp. 2d 942, 944-47 (E.D. Mo. 2010).                subset of identifiable Minnesotans.
However, the court in Koster found that a request for treble
damages did not convert a parens patriae action into either a        A state "may act as the representative of its citizens in
"mass action" or a "class action" under CAFA and declined to         original actions where the injury alleged affects the
exercise federal jurisdiction. Id.                                   general population of a State in a substantial way."
                                                                     Maryland v. Louisiana, 451 U.S. 725, 737, 101 S. Ct.
8 See Mississippi ex rel. Hood v. AU Optronics Corp., 571 U.S.
                                                                     2114, 68 L. Ed. 2d 576 (1981). "There is no question
161, 164, 134 S. Ct. 736, 187 L. Ed. 2d 654 (2014) (parens           that a State is not a 'citizen' for purposes of the diversity
patriae suit is not a "mass action" under CAFA); Hawaii ex rel.
                                                                     jurisdiction." Moor v. Alameda Cty., 411 U.S. 693, 717,
Louie v. HSBC Bank Nevada, 761 F.3d 1027, 1040 (9th Cir.
                                                                     93 S. Ct. 1785, 36 L. Ed. 2d 596 (1973). The Complaint
2014) ("Failure to request class status or its equivalent is fatal
                                                                     alleges injury to all Minnesotans and the Attorney
to CAFA jurisdiction."); Purdue Pharma L.P. v. Kentucky, 704
F.3d 208, 212-20 (2d Cir. 2013) (determining parens patriae          General brings the action pursuant to state statutes and
action was not "filed under" state statute or rule of judicial       under parens patriae authority on behalf of Minnesota
procedure "similar" to federal class action rule, and thus action    citizens and consumers. Defendants [*36] have not
did not qualify as a "class action" within the meaning of            offered any precedent or a cognizable argument for
CAFA); Mississippi ex rel. Hood v. AU Optronics Corp., 701           treating this as anything other than an action by the
F.3d 796, 799 (5th Cir. 2012), rev'd on other grounds, 571           State of Minnesota, and therefore this action does not
U.S. 161, 134 S. Ct. 736, 187 L. Ed. 2d 654 (2014) (parens           give rise to federal diversity jurisdiction.
patriae action to enforce state law did not justify removal under
CAFA); LG Display Co. v. Madigan, 665 F.3d 768, 770-72 (7th
Cir. 2011) (case brought by Attorney General was brought             CONCLUSION ON MOTION TO REMAND
under state anti-trust law that did not impose any of the
familiar Rule 23 constraints); Washington v. Chimei Innolux          The Court recognizes that the vast threat of climate
Corp., 659 F.3d 842, 847-49 (9th Cir. 2011) ("[P]arens patriae       change requires a comprehensive federal, and indeed,
suits filed by state Attorneys General may not be removed to
                                                                     global response. The complex environmental impacts of
federal court because the suits are not 'class actions' within
                                                                     climate change, and its far-reaching consequences for
the plain meaning of CAFA."); West Virginia v. CVS Pharm.,
Inc., 646 F.3d 169, 174-78 (4th Cir. 2011); Massachusetts v.
                                                                     health, economy, and social wellbeing of all people
Exxon Mobil Corp., 462 F. Supp. 3d 31, 48-51 (D. Mass. 2020)         cannot be understated. Given the stakes, the Court has
(finding CAFA does not apply to parens patriae Attorney              some reluctance in remanding such significant litigation
General actions); Town of Randolph v. Purdue Pharma L.P.,            to state court. But the Court is also mindful of the limits
No. 19-10813, 2019 U.S. Dist. LEXIS 95762, 2019 WL
2394253, at *4 (D. Mass. June 6, 2019) (finding no federal
jurisdiction under CAFA in parens patriae opioid action); City       LEXIS 24551, 2019 WL 653010, at *5-6 (W.D. Va. Feb. 14,
of Galax v. Purdue Pharma, L.P., No. 18-617, 2019 U.S. Dist.         2019) (same).

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of its jurisdiction. If the State were—as Defendants            judicial resources, and to ensure that each matter is
suggest—seeking a referendum on the broad landscape             handled with economy of time and effort. Sierra Club v.
of fossil fuel extraction, production, and emission, state      United States Army Corps of Eng'rs, 446 F.3d 808, 816
court would most certainly be an inappropriate venue.           (8th Cir. 2006) (citing Clinton v. Jones, 520 U.S. 681,
However, the State's action here is far more modest             706, 117 S. Ct. 1636, 137 L. Ed. 2d 945 (1997)). A court
than the caricature Defendants present. States have             may consider factors, including "conservation of judicial
both the clear authority and primary competence to              resources and the parties' resources, maintaining
adjudicate alleged violations of state common law and           control of the court's docket, providing for the just
consumer protection statutes, and a complex injury              determination of cases, and hardship or inequity to the
does not a federal action make. The limits [*37] written        party opposing the stay." Frable v. Synchrony Bank, 215
into the Complaint likely will restrict the ultimate possible   F. Supp. 3d 818, 821 (D. Minn. 2016). The moving party
recovery in this case and thus, its possible impact on          bears the burden of establishing that a stay is
climate change, but that is the choice the State has            necessary. Jones, 520 U.S. at 708. When the stay is
made. Because this Court does not have original                 requested pending disposition of a petition for certiorari,
jurisdiction over this action, and because the claims           "[a]pplicants bear the burden of persuasion on two
alleged neither explicitly raise federal claims nor fall        questions: whether there is a balance of hardships in
within one of the exceptions to the well-pleaded                their favor; and whether [*39] four Justices of [the
complaint rule, the Court must decline to exercise              Supreme Court] would likely vote to grant a writ of
jurisdiction and remand the matter to state court.              certiorari." New York Times Co. v. Jascalevich, 439 U.S.
                                                                1304, 1304, 98 S. Ct. 3060, 58 L. Ed. 2d 12 (1978).

II. MOTION TO STAY
                                                                B. ANALYSIS
The FHR Defendants move the Court to stay
proceedings until the Supreme Court issues a decision           The question addressed by the Supreme Court in
in BP p.l.c. et al. v. Baltimore and makes a                    Baltimore is specific to the scope of appellate review of
determination on the Petition for Certiorari in Chevron et      remand orders under 28 U.S.C. § 1447(d). That issue is
al. v. City of Oakland et al. (U.S., Jan. 8, 2021). The         not present here, and it will arise only if Defendants
FHR Defendants argue that a stay is warranted because           appeal the Court's decision to grant the motion to
these cases are similar to the instant action and               remand. The Eighth Circuit, like the Fourth Circuit, has
granting a stay would preserve judicial resources by            interpreted 28 U.S.C. § 1447(d) to limit its scope of
alleviating the Court's need to decide issues now that          remand review to the removal grounds established in 28
may be ruled on by the Supreme Court within a few               U.S.C. § 1442 (federal officer removal) or § 1443 (civil
months. In addition, the FHR Defendants argue that a            rights claims). See Jacks, 701 F.3d at 1229; Thornton v.
stay is necessary to prevent serious hardship,                  Holloway, 70 F.3d 522, 524 (8th Cir. 1995). Accordingly,
particularly if the Court grants the Motion to Remand           the Supreme Court's decision in Baltimore will only
and the Supreme Court's [*38] decisions in either               potentially affect this action at the appellate stage, and
Baltimore or Oakland cast doubt on the remand. Finally,         does not bear upon a district court's determination.
the FHR Defendants argue that the State cannot
plausibly claim any meaningful harm from such a brief           While the petition in the Oakland case raises issues that
stay. The State opposes this Motion.                            are more pertinent to the instant proceedings, the FHR
                                                                Defendants speculate that at least four Justices of the
Because the Court finds that neither pending matter             Supreme Court are likely to vote to grant certiorari
relied on by the FHR Defendants bear upon the Court's           because the Court granted certiorari in Baltimore.
decision to remand the case for lack of federal                 However, the scope of the Oakland defendants' petition
jurisdiction, the Court will deny the FRH Defendants'           is much broader than the narrow petition granted in
Motion.                                                         Baltimore. The FHR Defendants generally assert that
                                                                the Ninth Circuit's rejection of the federal [*40] common
                                                                law as a basis for removal is contrary to Supreme Court
A. STANDARD OF REVIEW                                           precedent, but provide little else to support their position
                                                                that certiorari is likely to be granted.
The Court has the inherent power and broad discretion
to stay proceedings to control its docket, to conserve          Additionally, although the FHR Defendants argue that a


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stay will not prejudice the State, the State counters that
a stay would be highly prejudicial to the public interest
by delaying the proceedings for an indeterminate
amount of time for the sake of pending decisions that do
not bear upon the merits of this action. Of course,
Defendants may appeal this decision which would result
inevitably in a much longer delay. But balancing the
hardships between the two parties, and not knowing
whether the Defendants will appeal the remand, the
Court finds that the State would likely be more
prejudiced by a stay than Defendants would be by
proceeding, particularly because Defendants cannot
anticipate any relevant relief at this juncture related to
the Baltimore case and the status of the Oakland
petition is still very much uncertain. Ultimately, the
possible prejudice to both sides is quite similar, and the
Court will choose to try to move the case along as
quickly as possible.

The Court therefore finds that Defendants have not
met [*41] their burden of persuasion that a stay is
necessary and denies the Motion.


ORDER

Based on the foregoing, and all the files, records, and
proceedings herein, IT IS HEREBY ORDERED that:

    1. Plaintiff's Motion to Remand [Docket No. 32] is
    GRANTED.

    2. FHR Defendants' Motion to Stay [Docket No. 56]
    is DENIED.

LET JUDGMENT BE ENTERED ACCORDINGLY.

DATED: March 31, 2021 at Minneapolis, Minnesota.

/s/ John R. Tunheim

JOHN R. TUNHEIM

Chief Judge

United States District Court


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     Caution
As of: April 8, 2024 9:14 PM Z


                                          Nessel v. Chemguard, Inc.
                  United States District Court for the Western District of Michigan, Southern Division
                                    January 6, 2021, Decided; January 6, 2021, Filed
                                                      No. 1:20-cv-1080

Reporter
2021 U.S. Dist. LEXIS 39175 *; 2021 WL 744683
                                                               & Thornburg LLP (Grand Rapids), Grand Rapids, MI.
DANA NESSEL, et al., Plaintiffs, -v- CHEMGUARD,
INC., et al., Defendants.                                      For Perimeter Solutions LP, defendant: Matthew D.
                                                               Thurlow, Baker & Hostetler LLP (DC), Washington, DC.
Core Terms                                                     For Royal Chemical Company, defendant: Patrick C.
                                                               Lannen, Plunkett Cooney (Bloomfield Hills), Bloomfield
contractor, color, removal, federal official, injuries,        Hills, MI.
federal government, contamination
                                                               For Verde Environmental Inc., Micro-Blaze Inc., also
Counsel: [*1] For Amerex Corporation, defendant:               known as, defendant: Cynthia J. Haffey, Butzel Long PC
Paul Donald Bratt, Warner Norcross & Judd LLP (Grand           (Detroit), Detroit, MI.
Rapids), Grand Rapids, MI; Scott Michael Watson,
Warner Norcross & Judd LLP (Grand Rapids), Grand               Judges: Honorable Paul L. Maloney, United States
Rapids, MI.                                                    District Judge.

For Chemguard Inc., Tyco Fire Products LP,                     Opinion by: Paul L. Maloney
defendants: Shauna Kramer, Williams & Connolly LLP,
Washington, DC; Ann Marie Uetz, Foley & Lardner LLP
                                                               Opinion
(Detroit), Detroit, MI; Nicholas James Ellis, LEAD
ATTORNEY, Foley & Lardner LLP (Detroit), Detroit, MI.
For Dana Nessel, on behalf of the People of the State of
Michigan, Michigan State of, plaintiff: Danielle Allison-      ORDER DENYING MOTION TO REMAND
Yokom, MI Dept Attorney General (ENRA-Lansing),
Lansing, MI; Polly A. Synk, MI Dept Attorney General           This matter is before the Court on Plaintiffs' motion to
(ENRA-Lansing), Lansing, MI; Amy E. Keller, LEAD               remand this case back to Ingham County Circuit Court
ATTORNEY, DiCello Levitt Gutzler LLC, Chicago, IL.             (ECF No. 25). For the reasons to be explained, the
                                                               motion will be denied.
For Dawn Chemical Corporation of Wisconsin Inc.,
defendant: Karen Libertiny Ludden, Dean & Fulkerson,           I.
Troy, MI; Sarah J. Brutman, Dean & Fulkerson, Troy,
                                                               This case is one of hundreds of lawsuits brought against
MI; James K. O'Brien, Dean & Fulkerson PC, Troy, MI.
                                                               manufacturers and distributors of firefighting agents
For Fire Services Plus Inc., defendant: Moheeb H.              known as aqueous film-forming foams ("AFFF"). The
Murray, Bush Seyferth PLLC (Troy), Troy, MI, Michael           cases claim personal injury, property damage, natural
Ray Williams, Bush Seyferth PLLC, Kalamazoo, MI.               resource damage, or other harms from exposure to
                                                               certain chemicals [*3] contained in AFFF: per-and
For Hazard Control Technologies Inc., defendant:
                                                               polyfluoroalkyl     substances    ("PFAS"),     including
Zachary C. Larsen, Clark Hill PLC [*2] (Lansing),
                                                               perfluorooctanoic acid and perfluorooctainesulfonic acid.
Lansing, MI; Michael J. Pattwell, Clark Hill PLC
                                                               Plaintiffs allege that PFAS from AFFF "readily migrate in
(Lansing), Lansing, MI.
                                                               soil, surface water, and groundwater," and that "once
For Mine Safety Appliances Company LLC, defendant:             these chemicals are released into the environment, they
Charles M. Denton, Barnes & Thornburg LLP (Grand               migrate into and cause extensive contamination and
Rapids), Grand Rapids, MI; Anthony C. Sallah, Barnes           injury to State natural resources and property."

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(Complaint, ECF No. 1-1 at ¶¶ 163-164.) PFAS are                  transfer, and the JPML must resolve those objections
"forever" chemicals: they do not degrade in the                   before the transfer becomes effective.
environment (Id. at ¶ 23). Plaintiffs allege that PFAS in
the State of Michigan "continue[] to move through                 On November 19, Chemguard and Tyco moved to stay
groundwater, surface waters, soils, and other natural             this case until after the JPML issues its decision (ECF
resources, and cause contamination in new locations,              No. 23). On the same day, Plaintiffs moved to remand
adversely impacting State natural resources and                   the case back to Ingham County Circuit Court (ECF No.
property." (Id. at ¶ 237.)                                        25). Plaintiffs opposed the stay and requested that the
                                                                  Court expedite its decision on their pending motion to
There are two relevant types of AFFF: Commercially                remand (ECF Nos. 25, 35). The Court denied the motion
available AFFF and military grade ("MilSpec") AFFF.               to stay and set the motion to remand for oral argument
MilSpec AFFF is used on military bases and at federally           (ECF No. 39). Briefing on the motion to remand has
regulated civilian airports (Id. at ¶ 4). Commercial AFFF         completed, and the Court no longer feels that oral
is used in industrial facilities and in some state and local      argument is necessary (see ECF No. 57).
fire departments (Id. at ¶ 18). This case, originally filed
in Ingham County Circuit Court, alleges that Defendants
distributed, sold, released, [*4] supplied, transported,          II.
arranged for disposal or treatment, handled, and/or
used Commercial AFFF and caused PFAS                              As a preliminary matter, this Court has jurisdiction to
contamination. A nearly identical complaint, originally           consider the motion to remand: "The pendency of a
filed in this Court at Case No. 1:20-cv-787, alleges that         motion, order to show cause, [*6] conditional transfer
Defendants1 acted similarly but with MilSpec AFFF.                order or conditional remand order before the Panel
                                                                  pursuant to 28 U.S.C. § 1407 does not affect or
On November 9, 2020, two Defendants (Chemguard,                   suspend orders and pretrial proceedings in any pending
Inc. and Tyco Fire Products LP) removed the                       federal district court action and does not limit the pretrial
Commercial AFFF case to this Court (ECF No. 1).                   jurisdiction of that court." JPML Rule 2.1(d).
Removal was based on the "federal government
contractor" defense: Chemguard and Tyco are also                  "Subject matter jurisdiction is always a threshold
named Defendants in the MilSpec case, and they argue              determination[,]" and, "[i]f at any time before final
that it will be impossible to determine which of Plaintiffs'      judgment it appears that the district court lacks subject
injuries were caused by Commercial AFFF and which                 matter jurisdiction, the case shall be remanded."
were caused by MilSpec AFFF. The injures, Defendants              Morrision v. Humana, Inc., No. 3:16-CV-00598-GNS,
argue, are indivisible, so they intend to assert the same         2017 U.S. Dist. LEXIS 81179, 2017 WL 2312476, at *2
federal government contractor defense in this case that           (W.D. Ky. May 26, 2017) (quoting American Telecom
they are asserting in 1:20-cv-787.                                Co., LLC v. Republic of Lebanon, 501 F.3d 534, 537
                                                                  (6th Cir. 2007) and 28 U.S.C. § 1447(c)). Federal courts
There is a Judicial Panel on Multidistrict Litigation             are of limited jurisdiction, so cases are only eligible for
("JPML") considering whether to transfer this action to a         transfer to an MDL if jurisdiction exists. Kokkonen v.
multidistrict litigation pending before the Honorable             Guardian Life Ins. Co. of America, 511 U.S. 375, 377,
Richard M. Gergel in the District of South Carolina: In re        114 S. Ct. 1673, 128 L. Ed. 2d 391 (1994); JPML Rule
Aqueous Film-Forming Foams (AFFF) Products Liability              1.1(h). Generally, motions to remand should be resolved
Litigation (MDL No. 2873) ("the MDL"). On                         before the panel acts on the motion to transfer so the
September [*5] 11, 2020, the JMPL issued a                        federal court can assure itself of jurisdiction before the
conditional transfer order identifying the MilSpec case           case transfers to the MDL. Johnson v. Micron
as appropriate for transfer to the MDL (see ECF No. 5 in          Technology, Inc., 354 F. Supp. 2d 736, 739-40 (E.D.
Case No. 1:20-cv-787); that case was uneventfully                 Mich. 2005); see also Curnow v. Stryker Corp., No. 13-
transferred. On November 12, 2020, the JPML issued a              13271, 2013 U.S. Dist. LEXIS 147917, 2013 WL
conditional transfer order identifying this case as               5651439, at *3 (E.D. Mich. Oct. 15, 2013).
appropriate for transfer to the MDL (see ECF No. 23-1).
However, Plaintiffs have objected to the proposed                 The Defendants2 argue that this Court has jurisdiction to


1 Case No. 1:20-cv-787 lists all of the Defendants in this case

and some additional defendants.                                   2 Most Defendants have not answered yet, but several have



                                                      Kelly Christopher
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hear this case based on their federal government                firm, the Government itself would have had to perform,"
contractor defense. While federal jurisdiction is usually       the contractor is acting under a federal officer. Id. In this
determined solely by the claims presented in the                case, Plaintiffs have admitted that Defendants were
complaint, the federal government contractor defense is         producing MilSpec AFFF (see generally ECF No. 1 in
an exception to that rule. See Jefferson County,                Case No. 1:20-cv-757). This is a product that the
Alabama v. Acker, 527 U.S. 423, 431, 119 S. Ct. 2069,           Government would have had to create if Defendants did
144 L. Ed. 2d 408 (1999). The federal officer removal           not exist. Therefore, Defendants have satisfied the
provision [*7] permits a defendant to remove a state-           "acting under" requirement of § 1442(a)(1).
court action brought against the
    United States or any agency thereof or any officer          Second, Defendants performed the actions for which
    (or any person acting under that officer) of the            they are being sued "under color of [federal] office." To
    United States or of any agency thereof, sued in an          satisfy this requirement, Defendants must show a nexus
    official or individual capacity for any act under color     or a "causal connection" between the charged conduct
    of such office or on account of any right, title or         and the asserted official authority. Bennett, 607 F.3d at
    authority claimed under any Act of Congress for the         1088. The Supreme Court has indicated that the "hurdle
    apprehension or punishment of criminals or the              erected by this requirement is quite low." Isaacson v.
    collection of the revenue.                                  Dow Chemical Co., 517 F.3d 129, 137 (2d Cir. 2008)
                                                                (citing Maryland v. Soper, 270 U.S. 9, 33, 46 S. Ct. 185,
28 U.S.C. § 1442(a)(1). This is intended to provide             70 L. Ed. 449 (1926)). It is enough that the challenged
"broad" removal rights to Defendants working with the           conduct occurred while the Defendant was acting at the
federal government. Willingham v. Morgan, 395 U.S.              direction of a federal officer. Id. Even if plaintiffs are [*9]
402, 406, 89 S. Ct. 1813, 23 L. Ed. 2d 396 (1969).              later able to demonstrate that their injuries occurred
                                                                "because of an act not contemplated by [the federal
This statute has a three-pronged test to entitle                contract], it is sufficient for [removal] purposes that
Defendants to removal. First, they must establish that          [execution of the federal contracts] gave rise of the
they are "person[s]" within the meaning of the statute          alleged cross-contamination." Bennett, 607 F.3d at
who "act[ed] under [a federal] officer[.]" Bennett v. MIS       1088. The specific factual questions of whether the
Corp., 607 F.3d 1076, 1085 (6th Cir. 2010), 28 U.S.C. §         challenged act was within the scope of the federal
1442(a)(1). Second, they must demonstrate that they             contract are for federal—not state—courts to answer. Id.
performed the actions for which they are being used
"under color of [federal] office[.]" Id. And finally, they      Here, Plaintiffs argue that the injuries from Commercial
must show that they have raised a colorable federal             AFFF and the injuries from MilSpec AFFF will be
defense. Id.                                                    distinguishable, but they provide no evidence in support
                                                                of that allegation: they simply state that they will provide
III.                                                            that information "at the appropriate time in the litigation."
                                                                (ECF No. 25-1 at PageID.340.) The substantial similarity
First, there is no dispute that Defendants are "persons"
                                                                between Plaintiffs' two complaints belies this argument:
within the meaning of the statute. The Sixth Circuit has
                                                                Plaintiffs admit that each Defendant was producing and
concluded that because § 1442 does not exclude
                                                                selling MilSpec AFFF during the relevant timeframe, and
corporations, it includes them. Id. And there is also no
                                                                Plaintiffs admit that the chemicals in AFFF get into
dispute [*8] that Defendants were "acting under" a
                                                                groundwater and spread contamination throughout the
federal officer. A private contractor is "acting under" a
                                                                state. The two types of AFFF contain some of the same
federal officer if it is "helping the Government to produce
                                                                PFAS compounds (see ECF No. 45-17 at ¶ 4). The
an item that it needs." Watson v. Philip Morris Co., Inc.,
                                                                Court that ultimately hears this case will likely have to
551 U.S. 142, 153-54, 127 S. Ct. 2301, 168 L. Ed. 2d 42
                                                                engage in a detailed fact-finding [*10] process to
(2007). Essentially, if a private contractor is performing
                                                                determine whether the injuries from MilSpec and
a job that "in the absence of a contract with a private
                                                                Commercial AFFF can be distinguished: right now, there
                                                                is not clear evidence either way. It is entirely possible
joined Chemguard and Tyco (see Dawn Chemical Corporation        that Plaintiffs' injuries occurred from actions taken while
of Wisconsin, Inc.'s response in opposition to motion to        Defendants were acting under color of federal office:
remand, ECF No. 32, and Royal Chemical Company's                namely, MilSpec AFFF.
response in opposition to motion to remand, ECF No. 46).
Because their positions align, the Court refers to these four   Plaintiffs argue that that they have divided the two
Defendants collectively.

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complaints, and that they do not seek resolution of any       IV.
claims related to MilSpec AFFF here, so this prong of
the removal test cannot be satisfied. But Plaintiffs          For these reasons, the Court finds that it has subject
cannot decide what defense Defendants might present.          matter jurisdiction to hear this case. Accordingly,
Consider, for example, a tort case: a plaintiff can allege
                                                              IT IS HEREBY ORDERED that Plaintiffs' motion to
that a defendant and only that defendant caused his
                                                              remand (ECF No. 25) is DENIED.
injury, but a plaintiff cannot prevent a defendant from
presenting an alternate theory of causation. Thus, while      IT IS FURTHER ORDERED that Plaintiffs' motion to
Plaintiffs attempt to surgically divide their complaints      expedite (ECF No. 35) is DISMISSED as moot.
between Commercial and MilSpec AFFF, they cannot
prevent Defendants from raising the production of             IT IS SO ORDERED.
MilSpec AFFF as a defense or an alternate theory,
particularly when Plaintiffs admit that Defendants            Date: January 6, 2021
produced MilSpec AFFF and that PFAS from AFFF
spread contamination throughout the state. The Court          /s/ Paul L. Maloney
finds that Plaintiffs' artful pleading does [*11] not
                                                              Paul L. Maloney
obviate the facts on the ground. Defendants were at
least plausibly acting under color of federal office during   United States District Judge
the relevant timeframe, and therefore, Defendants have
established the nexus required by § 1442(a)(1).
                                                                End of Document
Finally, Defendants must show that they have raised a
colorable federal defense. They assert the government
contractor defense articulated in Boyle v. United
Technologies Corp., 487 U.S. 500, 108 S. Ct. 2510, 101
L. Ed. 2d 442 (1988). That defense also has a three-
prong test:
    [l]iability for design defects in military equipment
    cannot be imposed, pursuant to state law, when: (1)
    the United States approved reasonably precise
    specifications; (2) the equipment conformed to
    those specifications; and (3) the supplier warned
    the United States about the dangers in the use of
    the equipment that were known to the supplier but
    not to the United States.

Id. at 512. Defendants need not completely prove the
validity of this defense; they must only show that the
defense is plausible. Bennett, 607 F.3d at 1089.

The Court finds that Defendants (aided by Plaintiffs'
admissions about Defendants in 1:20-cv-787) have met
this burden by alleging that the Government provided
specifications for MilSpec AFFF, that their AFFF
conformed to those specifications, and that they were
not aware of any dangers unknown to the
Government. [*12] Whether these facts are true is not
for this Court to determine at this stage. The Court need
only consider whether the defense is plausible; it is.
Therefore, Defendants have raised a colorable federal
defense and satisfied the final prong of the test for
removal.



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As of: April 8, 2024 9:15 PM Z


                                     Phillips v. Asbestos Corp. Ltd.
                            United States District Court for the Northern District of California
                                 February 26, 2014, Decided; February 26, 2014, Filed
                                                   No. C 13-5655 CW

Reporter
2014 U.S. Dist. LEXIS 24792 *
                                                               Malachowski, Gordon and Rees LLP, San Diego, CA.
DAVID PHILLIPS, Plaintiff, v. ASBESTOS
CORPORATION LIMITED, et al., Defendants.
                                                               Judges: CLAUDIA [*2] WILKEN, United States District
                                                               Judge.
Prior History: [*1] (Re: Docket No. 27).
                                                               Opinion by: CLAUDIA WILKEN
Core Terms
removal, federal official, asbestos, military, federal
                                                               Opinion
government, superior court, contractor, color, plaintiff's
claim, removal statute, express waiver, federal court,         ORDER GRANTING MOTION TO REMAND
specifications, demonstrates, exposure, immunity,
jobsites, supplier, disease, vessels, moves                    Plaintiff David Phillips moves to remand this case back
                                                               to San Francisco superior court. Defendant Crane Co.
Counsel: For David Phillips, Plaintiff: Alan R. Brayton,       opposes. The Court finds this motion suitable for
David R. Donadio, Kimberly Joy Wai Jun Chu, Richard            disposition without oral argument pursuant to Civil Local
Martin Grant, Brayton Purcell LLP, Novato, CA.                 Rule 7-1(b). Having considered the papers submitted by
                                                               the parties, the Court GRANTS Phillips' motion to
For Crane Co., Defendant: Peter Edward Soskin, LEAD            remand.
ATTORNEY, Michele Cherie Barnes, K&L Gates LLP,
San Francisco, Ca; Brendan John Tuohy, K&L GATES,              FACTUAL BACKGROUND
LLP, San Francisco, CA.
                                                               On December 20, 2011, Phillips filed suit in San
For Metropolitan Life Insurance Company, Defendant:            Francisco superior court against Crane and other
Lisa Marie Petrovsky, Steptoe and Johnson LLP, Los             defendants, asserting negligence and other state law
Angeles, CA.                                                   claims for causing him asbestos - related injuries.
                                                               Specifically, Phillips worked at several locations
For CBS Corporation, formerly known as Viacom Inc.,
                                                               containing asbestos, including the Mare Island Naval
formerly known as Westinghouse Electric Corporation,
                                                               Shipyard, and now suffers from asbestos-related pleural
Defendant: Amit Palta, Mary Katherine Back, Pond
                                                               disease and asbestosis, serious lung diseases that are
North LLP, Los Angeles, CA.
                                                               associated with the inhalation of asbestos fibers. In his
For Cleaver-Brooks, Inc., Defendant: Nicole Denine             complaint, Phillips expressly waived claims against
Brown Yuen, Oakland, CA.                                       Crane relating to his exposure to asbestos at military
For J.T. Thorpe & Son, Inc., Defendant: Reshma                 and federal government jobsites, or from U.S. military
Amarlal Bajaj, Attorney at Law, Bassi Edlin Huie Blum          vessels, aircraft, or equipment. Complaint ¶ 6.
LLP, San Francisco, CA.
                                                               On December 6, 2013, Crane removed this action to
For ITT Corporation, formerly known as ITT Industries,         federal court. Phillips now moves to [*3] remand the
Inc., Defendant: Arpi Galfayan, Prindle, Amaro, Goetz,         suit back to San Francisco superior court.
Hillyard, Barnes and Reinholtz LLP, Long Beach, CA;
                                                               DISCUSSION
Carla Lynn Crochet, Prindle, Decker and Amaro, Long
Beach, CA; Jeremy David Milbrodt, Long Beach, CA.
                                                               Crane argues that it properly removed this action under
For Hennessy Industries, Inc., Defendant: Mitchell B           the federal officer removal statute, which provides that

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an action may be removed by "any officer of the United         related to any asbestos exposure aboard federal
States or any agency thereof, or person acting under           jobsites and navy vessels. This removes any claims to
him, for any act under color of such office." 28 U.S.C. §      which military contractor immunity might act as a
1442(a)(1). Suits against federal officers are exceptional     defense. The Court sees no reason not to hold Phillips
in that they may be removed to federal court despite the       to this waiver; this same waiver language was found to
nonfederal nature of the complaint. Jefferson County v.        justify remand in many cases in this district with very
Acker, 527 U.S. 423, 431, 119 S. Ct. 2069, 144 L. Ed.          similar facts.1 The waiver justifies remand. If Phillips
2d 408 (1999). Although removal under § 1441 is strictly       later attempts to reverse course, and is allowed to do so
construed, with any doubt resolved in favor of remand,         by the state court despite his express waiver, Crane can
the removal rights of § 1442 are broader than those            remove once again.2
provided by § 1441 because it is important to the federal
government to protect its officers. See Gaus v. Miles,         IT IS SO ORDERED.
Inc., 980 F.2d 564, 566 (9th Cir. 1992); Durham v.
Lockheed Martin Corp., 445 F.3d 1247, 1252 (9th Cir.           Dated: 2/26/2014
2006). The Ninth Circuit instructs that there is a "clear
                                                               /s/ Claudia Wilken
command from both Congress and the Supreme Court
that when federal officers and their agents are seeking a      CLAUDIA WILKEN
federal forum, we are to interpret section 1442 broadly
in favor of removal." Durham, 445 F.3d at 1252 (quoting        United States District Judge
Arizona v. Manypenny, 451 U.S. 232, 242, 101 S. Ct.
1657, 68 L. Ed. 2d 58 (1981)).
                                                                 End of Document
Thus, [*4] the fact that Phillips' complaint expressly
disavows any federal claims is not determinative.
Rather, removal is proper under the federal officer
removal statute if the removing party: (1) demonstrates
that it acted under the direction of a federal officer; (2)
raises a colorable federal defense to the plaintiff's
claims; and (3) demonstrates a causal nexus between
the plaintiff's claims and the defendant's acts performed
under color of federal office. Mesa v. California, 489
U.S. 121, 124-25, 134-35, 109 S. Ct. 959, 103 L. Ed. 2d
99 (1989); Fung v. Abex Corp., 816 F. Supp. 569, 571-
72 (N.D. Cal. 1992).

Here, Crane claims that the federal defense of military
contractor immunity shields it from liability. This doctrine
provides, "Liability for design defects in military
equipment cannot be imposed, pursuant to state law,
when (1) the United States approved reasonably precise
specifications; (2) the equipment conformed to those           1 See,  e.g., Pratt v. Asbestos Corp., Ltd., 2011 U.S. Dist.
specifications; and (3) the supplier warned the United         LEXIS 108217, 2011 WL 4433724 (N.D. Cal.); Dobrocke v.
States about the dangers in the use of the equipment           Allis-Chalmers Corp. Product Liability Trust, 2009 U.S. Dist.
that were known to the supplier but not to the United          LEXIS 46699, 2009 WL 1464153 (N.D. Cal.); Madden v. A.H.
States." Boyle v. United Technologies Corp., 487 U.S.          Voss Co., 2009 U.S. Dist. LEXIS 46699, 2009 WL 341377
500, 512, 108 S. Ct. 2510, 101 L. Ed. 2d 442 (1988).           (N.D. Cal.); Westbrook v. Asbestos Defendants, 2001 U.S.
The justification for this defense is that liability for       Dist. LEXIS 11575, 2001 WL 902642 (N.D. Cal.).
independent [*5] contractors performing work for the
                                                               2 See 28 U.S.C. § 1446(b)(3) ("if the case stated by the initial
federal government constitutes a uniquely federal
                                                               pleading is not removable, a notice of removal may be filed
concern. Id. at 505.
                                                               within thirty days after receipt by the defendant . . . of a copy
                                                               of an amended pleading, [*6] motion, order or other paper
In the present case, however, Phillips has expressly
                                                               from which it may first be ascertained that the case is one
disclaimed and waived any claim arising out of or
                                                               which is or has become removable.").

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     Questioned
As of: April 8, 2024 9:15 PM Z


                                           Robinson v. Pfizer Inc.
                    United States District Court for the Eastern District of Missouri, Eastern Division
                                      April 29, 2016, Decided; April 29, 2016, Filed
                                              Case No. 4:16-CV-439 (CEJ)

Reporter
2016 U.S. Dist. LEXIS 57174 *

ELAINE ROBINSON, et al., Plaintiffs, vs. PFIZER INC.,
                                                              Judges: CAROL E. JACKSON, UNITED STATES
Defendant.
                                                              DISTRICT JUDGE.
Subsequent History: Costs and fees proceeding at
                                                              Opinion by: CAROL E. JACKSON
Robinson v. Pfizer Inc., 2016 U.S. Dist. LEXIS 65920
(E.D. Mo., May 19, 2016)
                                                              Opinion
Core Terms
plaintiffs', fraudulent, diversity, joinder, misjoinder,
                                                              MEMORANDUM AND ORDER
joined, out-of-state, non-diverse, removal, parties,
subject matter jurisdiction, fraudulent joinder, egregious    This matter is before the Court on plaintiffs' motion to
                                                              remand the complaint to the Missouri state court from
Counsel: [*1] For Elaine Robinson, Helen Psaras,
                                                              which the case was removed pursuant to 28 U.S.C. §
Rebecca Couture, Vanesa Ford, Georgia Lee Harlan,
                                                              1447(c). Defendant has responded in opposition. Also
Claire A. Holmes, Tina Loomis, Juana Miles, Deloris
                                                              before the Court is defendant's motion to stay the
Mitchell, Himilce Negron, Carol L. Qualls, Rhonda
                                                              proceedings in this action pending a decision by the
Robinson, Harriet L. Scott, Charlottte L. Shaw, Susan
                                                              Judicial Panel on Multidistrict Litigation regarding the
M. Simcox, Linda C. Tanguay, Violet E. Wyers, Kim
                                                              transfer of this action to a Multidistrict Litigation (MDL)
Diling, Rebekah McDonald, Socorro Perez, Cynthia
                                                              action pending in the District of South Carolina, to which
Weddle, Mary Higdon, Yolanda Baker, Priscilla
                                                              plaintiff has responded in opposition.
Billingslea, Yiona Bryant, Diane Ezell, Janet Gallo,
Ladessa Lewis, Quynh Nguyen, Isabel Power, Denise
Proulx, Sharon Wheelehan, Patricia Herrera, Carol
                                                              I. Background
Henriques, Linda Christner, Rita Probst, Patricia
Johnson, Lois Morton, Sharon Bowers, Henrietta                On February 29, 2016, sixty-four plaintiffs from twenty-
Eatman, Sharon Murdock, Mildred Watley, Delayne               nine states filed this action in the Circuit Court for the
Wharton, Patricia Trotman, Gladys Bates, Helen                City of St. Louis, Missouri, alleging seven state law
Courtney, Myrtle White-Royes, Carol Peterson, Elena           causes of action against defendant arising out of its
Barnovics, Victoria Elleman, Eleftheria Karamihalis,          manufacture and sale of the prescription medication
Linda L. Jackson, Gladys F. Brent, Mary Robinson,             Lipitor (atorvastatin calcium). Plaintiffs allege that they
Martha Farr, Eliza Taylor, Rose Rush-Gaswirth, Ardell         developed Type II diabetes as a result of ingesting
R. Martinez, Carol A. Moran, Lou Anne Box, Barbara L.         Lipitor. Plaintiffs assert claims of product liability for
Kuikahi, Elizabeth A. Parks-McDonald, Willie Williams,        failure to warn, negligence, breach of implied warranty,
Clara Yarborough, Plaintiffs: Trent B. Miracle, LEAD          fraud, constructive fraud, unjust [*3] enrichment, and
ATTORNEY, Eric S. Johnson, SIMMONS AND HANLY,                 punitive damages.
LLC, Alton, IL.
For Pfizer, Inc., Defendant: Mark C. Hegarty, [*2] LEAD       On March 31, 2016, defendant removed the action to
ATTORNEY, SHOOK AND HARDY, LLP, Kansas City,                  this Court on the basis of diversity jurisdiction, 28 U.S.C.
MO.                                                           § 1332. Defendant is a citizen of Delaware and New
                                                              York. Six plaintiffs are also citizens of New York.

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Despite the lack of complete diversity on the face of the      the propriety of removal are resolved in favor of remand.
complaint, defendant argues that diversity jurisdiction        Wilkinson v. Shackelford, 478 F.3d 957, 963 (8th Cir.
exists because the out-of-state plaintiffs' claims were        2007).
either fraudulently joined or procedurally misjoined, and
thus, the out-of-state plaintiffs should be ignored for        Removal in this case was premised on diversity
purposes of determining jurisdiction. Plaintiffs move to       jurisdiction, which requires an amount in controversy
remand, arguing that the out-of-state plaintiffs' claims       greater than $75,000 and complete diversity of
have been properly joined, and the Court lacks subject         citizenship among [*5] the litigants. 28 U.S.C. §
matter jurisdiction over this action in the absence of         1332(a). "Complete diversity of citizenship exists where
complete diversity of the parties.                             no defendant holds citizenship in the same state where
                                                               any plaintiff holds citizenship." OnePoint Solutions, LLC
                                                               v. Borchert, 486 F.3d 342, 346 (8th Cir. 2007). There is
II. Discussion                                                 no dispute that the amount in controversy is over
                                                               $75,000. Likewise, the parties agree that six plaintiffs
                                                               are citizens of the same state as defendant and, thus,
A. Motion to Stay                                              complete diversity is lacking on the face of the
                                                               complaint. Defendant argues that this Court nonetheless
Defendant moves to stay the proceedings until the              has diversity jurisdiction because the out-of-state
Judicial Panel on Multidistrict Litigation (JPML) rules on     plaintiffs' claims were either fraudulently joined or
its motion to transfer this case to the MDL proceeding In      procedurally misjoined.
re: Lipitor (Atorvastatin Calcium) Marketing, Sales
Practices and Products Liability Litigation (No. II), MDL      "Courts have long recognized fraudulent joinder as an
No. 2502. However, "[a] putative transferor court need         exception to the complete diversity rule." Prempro, 591
not automatically postpone rulings on pending motions,         F.3d at 620. "Fraudulent joinder occurs when a plaintiff
or in any [*4] way generally suspend proceedings,              files a frivolous or illegitimate claim against a non-
merely on grounds that an MDL transfer motion has              diverse defendant solely to prevent removal." Id. To
been filed." Spears v. Fresenius Med. Care N. Am., Inc.,       prove fraudulent joinder, the removing party must show
No. 4:13-CV-855 (CEJ), 2013 U.S. Dist. LEXIS 82423,            that "the plaintiff's claim against the diversity-destroying
2013 WL 2643302, at *1 (E.D. Mo. June 12, 2013)                defendant has 'no reasonable basis in fact and law.'"
(quoting T.F. v. Pfizer, Inc., No. 4:12-CV-1221 (CDP),         Knudson v. Sys. Painters, Inc., 634 F.3d 968, 980 (8th
2012 U.S. Dist. LEXIS 101859, 2012 WL 3000229, at *1           Cir. 2011) (quoting Filla v. Norfolk S. Ry. Co., 336 F.3d
(E.D. Mo. July 23, 2012)). "This is especially true where,     806, 810 (8th Cir. 2003)). "[I]f it is clear under governing
as here, [a] pending motion is one for remand and goes         state law that the complaint does not state a cause of
to the Court's subject matter jurisdiction." Id. "This Court   action against the non-diverse defendant, the joinder is
is in the best position to determine subject matter            fraudulent." Id. Conversely, "joinder is not fraudulent
jurisdiction, and waiting for a decision by the JPML           where 'there [*6] is arguably a reasonable basis for
before ruling on the motion to remand 'would not               predicting that the state law might impose liability based
promote the efficient administration of justice.'" Id.         upon the facts involved.'" Id. (quoting Filla, 336 F.3d at
Accordingly, defendant's motion to stay will be denied.        811).

                                                               Fraudulent misjoinder, a doctrine the Eighth Circuit has
B. Motion to Remand                                            neither accepted nor rejected, occurs when a plaintiff
                                                               joins a viable claim, either by another non-diverse
An action is removable to federal court if the claims          plaintiff or against another non-diverse defendant, with
originally could have been filed in federal court. 28          "no reasonable procedural basis to join them in one
U.S.C. § 1441; In re Prempro Prods. Liab. Litig., 591          action" because the claim that destroys diversity has "no
F.3d 613, 619 (8th Cir. 2010). The defendant bears the         real connection with the controversy." Prempro, 591
burden of establishing federal jurisdiction by a               F.3d at 620 (footnotes and citations omitted); see id. at
preponderance of the evidence. Altimore v. Mount               622 ("[W]e conclude that even if we adopted the
Mercy Coll., 420 F.3d 763, 768 (8th Cir. 2005). A case         doctrine, the plaintiffs' alleged misjoinder in this case is
must be remanded if, at any time, it appears that the          not so egregious as to constitute fraudulent
district court lacks subject-matter jurisdiction. 28 U.S.C.    misjoinder."). Whether a party has been fraudulently
§ 1447(c); Fed. R. Civ. P. 12(h)(3). Any doubts about          misjoined depends on whether there has been an

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"egregious and grossly improper" joinder "under the                  (RWS), 2014 U.S. Dist. LEXIS 142985, 2014 WL
broadly-interpreted joinder standards." Id. at 624.                  5025833 (E.D. Mo. Oct. 8, 2014); Orrick v. Smithkline
                                                                     Beecham Corp., No. 4:13-CV-2149 (SNLJ), 2014 U.S.
Thus, fraudulent misjoinder challenges the propriety of              Dist. LEXIS 112003, 2014 WL 3956547 (E.D. Mo. Aug.
joining viable claims into a single action while fraudulent          13, 2014).
joinder challenges the viability of the claims themselves.
In other words, alleging fraudulent joinder "requires the            Rule 20 "allows multiple plaintiffs to join in a single
court to look, at least somewhat, at the substantive                 action if (i) they assert claims 'with respect to or arising
merits of the claim," while [*7] fraudulent misjoinder is a          out of the same transaction, occurrence, or series of
question of procedure. See Bowling v. Kerry, Inc., 406               transactions or occurrences;' and (ii) 'any question of
F. Supp. 2d 1057, 1060 (E.D. Mo. 2005) (referring to                 law or fact common to all plaintiffs will arise in the
fraudulent misjoinder as "procedural misjoinder").                   action.'" Prempro, 591 F.3d at 622 (quoting Fed. R. Civ.
                                                                     P. 20(a)(1)). Missouri's permissive joinder rule is
Here, defendant is not asking the Court to assess the                substantively [*9] identical. Mo. Sup. Ct. R. 52.05(a);
out-of-state plaintiffs' claims to determine if the plaintiffs       State ex rel. Allen v. Barker, 581 S.W.2d 818, 826 (Mo.
have a cause of action under substantive state law;                  banc 979). "In construing Rule 20, the Eighth Circuit has
rather, defendants are challenging the propriety of                  provided a very broad definition for the term
joining the out-of-state plaintiffs' claims into a single            'transaction.'" Prempro, 591 F.3d at 622. "It may
action.1 Correctly characterized, defendants' argument               comprehend a series of many occurrences, depending
is based on the theory of fraudulent misjoinder. Thus,               not so much upon the immediateness of their
the real issue is whether the out-of-state plaintiffs'               connection as upon their logical relationship." Mosley v.
claims have been properly joined under Rule 20 of the                Gen. Motors Corp., 497 F.2d 1330, 1333 (8th Cir. 1974).
Federal Rules of Civil Procedure. As in Prempro and                  Accordingly, Rule 20 "permit[s] all reasonably related
several recent cases before this Court, even if the                  claims for relief by or against different parties to be tried
fraudulent misjoinder doctrine is applied, it does not               in a single proceeding," without requiring "[a]bsolute
support this Court's exercise of jurisdiction. See, e.g.,            identity of all events." Prempro, 591 F.3d at 622.
Morgan v. Janssen Pharms., Inc., No. 4:14-CV-1346
(CAS), 2014 U.S. Dist. LEXIS 164811, 2014 WL                         "Under the Rules, the impulse is toward entertaining the
6678959 (E.D. Mo. Nov. 25, 2014); Butler v. Ortho-                   broadest possible scope of action consistent with
McNeil-Janssen Pharms., Inc., No. 4:14-CV-1485                       fairness to the parties; joinder of claims, parties and
                                                                     remedies is strongly encouraged." United Mine Workers
                                                                     v. Gibbs, 383 U.S. 715, 724, 86 S. Ct. 1130, 16 L. Ed.
                                                                     2d 218 (1966). Plaintiffs' subjective intent in adding non-
1 According to defendant, no federal or state court in Missouri
                                                                     diverse parties is irrelevant to the Court's Rule 20
can exercise personal jurisdiction over defendant and comport        analysis. As the Eighth Circuit has held, "if the
with due process with respect to the out-of-state plaintiffs'        nondiverse plaintiff is a real party in interest, the fact
claims. The parties do not dispute, however, that Missouri [*8]
                                                                     that his joinder was motivated by a desire to defeat
courts have personal jurisdiction over defendant with respect
                                                                     federal jurisdiction is not material." Iowa Pub. Serv. Co.
to the in-state plaintiffs' claims. Missouri courts, thus, may
                                                                     v. Med. Bow Coal Co., 556 F.2d 400, 404 (8th Cir.
properly exercise personal jurisdiction over defendant with
respect to this cause of action as a whole arising out of or         1977); id. at 406 ("[I]f [a plaintiff] can avoid the federal
related to its contacts and conduct in Missouri. See Shaffer v.      forum by the device of properly joining a nondiverse
Heitner, 433 U.S. 186, 204, 97 S. Ct. 2569, 53 L. Ed. 2d 683         defendant or a nondiverse co-plaintiff, he is free to do
(1977) (stating that the proper focus of the due process inquiry     so.").
for the exercise of personal jurisdiction is "the relationship
among the defendant, the forum, and the litigation"); see also       On numerous occasions, this Court has determined that
Walden v. Fiore, 134 S. Ct. 1115, 1126, 188 L. Ed. 2d 12 (U.S.       the joinder of plaintiffs alleging injury from a single [*10]
2014) ("[I]t is the defendant, not the plaintiff or third parties,   drug is not "egregious," because common issues of law
who must create contacts with the forum State."); Keeton v.          and fact connect the plaintiffs' claims. See, e.g., Parker
Hustler Magazine, Inc., 465 U.S. 770, 779, 104 S. Ct. 1473, 79       v. Pfizer, Inc., No. 4:15-CV-441 (CAS), 2015 U.S. Dist.
L. Ed. 2d 790 (1984) (permitting a forum State to assert
                                                                     LEXIS 84554, 2015 WL 3971169 (E.D. Mo. June 30,
personal jurisdiction over a nonresident defendant on a claim
                                                                     2015) (Viagra); Gracey v. Janssen Pharms., Inc., No.
related to the defendant's activities within the forum State
                                                                     4:15-CV-407 (CEJ), 2015 U.S. Dist. LEXIS 57990, 2015
when the plaintiff's contacts with the forum were "extremely
limited" or even "entirely lacking").                                WL 2066242 (E.D. Mo. May 4, 2015) (Risperidone);

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                                           2016 U.S. Dist. LEXIS 57174, *10

Hebron v. Abbvie Inc., No. 4:14-CV-1910 (ERW), 2014            LEXIS 78678, 2014 WL 2589198 (E.D. Mo. June 10,
U.S. Dist. LEXIS 183715 (E.D. Mo. Dec. 18, 2014)               2014); Jennings v. Pfizer Inc., No. 4:14-CV-276 (HEA),
(AndroGel); Polk v. Pfizer, Inc., No. 4:15-CV-542              2014 U.S. Dist. LEXIS 81044 (E.D. Mo. May 8,
(ERW), 2015 U.S. Dist. LEXIS 57335, 2015 WL                    2014) [*12] ; Lovett v. Pfizer Inc., No. 4:14-CV-458
1976370 (E.D. Mo. May 1, 2015) (Lipitor); T.F. ex rel.         (CEJ), 2014 U.S. Dist. LEXIS 39983, 2014 WL 1255956
Foster v. Pfizer, Inc., No. 4:12-CV-1221 (CDP), 2012           (E.D. Mo. Mar. 26, 2014); Jackson v. Pfizer Inc., No.
U.S. Dist. LEXIS 101859, 2012 WL 3000229 (E.D. Mo.             4:13-CV-1915 (RWS), 2013 U.S. Dist. LEXIS 186545
July 23, 2012) (Zoloft); Douglas v. GlaxoSmithKline,           (E.D. Mo. Oct. 15, 2013); S.L. v. Pfizer, Inc., No. 4:12-
LLC, No. 4:10-CV-971 (CDP), 2010 U.S. Dist. LEXIS              CV-420 (CEJ) (E.D. Mo. Apr. 29, 2013); T.F. ex rel.
66234, 2010 WL 2680308 (E.D. Mo. July 1, 2010)                 Foster, 2012 U.S. Dist. LEXIS 101859, 2012 WL
(Avandia). The Court finds that here, as in those cases,       3000229. In at least twenty-five other cases, this Court
plaintiffs' claims satisfy Rule 20(a)'s standard. First,       has remanded for lack of subject matter jurisdiction
plaintiffs' complaint raises common questions of law or        when other defendants have attempted to remove
fact regarding injuries alleged from use of the same           matters to federal court asserting substantially similar
product and arising from the same design, testing,             arguments. See e.g., Littlejohn v. Janssen Research &
development,        labeling,  packaging,      distribution,   Dev., LLC, No. 4:15-CV-194 (CDP), 2015 U.S. Dist.
marketing, and sales practices for that product. Also,         LEXIS 48048, 2015 WL 1647901 (E.D. Mo. Apr. 13,
because plaintiffs' allegations relate to defendant's          2015); Swann v. Johnson & Johnson, No. 4:14-CV-1546
design, manufacture, testing, and promotion of Lipitor—        (CAS), 2014 U.S. Dist. LEXIS 167254, 2014 WL
occurrences common as to all plaintiffs—their claims           6850766 (E.D. Mo. Dec. 3, 2014); Morgan, 2014 U.S.
also arise out of the same transaction or occurrence, or       Dist. LEXIS 164811, 2014 WL 6678959; Butler, 2014
series thereof. That is so even if the end-of-the-line         U.S. Dist. LEXIS 142985, 2014 WL 5025833; McGee v.
exposures occurred in different states and under the           Fresenius Med. Care N. Am., Inc., No. 4:14-CV-967
supervision of different medical [*11] professionals.          (SNLJ), 2014 U.S. Dist. LEXIS 90735, 2014 WL
Thus, defendant has failed to demonstrate that the             2993755 (E.D. Mo. July 3, 2014); Coleman v. Bayer
joinder of the out-of-state plaintiffs' claims with the in-    Corp., No. 4:10-CV-1639 (SNLJ), 2010 U.S. Dist. LEXIS
state plaintiffs' claims is so egregious as to constitute      143673, 2010 WL 10806572 (E.D. Mo. Dec. 9, 2010). In
fraudulent misjoinder. See Prempro, 591 F.3d at 624.           light of these repeated admonishments and remands to
                                                               state court for six years, defendant can no longer argue
Accordingly, the Court finds that joinder of all sixty-four    that its asserted basis for seeking removal to federal
plaintiffs' claims under Rule 20(a) is proper. Because         court in these circumstances is objectively reasonable.
the joinder of claims in this case does not constitute         Accordingly, the Court finds that plaintiffs are entitled to
egregious misjoinder, complete diversity does not exist.       just costs and actual expenses because defendant
Thus, Defendant has not met its burden of                      lacked an objectively reasonable basis for seeking
demonstrating that this Court has jurisdiction over this       removal. Plaintiffs will be required to submit a bill of
case as required by 28 U.S.C. § 1332. Because the              costs and expenses in support of their request for the
Court lacks subject matter jurisdiction over this case, the    Court's approval.
case will be remanded to state court.
                                                               * * * [*13] *
Finally, plaintiffs requests attorneys' fees and costs
pursuant to 28 U.S.C. § 1447(c), which grants courts the       For the reasons set forth above,
authority "to require payment of just costs and actual
                                                               IT IS HEREBY ORDERED that defendant's motion to
expenses, including attorney fees, incurred as a result
                                                               stay the proceedings in this action pending MDL transfer
of the removal." The cases in which this defendant has
                                                               [Doc. #8] is denied.
been informed by this Court under substantially similar
circumstances that joinder of the plaintiffs' claims is        IT IS FURTHER ORDERED that plaintiffs' motion for
proper under Rule 20 and controlling Eighth Circuit case       remand [Doc. #11] is granted.
law include: Clark v. Pfizer, Inc., No. 4:15-CV-546
(HEA), 2015 U.S. Dist. LEXIS 102173, 2015 WL                   IT IS FURTHER ORDERED that the Clerk of the Court
4648019 (E.D. Mo. Aug. 5, 2015); Parker, 2015 U.S.             shall remand this action to the Twenty-Second Judicial
Dist. LEXIS 84554, 2015 WL 3971169; Polk, 2015 U.S.            Circuit Court of Missouri (City of St. Louis), from which it
Dist. LEXIS 57335,, 2015 WL 1976370; Davood v.                 was removed.
Pfizer Inc., No. 4:14-CV-970 (CEJ), 2014 U.S. Dist.

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IT IS FURTHER ORDERED that plaintiffs shall have five
days from the date of this order to submit
documentation of the costs and expenses they
reasonably incurred as a result of defendant's removal
in support of their request for attorney fees and costs
under 28 U.S.C. § 1447(c).

/s/ Carol E. Jackson

CAROL E. JACKSON

UNITED STATES DISTRICT JUDGE

Dated this 29th day of April, 2016.


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                                                 Schulz v. Crane Co.
                              United States District Court for the Eastern District of California
                                    January 23, 2014, Decided; January 23, 2014, Filed
                                                  No. 2:13-cv-02370-KJM-AC

Reporter
2014 U.S. Dist. LEXIS 9198 *; 2014 WL 280361

PAUL SCHULZ, Plaintiff, v. CRANE CO., et al.,                    For Exxon Mobil Corporation, Defendant: Bradley K.
Defendants.                                                      Kaplan, LEAD ATTORNEY, Armstrong [*2] &
                                                                 Associates, Oakland, CA.
Core Terms                                                       For Anheuser-Busch, LLC, formerly known as
                                                                 Anheuser-Busch, Inc., Defendant: Cristyn Nicole
removal, colorable, sufficient justification, military,          Chadwick, Reed Smith, LLP, Los Angeles, CA.
government contractor, virtually identical, asbestos
exposure, plaintiff's claim, federal official, district court,   For Fluor Corporation, Defendant: Thomas J. Tarkoff,
instant motion, asbestos case, jobsites, vessels,                LEAD ATTORNEY, Foley & Mansfield, Oakland, CA.
waivers, courts, Reply                                           For Crane Co., Defendant: Roseanna Maria Castillo,
                                                                 LEAD ATTORNEY, Peter Edward Soskin, K&L Gates
Counsel: [*1] For Paul Schulz, Plaintiff: Alan R.                LLP, San Francisco, CA.
Brayton, Richard M. Grant, LEAD ATTORNEYS,
Brayton Purcell LLP, Novato, CA.                                 Judges: KIMBERLY J. MUELLER, UNITED STATES
For Honeywell International, Inc., Defendant: Eric D             DISTRICT JUDGE.
Sentlinger, LEAD ATTORNEY, Perkins Coie LLP, San
Francisco, CA.                                                   Opinion by: KIMBERLY J. MUELLER

For Republic Supply Company, RPI Company,
                                                                 Opinion
Defendants: Christine L. Hawkins, LEAD ATTORNEY,
Foley & Mansfield, PLLP, Oakland, CA.
                                                                 ORDER
For CBS Corporation, formerly known as Viacom Inc.,
formerly known as Westinghouse Electric Corporation,             This matter is before the court on plaintiff Paul Schulz's
Defendant: Amit Palta, Mary Katherine Back, LEAD                 Motion to Remand this case to the Solano County
ATTORNEYS, Pond North LLP, San Francisco, CA;                    Superior Court. (Pl.'s Mot. Remand, ECF 13.) Defendant
Kevin D. Jamison, LEAD ATTORNEY, Pond North LLP,                 Crane Co. opposes the motion. (Def.'s Opp'n, ECF 28.)
Los Angeles, CA.                                                 The court decided the motion without a hearing. As
For Genuine Parts Company, Defendant: Howard David               explained below, the court GRANTS plaintiff's Motion to
Ruddell, Pond North, LLP, LEAD ATTORNEY, Pond                    Remand.
North, LLP, Los Angeles, CA.                                     I. INTRODUCTION AND PROCEDURAL
For CSK Auto, Inc., Defendant: Mirna J. Scheffy, LEAD            BACKGROUND
ATTORNEY, Hawkins Parnell Thackston & Young LLP,
                                                                 This case arises out of plaintiff's alleged exposure to
San Francisco, CA.
                                                                 asbestos. (ECF 13 at 1.) On September 9, 2013, plaintiff
For Grinnell LLC, formerly known as Grinnell                     filed a complaint in the Solano County Superior Court
Corporation, formerly known as Grinnell Fire, Santa Fe           against forty defendants alleging the following claims:
Braun, Inc., as Successor-in-interest to C.F. Braun, Inc.,       (1) negligence; (2) products liability; (3) aiding and
Defendants: Kristina Francia Almquist, LEAD                      abetting battery; (4) concert of action; and (5) fraud.
ATTORNEY, Morgan Lewis & Bockius, San Francisco,                 (Def.'s Notice of Removal, Compl., Ex. 1 ("Compl."),
CA.                                                               [*3] ECF 1.) On November 14, 2013, one of the

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                                               2014 U.S. Dist. LEXIS 9198, *3

defendants, Crane Co., removed the case to this court,                 at military and federal government jobsites or from
invoking this court's jurisdiction under 28 U.S.C. §                   U.S. military vessels or missiles.
1442(a)(1). (ECF 1.) On December 3, 2013, plaintiff filed
the instant Motion to Remand. (ECF 13.) Defendant filed           (Notice of Pl.'s Waiver, ECF 6 at 1.) Defendant's
an opposition on January 3, 2014. (ECF 28.) Plaintiff             argument that the waiver is invalid because "[plaintiff's]
filed a reply on January 10, 2014. (Pl.'s Reply, ECF 29.)         complaint remains unchanged" is unavailing. (ECF 28 at
                                                                  2.) See Lara v. CBS Corp., CV 13-5569 ABC MANX,
II. LEGAL STANDARD
                                                                  2013 U.S. Dist. LEXIS 128265, 2013 WL 4807168, at *1
A civil action commenced in a state court against any             (C.D. Cal. Sept. 6, 2013) ("The form of plaintiffs' post-
person "acting under" the direction of a United States            removal waiver does not undercut its effectiveness.");
officer may be removed to the district court. 28 U.S.C. §         Lockwood v. Crane Co., 2:12-CV-01473-JHN-CW, 2012
1442(a)(1). A party seeking removal under § 1442(a)(1)            U.S. Dist. LEXIS 57986, 2012 WL 1425157, at *2 (C.D.
must show that: "(a) it is a 'person' within the meaning of       Cal. Apr. 25, 2012) (plaintiff's "Notice of Waiver of
the statute; (b) there is a causal nexus between its              Claims" filed shortly after removal sufficient to justify
actions, taken pursuant to a federal officer's directions,        remand). Plaintiff says he "does[] [not] know how to
and plaintiff's claims; and (c) it can assert a 'colorable        make [it] any clearer" that "there simply is no claim
federal defense.'" Durham v. Lockheed Martin Corp.,               against Crane Co." arising out of "asbestos exposure at
445 F.3d 1247, 1251 (9th Cir. 2006) (citations omitted).          federal enclaves or on Navy ships." (ECF 29 at 2.)
Unlike courts' jurisdiction under section 1441, which is
strictly construed, courts "do not interpret . . . jurisdiction   The court agrees with the several district courts that
under section 1442 so strictly." Id. at 1252. Therefore,          have found similar waivers in asbestos cases sufficient
"when federal officers and their agents are seeking a             to justify remand. See, e.g., Lara, 2013 U.S. Dist. LEXIS
federal forum, [*4] [courts] are to interpret section 1442        128265, 2013 WL 4807168, at *2 (finding "the
                                                                  substance of similar waivers in asbestos cases sufficient
broadly in favor of removal." Id. Removals under § 1442
                                                                  to justify remand"); Lockwood, 2012 U.S. Dist. LEXIS
are not subject to the well-pleaded complaint rule, and a
                                                                  57986, 2012 WL 1425157, at *2 [*6] (finding "virtually
"federal officer or agency defendant can unilaterally
                                                                  identical waiver[] in virtually identical situation[] sufficient
remove a case" without other defendants' consent. Id.
                                                                  to justify remand); Pratt v. Asbestos Corp. Ltd., C-11-
III. DISCUSSION                                                   3503 EMC, 2011 U.S. Dist. LEXIS 108217, 2011 WL
                                                                  4433724, at *1 (N.D. Cal. Sept. 22, 2011) ("Plaintiff's
Defendant removed the case to this court arguing that it          waiver has rendered any federal defenses moot. There
meets all three requirements as provided above for                must be claims against which a federal defense is
removal under § 1442(a)(1). However, the primary                  cognizable, and Plaintiff's waiver has removed any such
question raised by the instant motion is defendant's              claims"); Westbrook v. Asbestos Defendants (BHC), C-
ability to raise a colorable federal defense. Specifically,       01-1661 VRW, 2001 U.S. Dist. LEXIS 11575, 2001 WL
defendant argues it can raise the government contractor           902642, at *3 (N.D. Cal. July 31, 2001) ("The court sees
defense as a colorable federal defense to plaintiff's             no reason not to hold plaintiffs in this case to their
claims. (ECF 1 at 4.) Plaintiff responds because the              waiver of claims arising out of work done on federal
"specific waiver eliminates the possibility of removal            jobsites and vessels. This waiver, therefore, justifies
based upon a government contractor defense,"                      remand."). Because plaintiff no longer states any claims
defendant cannot raise that defense and thus defendant            against which defendant could raise a colorable federal
cannot meet the colorable defense requirement. (ECF               defense, this court no longer has jurisdiction under §
13 at 7.)                                                         1442(a)(1).
Here, on November 21, 2013, shortly after defendant               IV. CONCLUSION
removed the case, plaintiff filed the following express
waiver:                                                           For the foregoing reasons, the court GRANTS plaintiff's
                                                                  Motion to Remand and the case is remanded to the
     Plaintiff hereby waives any claims against                   Solano County Superior Court.
     defendant CRANE CO. relating to or arising out of
     plaintiff's asbestos exposure during military service,       IT IS SO ORDERED.
     employment by [*5] the government, from products
                                                                  DATED: January 23, 2014.
     sold or supplied to the U.S. military or government,


                                                      Kelly Christopher
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                                 2014 U.S. Dist. LEXIS 9198, *6

/s/ Kimberly J. Mueller

UNITED STATES DISTRICT JUDGE


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                             IN THE UNITED STATES DISTRICT COURT
                                 DISTRICT OF SOUTH CAROLINA
                                     CHARLESTON DIVISION


         IN RE: AQUEOUS FILM-               MDL No. 2:18-mn-2873-RMG
         FORMING FOAMS
         PRODUCTS LIABILITY                 This Order Relates To
         LITIGATION                         State of South Carolina v. 3M Company et al.,
                                            No. 2:23-cv-05979-RMG




               Before the Court is the State of South Carolina’s motion to remand its claims to South

     Carolina state court. (Dkt. No. 8).1 For the reasons set forth below, the motion is granted.

I.         Background
              South Carolina brought this suit in state court against Defendants 3M Company, Corteva,

     Inc, Dupont De Nemours Inc., E.I. Dupont De Nemours and Company, The Chemours Company,

     and The Chemours Company FC, LLC asserting state law claims for public nuisance, private

     nuisance, trespass, and violation of the South Carolina Unfair Trade Practices Act. (Dkt. No. 1-1

     at 3, 37-45). South Carolina alleges that Defendants supplied products containing certain per- and

     polyfluoroalkyl substances, which are commonly known as PFAS or PFAS compounds, that

     contaminated the State’s natural resources and property, including South Carolina drinking water.

     (Id. at 3-4).

              In this suit, South Carolina specifically disclaimed recovery for PFAS contamination from

     Aqueous Film Forming Foam, or AFFF. (Id. at 7-8). South Carolina filed a separate case expressly




     1
         Unless otherwise noted, citations are to the docket in C.A. No. 2:23-5979-RMG.
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      seeking recovery for PFAS contamination caused by AFFF. (South Carolina v. 3M Co., 23-cv-

      5734 (D.S.C. Nov. 9 2023), Dkt. No. 1-1).

                3M removed this matter, invoking federal officer removal under 28 U.S.C. § 1442(a)(1)

      and federal enclave jurisdiction under § 1441(a). (Dkt. No. 1 at 3-4). 3M argues federal officer

      removal is proper because some of the contamination at issue in this case overlaps with, or has

      commingled with, PFAS contamination from AFFF products that 3M supplied to the United States

      military per a military-created specification, referred to as MilSpec AFFF. (Id. at 8). 3M intends

      to assert the federal government contractor defense for PFAS contamination that originated from

      MilSpec AFFF and argues that the assertion of that defense entitles it to a federal forum. (Id.at 2).

      3M also argues that federal enclave removal is proper because PFAS from AFFF and non-AFFF

      products were released from military facilities in South Carolina that are federal enclaves. (Id. at

      28-29).

                South Carolina now moves to remand this case to state court, arguing that 3M has not met

      the requirements for federal officer removal or federal enclave removal because the State

      disclaimed recovery for PFAS contamination from AFFF products in this suit. (Dkt. No. 8). 3M

      filed a response in opposition to the motion (Dkt. No. 11), and South Carolina replied (Dkt. No.

      12). The matter is now ripe for the Court’s review.

II.      Standard
                As the party that invoked the Court’s jurisdiction, 3M bears the burden of establishing that

      the case was properly removed from state court. Mulcahey v. Columbia Organic Chem. Co., 29

      F.3d 148, 151 (4th Cir. 1994); see also Bennett v. Bally Mfg. Corp., 785 F. Supp. 559, 560 (D.S.C.

      1992). The Court should strictly construe removal jurisdiction because it “raises federalism

      concerns.” Mulcahey, 29 F.3d at 151 (citing Shamrock Oil & Gas Corp. v. Sheets, 313 U.S. 100

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   (1941)); see also S.C. v. Boehringer Ingelheim Roxane, Inc., No. 3:07-cv-00665-CMC, 2007 WL

   1232156, at *1 (D.S.C. Apr. 26, 2007). Doubts as to the Court’s jurisdiction should weigh in favor

   of remanding to state court. Mulcahey, 29 F.3d at 151.

III.   Discussion
       A. Federal Officer Removal
          3M argues that federal officer removal is proper because it intends to assert the federal

   government contractor defense for PFAS contamination originating from the use, storage, and/or

   disposal of MilSpec AFFF.

          The federal officer removal statute authorizes removal to federal court of any civil action

   or criminal prosecution commenced in state court against “any officer (or any person acting under

   that officer) of the United States or of any agency thereof, in an official or individual capacity, for

   or relating to any act under color of such office.” 28 U.S.C. § 1442(a)(1). Thus, a private defendant,

   such as a government contractor, who seeks to remove a case under § 1441(a)(1) must show (1)

   that it was a “person acting under” a federal officer, see e.g., Watson v. Philip Morris Cos., 551

   U.S. 142, 147 (2007); Ripley v. Foster Wheeler LLC, 841 F.3d 207, 209 (4th Cir. 2016); (2) that it

   has a “colorable federal defense,” Jefferson Cnty. v. Acker, 527 U.S. 423, 431 (1999); and (3) that

   the charged conduct was carried out for or in relation to the asserted official authority, see 28

   U.S.C. § 1442(a)(1). “In imposing these requirements, the statute aims to protect the Federal

   Government from interference with its ‘operations,’ primarily by providing ‘a federal forum for a

   federal defense.’” Sawyer v. Foster Wheeler LLC, 860 F.3d 249, 254 (4th Cir. 2017) (quoting

   Watson, 551 U.S. at 147). In reviewing removal on a motion to remand, the Court should reject a

   “narrow, grudging interpretation of the statute, recognizing that one of the most important reasons




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for removal is to have the validity of the defense of official immunity tried in federal court.” Acker,

527 U.S. at 431.

       The requirement that a claim be “for or in relation to” the alleged federal authority is a

“nexus” requirement, but not a causation requirement. Moore v. Elec. Boat Corp., 25 F.4th 30, 34

& n.2 (1st Cir. 2022); see also Sawyer v. Foster Wheeler LLC, 860 F.3d 249, 258 (4th Cir. 2017).

“[T]here need be only ‘a connection or association between the act in question and the federal

office.’” Sawyer, F.3d at 258 (citation omitted).

       Addressing motions to remand in similar non-AFFF, PFAS lawsuits, two district courts in

the First Circuit and one district court in the Seventh Circuit found that federal officer removal is

not proper by concluding that the AFFF disclaimer eliminates the connection between the claims

and 3M’s production of MilSpec AFFF for the United States military. New Hampshire v. 3M Co.,

665 F.Supp.3d 215, 227 (D.N.H. 2023) (“The State disclaimed in this suit recovery for harm from

AFFF contamination, which eliminates any connection between the State’s claims in this suit and

3M’s production of MilSpec AFFF.”); Maine v. 3M Co., No. 2:23-cv-00210-JAW, 2023 WL

4758816 at *10 (D. Me. July 26, 2023) (“Here, the State’s disclaimer is express, unambiguous,

and plain, and in the Court’s view, fits within the category of express disclaimers courts have found

effective to justify a remand order.”); Illinois ex rel. Raoul v. 3M Co., ---F.Supp.3d---, 4:22-cv-

04075-SLD-JEH, 2023 WL 6160610, at *6 (C.D. Ill. Sept. 21, 2023) (“Permitting Defendant to

remove this suit under the federal officer removal statute when the federal government contractor

defense is irrelevant to the eventual resolution of the case and any PFAS it produced as a military

contractor is explicitly excluded from this suit would defeat the purpose of the statute. It is thus

impossible for Defendant to be held liable for damages stemming from its actions under federal

authority, and so the requisite connection or association is missing.”). Those courts reasoned that

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3M would not be able to raise its federal officer defense because, due to the states’ disclaimers,

3M could not be held liable for contamination that stemmed from an AFFF source. New

Hampshire, F.Supp.3d at 228 (“[Regardless of whether 3M’s AFFF conformed to a specification

required by the United States military or whether 3M appropriately warned the government about

the dangers of PFAS, 3M cannot be liable in this case for contamination resulting from its alleged

supply of MilSpec AFF.”); Maine, 2023 WL 4758816, at *10 (“[T]he federal officer defense will

not be applicable in the State’s Non-AFFF lawsuit because the State by its express disclaimer has

imposed upon itself a burden to demonstrate that its claim involves Non-AFFF sources.”); Raoul,

2023 WL 6160610, at *6 (“[O]nce Defendant shows that a certain portion of the contamination

stemmed from MilSpec AFFF . . . , that contamination is eliminated from the case, whether or not

that MilSpec AFFF was produced according to rigorous military specifications and the government

was warned of any dangers of which it was unaware.”).

       The Court here agrees that the disclaimers moot 3M’s government contractor defense

because, whether or not 3M meets the requirements for the defense, it cannot be held liable in this

case for PFAS contamination originating from AFFF. Because it does not matter that 3M acted in

accordance with federal authority, the charged conduct here is not connected to the alleged federal

authority. Accordingly, there is no nexus and federal officer removal is not available.

   B. Federal Enclave Jurisdiction
       The federal enclave doctrine arises out of Congress's constitutional authority to “exercise

exclusive legislation” over the District of Columbia “and to exercise like authority over all places

purchased by the consent of the legislature of the state in which the same shall be, for the erection

of forts, magazines, arsenals, dockyards, and other needful buildings.” U.S. Const. art. I, § 8, cl.

17. A federal enclave is a “portion of land over which the United States government exercises

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federal legislative jurisdiction.” Brookhaven Sci. Assocs., LLC v. Donaldson, No. 04 Civ. 4013

(LAP), 2007 WL 2319141, at *5 (S.D.N.Y. Aug. 9, 2007); see also Stokes v. Adair, 265 F.2d 662,

666 (4th Cir. 1959). “[F]ederal-question jurisdiction tied to federal enclaves ‘generally requires

‘that all pertinent events take place on a federal enclave.’” Mayor and City Council of Baltimore

v. BP P.L.C., 31 F.4th 178, 219 (4th Cir. 2022).

       3M argues that, even for non-AFFF claims, the Court could assume jurisdiction “over the

State’s claims to the extent they arose on federal enclaves” and “exercise supplemental jurisdiction

over the rest of the State’s case” under 28 U.S.C. § 1367. (Dkt. No. 11 at 30).

       To support its argument 3M relies on a case in this MDL where the State of New York

brought claims related to the use of AFFF on a U.S. Air Force base and other sites. In re: AFFF,

2019 WL 2807266, at *4 (D.S.C. May 24, 2019). This Court held that removal was proper as to

the claims arising out of AFFF product use and contamination from the Air Force base and

exercised supplemental jurisdiction over claims related to the other sites. Id. The Court noted,

however, that it “may decline to exercise its jurisdiction where tort claims arising from [the other

sites] ‘predominate’ over the claim arising from [the Air Force base], or for other ‘compelling

reasons.’” Id. (quoting 28 U.S.C. § 1367(c)).

       Assuming that some of South Carolina’s claims arose on federal enclaves, the Court here

declines to exercise supplemental jurisdiction over the non-federal enclave claims. The Court finds

that the claims arising from the parts of the State that are not considered federal enclaves

“predominate” over the claims arising from military facilities. Additionally, the Court finds that

South Carolina’s disclaimer of any AFFF claims, which includes those arising from MilSpec AFFF

use and storage on military bases, is a compelling reason to decline supplemental jurisdiction.

Accordingly, federal enclave removal is not available.

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IV.   Conclusion
         For the foregoing reasons, the South Carolina’s motion to remand (Dkt. No. 8) is

  GRANTED. This matter is REMANDED to Richland County Court of Common Pleas.




                                                 _s/Richard Mark Gergel__
                                                 Richard Mark Gergel
                                                 United States District Judge

  February 29, 2024
  Charleston, South Carolina




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